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                      Report of Michael L. Hartzmark, Ph.D.




       IN RE COMMVAULT SYSTEMS, INC. SECURITIES LITIGATION

                           United States District Court

                              District of New Jersey

                       Master File No. 14-5628 (PGS)(LHG)
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      I.       SCOPE OF ENGAGEMENT

               1.    I have been asked by Lead Counsel (“Counsel”)1 for the putative Class (the
      “Class”) in the matter of In re CommVault Systems, Inc. Securities Litigation to
      determine whether CommVault Systems, Inc. (“CommVault” or the “Company”)
      common stock traded in an open, well-developed and efficient market2 between May 7,
      2013 and April 24, 2014 inclusive (the “Class Period”).3 This report sets forth my
      findings and opinions on this subject and related topics in connection with the Class’s
      claims under Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”)
      and U.S. Securities and Exchange Commission (“SEC”) Rule 10b-5 adopted thereunder
      (collectively, “Section 10(b)”).

               2.    I have reviewed the Complaint and assume the allegations are true for
      purposes of this report. I have made no independent investigation of the issues of
      liability and loss causation in this case. My report applies economic, financial and
      statistical analyses to determine whether CommVault common stock traded in an open,
      well-developed and efficient market.

               3.    My report is organized as follows: In Section II, I present my qualifications
      as an expert. In Section III, I summarize my opinions. In Section IV, I describe the
      concept of market efficiency. In Section V, I demonstrate that CommVault common
      stock traded in an open, well-developed and efficient market by examining the
      “operational” Cammer factors4 and other operational factors that courts have considered.5
      In Section VI, I demonstrate that CommVault common stock traded in an open, well-


      1
           Bernstein Litowitz Berger & Grossmann LLP.
      2
           “The fraud on the market theory is based on the hypothesis that, in an open and developed
           securities market, the price of a company’s stock is determined by the available material
           information regarding the company and its business. Misleading statements will therefore
           defraud purchasers of stock even if the purchasers do not directly rely on the misstatements.”
           Basic Inc. v. Levinson, 485 U.S. 224, 241-2 (1988).
      3
           Second Amended Class Action Complaint and Demand for Jury Trial dated February 5, 2016
           (the “Complaint”), p. 1.
      4
           Cammer v. Bloom, 711 F. Supp. 1264 (D.N.J. 1989).
      5
           Krogman v. Sterritt, 202 F.R.D. 467 (N.D. Tex. 2001).

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      developed and efficient market by examining the “price-related” Cammer factors6 and
      other price-related factors that courts have considered.           In Section VII, I show for
      CommVault common stock that the calculation of damages can be done on a class-wide
      basis subject to a common methodology. In Section VIII, I present my conclusions.

      II.       QUALIFICATIONS

                4.    I am President of Hartzmark Economics Litigation Practice, LLC and prior
      to this I was a Principal and Director at Navigant Economics (formerly d/b/a Chicago
      Partners, LLC, a subsidiary of Navigant Consulting, Inc.). Both firms specialize in the
      application of economics and finance to legal, commercial and regulatory issues,
      including issues such as those addressed in this report. I have also been engaged as an
      independent contractor by the Office of the Attorney General of the State of New York
      and other State Attorneys General on a confidential basis to assist in investigations of the
      mortgage-backed-securities market.7

                5.    I have served as a testifying and consulting expert in numerous securities
      class actions. In addition, I have published scholarly articles on a multitude of issues in
      financial economics including those associated with securities class actions. I have spent
      much of my time as an economic consultant evaluating issues related to the certification
      of securities class actions. My primary focus has been on securities such as corporate
      bonds, common stock, Treasury and energy futures, swaps, swaptions and options, and
      asset-backed securities. I wrote a series of reports cited in the district court’s opinion
      granting class certification of DVI common stock and notes in In re DVI, Inc. Securities
      Litigation, 249 F.R.D. 196 (E.D. Pa. 2008), which was affirmed by the Third Circuit, 639
      F.3d 623 (3d Cir. 2011). Recently my expert report in West Palm Beach Police Pension
      Fund v. DFC Global Corp., Civ. No. 2:13-cv-06731-BMS (E.D. Pa. Aug. 4, 2016), was


      6
            Cammer, 711 F. Supp. at 1287.
      7
            Mortgage-backed securities are a type of bond that “represent[s] economic interests in pools
            of mortgage loans,” while corporate bonds represent economic interests in the cash flows of a
            corporation. Frank J. Fabozzi & Steven V. Mann, The Handbook of Fixed Income Securities,
            8th Ed. (Kindle locations 12943-47), McGraw-Hill Education Kindle Ed. (2011).
            (“Handbook”).

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      cited with approval and as support in the court’s order certifying the class.8 I have also
      co-authored three law-review articles discussing the commonly used empirical tests
      applicable to securities class actions.9

              6.    I earned my B.A. in economics from the University of Michigan and my
      M.A. and Ph.D. in economics from the University of Chicago. I have taught economics
      and financial economics in the Department of Economics at the University of Chicago
      and jointly in the Michigan Business School (now the Ross School of Business) and the
      Department of Economics at The University of Michigan.

              7.    At the University of Michigan, I created and taught courses on financial and
      commodity futures markets. While an Assistant Professor at the University of Michigan,
      I received a research grant from the University of Chicago Center for the Study of Futures
      Prices, as well as the John M. Olin Faculty Fellowship to further my research in financial
      markets. In addition, I published articles in peer-reviewed journals related to financial
      markets.     Prior to my appointment to a tenure-track position at the University of
      Michigan, I was employed as a Financial Economist at the Commodity Futures Trading
      Commission, Division of Economics and Education.

              8.    I have been a holder of the Series 7 and 63 registered-representative licenses
      and have served as a Financial Advisor at Fahnestock & Co., Inc. (now Oppenheimer &
      Co., Inc.). I was also founder and President of DARMA, LLC, a wealth- and asset-
      advisory company affiliated with Oppenheimer & Co., Inc.

              9.    My qualifications, publications, and expert engagements are summarized in
      detail in my curriculum vitae, which is attached to this report as Appendix A. Hartzmark
      Economics Litigation Practice, LLC is being compensated at the rate of $550 per hour for


      8
          W. Palm Beach Police Pension Fund v. DFC Global Corp., 2016 WL 4138613, at *13 (E.D.
          Pa. Aug. 4, 2016) (finding that “Dr. Hartzmark has data underlying his conclusions and Dr.
          Marcus just has noise”).
      9
          Michael L. Hartzmark, Cindy A. Schipani, & H. Nejat Seyhun, Fraud on the
          Market: Analysis of the Efficiency of the Corporate Bond Market, 2011 Colum. Bus. L. Rev.
          654 (2011); Michael L. Hartzmark & H. Nejat Seyhun, The Curious Incident of the Dog That
          Didn’t Bark and Establishing Cause-and-Effect in Class Action Securities Litigation, 6 Va. L.
          & Bus. Rev. 415 (2012); Michael L. Hartzmark, H. Nejat Seyhun, Understanding the
          Efficiency of the Market for Preferred Stock, 8 Va. L. & Bus. Rev. 149 (2014).

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      my work in this matter, and at standard hourly rates for those acting under my
      supervision and direction. My compensation is not contingent on the opinions expressed
      or the outcome of the action.

      III.   SUMMARY

             10.    Based on my analysis to date, I have formed the following opinions:

             Throughout the Class Period, CommVault common stock traded in an open,
             well-developed and efficient market. This opinion is based on the following
             evidence:

                   (1)    The high average weekly turnover of CommVault common stock;

                   (2)    The continuous coverage of CommVault by analysts, investment
                          professionals, public press, and financial institutions, along with
                          regular and frequent disclosures by the Company in the form of press
                          releases, teleconference earnings calls and SEC filings;

                   (3)    The fact that CommVault was listed on the NASDAQ;

                   (4)    The relatively large market capitalization of CommVault common
                          stock;

                   (5)    The large float of CommVault common stock;

                   (6)    The narrow bid-ask spread of CommVault common stock;

                   (7)    The large proportion of institutional holdings of CommVault common
                          stock;

                   (8)    The variable short interest of CommVault common stock, along with
                          the observation that there are virtually no violations of the put-call
                          parity relationship of CommVault common stock and its options;

                   (9)    The relationship between CommVault common stock returns on days
                          with value-relevant news versus days with no value-relevant news;

                   (10)   The rapid price reaction of CommVault common stock to value-
                          relevant news about CommVault; and

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                   (11)   The lack of autocorrelation between past and current abnormal returns
                          of CommVault common stock.

             The calculation of damages on a class-wide basis for violations of Section
             10(b) of the Exchange Act (and SEC Rule 10b-5) is subject to common
             methodologies. This opinion is based on the following:

                   (1)    For a violation of Section 10(b) of the Exchange Act and SEC Rule
                          10b-5, the common methodology begins with the same type of event
                          study I describe and present in Section VI of this report.

                   (2)    Using the results of an event study (such as that presented herein)
                          along with firm-specific information, the level of inflation in the prices
                          of CommVault common stock caused or maintained by the
                          Defendants’ alleged omissions and misrepresentations can be
                          calculated.

                   (3)    The daily levels of inflation for CommVault common stock can be
                          calculated throughout the Class Period.

                   (4)    Using this information, along with Class members’ actual purchase
                          and sale activity, individual losses can be calculated from the inflation
                          caused or maintained by the alleged omissions or misrepresentations –
                          applying a single common formula for all Class members, consistent
                          with Lead Plaintiffs’ theory of liability, namely, that Defendants’
                          misrepresentations and omissions artificially inflated the prices of
                          CommVault common stock, and that this artificial inflation dissipated
                          following the alleged corrective disclosures, which caused the prices
                          of CommVault common stock to fall and in turn caused investor
                          losses.

             11.    In reaching these opinions, I have relied upon various materials, which are
      listed in Appendix B. The research and analysis upon which my opinions are based have
      been conducted by me with the assistance of personnel working under my direction and
      supervision. My conclusions are based on information available to me as of the date of


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      this report. I understand that discovery is ongoing, and I may review, evaluate, and
      analyze relevant material that becomes available to me in the future. I reserve the right to
      modify my conclusions based on additional information.

      IV.      BASES FOR OPINIONS ON EFFICIENCY OF THE MARKET FOR
               COMMVAULT COMMON STOCK

               A. The Academic Definition of Efficient Markets

               12.       A market is defined as being informationally efficient if prices of securities
      trading in that market reflect all material, publicly available information.10 Further,
      informational efficiency means that prices of securities rapidly change to reflect new,
      unanticipated, material, public information. The notion behind efficient markets is that
      the competition among investors to discover new profit opportunities pushes security
      prices to reflect all material, publicly available information.

               13.       The weight of the evidence in the finance literature supports the concept of
      market efficiency. The father of modern finance and a Nobel prize winner, Eugene
      Fama, wrote, “We shall conclude that, with but a few exceptions, the efficient markets
      model stands up well,”11 and “[i]n short, the evidence in support of the efficient markets
      model is extensive, and (somewhat uniquely in economics) contradictory evidence is
      sparse.”12 In 1991, Fama updated his analysis and wrote, “The empirical literature on
      efficiency and asset-pricing models passes the acid test of scientific usefulness.”13 Fama
      also wrote that “precise inferences about the degree of market efficiency are likely to
      remain impossible. Nevertheless, judged on how it has improved our understanding of




      10
           See Eugene F. Fama, Efficient Capital Markets: A Review of Theory and Empirical Work, 25
           J. Fin. 383 (1970) (“A market in which prices always ‘fully reflect’ available information is
           called ‘efficient’”). Also, “I take the market efficiency hypothesis to be the simple statement
           that security prices fully reflect all available information.” Eugene F. Fama, Efficient Capital
           Markets: II, 46 J. Fin. 1575 (1991).
      11
           Fama, Efficient Capital Markets: A Review of Theory and Empirical Work, 25 J. Fin. at 383.
      12
           Id. at 416.
      13
           Fama, Efficient Capital Markets: II, 46 J. Fin. at 1576.

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       the behavior of security returns, the past research on market efficiency is among the most
       successful in empirical economics, with good prospects to remain so in the future.”14

                B. The Definition of Efficient Markets Generally Accepted by the Courts

                14.   The factors used by courts to determine whether a market is “efficient” for
       the purposes of establishing the presumption of reliance were articulated by the court in
       Cammer, and courts have since expanded the analysis to examine whether a security
       trades in an open, well-developed, and efficient market.

                15.   The factors that courts commonly utilize to evaluate the market in which a
       security trades can be separated into two general categories: “operational factors” and
       “price-related factors.” Using the operational factors, courts have focused on whether the
       security trades in an open and well-developed market.15 The operational factors examine
       the trading and arbitrage activity in the market, with the clear understanding that (a) an
       open capital market is one in which anyone can buy and sell securities; (b) a developed
       capital market is one that has a high level of trading activity, and for which trading
       information is readily available; and (c) a developed capital market can be characterized
       as a liquid market that can absorb a reasonable amount of trading volume at relatively
       low trading costs.16 As a result, the operational factors are primarily used to examine
       whether there is sufficient liquidity, trading and arbitrage activity, along with widespread




       14
            Id. at 1576. See also Eugene F. Fama, Market efficiency, long-term returns, and behavioral
            finance, 49 J. Fin. Econ. 283 (1998); G. William Schwert, Anomalies and Market Efficiency,
            in Handbook of the Economics of Finance (G. Constantinides, et al., eds., 2003); and Burton
            G. Malkiel, The Efficient Market Hypothesis and Its Critics, 17 J. Econ. Perspectives 59
            (2003).
       15
            “A developed market is one which has a relatively high level of activity and frequency, and
            for which trading information (e.g., price and volume) is widely available. It is principally a
            secondary market in outstanding securities. It usually, but not necessarily, has continuity and
            liquidity (the ability to absorb a reasonable amount of trading with relatively small price
            changes).” Cammer, 711 F. Supp. at 1276 n.17 (citing Bromberg & Lowenfels, 4 Securities
            Fraud and Commodities Fraud § 8.6 (1988)).
       16
            Economists often suggest that “[t]he common metrics of liquidity are turnover, bid-ask
            spread, and transactional size.” Handbook, Kindle locations 7729-30. This is also consistent
            with the operational Cammer factors.

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       information dissemination, such that the market price for the security can reasonably be
       expected to rapidly reflect new information.17

                16.    The operational factors set forth in Cammer include whether:

                      (1)   there is high average weekly turnover of the common stock;18

                      (2)   there is continuous coverage of the common stock by investment
                            professionals, along with regular disclosures by the company;19

                      (3)   there is a relatively high number of market makers or dealers of the
                            common stock, along with arbitrageurs;20 and

                      (4)   the issuer of the common stock is eligible to file SEC Form S-3 and to
                            incorporate by reference its other SEC filings.21



       17
            “In an open and developed market, the dissemination of material misrepresentations or
            withholding of material information typically affects the price of the stock, and purchasers
            generally rely on the price of the stock as a reflection of its value.” Peil v. Speiser, 806 F.2d
            1154, 1161 (3d Cir. 1986).
            “Indeed, nearly every court that has considered the proposition has concluded that where
            materially misleading statements have been disseminated into an impersonal, well-developed
            market for securities, the reliance of individual plaintiffs on the integrity of the market price
            may be presumed.” Basic, 485 U.S. at 247.
       18
            “[A]verage weekly trading of two percent or more of the outstanding shares would justify a
            strong presumption that the market for the security is an efficient one; one percent would
            justify a substantial presumption.” Cammer, 711 F. Supp. at 1286.
       19
            “Second, it would be persuasive to allege a significant number of securities analysts followed
            and reported on a company’s stock during the class period.” Id. See also Teamsters Local
            445 Freight Div. Pension Fund v. Bombardier, Inc., 546 F.3d 196, 205 (2d Cir. 2008) (“[T]he
            greater the number of securities analysts following and reporting on a company’s stock, the
            greater the likelihood that information released by a company is being relied upon by
            investors.”) (quoting In re Xcelera.com Sec. Litig., 430 F.3d 503, 514 (1st Cir. 2005)).
       20
            “Third, it could be alleged the stock had numerous market makers. The existence of market
            makers and arbitrageurs would ensure completion of the market mechanism; these individuals
            would react swiftly to company news and reported financial results by buying or selling stock
            and driving it to a changed price level.” Cammer, 711 F. Supp. at 1286-87.
       21
            “Fourth, as discussed, it would be helpful to allege the Company was entitled to file an S-3
            Registration Statement in connection with public offerings or, if ineligible, such ineligibility
            was only because of timing factors rather than because the minimum stock requirements set
            forth in the instructions to Form S-3 were not met.” Cammer, 711 F. Supp. at 1287. See also
            id. at 1271 n.5 (“Generally speaking, it is the largest and most well-known companies which
            register equity securities on Form S-3”); id. at 1284 (quoting SEC Securities Act Release No.

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                17.    The court in Krogman suggested three additional operational factors:

                      (1)   there is a relatively large market capitalization of the common stock;22

                      (2)   there is a reasonably small bid-ask price spread;23 and

                      (3)   there is a sufficiently large float of common stock (i.e., the amount of
                            outstanding common stock not held by insiders of the corporation).24

                18.    In addition to the Cammer and Krogman factors, some courts have also
       suggested that other factors may be relevant to determining whether a market is open,
       well-developed and efficient for class-certification purposes, including whether there is a




            6331, 46 Fed. Reg. 41,902 (Aug. 13, 1981)) (“This form [S-3] is predicated on the
            Commission’s belief that the market operates efficiently for these companies, i.e., that the
            disclosure in Exchange Act reports and other communications by the registrant, such as press
            releases, has already been disseminated and accounted for by the market place.”) (Emphasis
            omitted).
       22
            In Krogman, the court suggested that “[m]arket capitalization, calculated as the number of
            shares multiplied by the prevailing share price, may be an indicator of market efficiency
            because there is a greater incentive for stock purchasers to invest in more highly capitalized
            corporations.” 202 F.R.D. at 478. This was also alluded to by the Cammer court: “Again, it
            is the number of shares traded and value of shares outstanding that involve the facts which
            imply efficiency.” 711 F. Supp. at 1287.
       23
            See Krogman, 202 F.R.D. at 478: “A large bid-ask spread is indicative of an inefficient
            market, because it suggests that the stock is too expensive to trade.”
       24
            Insiders cannot freely trade in the stock of their company based on their privileged, nonpublic
            information. They are subject to both trading restrictions (blackout periods and restrictions
            under Rule 10b-5 and Exchange Act Sections 16(b) and 16(c)) and the reporting requirements
            of Section 16(a). See 17 C.F.R. §240.10b-5 (2011); 15 U.S.C. §§78p(b), 78p(c), 78p(a)
            (2011). “In determining efficiency, courts also consider the percentage of shares held by the
            public, rather than insiders.” Krogman, 202 F.R.D. at 478.

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       relatively large proportion of institutional holdings of the common stock,25 and whether
       there are opportunities for arbitrage.26

                19.    The price-related factors are primarily used to directly examine whether the
       market price for the security rapidly reflects unanticipated information relevant to future
       cash flows, as would be expected in what economists and courts generally refer to as an
       “efficient market.”27

                20.    Price-related factors include:

                      (1)   whether there is a rapid price reaction to new information relevant to
                            the valuation of the common stock;28 and




       25
            For example, in In re Enron Corp. Securities, Derivative & “ER ISA” Litigation, the court
            decided that Enron bonds traded in efficient markets partially based on “data on institutional
            holdings . . . [that] there was active trading . . . during the Class Period, [and] there were a
            substantial number of institutional investors.” 529 F. Supp. 2d 644, 756 (S.D. Tex. 2006).
            “Consistent with the efficiency indicators used recently by the courts, the inefficient firms
            have lower mean trading volume, fewer market makers, lower analyst following, and lower
            institutional ownership (number and percentage) than efficient firms.” Brad M. Barber, Paul
            A. Griffin, & Baruch Lev, The Fraud-on-the-Market Theory and the Indicators of Common
            Stock Efficiency, 19 J. Corp. L. 285, 302 (1994) (footnote omitted).
       26
            See In re PolyMedica Corp. Sec. Litig., 453 F. Supp. 2d 260, 273 (D. Mass. 2006) (“This
            Court rejects the assertion that arbitrage is the only mechanism of information efficiency, but
            accepts that the significant role of arbitrageurs toward that end is widely acknowledged in
            academic commentary.”) (emphasis in original) (footnote omitted).
       27
            In determining “‘whether it [is] proper . . . to apply a rebuttable presumption of reliance,
            supported in part by the fraud-on-the-market theory.’ . . . [T]he plaintiff ‘must allege and
            prove . . . that the shares were traded on an efficient market’ before a trial court may invoke
            the presumption.” Cammer, 711 F. Supp. at 1290 (quoting Basic, 485 U.S. at 242, 248 n.27)
            (footnote omitted).
            “An efficient market is one which rapidly reflects new information in price. These terms are
            cumulative in the sense that a developed market will almost always be an open one. And an
            efficient market will almost invariably be a developed one.” Cammer, 711 F. Supp. at 1276
            n.17 (citing Bromberg & Lowenfels, 4 Securities Fraud and Commodities Fraud § 8.6
            (1988)).
       28
            “Finally, it would be helpful to a plaintiff seeking to allege an efficient market to allege
            empirical facts showing a cause and effect relationship between unexpected corporate events
            or financial releases and an immediate response in the stock price. This, after all, is the
            essence of an efficient market and the foundation for the fraud on the market theory.”
            Cammer, 711 F. Supp. at 1287.

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                      (2)    whether there are certain statistical properties associated with common
                             stock price movements, such as the lack of autocorrelation.29

                21.    The language used by the Cammer court that “[t]here are several different
       characteristics pertaining to the markets for individual stocks which are probative of the
       degree to which the purchase price of a stock should reflect material company
       disclosures,”30 also should apply to the other factors described above.31 In other words,
       these factors should be used as a basket of indicators of the degree to which the security
       market is open, well developed and efficient. By no means is it necessary that each factor
       in that basket offer support.32




       29
            “Autocorrelation is usually found in time-series data. Economic time series often display a
            ‘memory’ in that variation is not independent from one period to the next.” William H.
            Greene, Econometric Analysis 358 (Prentice Hall, 2d ed. 1993).
            In other words, autocorrelation is the measurement of the relationship between the security
            return at time t and the return of the same security at some fixed time in the past. First-order
            autocorrelation would be found when there is a statistically significant relationship between
            the common stock return today and the common stock return yesterday. Another way of
            looking at this concept is that if an observer can use the return from yesterday to predict with
            some level of certainty the return today, there exists autocorrelation. See Lehocky v. Tidel
            Techs., Inc., 220 F.R.D. 491, 506-07 n.20 (S.D. Tex. 2004) (noting that both parties’ experts
            agreed on the helpfulness of autocorrelation).
       30
            Cammer, 711 F. Supp. at 1283.
       31
            This was recently reiterated in Halliburton Co. v. Erica P. John Fund, Inc.: “Moreover, in
            making the presumption rebuttable, Basic recognized that market efficiency is a matter of
            degree and accordingly made it a matter of proof. Halliburton has not identified the kind of
            fundamental shift in economic theory that could justify overruling a precedent on the ground
            that it misunderstood, or has since been overtaken by, economic realities.” 134 S. Ct. 2398,
            2403 (2014) (“Halliburton II”).
       32
            “The vast majority of courts have used the Cammer factors as ‘an analytical tool rather than
            as a checklist.’ Indeed, not even the Cammer court considered the fifth factor necessary,
            stating only that ‘it would be helpful to a plaintiff seeking to allege an efficient market . . . .’”
            Carpenters Pension Trust Fund of St. Louis v. Barclays PLC, 2015 U.S. Dist. LEXIS 110382,
            at *33 (S.D.N.Y. 2015).
            “Different contexts require courts to place greater importance on some factors than on others.
            No other court has adopted a per se rule that any one factor is dispositive. At the same time,
            courts have found market efficiency in the absence of an event study or where the event study
            was not definitive.” Carpenters Pension Trust Fund of St. Louis, 2015 U.S. Dist. LEXIS
            110382, at *34.

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                22.   In forming my opinion in this matter that CommVault common stock traded
       in an open, well-developed and efficient market throughout the Class Period, I have
       considered each of these operational and price-related factors.

                23.   Finally, although I will show in this report that there is extensive evidence
       that CommVault common stock traded in an open, well-developed and efficient market, I
       note that the empirical analyses herein go well beyond what the Supreme Court has
       required plaintiffs to demonstrate in Halliburton II. There, the Court reaffirmed Basic:

                      The Court in Basic acknowledged, however, the debate among
                      economists about the efficiency of capital markets and refused
                      to endorse “any particular theory of how quickly and
                      completely publicly available information is reflected in
                      market price.” The Court instead based the presumption of
                      reliance on the fairly modest premise that “market
                      professionals generally consider most publicly announced
                      material statements about companies, thereby affecting stock
                      market prices.” Moreover, in making the presumption
                      rebuttable, Basic recognized that market efficiency is a matter
                      of degree and accordingly made it a matter of proof.33

       V.       ANALYSIS OF OPERATIONAL FACTORS OF COMMVAULT COMMON
                STOCK

                A. Background

                24.   In its fiscal year 2014 SEC Form 10-K (for the fiscal year ended March 31,
       2014), CommVault described itself as follows:

                      CommVault is a leading provider of data and information
                      management software applications and related services. … We
                      develop, market and sell data and information management
                      software applications under the Simpana® Software brand.
                      Simpana software is built from the ground up on a single
                      platform and unified code base for integrated data and
                      information management. The Simpana platform contains



            “It is widely accepted that analysis of the Cammer and Krogman factors is a reliable and
            accepted methodology for establishing market efficiency.” Carpenters Pension Trust Fund
            of St. Louis, 2015 U.S. Dist. LEXIS 110382, at *49.
       33
            Halliburton II at 2403 (quoting Basic, 485 U.S. at 247, 248, nn. 24 & 28).

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                      licensable modules that work together seamlessly, sharing a
                      single code and common function set to deliver Backup and
                      Recovery, Archive, Replication, Search & eDiscovery and
                      Analytic capabilities across physical, virtual and cloud
                      environments. With a single platform approach, Simpana
                      software is specifically designed to protect, manage and access
                      data throughout its lifecycle in less time, at lower cost and
                      with fewer resources than alternative solutions.34

               25.   Throughout the Class Period, CommVault common stock was listed on the
       NASDAQ Global Market under the “CVLT” trading symbol.35                    CommVault is a
       Delaware company incorporated in 1996 with its headquarters in New Jersey.36

               26.   As of May 7, 2013 (the first day of the Class Period), CommVault had
       46,480,599 shares of common stock outstanding.37

               27.   As of April 25, 2014 (the day following the end of the Class Period),
       CommVault had 47,186,646 shares of common stock outstanding.38

               28.   CommVault repurchased 776,839 shares of common stock from January
       2014 through June 2014.39



       34
            CommVault SEC Form 10-K for 2014 filed May 2, 2014 p. 4.
       35
            CommVault SEC Form 10-Ks for 2013, 2014, and 2015, at pp. 35, 29, and 32, respectively.
            According to Bloomberg, CommVault was listed on the NASDAQ Global Select Market
            throughout the Class Period.
       36
            CommVault SEC Form 10-K for 2014 filed May 2, 2014, pp. 4 and 28.
       37
            Based on shares outstanding as of April 29, 2013. “As of April 29, 2013, there were
            46,480,599 shares of the registrant’s common stock ($0.01 par value) outstanding.”
            CommVault SEC Form 10-K for fiscal 2013 filed May 14, 2013, cover.
       38
            CommVault SEC Form 10-K filed May 2, 2014, cover (as of March 31, 2014, CommVault
            had 47.09 million shares outstanding, SEC Form 10-K filed May 2, 2014, p. 50). “As of
            April 25, 2014, there were approximately 59 holders of our common stock. The number of
            record holders does not represent the actual number of beneficial owners of shares of our
            common stock because shares are frequently held in street name by securities dealers and
            others for the benefit of individual owners who have the right to vote their shares.”
            CommVault SEC Form 10-K for fiscal 2014 filed May 2, 2014, p. 29.
       39
            SEC Form 10-K for 2014 filed May 2, 2014: CommVault repurchased 63,300 shares in
            January 2014, 676,700 shares in February 2014, and 34,700 shares in March 2014 (p. 31).
            SEC Form 10-Q for 1Q2015 filed July 31, 2014: CommVault repurchased 2,139 shares in the
            first quarter of 2015 (p. 11).

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                29.   Throughout the Class Period there was also an active market for options on
       CommVault common stock.40 The Company did not pay any dividends during the Class
       Period.41

                B. Operational Cammer Factors to Weigh When Examining Market Efficiency

                          Cammer Factor I – Weekly Trading Volume

                30.   The first operational factor is the weekly trading volume of a security. As
       discussed in the Cammer opinion: “average weekly trading of two percent or more of the
       outstanding shares would justify a strong presumption that the market for the security is
       an efficient one; one percent would justify a substantial presumption.”42 It is generally
       accepted that a high trading volume indicates substantial investor interest in the security,
       and thus increases the likelihood that newly available public information will be rapidly
       incorporated in the security price through trading. In addition, high volume suggests the
       possibility that investors will, all other factors staying constant, be able to reap greater
       profits from any value-relevant information they may possess because they can more
       easily participate in the market. This greater profit opportunity from the information they
       may possess then encourages investors to make greater investments in information
       gathering and processing. This, in turn, will help the informational efficiency of the
       market.

                31.   To reliably determine whether the turnover fulfills this Cammer criterion, I
       calculated average weekly turnover over the Class Period, which is equal to the average
       of the ratio of weekly volume divided by the shares outstanding for that week.43

                32.     Exhibit I contains the results of this analysis and shows that for the Class
       Period a total of 154.4 million shares traded hands with an average weekly volume of 3.2



       40
            Source: iVolatility.
       41
            CommVault SEC Form 10-K for fiscal 2015 filed May 8, 2015, p. 32.
       42
            Cammer, 711 F. Supp. at 1286.
       43
            The trading volume I utilize for the turnover analysis is the composite daily reported trading
            volume, which I obtained from Bloomberg. The source for shares outstanding is CommVault
            SEC filings.

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       million shares.44 As it relates to this Cammer factor, the ratio of the average weekly
       volume to shares outstanding was 6.8% and the median was 5.6%, which “would justify a
       strong presumption that the market for the security is an efficient one….”45

                33.   The high average weekly turnover of CommVault common stock constitutes
       substantial evidence justifying a strong presumption that CommVault common stock
       traded in an open, well-developed and efficient market throughout the Class Period.

                          Cammer Factor II – Analyst Coverage

                34.   The second operational factor is the number of security analysts who
       followed and reported on CommVault’s common stock. As discussed in Cammer: “[I]t
       would be persuasive to allege a significant number of securities analysts followed and
       reported on a company’s stock during the class period.”46 As more analysts follow and
       report on a company’s securities, more information about the company is disseminated to
       a greater number of investors.            The presence of a substantial number of such
       professionals means that more information is likely to be reflected in the price of these
       securities either through increased trading or simply through revaluation of the securities
       by the market participants.

                35.   As Exhibit II shows, throughout the Class Period (and the corrective
       disclosure day of April 25, 2014) there were between 15 and 20 analysts following the
       Company as recorded by Bloomberg or Thomson Reuters I/B/E/S consensus EPS
       estimate for the current fiscal year.47 Analyst coverage included the following analysts:
       BMO Capital Markets, Craig-Hallum, Credit Suisse, Goldman Sachs Group, Jefferies,
       JMP Securities, Lake Street Capital Markets, Lazard, Macquarie Research, Mizuho


       44
            The average weekly volume includes the entire weeks of the start date and end date of the
            Class Period. In Exhibit I, I also provide the analysis excluding the weeks that include the
            start and end dates of the Class Period. The results are virtually the same under both
            methods, as 3.2 million goes to 3.0 million and 6.8% goes to 6.4%.
       45
            Cammer, 711 F. Supp. at 1286.
       46
            Cammer, 711 F. Supp. at 1286. See also Xcelera, 430 F.3d at 514 (“[T]he greater the number
            of securities analysts following and reporting on a company’s stock, the greater the likelihood
            that information released by a company is being relied upon by investors.”).
       47
            Sources: Bloomberg and S&P Capital IQ.

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       Securities, Needham Co., Oppenheimer, Pacific Crest Securities, Piper Jaffray, Raymond
       James, RBC Capital Markets, Sterne Agee, Stifel Nicolaus, Summit Research, and
       William Blair.48 See Exhibit III-A for a listing of the number of reports from these
       analysts. This exhibit shows that there were over 400 reports published during the Class
       Period and the corrective disclosure date of April 25, 2014 (including quantitative
       analysts such as EVA Dimensions, Jefferson Research & Management, TheStreet.Com
       Ratings, and Zacks).49

                36.   The substantial coverage of CommVault’s stock by analysts can also be
       observed in analysts’ participation in conference calls held by CommVault. Many of
       these analysts participated in the regular earnings calls CommVault hosted in conjunction
       with the release of its quarterly financial results, and many of the analysts hosted investor
       conferences in which CommVault participated during the Class Period. CommVault held
       five conference calls during the Class Period (and the corrective disclosure day of April
       25, 2014).50 On these conference calls, analysts and other investors were able to ask
       questions about CommVault, with an average of 13 analysts participating on each call.
       See Exhibit III-B for a list of analysts asking questions during CommVault conference
       calls. There were also six investor conferences hosted by analysts during the Class Period
       at which CommVault participated. See Exhibit III-C for a list of analysts hosting
       investor conferences at which CommVault participated.

                37.   The number of analysts following CommVault compares favorably to the
       number following the defendant companies at issue in other matters, where the courts
       concluded that the common stock traded in efficient markets.51



       48
            Based on reports provided by Counsel or available on the S&P Capital IQ, Thomson Reuters
            Knowledge and Thomson ONE databases. Additional analysts were identified based on
            participation in conference calls and their hosting of investor conferences.
       49
            For this analysis, multiple reports issued by the same analyst on the same date are counted as
            a single report. Reports from the same analyst from different databases that have the same
            titles but different dates are treated as being released on the first date listed in the databases.
       50
            During the Class Period, CommVault held earnings calls after each quarterly earnings
            release.
       51
            See, e.g., Billhofer v. Flamel Techs., S.A., 281 F.R.D. 150, 153-54 (S.D.N.Y. 2012) (finding
            that eight separate firms issued reports about Flamel, four additional firms participated in

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                38.    In addition to the analyst reports, there were numerous press releases, news
       stories and other media coverage of CommVault throughout the 244 trading-day Class
       Period (and the additional disclosure date of April 25, 2014). (See Appendix C for a
       chronology of media coverage.) I found over 800 articles (including approximately 400
       articles from Bloomberg and approximately 400 from Factiva52) that discussed
       CommVault.53 Other articles may still be available from additional sources (e.g., by
       searching Google, Yahoo, etc.).54

                39.    Finally, as a public company, CommVault was required to file numerous
       information disclosures in SEC forms that contain new and possibly material information
       (e.g., Form 10-K, Form 10-Q, and Proxy and Registration Statements) and others that
       were related to current and possibly material news about the Company (e.g., Form 8-K).

                40.    The continuous coverage of CommVault by analysts, investment
       professionals, public press, and financial institutions, along with regular and frequent
       disclosures by the Company in the form of press releases and SEC filings, supports the
       conclusion that CommVault common stock traded in an open, well-developed, and
       efficient market throughout the Class Period.

                          Cammer Factor III – Market Makers

                41.    The next operational factor is the presence of market makers and
       arbitrageurs.     As discussed in Cammer, “[t]he existence of market makers and
       arbitrageurs would ensure completion of the market mechanism; these individuals would
       react swiftly to company news and reported financial results by buying or selling stock
       and driving it to a changed price level.”55 This factor, as suggested by the Cammer court,



            investor conferences, and more than two dozen articles and press releases were published
            about Flamel, supporting a finding of market efficiency).
       52
            Factiva, Inc. is a Dow Jones Company.
       53
            See infra note 120.
       54
            In addition, a search on Lexis--Nexis for the terms “CommVault Systems” using “All English
            Language News” yields over 1,250 stories (without checking for duplicates). These stories
            are not in Appendix C.
       55
            Cammer, 711 F. Supp. at 1286-87. See also In re Xcelera.com, 430 F.3d at 515 (“A market-
            maker is ‘one who helps establish a market for securities by reporting bid-and-asked

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       related to a stock that was traded in the 1980’s over-the-counter or on the early version of
       NASDAQ (which at the time was not a national exchange, but instead was a reporting
       network in which transactions in securities were reported to the National Association of
       Securities Dealers for publication).56 The Cammer court understood that the market-
       making infrastructure of a stock market is indicative of its efficiency, or lack thereof, and
       is relevant for evaluating whether the common stock trades on an open, well-developed
       and efficient market.57 According to CommVault’s SEC Form 10-K, the Company’s
       common stock traded on the NASDAQ Global Market during the Class Period.58 The
       NASDAQ National Market System is one of the most renowned, most liquid, and most
       efficient forums for trading stocks in the world. The NASDAQ exchange is decentralized
       and includes the participation of multiple market makers, dealers or financial
       intermediaries who stand ready to buy or sell in order to ensure there is adequate liquidity
       and orderly trading.59 Because market makers make it easier for investors to execute
       trades in a timely fashion and with reasonable transaction costs, a larger number of



            quotations’ (the price a buyer will pay for a security and the price a seller will sell a
            security).”) (quoting Black’s Law Dictionary (8th ed. 2004)); id. (A market-maker also
            “stands ready to buy or sell at these publicly quoted prices.”) (quoting Lehocky v. Tidel
            Techs., Inc., 220 F.R.D. 491, 508 n.24 (S.D. Tex. 2004)).
       56
            Cammer, 711 F. Supp. at 1271 n.4.
       57
            See also supra note 20.
       58
            SEC Form 10-K filed May 2, 2014 for the year ended March 31, 2014, p. 29. According to
            Bloomberg, CommVault was listed on the NASDAQ Global Select Market throughout the
            Class Period.
            The NASDAQ consists of three tiers: the NASDAQ Global Select Market, the NASDAQ
            Global Market, and the NASDAQ Capital Market. The listing requirements are most
            stringent for the Global Select Market, followed by the Global Market, and then the Capital
            Market.       See NASDAQ Initial Listing Guide, January 2017, p. 5, available at:
            https://listingcenter.nasdaqomx.com/assets/initialguide.pdf (last visited April 18, 2017).
       59
            The difference in trading between the NYSE and NASDAQ has diminished. A recent study
            concludes that: “This study provides evidence of the homogenization of trading in the United
            States. The empirical results show that two significant characteristics of market quality—
            trading volume and transitory volatility—have become indistinguishable, on average,
            between NASDAQ stocks and those listed at the traditional listing [NYSE] exchanges. These
            results provide concrete evidence of a reality that is obvious to most practitioners: The market
            structures used for trading stocks are now essentially the same regardless of their primary
            listing markets.” Lawrence Harris, The Homogenization of US Equity Trading, Working
            Paper, September 30, 2011, p. 2.

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       market makers, not only signals more widespread interest and participation in the market
       for the particular security, but results generally in a higher degree of liquidity and
       narrower bid-ask spreads. These are attributes of open, well-developed and efficient
       markets.

                42.     When the Cammer court issued its decision in 1989, over-the-counter
       trading and NASDAQ were very different than today. With innovations in electronic
       trading, NASDAQ has become a national exchange and has grown to rival the NYSE in
       size, liquidity and information dissemination.60          According to the 10-K filed by
       NASDAQ OMX for 2013, “[NASDAQ is] a leading global exchange group that delivers
       trading, clearing, exchange technology, regulatory, securities listing, and public company
       services across six continents.”61 “The NASDAQ Stock Market is the largest single cash
       equities securities market in the U.S. in terms of listed companies and in the world in
       terms of share value traded.”62 As of December 31, 2013, “[t]he NASDAQ Stock Market
       was home to 2,637 listed companies with a combined market capitalization of
       approximately $7.0 trillion.”63         Furthermore, as on its competitor, the NYSE,
       “[c]ompanies seeking to list securities on The NASDAQ Stock Market must meet
       minimum listing requirements, including specified financial and corporate governance
       criteria. Once listed, companies must meet continued listing standards.”64

                43.     In most securities litigation, the exchange-traded securities either trade on
       the NYSE or NASDAQ. The structures of these exchanges, in combination with the


       60
            For example, in 2007, NASDAQ became a “fully operational as an independent registered
            national securities exchange.” The Nasdaq OMX Group, Inc., SEC Form 10-K filed
            February 24, 2014 for the year ended December 31, 2013, p. 2.
       61
            Id. at 2. The 10-K further states, “Our global offerings are diverse and include trading and
            clearing across multiple asset classes, market data products, financial indexes, capital
            formation solutions, financial services, corporate solutions and market technology products
            and services. Our technology powers markets across the globe, supporting derivatives
            trading, clearing and settlement, cash equity trading, fixed income trading and many other
            functions. In the U.S., we operate The NASDAQ Stock Market, a registered national
            securities exchange.” Id.
       62
            Id. at 2.
       63
            Id. at 2.
       64
            Id. at 6.

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       requirements for being listed, have led to the general presumption by economists and the
       courts that common stocks traded on these exchanges trade in an efficient market. Courts
       (and economists) have generally presumed that common stocks traded on the NASDAQ
       trade in an efficient market.65 In the recent Groupon decision, the court noted that even
       the defendants’ economic expert conceded that most securities traded on the NASDAQ
       exchange traded in an efficient market.66

                44.   Therefore, CommVault investors benefitted from having market makers,
       who competed against one another. For CommVault specifically, these 94 financial
       intermediaries competed minute-by-minute, day-by-day, and risked their own capital and
       utilized the most advanced information technology, and their sophisticated research
       teams assisted investors by improving liquidity and information dissemination.67
       Demonstrating that there was active participation by a substantial number of brokers,
       Exhibit IV-A shows that 10 of the brokers traded in excess of one percent of the total




       65
            Lumen v. Anderson, 280 F.R.D. 451, 459 (W.D. Mo. 2012) (“It would be remarkable for a
            court to conclude NASDAQ is not an efficient market . . ..”).
            In Nguyen v. Radient Pharm. Corp., the court quoted In re Initial Pub. Offering Sec. Litig.,
            544 F. Supp. 2d 277, 296 n.133 (S.D.N.Y. 2008): “‘[T]he federal courts are unanimous in
            their agreement that a listing on the NASDAQ or a similar national market is a good indicator
            of efficiency.’” Nguyen vs. Radient Pharm. Corp., 287 F.R.D. 563, n.7 (C.D. Cal. 2012).
            “While other courts have been reluctant to conclude that a stock was traded efficiently solely
            because it was traded on the NYSE or NASDAQ, most courts agree that such listing is a good
            indicator of efficiency.” Carpenters Pension Trust Fund of St. Louis v. Barclays PLC, 2015
            U.S. Dist. LEXIS 110382, at *26.
            “In most cases, evidence that a stock trades at high volumes on a large national market, such
            as the NYSE or NASDAQ, and is followed by a large number of analysts will be sufficient to
            satisfy the Basic presumption on class certification.” Id. at *33.
       66
            “Dr. Gompers, Defendants’ expert, did not dispute Dr. Feinstein’s conclusions that (1) the
            NASDAQ exchange—on which Groupon shares traded—was a well-developed exchange on
            which most company’s stocks traded efficiently most of the time….” In re Groupon, Inc.
            Sec. Litig., 2015 WL 1043321, at *5 (N.D. Ill. Mar. 5, 2015) (empahsis added). See also In
            re Initial Pub. Offering Sec. Litig., 243 F.R.D. 79, 91 (S.D.N.Y. 2007) (characterizing
            NASDAQ as an efficient market).
       67
            Many market makers not only serve as intermediaries, but also trade for their own accounts.

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       volume and 14 traded over 0.1% of the total volume.68 Exhibit IV-B also lists 70
       additional brokers that traded CVLT common stock.

                45.   Therefore, the fact that CommVault was listed on the NASDAQ Global
       Market69 and had at least 10 active market makers, as well as many other less active
       market makers, standing ready to buy or sell, provides evidence supporting the
       conclusion that CommVault common stock traded in an open, well-developed and
       efficient market throughout the Class Period.

                          Cammer Factor IV– SEC Form S-3 Eligibility

                46.   This Cammer factor states that eligibility to file SEC Form S-3 “[i]s an
       important factor weighing in favor of a finding that a market is efficient.”70 The
       eligibility to file short Forms S-3 and S-4 is reserved for those firms that have sufficiently
       large market capitalizations and have met all reporting requirements throughout the past
       twelve consecutive months.

                47.   The significance of this particular factor is underscored by the SEC’s
       explanation of the rationale for permitting certain companies to incorporate by reference
       the companies’ other SEC filings in the Form S-3 (or S-4) registration statement: “This
       form [S-3 or S-4] is predicated on the Commission’s belief that the market operates


       68
            Other courts have found that a security traded in an open, developed and efficient market
            with fewer market makers than CommVault. For example, in Daniel McIntire v. China
            MediaExpress Holdings, Inc., 38 F. Supp. 3d 415, 432 (S.D.N.Y 2014), the court held: “[an
            expert], using NASDAQ’s definition, identified an average of 20 registered market makers
            for CCME during the Class Period. He observed that during no week in the Class Period did
            CCME have fewer than 14 market makers, which is the average for a typical NASDAQ-listed
            stock. The Court is satisfied that CCME’s 20-market-maker average supports a presumption
            of market efficiency.” See In re Winstar Commc’ns Sec. Litig., 290 F.R.D. 437, 447
            (S.D.N.Y. 2013) (showing of six large banks acting as market makers was sufficient evidence
            of market efficiency); In re Initial Pub. Offering Sec. Litig., 260 F.R.D. 81, 100 (S.D.N.Y.
            2009) (14 market makers sufficient to establish market efficiency); Cammer, 711 F. Supp. at
            1293 (10 market makers sufficient for a showing of market efficiency).”
       69
            According to Bloomberg, CommVault was listed on the NASDAQ Global Select Market
            throughout the Class Period.
       70
            “Fourth, as discussed, it would be helpful to allege the Company was entitled to file an S-3
            Registration Statement in connection with public offerings or, if ineligible, such ineligibility
            was only because of timing factors rather than because the minimum stock requirements set
            forth in the instructions to Form S-3 were not met.” Cammer, 711 F. Supp. at 1285, 1287.

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       efficiently for these companies, i.e., that the disclosure in Exchange Act reports and other
       communications by the registrant, such as press releases, has already been disseminated
       and accounted for by the market place.”71 Implicit in the SEC’s allowing firms to
       incorporate information in their registration statements by reference to other filings is that
       the information in the other filings is widely disseminated, and that the security trades in
       an efficient market.

                48.   At all times throughout the Class Period, CommVault met the requirements
       to file an SEC Form S-3, including having a public float of at least $75 million in
       common stock.72 Therefore, the fact that CommVault was eligible to file SEC Form S-3
       further supports the conclusion that CommVault common stock traded in an open, well-
       developed and efficient market throughout the Class Period.

                C. Other Operational Factors to Weigh When Examining Market Efficiency

                49.   In addition to the operational Cammer factors evaluated above, I have also
       considered additional operational factors that have sometimes been considered by courts.
       As with the operational Cammer factors, these additional operational factors all support
       my conclusion that CommVault common stock traded in an open, well-developed and
       efficient market throughout the Class Period.

                         Krogman Factor – Market Capitalization

                50.   In Krogman, the court stated that “[m]arket capitalization, calculated as the
       number of shares multiplied by the prevailing share price, may be an indicator of market
       efficiency because there is a greater incentive for stock purchasers to invest in more
       highly capitalized corporations.”73       Market capitalization is an important factor in
       complying with NASDAQ’s listing requirement and is highly correlated with trading
       volume, analyst following, and press coverage – factors considered in Cammer (as
       discussed above).



       71
            Id. at 1284 (quoting SEC Securities Act Release No. 6235 (Sept. 10, 1980)).
       72
            SEC 1379, “Form S-3, Registration Statement under the Securities Act of 1933, General
            Instructions,” updated January 2012, at 4.
       73
            Krogman, 202 F.R.D. at 478.

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               51.   At the start of the Class Period, CommVault’s market capitalization was
       $3.55 billion, and at the end of the Class Period it was $3.23 billion.74 Throughout the
       Class Period CommVault’s market capitalization ranged from $2.94 billion to $4.21
       billion. See Exhibit V.

               52.   For comparison purposes, on May 7, 2013, the start of the Class Period,
       CommVault’s market capitalization as compared to other NASDAQ common stocks
       placed it in the 92nd percentile. This means that 92% of the companies in the NASDAQ
       Composite Index sample had lower market capitalizations than CommVault.75 For an
       additional comparison, on October 1, 2013, the peak of CommVault’s market
       capitalization, CommVault’s market capitalization as compared to other NASDAQ
       common stocks placed it in the 91st percentile. This means that 91% of the companies in
       the NASDAQ Composite Index sample had lower market capitalizations than
       CommVault.76 For a third comparison, on January 28, 2014, the trading day prior to the
       first alleged corrective disclosure, CommVault’s market capitalization as compared to the
       common stocks of other NASDAQ-listed companies places it in the 90th percentile. This
       means that 90% of the companies in the NASDAQ Composite Index sample had lower
       market capitalizations than CommVault.77 For a fourth comparison, on April 24, 2014,



       74
            Based on the $76.33 closing price and approximately 46.48 million shares outstanding as of
            May 7, 2014, and the $68.58 closing price and approximately 47.09 million shares
            outstanding as of April 24, 2014.
       75
            For this analysis, I compared CommVault’s market capitalization to that of the 2,254
            members of the NASDAQ Composite Index (Bloomberg ticker: CCMP) as of May 7, 2013
            that have a Bloomberg “Security Type” of “common stock” and “Primary Security
            Composite Exchange Code” of “US.” The Bloomberg data obtained for each member was
            “Current Market Cap.”
       76
            For this analysis, I compared CommVault’s market capitalization to that of the 2,265
            members of the NASDAQ Composite Index (Bloomberg ticker: CCMP) as of October 1,
            2013 that have a Bloomberg “Security Type” of “common stock” and “Primary Security
            Composite Exchange Code” of “US.” The Bloomberg data obtained for each member was
            “Current Market Cap.”
       77
            For this analysis, I compared CommVault’s market capitalization to that of the 2,271
            members of the NASDAQ Composite Index (Bloomberg ticker: CCMP) as of January 28,
            2014 that have a Bloomberg “Security Type” of “common stock” and “Primary Security
            Composite Exchange Code” of “US.” The Bloomberg data obtained for each member was
            “Current Market Cap.”

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       the trading day prior to the final alleged corrective disclosure, CommVault’s market
       capitalization as compared to other NASDAQ common stocks placed it in the 89th
       percentile. This means that 89% of the companies in the NASDAQ Composite Index
       sample had lower market capitalizations than CommVault.78

                53.   CommVault’s large market capitalization provides evidence supporting the
       conclusion that CommVault common stock traded in an open, well-developed and
       efficient market throughout the Class Period.

                          Krogman Factor – The Size of the Float of CommVault Common
                          Stock

                54.   Float or public float refers to the number of shares of CommVault common
       stock that are not held by insiders79 of the corporation.80 Consequently, a larger float
       relative to the total number of outstanding shares of CommVault common stock indicates
       there are a large proportion of CommVault shares that are available to non-insiders who
       can trade without restrictions and profit by trading on new information to the
       marketplace.

                55.   On average, insiders held 2.97 million or only 6.3% of the average shares
       outstanding during the Class Period.81          The public float ranged from approximately
       93.6% to 93.7% of CommVault’s market capitalization, as graphed in Exhibit V. The
       capitalization of the public float ranged from $2.76 billion to $3.95 billion, with an
       average of $3.34 billion. Therefore, the average public float of 44.06 million shares, or


       78
            For this analysis, I compared CommVault’s market capitalization to that of the 2,306
            members in the NASDAQ Composite Index (Bloomberg ticker: CCMP) as of April 24, 2014
            that have a Bloomberg “Security Type” of “common stock” and “Primary Security
            Composite Exchange Code” of “US.” The Bloomberg data obtained for each member was
            “Current Market Cap.”
       79
            Insiders cannot freely trade in the stock of their company based on their privileged, nonpublic
            information. They are subject to both trading restrictions (blackout periods and the
            restrictions of Sections 10(b), 16(b), and 16(c) of the Exchange Act), as well as the reporting
            requirements of Section 16(a) of the Exchange Act.
       80
            “In determining efficiency, courts also consider the percentage of shares held by the public,
            rather than insiders.” Krogman, 202 F.R.D. at 478.
       81
            Insider holdings were obtained from proxy filings. Insider holdings include shares held by
            directors and officers as a group, excluding exercisable options and stock units.

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       93.7% of the outstanding shares, meant there were an adequate number and proportion of
       shares available to trade by investors.

                56.   The large float further supports the conclusion that CommVault common
       stock traded in an open, well-developed and efficient market throughout the Class Period.

                          Krogman Factor – Bid-Ask Spread

                57.   The size of the bid-ask spread (i.e., ask quote minus bid quote) in the market
       for a security is an indication of the liquidity in the market, and is sometimes considered
       a factor in determining whether the security trades in an efficient market. In Krogman,
       the court stated that “[a] large bid-ask spread is indicative of an inefficient market,
       because it suggests that the stock is too expensive to trade.”82

                58.    I calculated statistics describing CommVault’s bid-ask spread using time-
       weighted spreads based on intraday bid and ask quotes.83 Using “NBBO” bid and ask
       quotes during the day session, I had 4,459,310 observations.84

                59.   Using this information, I calculated the percent bid-ask spread.85              The
       percent bid-ask spread was calculated as (i) the ask quote less the bid quote divided by
       (ii) the average of the bid and ask quotes. Within each day, the number of milliseconds


       82
            Krogman, 202 F.R.D. at 478.
       83
            I obtained the data from Tick Data, LLC. See Tick Data US Equity Trade, Quote & One-
            Minute Data File Format Document Version 3.4.
       84
            The “NBBO” is the National Best Bid and Offer (“NBBO”) as calculated by Tick Data, LLC.
            Tick Data states: “NBBO files are derived from Quote data. The quotes in NBBO files
            represent the best bid and best offer across all US exchanges at any given time.” See Tick
            Data US Equity Trade, Quote & One-Minute Data File Format Document Version 3.4, p. 15.
            “Tick Data, LLC now offers a quote dataset that contains only the National Best Bids &
            Offers (NBBO) for U.S. Equities. The NBBO for USA Equities dataset is built from our USA
            Equities data, and includes the best (lowest) available offer prices and the best (highest)
            available bid prices across all U.S. exchanges for listed equities going back to January 2004.
            While it is commonly believed that the NBBO file provided by the Consolidated Tape
            Association (CTA) is the actual NBBO, this file contains only a part of the data and
            information required to calculate the true NBBO. After extensive research, Tick Data has
            developed a dataset that is representative of the complete NBBO.”
            (https://www.tickdata.com/product/nbbo/, last accessed May 2, 2017).
       85
            I removed any quotes where the bid quote, ask quote, bid size, or ask size was less than or
            equal to zero, or the ask quote was less than or equal to the bid quote. This filtering process
            removed 12,038 observations.

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       each quote was prevailing was also calculated.86 The time-weighted average spread each
       day was then calculated using the number of milliseconds each quote prevailed during
       that day as the weight for that quote. Exhibit VI contains the results of the bid-ask
       spread analysis for each of the 244 days of the Class Period. The average daily percent
       spread for CommVault common stock was 0.15%, and the median was 0.13%.

                60.   These results compare favorably to the findings of courts in other matters
       where the courts concluded that the common stocks traded in efficient markets.87
       Further, they also compare favorably to recent academic research that showed average
       bid-ask spreads based on monthly and yearly data of 2.55% and 2.91%, respectively for
       NASDAQ common stocks in 2009.88

                61.   The narrow bid-ask spread further supports the conclusion that CommVault
       common stock traded in an open, well-developed and efficient market throughout the
       Class Period.

                          Other Operational Factors

                62.   In addition to the Cammer and Krogman factors, some courts have also
       considered whether there is a relatively large proportion of institutional holdings of the




       86
            If more than one quote occurred within a millisecond, the last quote in the order the data were
            obtained was considered the prevailing quote for that millisecond. In addition, the final quote
            for the day was excluded from the analysis. The analysis was performed over 3,473,815
            quotes.
       87
            See Nguyen v. Radient Pharms. Corp., 287 F.R.D. at 574 (C.D. Cal. 2012) (finding that a bid-
            ask spread of 0.58 percent supported market efficiency); In re Scientific-Atlanta, 571 F. Supp.
            2d 1315, 1339 (N.D. Ga. 2007) (finding that a bid-ask spread that “never exceeded 1.9%”
            weighed heavily in favor of market efficiency); and Cheney v. Cyberguard Corp., 213 F.R.D.
            484, 501 (S.D. Fla. 2003) (finding that average daily relative bid-ask spread of 2.44%
            weighed in favor of market efficiency).
       88
            Kee H. Chung & Hao Zhang, A Simple Approximation of Intraday Spreads Using Daily Data,
            17 J. Fin. Markets, 94, Table 2 (2014). The paper compared data using closing CRSP (Center
            for Research in Security Prices) prices to intraday data and showed the spreads are very close.
            2009 is the most recent year the authors examined.

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       common stock,89 and whether there are opportunities for arbitrage, including the
       availability of shares to borrow to enter into short sales.90

                63.   Exhibit VII lists 370 institutions that filed SEC Form 13F and other
       documents, disclosing the combined sizes of their beneficial and non-beneficial
       ownership positions of CommVault common stock during the Class Period.91 This set of
       institutional investors and investment advisors, which participated in the market for
       CommVault common stock either on their own behalf or on behalf of other beneficial
       owners, suggests that a large group of sophisticated investors were participating in the
       market. Further, the institutions that owned the 20 largest positions in CommVault
       common stock as of June 30, 2013, September 30, 2013, December 31, 2013, or March
       31, 2014, held a large proportion of the total public float on each of those dates. See
       Exhibit VIII (which also reports the position relative to outstanding shares). This exhibit
       shows that the aggregate positions of these 28 institutions were between 72% and 86% of




       89
            Enron, 529 F. Supp. 2d at 756.
       90
            PolyMedica, 453 F. Supp. 2d at 273.
       91
            For securities traded on major U.S. exchanges, such as the NASDAQ, S&P Capital IQ
            gathers institutional ownership information from Form 13F filings and other sources. For
            13F filings, the SEC’s rules state: “Institutional investment managers that use the United
            States mail (or other means or instrumentality of interstate commerce) in the course of their
            business and that exercise investment discretion over $100 million or more in Section 13(f)
            securities must file Form 13F. . . . An institutional investment manager is an entity that either
            invests in, or buys and sells, securities for its own account. For example, banks, insurance
            companies, and broker/dealers are institutional investment managers. So are corporations and
            pension funds that manage their own investment portfolios. An institutional investment
            manager is also a natural person or an entity that exercises investment discretion over the
            account of any other natural person or entity. For example, an investment adviser that
            manages private accounts, mutual fund assets, or pension plan assets is an institutional
            investment manager. So is the trust department of a bank. A trustee is an institutional
            investment manager, but a natural person who exercises investment discretion over his or her
            own account is not an institutional investment manager.” U.S. Securities and Exchange
            Commission: Division of Investment Management: Frequently Asked Questions About Form
            13F, March 15, 2017, http://www.sec.gov/divisions/investment/13ffaq.htm (last visited April
            18, 2017).

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       the public float (and between 67% and 80% of the outstanding shares) as of the listed
       dates.92

                  64.   The relatively large number of shares and relatively large proportion of the
       float composed of the positions of sophisticated institutional investors and investment
       advisors further support the conclusion that CommVault common stock traded in an
       open, well-developed and efficient market throughout the Class Period.93

                           Arbitrage Opportunities and Short Interest

                  65.   Short selling enables market participants to trade on their negative views
       about a company even if they do not hold a long position in its stock. Thus, short selling
       assists in arbitrage activity when it is believed by investors that the stock might decline in
       value over time. Short selling can therefore affect market prices and efficiency because it
       enables traders who believe the price is going to decline, even if they do not hold a long
       position, to sell and possibly affect market prices.

                  66.   The amount of short interest in CommVault common stock during the Class
       Period (encompassing short interest reported from April 30, 2013 through April 30, 2014)
       ranged from 1.50 million shares to 7.33 million shares, with an average short interest of
       3.04 million shares. As a percentage of shares outstanding, short interest ranged from
       3.2% to 15.6% and, as a percentage of public float (also including short interest), short
       interest ranged from 3.3% to 14.2%. See Exhibit IX. This wide range of short interest
       suggests that arbitrageurs and traders with negative views on CommVault were able to
       trade actively.      The fact that there was arbitrage and trading activity supports the
       conclusion that CommVault common stock traded in an open, well-developed and
       efficient market.




       92
            Hundreds of additional institutional investors and investment advisors made up the remaining
            28% and 14% of the float, respectively, that is not accounted for by the institutional investors
            and investment advisors listed in Exhibit VIII.
       93
            See note 25. Other courts have noted the level of institutional investors in assessing market
            efficiency. See, e.g., In re Alstom SA Sec. Litig., 253 F.R.D. 266, 280 (S.D.N.Y. 2008); City
            of Ann Arbor Emps' R et. Sys. v. Sonoco Prods. Co., 270 F.R.D. 247, 251 (S.D.Cal. 2010);
            Billhofer v. Flamel Techs., S.A., 281 F.R.D. 150, 153 (S.D.N.Y. 2012).

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                      a)       Put-Call Parity94
                67.    In addition to trading “naked” long and short positions in the common stock
       directly, arbitrageurs can also profit from any perceived mispricing of the common stock
       by trading in call and put options on the common stock.95 In an efficient market, the
       various call and put options on a common stock will be priced relative to one another
       (and the common stock) so as to provide zero economic profits from arbitraging these
       securities against one another.96 Economists refer to this no-arbitrage state as “put-call
       parity.”

                68.   Put-call parity is a theoretical relation between call option prices, put option
       prices and stock prices that should hold because a portfolio of put and call options plus
       risk-free bonds (accounting for borrowing money to pay for positions or lending the
       money garnered from the short sale) can be constructed to replicate the payoff from
       purchasing the underlying common stock. For American-style options on stocks, the put-
       call parity relation implies a lower and an upper bound on the value of the put and call
       option prices such that the following condition is satisfied:97

                                           S − X ≤ C − P ≤ S − Xe−rt,




       94
            In a recent case, In re Groupon, Inc. Securities Litigation, the court held that “a put-call
            analysis is simply not required to establish market efficiency under Basic and Halliburton.”
            2015 WL 1043321, at *9 n. 6. Nevertheless, I still evaluate the put-call parity conditions
            together with the operational and price-related factors the courts rely upon. In this analysis, I
            also find that the evidence supports the conclusion that CommVault common stock traded in
            an open, developed and efficient market.
       95
            A call option gives the holder the right, but not the obligation, to purchase the underlying
            security at a specific price (the “exercise price”) on, or possibly before, a specific date (the
            “expiration date”). A put option gives the holder the right, but not the obligation, to sell the
            underlying security at the exercise price on, or possibly before, the expiration date.
       96
            Zero profits is an economic term that means no abnormal returns net of transactions costs.
       97
            For example, see John C. Hull, Options, Futures, and Other Derivatives 211 (Pearson
            Prentice Hall, 7th ed. 2009). CommVault did not pay any dividends on its common stock
            during the Class Period and, therefore, an adjustment to put-call parity for dividends is not
            required here.

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       where S denotes the current price of the underlying common stock, X denotes the exercise
       price of the option, C is the call-option price, P is the put-option price, r is the risk-free
       interest rate,98 and t is the time to expiration of the options.99

                 69. When arbitrage or profitable trading strategies exist, this relationship no
       longer holds and the condition is violated. In other words, persistent violations might
       suggest the lack of arbitrage activity or artificial restrictions to trading that inhibit the
       market response to new information. Persistent violations suggest that the common stock
       does not trade in an open, well-developed or efficient market.

                 70. I conducted an empirical test to determine whether CommVault’s common
       stock and exchange-traded options on CommVault common stock violated this put-call
       parity condition on each day during the Class Period.100 For the analysis, I obtained end-
       of-day bid and ask data for options on CommVault common stock from iVolatility.
       Using bid and ask quotes for CommVault common stock and options, I created put-call
       pairs over which to test the put-call parity condition.101

                 71.   I then tested these multiple option pairs along with the stock price to
       determine if there were violations of the put-call parity condition. Because these bounds
       are derived from the economic assumption of no arbitrage, it is important to test the



       98
             For the risk-free interest rate r in the equation above, I used the U.S. Treasury constant
             maturity rate closest to the number of days to expiration for each respective option. The
             interest rate data were obtained from the Federal Reserve Board database. The following cut-
             offs were used in assigning interest rates to time to maturity: 1-60 days, 1-month rate; 61-136
             days, 3- month rate; 137-273 days, 6-month rate; 274-547 days, 1-year rate; 548-912 days, 2-
             year rate; and over 912 days, 3-year rate. I converted the interest rates to continuous
             compounding using the formula: 2 x ln(1+r/2), where r is the interest rate based on
             semiannual compounding.
       99
             For options with expiration dates on Saturday, I set the number of days to expiration as the
             expiration date less the trading date less one. Otherwise, I set the number of days to
             expiration as the expiration date less the trading date.
       100
             At any given time, there are multiple put and call options that trade based on CommVault’s
             common stock. These put and call options can differ in terms of exercise price and expiration
             date.
       101
             I exclude any observation where the bid price of the stock or option was greater than or equal
             to its ask price. This removes 39 possible option pairs of data. I use the closing bid and ask
             on the NASDAQ Global Select for CommVault’s common stock obtained from Bloomberg.

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       condition based on realistic buying and selling opportunities. Therefore, the lower bound
       of the equation above (i.e., the left-hand term in the equation) is calculated using the ask
       quote for the call option, the bid quote for the put option and the bid quote for the stock,
       while the upper bound of the equation (i.e., the right-hand term in the equation) is
       calculated using the bid quote for the call option, the ask quote for the put option and the
       ask quote of the stock.

                 72.   The magnitude of the violation in percentage terms was calculated for each
       option pair in relation to the bid-ask midpoint of CommVault’s common stock (Sbidask),
       specifically as the absolute value of:

                 {min[0, Sask - (Cbid - Pask + Xe-rt)] + max[0, Sbid - (Cask - Pbid + X)]} / Sbidask.102

                 73.   As Exhibit X shows, there was only 1 violation out of the 19,369 valid
       option pairs. Therefore, the de minimis number of violations of the put-call parity
       condition, or less than 0.01% of the end-of-day quotes, suggests that trading strategies to
       profit from put, call and stock mispricing were not available throughout the Class Period,
       thus providing evidence that arbitrageurs could trade and were freely trading in
       CommVault common stock.103 The de minimis number of violations of the put-call parity
       condition supports the conclusion that CommVault common stock traded in an open,
       well-developed and efficient market during the Class Period.

                 D. Conclusion Based on the Operational Factors

                 74.   In summary, the operational factors provide strong evidence that
       CommVault common stock traded in an open, well-developed and efficient market
       throughout the Class Period.




       102
             The result was also rounded to the nearest 0.01%.
       103
             When there was a violation, the magnitude measured as a percent of the midpoint of stock
             bid-ask prices was only 0.04%.

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       VI.      THE PRICE-RELATED FACTORS DESCRIBING MARKET EFFICIENCY
                OF COMMVAULT COMMON STOCK

                A. Price Reaction to Unexpected, New, Value-Relevant Information

                         Background

                75.   What is often referred to as the fifth Cammer factor is “a cause and effect
       relationship between unexpected corporate events or financial releases and an immediate
       response in the stock price.”104 As the Krogman court noted, “in an efficient market, a
       stock’s price remains relatively stable in the absence of news, and changes very rapidly
       as the market receives new and unexpected information.”105

                76.   To detect whether the price of CommVault common stock reacted in a
       reasonable and timely fashion to disclosures of unanticipated information, I ran a series
       of empirical tests using the results from an event study. Event studies are widely used in
       academia, litigation matters and investment practices, and have been a standard statistical
       procedure used by financial economists for over thirty years. They are generally used to
       measure the reaction of market participants (and thus the security price) to the disclosure
       of new information. In an event study, commonly utilized statistical methods are used to
       test whether a stock price movement on a particular date is statistically significant – i.e.,
       is not the product of chance.         To determine whether a stock price movement is
       statistically significant, an economist removes the outside influences on the stock price
       movement and compares the remaining firm-specific portion of the stock price movement
       on the date in question to the typical or normal volatility of the Company’s stock. This
       comparison is used to scientifically determine if the firm-specific portion of the stock
       price movement is anomalous or outside the bounds of what would be expected by chance.

                77.   To perform an event study, one begins by removing the market- and
       industry-wide influences on an individual security’s price movements. What remains or
       is isolated from the security’s actual price movement is what is generally referred to as
       the “firm-specific effect.” This approach uses a so-called market model regression to


       104
             Cammer, 711 F. Supp. at 1287.
       105
             Krogman, 202 F.R.D. at 477.

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       partition a company’s common stock-price movement on each trading day into three or
       more parts: the movement caused by market-wide influences, or the “market effect”; the
       movement caused by industry-wide influences, or the “industry effect”; and the
       movement caused by firm-specific influences, or the “firm-specific effect.” As will be
       described in more detail below, on each day the firm-specific portion of the stock price
       movement or the “firm-specific effect” is obtained by subtracting the predicted stock-
       price movement for that day (based on the predicted price movement generated using the
       actual market- and industry-wide factors on that day) from the actual stock price
       movement on that same day. This subtraction yields the excess or “abnormal return” for
       that day, and represents the residual portion of the return (i.e., the firm-specific portion of
       the return) that is not predicted or explained by market- and industry-wide influences.

                 78.   The event study methodology then provides empirical evidence showing
       whether these firm-specific abnormal returns are outside the bounds of what would be
       expected by chance or what the economist calls statistically significantly different from
       zero (hereinafter referred to as “significant returns”). If abnormal returns are outside the
       bounds of what would be expected by chance, that means the absolute value of the
       abnormal returns is greater than the level that would be expected if the returns were
       generated by a random process.

                 79.   The specification of the regression model for an event study includes certain
       explanatory variables – i.e., the variables that explain the variation in the daily returns to
       the common stock. The event study will, at a minimum, include an explanatory variable
       describing general market returns. There are many different acceptable specifications,
       and I have chosen to use a widely used market model regression specification that
       includes as explanatory variables the general market returns and the returns to an industry
       index. This specification can be written as:

                                     Rt =  + 1(Rmt) + 2(INDUSTRYt) + et.106




       106
             This equation is a time-series where the variables are measured at comparable times. In this
             case, the time interval is at the daily close of trading.

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                 80.   In this equation, Rt is the daily return to the common stock, Rmt is a proxy
       for the daily market return and INDUSTRYt is a proxy for the daily industry return, while
       α and β represent the intercept coefficient or constant term and other regression
       coefficients and et represents an estimation error for each date. As explained below in
       paragraph 87, in the market model regression, “dummy variables”107 are often included to
       account and adjust for atypical variation in the daily returns to the common stock that
       result from the disclosures during the Control Period of significant firm-related
       information.

                 81.   Once the appropriate specification is selected, econometric regression
       methods are used to estimate the parameters or coefficients in the equation above, namely
       , 1, and 2, during the Control Period. Data from a period immediately prior to the
       date when the firm-specific abnormal return is to be examined is generally used as the
       Control (or estimation) Period, as it is here with the use of rolling regressions (described
       below).108 The second step uses the estimated coefficients, namely , 1, and 2, and
       multiplies them by the actual observed daily return measures for their respective
       explanatory variables on the date or dates (if a multiple-day event window is used)
       immediately following the end of the Control Period. On each day during the class
       period, the products of these multiplications are summed to calculate the predicted daily
       return. On each date, the abnormal return (also referred to as the excess return or
       residual) is calculated by subtracting the predicted daily return from the actual daily
       return.

                 82.   In the third step, to determine if the abnormal return on that date is outside
       the bounds of what would be expected by chance, a statistical test called the t-test is
       employed to assess the statistical significance of the abnormal return for each date. The


       107
             A dummy variable is an additional explanatory variable that takes on the value of 1 on the
             date indicated and 0 for all other dates. In econometric time-series analysis, dummy variables
             are often used to indicate a non-recurring event that is unique, unusual or anomalous, such as
             a specific earnings announcement.
       108
             “There are essentially four choices for the estimation period: before the event window, during
             the window, after the window, and around the window. The majority of events studies use an
             estimation period before the event.” Glenn V. Henderson, Jr., Problems and Solutions in
             Conducting Event Studies, 57 Jnl. of Risk and Ins. 282, 291 (June 1990) (emphasis added).

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       t-test is based on a t-statistic, which is calculated by taking the estimated abnormal return
       and dividing it by the estimated square root of the variance of the abnormal price
       movements during the Control Period. The estimated square root of the variance is called
       the standard error of the regression. The standard error is estimated from the regression
       and is supposed to represent the typical or normal volatility of the unexplained or residual
       price movements of the common stock. This statistical test is used to determine whether
       the abnormal return is outside the bounds of what would be expected by chance; or, in
       other words, whether it is significantly different from zero with a specified degree of
       certainty, where the degree of certainty is equal to one minus the p-value or probability of
       observing an abnormal return calculated from the market model regression that is equal
       to or greater than a specified number based on statistics. Here, I use the generally
       accepted benchmark in academic publications of a 5% significance level. This means
       that when the abnormal return is statistically significant, I can conclude that the abnormal
       return is outside the bounds of what would be expected by chance, with 95% confidence.

              83.   Finally, in the typical event study performed in the context of class
       certification, there is an examination of the relationship between the abnormal returns, the
       statistical significance of those abnormal returns, and news related to the subject
       company. Below, I examine these relationships for CommVault common stock using
       three types of empirical analyses.

                        Event Study for CommVault Common Stock

              84.   To implement the event study related specifically to CommVault common
       stock, I adjust the daily percentage returns on CommVault common stock to eliminate
       market-wide and industry-wide influences by performing a regression using the market
       model described above. In this market model regression, the daily percentage return of
       CommVault common stock is the dependent variable. The independent variables are the
       NASDAQ Composite Total Return Index (represented by Rmt; Bloomberg identifier
       “XCMP”) and the S&P 400 Software Industry Index (represented by INDUSTRYt;




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       Bloomberg identifier “S4SOFT”).109 The industry index is measured net of market.110
       Exhibit XI contains the members of the industry index at the start and end of the Class
       Period and at the end of 2013.

                 85.   For each trading day of the Class Period, as well as for two extra days,
       namely May 6, 2013 (the date before the beginning of the Class Period) and April 25,
       2014 (the date following the date of the final corrective disclosure), I use a rolling period
       of 120 trading days before each date, to estimate a separate set of parameters (namely ,
       1, and 2) used to calculate the abnormal return and the standard error for that
       date. Therefore, I have run 246 separate market model regressions using 246 Control
       Periods, with each Control Period ending on the trading date immediately prior to the
       date for which I calculate the abnormal return.

                 86.   Consistent with the market model regression specification I used to support
       my evaluation of whether DFC Global Corp (“DFC”) common stock traded in an open,
       well-developed and efficient market,111 along with the two return indexes specified in the
       market model regression above I use dummy variables on six dates, including January 30,



       109
             The S&P 400 Software Industry Index comprises stocks in the S&P 400 Midcap Index that
             are classified in the Global Industry Classification Standard (GICS) Level 3. The S&P Select
             Industry Indices are designed to measure the performance of narrow GICS sub-industries or
             groups of sub-industries. At the start and end of the Class Period, this index had 18 and 19
             members, respectively. CommVault was a member of this index starting on February 14,
             2013. I removed the impact of CommVault’s daily stock price movements from the changes
             in the daily value of the industry index. I removed CommVault’s daily return based on its
             daily index weight (source: Bloomberg), where the daily industry return on date t is equal to:
             Return of the S4SOFT on date t minus the product of CommVault’s weight on date t-1 times
             CommVault’s daily return on date t, all divided by one minus CommVault’s weight on date
             t-1. For this procedure, I use CommVault’s daily return calculated based on NASDAQ
             Global Select closing prices (Bloomberg identifier CVLT UW).
       110
             I net the market return from the industry return to minimize a statistical property referred to
             as multicollinearity. To net the market return, I regress the industry return on the market
             return and use the obtained residual return (i.e., the industry return netting out market effects)
             as the industry return in my market models for CommVault.
       111
             W. Palm Beach Police Pension Fund v. DFC Global Corp., 2016 WL 4138613, at *13 (E.D.
             Pa. Aug. 4, 2016) (finding that “Dr. Hartzmark’s report includes data to support the
             conclusion that abnormal returns were experienced on dates that included corrective
             disclosures. . . . Dr. Hartzmark has data underlying his conclusions and Dr. Marcus just has
             noise.”).

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       2013, May 7, 2013, July 30, 2013, October 29, 2013, January 29, 2014 and April 25,
       2014.112 (See Exhibit XII).           These dates all include disclosures by CommVault
       management of the Company’s prior quarterly (or annual) earnings.113

                 87.   I include a dummy variable when there is a release of important or
       significant firm-related information, because should that single date have a large
       abnormal return caused not by chance, but by the disclosure of firm-related information,
       it would then be used for the subsequent 120 days to estimate 120 sets of regression
       parameters, 120 predicted returns, and thus 120 abnormal returns and 120 standard errors.
       Therefore, if there is a large abnormal return caused by the release of unexpected firm-
       related material information, which is obviously not a random event, its influence on the
       CommVault common stock price movement must be accounted for. If it is not accounted
       for via a dummy variable, this non-random influence might contaminate the estimation
       process during the Control Period and induce a distortion or bias in the parameter
       estimates, predicted returns and thus the abnormal returns and standard errors for all 120
       subsequent days. Using dummy variables to control for the price impact of potentially
       important non-random or atypical informational disclosures in each of the 246114 different
       regression Control Periods, results in regression model coefficients that more precisely
       reflect the normal or typical return relationship between CommVault and the market and
       industry indexes, and thus improves the estimated parameters, predicted returns and
       abnormal returns.        This is a widely used and generally accepted econometric




       112
             I included one dummy variable before the start of the Class Period because it is in the
             estimation period for the early dates of the Class Period. I determined the precise time of the
             dissemination of the releases by examining the time-stamps on the press releases from PR
             Newswire (U.S.) stories available on Bloomberg or Factiva, and the time stamps for
             CommVault SEC Form 8-Ks from the SEC website. When the information was released
             after the market closed, the trading day following the disclosure date was used as the price
             impact or dummy variable date.
       113
             Because I use 120-day rolling regressions, no individual Control Period includes more than
             two dummy variables.
       114
             One for each day of the 244-day Class Period, one for April 25, 2014 and one for May 6,
             2013 (for the purposes of the statistical test of autocorrelation discussed below). Because I
             use rolling regressions, the regression estimation period for the first of the 246 rolling
             regressions begins 121 trading days prior to the start of the Class Period.

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       methodology in the academic finance literature.115 For example, Professor Carol
       Alexander suggests that “one might consider creating a dummy [variable] to model the
       timing of important news announcements… [or] whenever the data period covers … a
       temporary shift due to an extreme market movement.”116 She adds, “If dummies are
       omitted there will be residual problems that lead to inefficient parameter estimates on the




       115
             Nihat Aktas, Eric de Bodt, & Jean-Gabriel Cousin, Event Studies with a Contaminated
             Estimation Period, 13 J. Corp. Fin. 129, 129 (2007) (“In this study, we propose a test that
             reduces the impact of potentially unrelated events during the estimation period. Our
             proposition is based on a two-state version of the classical market model as a return-
             generating process. We present standard specification and power analyses. The results
             highlight the importance of explicitly controlling for unrelated events occurring during the
             estimation window, especially in the presence of event-induced increase in return volatility.”)
             Ekkehart Boehmer, Jim Masumeci, & Annette B. Poulsen. Event-study methodology under
             conditions of event-induced variance, 30 J. Fin. Econ. 253, 254 (1991). (“While we do not
             discuss the cause of event-induced variance in this paper, we show that it is necessary to
             control for variance changes to obtain appropriate tests of the null hypothesis that the average
             abnormal return is zero.”)
             G. E. P. Box & G. C. Tiao, Intervention Analysis with Applications to Economic and
             Environmental Problems, 70 J. Am. Stat. Assn., 70, 71 (1975); (“In general, the individual etj
             could be exogenous time series whose influence needs to be taken into account. For the
             present purpose, however, some or all of them will be indicator variables taking the values 0
             and 1 to denote the nonoccurrence and occurrence of intervention.”)
             David F. Larcker, Lawrence A. Gordon & George E. Pinches, Testing for Market Efficiency:
             A Comparison of the Cumulative Average Residual Methodology and Intervention Analysis,
             15 J. Fin. & Quant. Analysis 267, 272 (1980) (“Financial announcements may be viewed as
             an intervention where the term intervention refers to an event occurring between the
             beginning and end of some time series. Box and Tiao have developed a general class of
             stochastic models which incorporate the possibility of a change in the process due to
             interventions.”)
             Paul H. Malatesta, Measuring Abnormal Performance: The Event Parameter Approach
             Using Joint Generalized Least Squares, 21 J. Fin. & Quant. Analysis, 27, 27-28 (1986) (“The
             system of equations explicitly conditions the return-generating process on the occurrence or
             nonoccurrence of an event. This is accomplished by appending zero-one dummy variables to
             market model equations. The variable is set equal to one if an event occurred, and set equal to
             zero if not. The coefficients multiplying the event dummy variables, the ‘event parameters,’
             measure the event’s impact on stock returns.”)
       116
             Carol Alexander, Market Models: A Guide to Financial Data Analysis 440 (John Wiley &
             Sons Ltd 2001). Carol Alexander is a Professor of Finance at the University of Sussex and
             Managing Editor of the Journal of Banking and Finance.

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       real explanatory variables.”117 It is also consistent with methods courts have relied upon
       to certify securities classes.118

                 88.   Using the specifications of the market model above, and a rolling period of
       120 trading days prior to each date as the Control Period, I estimated a separate set of
       parameters for each trading day of the Class Period, May 6, 2013 and April 25, 2014.
       The regression results for the Class Period and the corrective disclosure date of April 25,
       2014 are summarized in Exhibit XIII. For the 245 regressions I ran over the Class
       Period (and the corrective disclosure day of April 25, 2014), the coefficients explaining
       the variation in the returns of CommVault common stock range from 1.26 to 1.86 for 1,
       and range from 0.80 to 1.54 for . The 245 adjusted R-squared measures range from
       0.31 to 0.57. The average adjusted R-squared measure is approximately 47%.

                 89.   I then used the statistics from each of the 245 regressions to determine
       whether the abnormal daily return for CommVault common stock on each of the 245
       dates was outside the bounds of what would be expected by chance. When the abnormal
       daily return is outside the bounds of what would be expected by chance, it is considered
       for that date to be non-zero and to have an abnormal return that is statistically different
       from zero at the 5% significance level. I have identified 16 days when there were
       statistically significant returns (i.e., p-values are less than or equal to 5%). These dates
       are designated as to whether they are statistically significant with either one or two
       asterisks in Appendix G depending on whether the p-values are less than 5% (one
       asterisk) or 1% (two asterisks).         In other words, when I can say with 95% (99%)




       117
             Carol Alexander, Market Models: A Guide to Financial Data Analysis 441 (John Wiley &
             Sons Ltd 2001).
       118
             For example, see In re Groupon, Inc. Sec. Litig., 2015 WL 1043321, at *5: “Dr. Feinstein
             explained that dummy variables are widely used during a control period to extract atypical
             days. Consistent with other experts, he used dummy variables to control for potentially
             abnormal returns related to earnings announcements. Accordingly, he used dummy variables
             during the control period for all earnings-related trading dates, including the event days. He
             also used a dummy variable for May 14, 2012, because it was not only an unusual trading
             day, but also because it was contemporaneously described as atypical by the news media.”
             (Citations omitted.)

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       confidence the abnormal return is outside the bounds of what would be expected by
       chance, there is one (a double) asterisk.

                 90.   In Appendix C, I present the daily chronology including CommVault
       common stock prices, returns, volumes, abnormal returns and levels of statistical
       significance along with any company news. This chronology also demonstrates the
       extent of the media coverage of CommVault.119,120

                          Cause-and-Effect Analysis Examining Important News Dates

                 91.   In Exhibit XIV, I present empirical information related to the abnormal
       returns on the five dates used as dummy variables during the Class Period, which also
       include the two dates when the Complaint alleges there were corrective disclosures.




       119
             During the Class Period, numerous news stories about CommVault appeared in leading
             financial publications, including Associated Press Newswires, Bloomberg First Word;
             Bloomberg News, Dow Jones Institutional News, Investor’s Business Daily, and Reuters
             Significant Developments. The broad dissemination of information about CommVault
             though the media, analyst reports and regular SEC filings supports the conclusion that
             CommVault common stock traded in an open, developed and efficient market during the
             Class Period. See, e.g., In re HealthSouth Corp. Sec. Litig., 261 F.R.D. 616, 635 (N.D. Ala.
             2009): “The extensive coverage of HealthSouth in general and its bonds in particular by
             investment professionals, public media, and institutional investors reflects that HealthSouth
             notes traded in an efficient market.”
       120
             For the CommVault chronology, I compiled lists of SEC filings, analyst reports, and news
             articles. I compiled the list of all of CommVault’s SEC filings from May 1, 2013 to April 30,
             2014 from the SEC website. The list of analyst reports is based on reports available from the
             Thomson One, Thomson Reuters Knowledge and Capital IQ electronic databases in addition
             to reports provided by counsel. For Capital IQ, I searched for reports on “Commvault
             Systems, Inc.” between 4/25/2013 and 5/6/2014 with the “Primary symbol only” option on.
             For Thomson One, I searched for reports on “Commvault Systems, Inc.” between 4/25/2013
             and 5/6/2014. For Thomson Reuters Knowledge, I searched for reports on “Commvault
             Systems, Inc.” between 4/25/2013 and 5/6/2014 with the “Primary Ticker Only” option on.
             This is not necessarily a comprehensive list of all analyst reports issued on CommVault. For
             news articles, I searched Bloomberg and Factiva. For Bloomberg, I used the ticker symbol
             “CVLT US” and searched for all sources with “medium” relevance excluding Internet-linked
             headlines, Bloomberg Social Velocity Alerts, Company Filings, Edgar SEC - Online,
             Bloomberg Transcripts, Twitter, Needham, and Bloomberg Intelligence. For Factiva, I
             searched all sources for the company code for “CommVault Systems Inc” from 5/1/2013 to
             4/30/2014. To eliminate duplicate stories for each of the news providers (Bloomberg and
             Factiva), a news story was considered a duplicate and eliminated if it had exactly the same
             date, timestamp, headline, news source, and lead paragraph as another news story from the
             same provider.

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       These corrective disclosures are alleged to have caused decreases in the price of
       CommVault common stock on January 29, 2014 and April 25, 2014.121

                92.   Three of the five dates, including both of the days with potential impacts
       from the corrective disclosures, have rapid price responses.          Both of the corrective
       disclosure days have negative abnormal returns that are highly statistically significant
       (both with p-values at or below 1%, which corresponds to a confidence level above 99%).

                          Cause-and-Effect Analysis Examining Days with News versus Days
                          without News – Background 122

                93.   In an efficient market, one expects that there will be some random, large
       price movements with no news, and conversely, it is expected in an efficient market that
       there will be news without large price movements. In securities litigation, the event study
       described above inevitably examines the impact on the security price of a confluence of
       different types of information that is disseminated. It is not unusual that over a class
       period the corporation will announce earnings, dividends, discoveries, new products,
       management changes, new issues, lawsuits it files, lawsuits filed against it, projections,
       regulatory changes that impact its business, and more. In an efficient market, each
       unanticipated material piece of information will be expected to have an impact on the
       security price.     Further, if the company’s business as reflected in its earnings is
       predictable (or possibly engineered to be predictable or possibly unchanging because bad
       news is omitted), then earnings announcements (other than the corrective disclosure) will
       be anticipated by investors. Thus, for example, in an efficient market, there are many
       instances when it is expected that there will be no relationship between earnings
       announcements and price reactions. This is why the Cammer court concluded, “Finally,
       it would be helpful to a plaintiff seeking to allege an efficient market to allege empirical
       facts showing a cause and effect relationship between unexpected corporate events or




       121
             Complaint ¶¶257, 265.
       122
             A more in-depth discussion of the topics, techniques and issues in this and the following
             subsection can be found in Michael L. Hartzmark & H. Nejat Seyhun, The Curious Incident
             of the Dog that Didn’t Bark and Establishing Cause-and-Effect in Class Action Securities
             Litigation, 6 Va. L. & Bus. Rev. 415 (2012).

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       financial releases and an immediate response in the stock price. This, after all, is the
       essence of an efficient market and the foundation for the fraud on the market theory.”123

                94.    Furthermore, there are unobserved factors that might lead to significant
       price movements without news.            These factors include, among others, unobserved
       changes in the market’s expectations, imperfections in the statistical methods employed
       to evaluate systematic cause-and-effect relationships, and private trading activity—for
       example, insider trading or portfolio rebalancing. These all might drive a large price
       response without an observed cause.

                95.    Therefore, in addition to the examination above of the general relationship
       between the price reactions associated with the dates used as dummy variables above, I
       examine the relationship between disclosures and price reactions for all the dates in the
       Class Period.

                96.    All the dates within the Class Period (plus April 25, 2014, the price impact
       date from the final corrective disclosure) can be categorized based on the observed
       relationships between the statistical significance or insignificance of the abnormal returns
       and whether they are news dates or not. The four categories, as shown below, include:

                      (1)   No news and no statistically significant abnormal return;

                      (2)   Unexpected news and statistically significant abnormal return;

                      (3)   No news and statistically significant abnormal return; and

                      (4)   Unexpected news and no statistically significant abnormal return.

               OBSERVATION ON A DATE                          No News                  News
                 No Statistically Significant                                   Inefficient Market
                                                         Efficient Market
                     Abnormal Return                                                    (?)
                  Statistically Significant
                                                      Inefficient Market (?)     Efficient Market
                     Abnormal Return

                97.    One will find that on most dates, the observed relationship is that of no news
       and no statistically significant abnormal return, which is consistent with market
       efficiency and supports the fifth Cammer factor.          On fewer dates, one will find a


       123
             Cammer, 711 F. Supp. at 1287 (emphasis added).

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       statistically significant abnormal return and news, a finding that is also consistent with
       market efficiency and supports the fifth Cammer factor. It is in the other two categories
       above with the question marks (“?”) where there is potential disagreement as to whether
       the security trades in an efficient market. Thus, the following two questions emerge:

                       (1)    If there is a significant return, but no news, is this evidence that the
                              security trades in an inefficient market?

                       (2)    If there is news, but no significant return, is this evidence that the
                              security trades in an inefficient market?

                 98.    To show that for CommVault the answers to these questions are “No,” I
       implement a statistical test utilizing all information about CommVault news and
       significant returns throughout the Class Period to populate the cells indicated in the table
       above. I use this statistical test to determine whether there is empirical support for the
       conclusion that CommVault common stock traded in an efficient market.

                             Cause-and-Effect Analysis Examining Days with News versus Days
                             Without News – CommVault

                 99.    Using a statistical approach, I calculate the number and percentage of days
       based on news releases (which in this case are the same dates as used for the dummy
       variables) and the abnormal returns derived from the regression results in Exhibit XIII. I
       then employ a scientific method to establish a lower bound number (or percentage) of
       observed days with significant returns that would be expected to be observed if there is
       no relationship between news and abnormal returns (i.e., expected simply by chance).

                 100. As discussed above when selecting the dummy variables, I have determined
       that out of the 245 days in the Class Period and the day immediately following (April 25,
       2014) there were 5 days with news where there could have been although not necessarily
       would have been announcements of unanticipated, material news.124 Therefore, out of the
       245-day Class Period (including April 25, 2014), approximately 2% (=5/245) of the days
       have such news releases. In Appendix G, I identified the 16 dates with statistically
       significant abnormal returns based on the event study I conducted. Therefore, 6.5%


       124
             The five news dates are listed in Exhibit XII.

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       (=16/245) of the days have statistically significant abnormal returns. The information is
       summarized in Exhibit XV, which shows that out of the 245 days in the Class Period
       (including the corrective disclosure date of April 25, 2014), there were 3 (out of 5) days
       with significant returns and news, 13 (out of 240) days with significant returns and no
       news, 2 (out of 5) days with insignificant returns and news, and 227 (out of 240) days
       with insignificant returns and no news.

                 101. To begin the analysis, I estimate the statistical properties of the cause-and-
       effect relationship between stock returns and news in a hypothetical world where I
       assume there is no link between price reactions and news. In other words, I assume that
       CommVault daily stock prices do not reflect full information and that significant returns
       are not associated with the disclosure of information. It then logically follows that if this
       hypothetical world is descriptive of the actual CommVault world, then we expect there to
       be no relationship between significant returns and CommVault news. Therefore, I would
       expect to observe that: (a) CommVault daily returns are determined arbitrarily or in a
       random fashion, and (b) there will be no link between news and significant returns. In
       other words, CommVault news and significant returns are randomly distributed.

                 102. To test whether this hypothesis is a reasonable description of the actual
       world, I use a statistical method employing a generally accepted approach called
       “bootstrap testing.”125 Using this method, I have created test statistics to determine
       whether the observed relationships between CommVault significant returns and news are
       likely to have been generated in a random fashion. If news is not linked to significant
       returns, then I would not expect there to be a statistically significant relationship that
       distinguishes those days when there is or is not news from those days when there are or
       are not significant returns. In other words, there would be no cause-and-effect correlation
       because the distributions of significant returns and news are both random events.


       125
             This “bootstrap testing” analysis is much like running any type of game of chance, and is
             similar to the type of process used by state lotteries with multicolored balls to determine the
             odds of winning and the payouts. The calculations can also be completed using other
             statistical tests. I find this example easiest to explain and understand. See Bradley Efron &
             Robert J. Tibshirani, An Introduction to the Bootstrap 1 (CRC Press LLC, 2d ed. 1998) (“The
             bootstrap is a recently developed technique for making certain kinds of statistical
             inferences.”).

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                 103. This method utilizes traditional principles of statistical inference, as well as
       information about trading activity, abnormal returns, and disclosures throughout the Class
       Period. To determine whether 3 days with significant returns and news is a number
       above or below the number of days that would be observed if the relationship between
       news and significant returns were random, I calculate the number of days based on a
       game of chance to establish a randomness benchmark.                     In this game, I perform a
       computer simulation that takes two urns and fills each of them with a total of 245 maize
       and navy balls (these represent the 245 days in the Class Period, including the corrective
       disclosure date of April 25, 2014). In the “News Urn” I have 5 navy balls (representing
       the 5 days when there is news) and 240 maize balls (representing the 240 days when there
       is no news). In the “Abnormal Return Urn” I have 16 navy balls (representing the 16
       days when there are significant returns) and 229 maize balls (representing the 229 days
       when there are insignificant returns). I then simultaneously draw a ball from each of the
       two urns 245 times and count the number of times when navy balls are simultaneously
       drawn from both of the urns (representing the days when there is both a significant return
       and news).126 After I draw all 245 balls from each urn and count the number of times I
       simultaneously pull navy balls from the two urns, I replace all 245 of the balls in each
       urn, mix everything up, and go through this process again; repeating it 100,000 times.

                 104. Using this bootstrap method (i.e., drawing the 245 navy and maize balls
       100,000 times) I am able to calculate the likelihood of observing 3 or more of 245 days
       when the navy balls are pulled at the same time (representing days when there are both
       significant returns and news) or a 1.2% (=3/245) rate of matching, which is what I
       observe based on the results of the market model.

                 105. The results generated from this probabilistic model or game related to the
       CommVault matter demonstrate that if one puts forth the “null” hypothesis that news and
       significant returns are unrelated (i.e., a randomness benchmark), there is literally a 0.22%
       likelihood of observing 3 or more draws (or days) when navy balls are simultaneously
       drawn from each urn (i.e., less than a 99% likelihood of observing a rate of matching a



       126
             I also calculate the expected numbers in the three other cells.

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       significant return with news that is equal to or greater than 1.2%). Thus, using traditional
       statistical confidence levels, I can say that there is more than a 99% likelihood that
       CommVault news and large price movements of CommVault stock during the Class
       Period were related and not generated by some random relationship.

              106. An alternative approach for testing whether there was a statistically
       significant difference between the observed proportions of abnormal returns on days with
       news relative to days without news shows there is a significant difference. On 13 of 240
       days (or 5.4%) with no news the abnormal returns are significant, while on 3 of 5 days
       (or 60%) with news the abnormal returns are significant. These percentages differ by
       approximately 11 times, and from a statistical point of view, there is over a 99%
       likelihood that these two measures differ by a statistically significant percentage. Thus,
       this measurement also provides support for the robustness of the test I discuss above in
       paragraph 105.

              107. Finally, I examine the results generated from this probabilistic model and
       ask what number and percentage of days I would have expected to find matching if there
       were support for the “null” hypothesis that news and significant returns were unrelated.
       If the process were random, I would expect to observe only 0.33 out of 245 draws (days)
       when navy balls are simultaneously drawn from both urns (i.e., approximately 2% of the
       total 16 days with significant returns associated with an identifiable news event). These
       expected 0.33 days are well below the 3 days I observe, representing only 11% of the 3
       days I actually observe.

              108. Overall, I have demonstrated that empirical evidence of the relationship
       between CommVault common stock returns on days with news versus days with no news
       supports the conclusion that CommVault common stock traded in an open, well-
       developed and efficient market throughout the Class Period.

                        Cause-and-Effect Analysis Examining Autocorrelation

              109. Finally, I conducted a statistical test to determine whether the daily
       abnormal returns of CommVault common stock exhibit persistent and systematic




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       autocorrelation using returns and lagged returns.127              Autocorrelation is a statistical
       property of the series of returns of a security wherein tomorrow’s security price
       movement can be systematically predicted with a reasonable degree of statistical
       certainty based solely on the security price movement today (or at some period in the
       past). The presence of persistent and systematic autocorrelation suggests the possibility
       that investors might have unexploited profit opportunities from naïve trading strategies
       (i.e., either buying and holding the security or shorting and holding the short position)
       that are greater than the transaction costs.              Persistent and statistically significant
       autocorrelation measures the empirical relation between stock returns over consecutive
       days (e.g., the return today will enable an investor to predict the return tomorrow). Some
       have argued that persistent and significant autocorrelation in the returns might indicate a
       violation of market efficiency in that it suggests that the security price does not react
       quickly, making available profit opportunities from naïve trading strategies that are
       sustained over time.

                 110. My statistical analysis of CommVault abnormal stock returns for the 244
       days of the Class Period (excluding the corrective disclosure date of April 25, 2014)
       shows that there is no statistically significant autocorrelation.128              I ran a standard
       statistical model by regressing each trading day’s abnormal return on the abnormal return
       from the prior trading day. From this model, I estimate a coefficient of -0.02 representing
       the measurement of the relationship between the abnormal current (i.e., today) and lagged
       (i.e., yesterday) returns and a t-statistic of -0.31, which is below the 1.96 level commonly
       used to demonstrate whether there is a statistically significant relationship between


       127
             “Autocorrelation is usually found in time-series data. Economic time series often display a
             ‘memory’ in that variation is not independent from one period to the next.” Greene, supra
             note 29. In other words, autocorrelation is the measurement of the relationship between the
             security return at time t and the return of the same security at some fixed time in the past.
             First-order autocorrelation would be found when there is a statistically significant relationship
             between the common stock return today and the common stock return yesterday. Another
             way of looking at this concept is that if an observer can use the return from yesterday to
             predict with some level of certainty the return today, there exists autocorrelation. See
             Lehocky, 220 F.R.D. at 506-507 n.20 (noting that both parties’ experts agreed on the
             helpfulness of autocorrelation); PolyMedica, 453 F. Supp. 2d at 276–78.
       128
             I estimate a market model regression to obtain the abnormal return on May 6, 2013 in order
             to include May 7, 2013 in the sample.

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       yesterday’s and today’s abnormal returns. Thus, I conclude that there is no statistically
       significant autocorrelation of CommVault abnormal stock returns during the Class
       Period. See Exhibit XVI.

                111. In summary, the statistical test I performed shows no statistically significant
       autocorrelation for CommVault abnormal returns at the five percent level of statistical
       confidence, which is consistent with the conclusion that CommVault common stock
       reacts quickly to news and trades in an efficient market.

                         Conclusion Based on Price-Related Factors

                112. My analysis in this section shows that the disclosure of material news
       caused rapid and significant movements in the prices of CommVault common stock. The
       demonstration of this cause-and-effect relationship between events and subsequent price
       movements meets the condition for market efficiency stated in the Cammer decision,
       namely that “[o]ne of the most convincing ways to demonstrate [market] efficiency
       would be to illustrate, over time, a cause and effect relationship between company
       disclosures and resulting movements in stock price.”129

       VII. ABILITY TO CALCULATE DAMAGES ON A CLASS-WIDE BASIS FOR
            HOLDERS OF COMMVAULT COMMON STOCK

                113. The calculation of damages for violation of Section 10(b) of the Exchange
       Act on a Class-wide basis is subject to a common methodology that begins with the same
       type of event study I have used to evaluate the price-related factors. Using the results of
       an event study along with firm-specific information, the level of inflation in the price of
       CommVault common stock caused by Defendants’ alleged misstatements and omissions
       can be calculated based on the price reaction to disclosures revealing the alleged
       misstatements and omissions. From this, daily levels of inflation can be calculated
       throughout the Class Period. Finally, these daily levels of inflation along with the actual




       129
             Cammer, 711 F. Supp. at 1291.

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       trading activity of Class Members can be used to calculate individual damages in a fairly
       mechanical fashion.130

                 114. For example, if Defendants are found to have violated the securities laws
       during the Class Period through all or some of the dates that the Complaint alleges as
       corrective disclosures with statistically significant stock price movements, I would use
       the results from the regression of the market model presented in Exhibit XIII to begin to
       measure the price impact and level of inflation caused by the misstatements and
       omissions.

                 115. However, in a loss-causation analysis, before inflation is estimated and
       damages are calculated, further analysis of the disclosures on those dates would be
       required to account for the portion, if any, of the price movements that is unrelated to the
       alleged wrongdoing. For example, if there were multiple types of material disclosures on
       any or all of the corrective disclosure dates, one would want, for the purposes of
       calculating inflation, to disaggregate the abnormal price reaction into separate
       components. This additional analysis would apply to all Class members. This evaluation
       and separation of the disclosures on the corrective disclosure dates would need to be
       undertaken, when discovery is completed, to accurately calculate the inflation due to the
       alleged misstatements and omissions.

                 116. Once the price impact from the alleged misstatements and omissions is
       segregated from the total price reaction, I could then measure the stock price inflation due
       to the alleged wrongdoing for each day during the Class Period.                  These inflation
       measures would then be analyzed together with Class members’ purchases and sales to
       calculate damages on a Class-wide basis, which would be a fairly straightforward and
       formulaic exercise.

                 117. I have not been asked to calculate Class-wide damages or evaluate loss
       causation, both of which depend in part on ongoing discovery.


       130
             In addition, the 90-day period following the end of the Class Period would also need to be
             examined. Under the Private Securities Litigation Reform Act of 1995, a plaintiff may not
             recover more than the difference between the purchase price and the mean trading price of the
             stock during the 90-day look-back period. 15 U.S.C. § 78u-4(e)(1).

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       VIII. CONCLUSION

             118. In this report, I have shown empirical evidence of:

                 (1)    The high average weekly turnover of CommVault common stock;

                 (2)    The continuous coverage of CommVault by analysts, investment
                        professionals, public press, and financial institutions, along with
                        regular and frequent disclosures by the Company in the form of press
                        releases, teleconference earnings calls and SEC filings;

                 (3)    The fact that CommVault was listed on the NASDAQ, and
                        CommVault investors benefited from having numerous market
                        makers;

                 (4)    The fact that CommVault was S-3 eligible;

                 (5)    The large market capitalization of CommVault common stock;

                 (6)    The large public float of CommVault common stock;

                 (7)    The narrow bid-ask spread of CommVault common stock;

                 (8)    The large proportion of institutional holdings of CommVault common
                        stock;

                 (9)    The variable short interest of CommVault common stock, along with
                        the observation that there are virtually no violations of the put-call
                        parity relationship of CommVault common stock and its options;

                 (10)   The relationship between CommVault common stock returns on days
                        with material news versus days with no news;

                 (11)   The rapid price reaction of CommVault common stock to new material
                        information about CommVault; and

                 (12)   The lack of autocorrelation between past and current abnormal returns
                        of CommVault common stock.

             119. Based on my thorough examination of these price-related and operational
       factors that describe the market in which CommVault common stock traded during the

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       Class Period, it is my opinion that the common stock traded in an open, well-developed
       and efficient market throughout the Class Period.

              120. Moreover, it is my opinion that the calculation of damages for violation of
       Section 10(b) of the Exchange Act is subject to a common methodology for CommVault
       common stock on a Class-wide basis.



       I declare under penalty of perjury that the foregoing is true and correct.

       RESPECTFULLY SUBMITTED THIS TWELFTH DAY OF MAY 2017




       ______________________________________
       Michael L. Hartzmark, Ph.D.




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                                APPENDIX A
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                                         Chicago, IL 60615
                                           (312) 718-9699
                                   mhartzmark@HELP-Econ.com



    PRESENT POSITIONS

       HARTZMARK ECONOMICS LITIGATION PRACTICE, LLC
                President (2013 - present)
                Specializing in the application of economic, financial and accounting principles to
                securities, complex commercial, investment, intellectual property, antitrust and
                automotive litigation and regulatory matters
       OFFICE OF THE ATTORNEY GENERAL – STATE OF NEW YORK
                Independent Contractor (2013 - present)
       OFFICE OF THE ATTORNEY GENERAL – CONFIDENTIAL
                Independent Contractor (2015 - present)
       MDA FINANCIAL, INC.
                President (1981 - present)
       FINRA (fka NATIONAL ASSOCIATION OF SECURITY DEALERS) Dispute Resolution
                Member Arbitrator (2005 - present)


    EDUCATION

       Ph.D.      Department of Economics, the University of Chicago, 1984,
                  (Doctoral Exams in Industrial Organization and Regulation; Public Finance)
       M.A.       Department of Economics, the University of Chicago, 1982
       B.A.       The University of Michigan (Economics, High Honors and Phi Beta Kappa), 1978


    ACADEMIC HONORS AND FELLOWSHIPS

       John M. Olin Faculty Fellowship, (George Stigler, Director) (1986 - 1987)
       PEW Teaching Fellow, the University of Chicago (1980 - 1981)
       Phi Beta Kappa, the University of Michigan (1978)
       Parker Prize, in Labor Economics, University of Michigan (1978) -- Given for the best
       graduate or undergraduate paper in Labor Economics


    GRANTS

       Grant from the University of Chicago (1984). Center for the Study of Futures Prices: grant to
       analyze margin regulation for the Chicago Board of Trade Studies.




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    PROFESSIONAL EXPERIENCE

       CRA INTERNATIONAL, INC.
                Independent Contractor (2015)
       NAVIGANT ECONOMICS (FORMERLY CHICAGO PARTNERS, LLC)
                Academic Affiliate (2012 - 2013)
                Principal/Director (2008 - 2012)
                Vice President (2004 - 2007)
       DARMA, LLC
                President (2005 - 2008)
       PACIFIC BIOMETRICS, INC.
                Interim Chief Financial Officer (2004 - 2006)
       CRAGAR INDUSTRIES, INC.
                Chairman, CEO, President and Treasurer (1993 - 2004)
       MDA FINANCIAL, INC.
                President (1981 - present)
       FAHNESTOCK & Co., Inc. (now Oppenheimer & Co., Inc.)
                Financial Consultant (Series 7 and Series 63) (2001 - 2003)
       ECONOHIO CORPORATION
                President (1989 - 1992)
       LEXECON INC.
                Senior Economist (1987 - 1989)
       UNIVERSITY OF CHICAGO, Center for the Study of the Economy and the State, and the
                Graduate School of Business (now the Chicago Booth School of Business)
                John M. Olin Visiting Scholar (1986 - 1987)
       UNIVERSITY OF MICHIGAN, Joint with Michigan Business School (now the Stephen M.
                Ross School of Business) and Department of Economics
                Assistant Professor (1984 - 1988)
                Lecturer (1984)
       COMMODITY FUTURES TRADING COMMISSION, Division of Economics and
                Education, Washington, D.C.
                Financial Economist (1982 -1983)
       UNIVERSITY OF CHICAGO, Department of Economics
                Instructor for Economic Analysis (1981)
                Research Assistant for A. C. Harberger (1982)
                Research Assistant for Sam Peltzman (1981 - 1982)
       U. S. DEPARTMENT OF THE TREASURY, Office of Tax Analysis, Washington, D.C.
                Research Assistant (1981)




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    PUBLICATIONS

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       “An Economist's View of Amgen,” Law360, May 2, 2013.
                  http://www.law360.com/articles/438303/an-economist-s-view-of-amgen.
       “The Curious Incident of the Dog that Didn’t Bark and Establishing Cause-and-Effect in
                  Class Action Securities Litigation,” (with H. Nejat Seyhun), Virginia Law &
                  Business Review, Volume 6, Number 3, 2012.
       “Fraud on the Market: Analysis of the Efficiency of the Corporate Bond Market,” (with
                  Cindy A. Schipani and H. Nejat Seyhun), Columbia Business Law Review,
                  Number 3, Volume 2011.
       ”Luck Versus Forecast Ability: Determinants of Trader Performance in Futures Markets,”
                  Journal of Business, January 1991. Also reprinted in Classic Futures: Lessons
                  from the Past for the Electronic Age, by Lester Telser, Risk Books, March 2000.
       ”Business Valuations for the Personal Lawyer,” Law and Fact, September 1991.
       ”Is Risk Aversion a Theoretical Diversion?” The Review of Futures Markets, Volume 7,
                  Number 1, 1988.
       ”Returns to Individual Traders of Futures: Aggregate Results,” Journal of Political Economy,
                  December 1987.
       ”Regulating Futures Margin Requirements,” Review of Research on Futures Markets,
                  Volume 5, Number 3, 1986.
       ”The Effects of Changing Margin Levels on Futures Market Activity, the Composition of
                  Traders in the Market, and Price Performance,” Journal of Business, April 1986.
       ”Individual Income Taxation, 1947-1979,” (with Eugene Steuerle), National Tax Journal,
                  June 1981.


    BOARDS

       POWHATAN BUILDING CORPORATION, Director, Treasurer, (2010 - present)
       MIDTOWN EDUCATIONAL FOUNDATION, Auxiliary Board Member, (2009 - 2013)
       GLOBAL ENTERTAINMENT CORPORATION (Formerly AMEX: GEE, currently not
                listed); Director, Audit Committee Member (2004 - 2008);
       THE BOARD INSTITUTE (private software company), Financial Advisory Board (2004 -
                2006)
       SHAKER INVESTMENTS, Financial Advisory Board (1992 - 2005)
       PACIFIC BIOMETRICS, INC. (OTC BB: PBMC currently not listed and renamed as Pacific
                Biomarkers), Director and Chairman of Audit Committee (2002 - 2004)
       CRAGAR INDUSTRIES, INC. (Formerly OTC BB: CRGR, company sold);
                Director and Chairman of the Board (1993 - 2004)




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                  Deposition (5/29/2015).
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                  Elstner Associates, Inc. and Thyssenkrupp Safeway, Inc. Circuit Court of Cook
                  County; Report (4/3/2015); Deposition (7/21/2015).
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                  Northern Trust Company. U.S. District Court for the Northern District of Illinois;
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                   Rebuttal Report (3/3/2017).
       In Re Cobalt International Energy, Inc. Securities Litigation.
                   U.S. District Court for the Southern District of Texas; Report (11/2/2016);
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                                                    Appendix B
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          (U.S.) stories from Bloomberg or Factiva.
 Transcripts of teleconference earnings calls and presentations (source: Counsel):
          Earnings calls: 5/7/2013; 7/30/2013; 10/29/2013; 1/29/2014; 4/25/2014.
          Presentations: 6/12/2013; 12/4/2013; 2/11/2014; 2/12/2013; 3/4/2014; 3/11/2014.
 Investor conference presentation dates, searched through CommVault’s website
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           2016), Dkt. No. 89.
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 Credit Suisse: 1/30/2013; 5/7/2013; 6/7/2013; 7/30/2013; 10/29/2013; 1/30/2014; 4/25/2014.
 GlobalData: 5/29/2013; 8/27/2013; 11/8/2013; 12/11/2013; 1/30/2014; 3/6/2014.
 Jefferies & Company: 1/30/2013; 2/19/2013; 2/25/2013; 5/8/2013; 7/30/2013; 10/29/2013; 1/29/2014; 4/25/2014.
 JMP Securities: 2/4/2013; 5/7/2013; 7/30/2013; 10/30/2013; 1/29/2014; 2/10/2014; 4/28/2014.
 Ladenburg Thalmann & Company: 9/19/2013.

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                                                     Appendix B
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          10/15/2013; 10/29/2013.
 Macquarie Research: 1/13/2014; 1/29/2014; 4/27/2014.
 Monness Crespi Hardt: 4/21/2014.
 Needham & Company: 11/5/2012; 1/30/2013; 5/7/2013; 7/30/2013; 10/30/2013; 1/29/2014; 4/28/2014.
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 OTR Global: 4/5/2013.
 Piper Jaffray: 1/10/2013; 1/30/2013; 2/26/2013; 5/2/2013; 5/7/2013; 6/7/2013; 6/19/2013; 7/29/2013; 7/30/2013; 7/30/2013;
          9/24/2013; 10/21/2013; 10/29/2013; 12/17/2013; 1/29/2014; 4/25/2014; 4/25/2014.
 Raymond James & Associates: 1/30/2013; 2/26/2013; 5/7/2013; 7/30/2013; 10/29/2013; 1/29/2014; 4/28/2014.
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          7/31/2013; 10/29/2013; 10/29/2013; 1/28/2014; 1/29/2014; 1/29/2014; 4/23/2014; 4/25/2014; 4/25/2014.
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          1/29/2014; 4/26/2014; 4/29/2014.
 Sadif Analytics: 7/11/2013; 11/4/2013; 1/9/2014; 2/3/2014; 3/18/2014; 4/28/2014.
 Sterne, Agee & Leech: 11/28/2012; 5/7/2013; 5/30/2013; 7/30/2013; 8/27/2013; 10/29/2013; 1/29/2014; 1/30/2014;
          4/27/2014; 4/28/2014.
 Stifel Nicolaus: 11/28/2012; 1/25/2013; 1/30/2013; 1/30/2013; 2/6/2013; 2/26/2013; 5/2/2013; 5/7/2013; 5/7/2013;
          5/15/2013; 5/23/2013; 7/22/2013; 7/30/2013; 7/30/2013; 10/29/2013; 10/29/2013; 10/31/2013; 12/19/2013;
          1/16/2014; 1/29/2014; 1/29/2014; 2/3/2014; 2/3/2014; 2/10/2014; 2/11/2014; 3/13/2014; 3/18/2014; 4/16/2014;
          4/22/2014; 4/25/2014; 4/25/2014.
 Summit Research: 7/28/2013; 7/30/2013; 10/20/2013; 10/29/2013; 11/4/2013; 1/20/2014; 1/29/2014; 4/20/2014; 4/28/2014.
 Validea: 4/11/2014.
 William Blair & Company: 1/15/2013; 1/30/2013; 4/17/2013; 5/7/2013; 6/13/2013; 7/30/2013; 8/5/2013; 10/29/2013;
          1/15/2014; 1/29/2014; 4/25/2014.
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                                                     Appendix B
                                                 Materials Relied Upon

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 17 C.F.R §240.10b-5 (2011).
 15 U.S.C. §§ 78p(b), 78p(c), 78p(a) (2011).
 15 U.S.C. § 78u-4(e)(1).




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                                                                                 Appendix C
                                                                  CommVault News Chronology with Daily Statistics
   [1]            [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                               [12]
                                                Industry                  Abnormal
                                         Market Excess Predicted Abnormal   Price
  Date         Volume    Price    Return Return Return Return     Return   React   t-stat   p-Value                                             Events
5/7/2013 Tue   2,426,280 $76.33   -1.91%   0.11% 0.39%    0.40%    -2.32%    -$1.80   -1.36 17.76%    CFRA Equity Research Analyst Report (Analyst Report - Manual Entry, 05/07/2013)

                                                                                                      CFRA Equity Research Analyst Report (Analyst Report - Manual Entry, 05/07/2013)

                                                                                                      COMMVAULT SYSTEMS INC 8-K (SEC - SEC Edgar, 05/07/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for System and Method for Automating Customer-
                                                                                                      Validated Statement of Work for a Data Storage Environment (Information Technology
                                                                                                      Newsweekly - Factiva, 05/07/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for System and Method for Providing Encryption in
                                                                                                      Storage Operations in a Storage Network, Such as for Use by Application Service Providers
                                                                                                      That Provide Data Storage Services (Information Technology Newsweekly - Factiva,
                                                                                                      05/07/2013)
                                                                                                      Craig-Hallum Capital Group Analyst Report (Analyst Report - Manual Entry, 05/07/2013)


                                                                                                      Credit Suisse Analyst Report (Analyst Report - Manual Entry, 05/07/2013)

                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/07/2013)

                                                                                                      Event Brief of Q4 2013 CommVault Earnings Conference Call - Final (CQ FD Disclosure -
                                                                                                      Factiva, 05/07/2013)
                                                                                                      JMP Securities Analyst Report (Analyst Report - Manual Entry, 05/07/2013)

                                                                                                      Lake Street Capital Markets, LLC Analyst Report (Analyst Report - Manual Entry,
                                                                                                      05/07/2013)
                                                                                                      Lazard Capital Markets Analyst Report (Analyst Report - Manual Entry, 05/07/2013)

                                                                                                      Needham & Company Analyst Report (Analyst Report - Manual Entry, 05/07/2013)

                                                                                                      New Highs For NYSE Indexes; Whole Foods Up In After Hours (Investor's Business Daily -
                                                                                                      Factiva, 05/07/2013)
                                                                                                      Piper Jaffray Analyst Report (Analyst Report - Manual Entry, 05/07/2013)

                                                                                                      Raymond James & Associates Analyst Report (Analyst Report - Manual Entry, 05/07/2013)


                                                                                                      RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 05/07/2013)

                                                                                                      RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 05/07/2013)

                                                                                                      Sterne Agee & Leach Analyst Report (Analyst Report - Manual Entry, 05/07/2013)

                                                                                                      Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 05/07/2013)




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                                                                      Appendix C
                                                       CommVault News Chronology with Daily Statistics
[1]      [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                                [12]
                                      Industry                  Abnormal
                               Market Excess Predicted Abnormal   Price
Date   Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                             Events

                                                                                            Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 05/07/2013)

                                                                                            Stocks Build On Q1 Strength; CommVault, MercadoLibre Spike (Investor's Business Daily -
                                                                                            Factiva, 05/07/2013)
                                                                                            Stocks Mixed As Nasdaq Wobbles: EOG Resources Bolts Higher (Investor's Business Daily -
                                                                                            Factiva, 05/07/2013)
                                                                                            Stocks Rise With Dow, S&P Headed For New Record Highs (Investor's Business Daily -
                                                                                            Factiva, 05/07/2013)
                                                                                            William Blair & Company Analyst Report (Analyst Report - Manual Entry, 05/07/2013)


                                                                                            Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                            05/07/2013)
                                                                                            U.S. DAYBOOK: Mondelez, Electronic Arts, Whole Foods, NRG Earns (Bloomberg First
                                                                                            Word - Bloomberg, 05/07/2013 05:30 AM)
                                                                                            CommVault Announces Fourth Quarter and Fiscal 2013 Financial Results (PR Newswire
                                                                                            (U.S.) - Factiva, 05/07/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 4Q EPS 35C :CVLT US (BLOOMBERG News - Bloomberg,
                                                                                            05/07/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 4Q NON-GAAP EPS 41C :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 05/07/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 4Q REV. $138.3M :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 05/07/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 4Q REV. UP 21% :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 05/07/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 4Q SERVICE REV. $66.1M :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 05/07/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 4Q SOFTWARE LICENSES REVENUE $72.1M :CVLT US
                                                                                            (BLOOMBERG News - Bloomberg, 05/07/2013 07:40 AM)
                                                                                            CommVault Announces Fourth Quarter and Fiscal 2013 Financial Results (PR Newswire -
                                                                                            Bloomberg, 05/07/2013 07:40 AM)




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                                                                               Appendix C
                                                                CommVault News Chronology with Daily Statistics
   [1]           [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                                [12]
                                              Industry                  Abnormal
                                       Market Excess Predicted Abnormal   Price
  Date         Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                             Events
                                                                                                    *COMMVAULT 4Q ADJ. EPS 41C, EST. 34C :CVLT US (BLOOMBERG News -
                                                                                                    Bloomberg, 05/07/2013 07:40 AM)
                                                                                                    *COMMVAULT 4Q ADJ. EPS 41C, EST. 34C (Bloomberg First Word - Bloomberg,
                                                                                                    05/07/2013 07:40 AM)
                                                                                                    *COMMVAULT 4Q REV. $138.3M, EST. $133.7M :CVLT US (BLOOMBERG News -
                                                                                                    Bloomberg, 05/07/2013 07:40 AM)
                                                                                                    Commvault 4Q Adj. EPS 41c, Est. 34c (Bloomberg First Word - Bloomberg, 05/07/2013
                                                                                                    07:41 AM)
                                                                                                    *COMMVAULT SEES DOUBLE-DIGIT REV. GROWTH IN 2014 :CVLT US
                                                                                                    (BLOOMBERG News - Bloomberg, 05/07/2013 07:41 AM)
                                                                                                    CommVault Systems 4Q Adj. EPS, Rev. Beat Ests. (Bloomberg First Word - Bloomberg,
                                                                                                    05/07/2013 07:44 AM)
                                                                                                    DJ CommVault Systems Files 8K - Operations And Financial Condition >CVLT (Dow Jones
                                                                                                    Newswires - Factiva, 05/07/2013 08:02 AM)
                                                                                                    U.S. TMT Pre-Market: ARUN Prelim. Misses; EA, TRIP to Report (Bloomberg First Word -
                                                                                                    Bloomberg, 05/07/2013 08:06 AM)
                                                                                                    U.S. PRE-MARKET MOVERS: AKRX ARUN BAX BSFT GNRC HOLX MELI NLS
                                                                                                    (Bloomberg First Word - Bloomberg, 05/07/2013 08:52 AM)
                                                                                                    CORRECT U.S. EQUITY MOVERS: ARIA BAX FRC GGP HIMX MELI NSM PXD
                                                                                                    (Bloomberg First Word - Bloomberg, 05/07/2013 10:13 AM)
                                                                                                    DJ US HOT STOCKS: CVLT (Dow Jones Chinese Newswires English Content - Factiva,
                                                                                                    05/07/2013 10:49 AM)
                                                                                                    DJ US HOT STOCKS: CVLT (Dow Jones Chinese Financial Wire - Factiva, 05/07/2013
                                                                                                    10:49 AM)
                                                                                                    Elevated Options Volume: BSFT CFX CVLT DDS DISCA FIG GNK JAH (Bloomberg First
                                                                                                    Word - Bloomberg, 05/07/2013 01:29 PM)
                                                                                                    Strong demand and big contracts helps CommVault beat expectations for fiscal 4Q
                                                                                                    (Associated Press Newswires - Factiva, 05/07/2013 03:27 PM)
                                                                                                    CommVault Says Strong Demand Helps 4Q (Associated Press Newswires - Bloomberg,
                                                                                                    05/07/2013 03:27 PM)
5/8/2013 Wed   647,246 $77.49    1.52%   0.49% -0.05%   0.68%     0.84%    $0.64    0.49 62.21%     CommVault Sees Weakness (Investor's Business Daily - Factiva, 05/08/2013)




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                                                                                 Appendix C
                                                                  CommVault News Chronology with Daily Statistics
     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                               [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                             Events

                                                                                                      CommVault Spending, Economy Worry Investors Despite Q4 Beat Stock Makes High, Then
                                                                                                      Falls (Investor's Business Daily - Factiva, 05/08/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for System and Method for Automating Customer-
                                                                                                      Validated Statement of Work for a Data Storage Environment (Journal of Engineering -
                                                                                                      Factiva, 05/08/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for System and Method for Providing Encryption in
                                                                                                      Storage Operations in a Storage Network, Such as for Use by Application Service Providers
                                                                                                      That Provide Data Storage Services (Journal of Engineering - Factiva, 05/08/2013)


                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/08/2013)

                                                                                                      FORM 8-K: COMMVAULT SYSTEMS FILES CURRENT REPORT (US Fed News -
                                                                                                      Factiva, 05/08/2013)
                                                                                                      Jefferies & Company Analyst Report (Analyst Report - Manual Entry, 05/08/2013)

                                                                                                      Summit Research Analyst Report (Analyst Report - Manual Entry, 05/08/2013)
 5/9/2013 Thu   613,102 $75.02   -3.19% -0.06% -0.67%    -0.75%    -2.43%    -$1.89   -1.42 15.75%    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 05/09/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for System and Method for Automating Customer-
                                                                                                      Validated Statement of Work for a Data Storage Environment (Computer Weekly News -
                                                                                                      Factiva, 05/09/2013)
                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/09/2013)
                                                                                                      Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                      Beneficial Ownership of Securities (Apr. 18, 2013) (Computer Weekly News - Factiva,
                                                                                                      05/09/2013)
                                                                                                      DJ CFO CAROLAN Sells 4,000 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                      Newswires - Factiva, 05/09/2013 05:26 PM)
                                                                                                      BRIAN CAROLAN,C.F.O.,SELLS 4,000 ON 5/7/13 OF CVLT (Washington Service -
                                                                                                      Bloomberg, 05/09/2013 05:26 PM)
5/10/2013 Fri   394,006 $75.41    0.52%   0.80% -0.04%   1.21%     -0.69%    -$0.52    -0.4 68.93%    COMMVAULT SYSTEMS REPORTS MULTIPLE TRANSACTIONS BY VP FINANCE
                                                                                                      CAROLAN (New Jersey) (US Fed News - Factiva, 05/10/2013)
                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/10/2013)

                                                                                                      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      05/10/2013)




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                                                                                 Appendix C
                                                                  CommVault News Chronology with Daily Statistics
     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                               [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                             Events
5/11/2013 Sat                                                                                         USFedNewsService: COMMVAULT SYSTEMS REPORTS MULTIPLE TRANSACTIONS
5/12/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 05/12/2013)
5/13/2013 Mon   488,163 $73.82   -2.11%   0.07% -0.61%   -0.53%    -1.58%    -$1.19   -0.91 36.30%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/13/2013)

                                                                                                      Fuller & Thaler Asset Mgmt Holdings in 1st Quarter: 13F Alert (BLOOMBERG News -
                                                                                                      Bloomberg, 05/13/2013 09:10 AM)
5/14/2013 Tue   382,611 $74.27    0.61%   0.74% 0.36%    1.41%     -0.80%    -$0.59   -0.47 64.13%    COMMVAULT SYSTEMS INC 10-K (SEC - SEC Edgar, 05/14/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for Modular Systems and Methods for Managing Data
                                                                                                      Storage Operations (Information Technology Newsweekly - Factiva, 05/14/2013)


5/15/2013 Wed   485,158 $73.38   -1.20%   0.27% -0.22%   0.07%     -1.27%    -$0.94   -0.74 45.84%    CFRA Equity Research Analyst Report (Analyst Report - Manual Entry, 05/15/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for Modular Systems and Methods for Managing Data
                                                                                                      Storage Operations (Journal of Engineering - Factiva, 05/15/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for Snapshot Storage and Management System with
                                                                                                      Indexing and User Interface (Journal of Engineering - Factiva, 05/15/2013)
                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/15/2013)

                                                                                                      Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 05/15/2013)

                                                                                                      CommVault Honors 2013 Global PartnerAdvantage Award Winners (PR Newswire (U.S.) -
                                                                                                      Factiva, 05/15/2013 08:30 AM)
                                                                                                      CommVault Honors 2013 Global PartnerAdvantage Award Winners (PR Newswire -
                                                                                                      Bloomberg, 05/15/2013 08:30 AM)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on May 14 for "System and
                                                                                                      method for generating and managing quick (RE1 - Bloomberg, 05/15/2013 08:50 AM)
                                                                                                      DJ Renaissance Technologies 1Q 13F: Hldgs As Of Mar 31 (Dow Jones Institutional News -
                                                                                                      Factiva, 05/15/2013 09:40 AM)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on May 14 for "Method and
                                                                                                      system for grouping storage system components" (RE1 - Bloomberg, 05/15/2013 10:01 AM)


                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on May 14 for "Asynchronous
                                                                                                      methods of data classification using change (RE1 - Bloomberg, 05/15/2013 10:03 AM)




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                                                                                 Appendix C
                                                                  CommVault News Chronology with Daily Statistics
     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]         [11]                                                [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat      p-Value                                              Events
5/16/2013 Thu   510,044 $74.36    1.34% -0.18% 0.90%     0.31%      1.02%    $0.75      0.6 55.10%      CommVault Systems, Inc. Patent Issued for Modular Systems and Methods for Managing Data
                                                                                                        Storage Operations (Computer Weekly News - Factiva, 05/16/2013)
                                                                                                        CommVault Systems, Inc. Patent Issued for Snapshot Storage and Management System with
                                                                                                        Indexing and User Interface (Computer Weekly News - Factiva, 05/16/2013)
                                                                                                        Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/16/2013)
5/17/2013 Fri   526,441 $74.80    0.59%   0.97% -0.29%   1.22%     -0.62%    -$0.46   -0.36 71.60%      Contract Award: CommVault Systems Wins Federal Contract for Information Technology
                                                                                                        Equipment (US Fed News - Factiva, 05/17/2013)
                                                                                                        Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/17/2013)

                                                                                                        Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                        05/17/2013)
5/18/2013 Sat                                                                                           USFedNewsService: Contract Award: CommVault Systems Wins Federal Contract for
5/19/2013 Sun                                                                                           Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 05/19/2013)
                                                                                                        US Patent Issued to CommVault Systems on May 14 for "Asynchronous methods of data
                                                                                                        classification using change journals and other data structures" (New Jersey Inventor) (US Fed
                                                                                                        News - Factiva, 05/19/2013)
                                                                                                        US Patent Issued to CommVault Systems on May 14 for "Method and system for grouping
                                                                                                        storage system components" (New Jersey Inventors) (US Fed News - Factiva, 05/19/2013)


                                                                                                        US Patent Issued to CommVault Systems on May 14 for "System and method for generating
                                                                                                        and managing quick recovery volumes" (New Jersey, Washington Inventors) (US Fed News -
                                                                                                        Factiva, 05/19/2013)
5/20/2013 Mon   341,221 $74.44   -0.48% -0.07% 0.16%     -0.13%    -0.35%    -$0.26   -0.21 83.78%      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/20/2013)

                                                                                                        DJ CommVault Systems Inc, Inst Holders, 1Q 2013 (CVLT) (Dow Jones Newswires -
                                                                                                        Factiva, 05/20/2013 03:04 AM)
5/21/2013 Tue   344,679 $73.19   -1.68%   0.17% 0.08%    0.16%     -1.84%    -$1.37   -1.13 26.06%      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/21/2013)
5/22/2013 Wed 1,267,364 $67.09   -8.33% -1.11% -1.41%    -3.33%    -5.00%    -$3.66   -3.05   0.28% ** Brean Capital, LLC Analyst Report (Analyst Report - Manual Entry, 05/22/2013)

                                                                                                        Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/22/2013)

                                                                                                        Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                        05/22/2013)




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                                                                   CommVault News Chronology with Daily Statistics
     [1]           [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                                [12]
                                                 Industry                  Abnormal
                                          Market Excess Predicted Abnormal   Price
    Date        Volume    Price    Return Return Return Return     Return   React   t-stat    p-Value                                             Events
                                                                                                        USFedNewsService: US Patent Issued to CommVault Systems on May 21 for "System and
                                                                                                        method for storage operation access security" (RE1 - Bloomberg, 05/22/2013 12:15 PM)


                                                                                                        U.S. EQUITY MOVERS: AMAG AMSC CETV FXEN INFI INSM MNKD SCTY TPX
                                                                                                        (Bloomberg First Word - Bloomberg, 05/22/2013 12:48 PM)
                                                                                                        U.S. WRAP: Stocks Drop Amid Stimulus Concerns (Bloomberg First Word - Bloomberg,
                                                                                                        05/22/2013 04:30 PM)
5/23/2013 Thu   1,046,891 $70.60    5.23% -0.10% 0.80%     0.39%     4.84%    $3.25    2.86   0.51% ** COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 05/23/2013)

                                                                                                        Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/23/2013)

                                                                                                        Lake Street Capital Markets, LLC Analyst Report (Analyst Report - Manual Entry,
                                                                                                        05/23/2013)
                                                                                                        Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 05/23/2013)

                                                                                                        DJ COO BUNTE Sells 12,492 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                        Newswires - Factiva, 05/23/2013 04:34 PM)
                                                                                                        ALAN G BUNTE,C.O.O,SELLS 12,492 FROM 5/21/13-5/22/13 OF CVLT (Washington
                                                                                                        Service - Bloomberg, 05/23/2013 04:34 PM)
                                                                                                        DJ COO BUNTE Registers 34,192 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                        Newswires - Factiva, 05/23/2013 10:29 PM)
                                                                                                        COMMVAULT SYSTEMS INC: BUNTE ALAN G FILES TO SELL 34,192 SHARES
                                                                                                        (Washington Service - Bloomberg, 05/23/2013 10:33 PM)
5/24/2013 Fri    536,671 $69.15    -2.05% -0.01% -0.15%   -0.41%    -1.64%    -$1.16   -0.95 34.64%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/24/2013)

                                                                                                        Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                        05/24/2013)
5/25/2013 Sat
5/26/2013 Sun                                                                                           Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 05/26/2013)
5/27/2013 Mon
5/28/2013 Tue    466,537 $71.11     2.83%   0.86% 0.33%    1.69%     1.15%    $0.79    0.66 51.25%      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/28/2013)

                                                                                                        CommVault Q4 net income increases (MarketLine (a Datamonitor Company), Company
                                                                                                        News - Factiva, 05/28/2013 06:25 AM)
5/29/2013 Wed    231,600 $69.84    -1.79% -0.60% -0.04%   -1.39%    -0.40%    -$0.28   -0.23 81.82%     CommVault Systems, Inc. Patent Issued for Method and System for Grouping Storage System
                                                                                                        Components (Journal of Engineering - Factiva, 05/29/2013)




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                                                                                 Appendix C
                                                                  CommVault News Chronology with Daily Statistics
     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                              [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                            Events
                                                                                                      CommVault Systems, Inc. Patent Issued for System and Method for Generating and Managing
                                                                                                      Quick Recovery Volumes (Journal of Engineering - Factiva, 05/29/2013)
                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/29/2013)

                                                                                                      Globaldata Analyst Report (Analyst Report - Manual Entry, 05/29/2013)
5/30/2013 Thu   300,783 $71.40    2.23%   0.69% 0.76%    1.89%      0.35%    $0.24     0.2 84.23%     CommVault Systems, Inc. Patent Issued for Method and System for Grouping Storage System
                                                                                                      Components (Computer Weekly News - Factiva, 05/30/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for System and Method for Generating and Managing
                                                                                                      Quick Recovery Volumes (Computer Weekly News - Factiva, 05/30/2013)
                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/30/2013)
                                                                                                      Prepackaged Software; Commvault Systems Inc. Files SEC Form 10-K, Annual Report
                                                                                                      [Section 13 And 15(D), Not S-K Item 405] (May. 14, 2013) (Computer Weekly News - Factiva,
                                                                                                      05/30/2013)
                                                                                                      Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                      Beneficial Ownership of Securities (May. 9, 2013) (Computer Weekly News - Factiva,
                                                                                                      05/30/2013)
                                                                                                      Sterne Agee & Leach Analyst Report (Analyst Report - Manual Entry, 05/30/2013)
5/31/2013 Fri   281,820 $70.06   -1.88% -1.01% 0.38%     -1.67%    -0.21%    -$0.15   -0.12 90.18%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 05/31/2013)
 6/1/2013 Sat                                                                                         Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
 6/2/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 06/02/2013)
 6/3/2013 Mon   409,886 $70.40    0.49%   0.29% -0.46%   -0.29%     0.78%    $0.55    0.45 65.20%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/03/2013)
 6/4/2013 Tue   515,449 $70.98    0.82% -0.58% -0.08%    -1.43%     2.25%    $1.59    1.31 19.40%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/04/2013)
                                                                                                      Info-Tech Research Group Names CommVault A 'Champion' In Multiple Technology
                                                                                                      Software Reports (PR Newswire (U.S.) - Factiva, 06/04/2013 08:30 AM)
                                                                                                      Info-Tech Research Group Names CommVault A 'Champion' In Multiple Technology
                                                                                                      Software Reports (PR Newswire - Bloomberg, 06/04/2013 08:30 AM)
 6/5/2013 Wed   305,230 $69.83   -1.62% -1.26% 0.47%     -2.00%     0.38%    $0.27    0.22 82.78%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/05/2013)
                                                                                                      CommVault Executives To Address Investors At The 33rd Annual William Blair Growth
                                                                                                      Stock Conference (PR Newswire (U.S.) - Factiva, 06/05/2013 09:15 AM)
                                                                                                      CommVault Executives To Address Investors At The 33rd Annual William Blair Growth
                                                                                                      Stock Conference (PR Newswire - Bloomberg, 06/05/2013 09:15 AM)




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                                                                                 Appendix C
                                                                  CommVault News Chronology with Daily Statistics
     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                               [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
   Date         Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                             Events
 6/6/2013 Thu   347,630 $69.80   -0.04%   0.67% 0.67%    1.78%     -1.83%    -$1.28   -1.06 29.35%    Commvault Systems, Inc. Researchers Submit Patent Application, "System and Method for
                                                                                                      Allocation of Organizational Resources", for Approval (Computer Weekly News - Factiva,
                                                                                                      06/06/2013)
                                                                                                      Commvault Systems, Inc. Researchers Submit Patent Application, "System and Method for
                                                                                                      Allocation of Organizational Resources", for Approval (Politics & Government Week -
                                                                                                      Factiva, 06/06/2013)
                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/06/2013)

                                                                                                      S&P Global Compustat Company Analysis Analyst Report (Analyst Report - Manual Entry,
                                                                                                      06/06/2013)
                                                                                                      Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                      06/06/2013)
 6/7/2013 Fri   207,763 $71.37    2.25%   1.32% -0.21%   1.90%      0.35%    $0.24     0.2 84.13%     Credit Suisse Analyst Report (Analyst Report - Manual Entry, 06/07/2013)

                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/07/2013)

                                                                                                      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      06/07/2013)
                                                                                                      Piper Jaffray Analyst Report (Analyst Report - Manual Entry, 06/07/2013)
                                                                                                      Acquisitions, Innovative Solutions, Awards, and Contracts Boost App Software Makers'
                                                                                                      Margins and Inflows - Research Report on Salesforce.com, F5 Networks, Catamaran,
                                                                                                      CommVault, and MICROS Systems (PR Newswire (U.S.) - Factiva, 06/07/2013 08:00 AM)


                                                                                                      Acquisitions, Innovative Solutions, Awards, and Contracts Boost App Software Makers'
                                                                                                      Margins and Inflows - Research Report on (PR Newswire - Bloomberg, 06/07/2013 08:00
                                                                                                      AM)
                                                                                                      *IGNORE: RESEARCH REPORT FROM WALL STREET REPORTS :CRM US
                                                                                                      (BLOOMBERG News - Bloomberg, 06/07/2013 08:13 AM)
 6/8/2013 Sat
 6/9/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 06/09/2013)
6/10/2013 Mon   227,524 $72.46    1.53%   0.13% -0.70%   -0.84%     2.37%    $1.69    1.36 17.59%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/10/2013)

                                                                                                      *STORAGE SOFTWARE REVENUE UP 3.2% DURING 1Q OF '13 ACCORDING TO
                                                                                                      (BLOOMBERG News - Bloomberg, 06/10/2013 08:00 AM)
                                                                                                      Storage Software Revenues Increased 3.2% During the First Quarter of 2013, According to
                                                                                                      IDC (Business Wire - Bloomberg, 06/10/2013 08:00 AM)




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                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                           Events
6/11/2013 Tue   316,385 $71.88   -0.80% -1.06% -0.44%   -2.66%     1.86%    $1.35    1.06 28.94%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/11/2013)
                                                                                                     Gartner Names CommVault a Leader in its Magic Quadrant for Enterprise Backup/Recovery
                                                                                                     Software for Third Consecutive Year (PR Newswire (U.S.) - Factiva, 06/11/2013 08:30 AM)


                                                                                                     Gartner Names CommVault a Leader in its Magic Quadrant for Enterprise Backup/Recovery
                                                                                                     Software for Third Consecutive Year (PR Newswire - Bloomberg, 06/11/2013 08:30 AM)


6/12/2013 Wed   309,990 $71.98    0.14% -1.03% 0.25%    -1.80%     1.94%    $1.40    1.11 27.10%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/12/2013)
                                                                                                     US Patent Issued to CommVault Systems on June 11 for "System and method for extended
                                                                                                     media retention" (Massachusetts, New Jersey Inventors) (US Fed News - Factiva,
                                                                                                     06/12/2013)
                                                                                                     U.S. DAYBOOK: PVH, H&R Block Earns; Monthly Budget, Coty IPO (Bloomberg First
                                                                                                     Word - Bloomberg, 06/12/2013 05:30 AM)
                                                                                                     USFedNewsService: US Patent Issued to CommVault Systems on June 11 for "System and
                                                                                                     method for extended media retention" (RE1 - Bloomberg, 06/12/2013 05:41 AM)
                                                                                                     USFedNewsService: US Patent Issued to CommVault Systems on June 11 for "Systems and
                                                                                                     methods for performing replication copy (RE1 - Bloomberg, 06/12/2013 08:11 AM)


                                                                                                     USFedNewsService: US Patent Issued to CommVault Systems on June 11 for "System and
                                                                                                     method for improved media identification in a (RE1 - Bloomberg, 06/12/2013 09:09 AM)


6/13/2013 Thu   396,981 $74.04    2.86%   1.32% 0.14%    2.29%     0.57%    $0.41    0.32 74.69%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/13/2013)
                                                                                                     Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                     Beneficial Ownership of Securities (May. 23, 2013) (Computer Weekly News - Factiva,
                                                                                                     06/13/2013)
                                                                                                     William Blair & Company Analyst Report (Analyst Report - Manual Entry, 06/13/2013)


6/14/2013 Fri   707,352 $75.27    1.66% -0.63% 0.32%    -0.98%     2.64%    $1.96     1.5 13.70%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/14/2013)

                                                                                                     Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                     06/14/2013)
6/15/2013 Sat
6/16/2013 Sun
6/17/2013 Mon   525,754 $76.91    2.18%   0.84% 0.49%    1.83%     0.34%    $0.26    0.19 84.68%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/17/2013)




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                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                            Events

                                                                                                      Collaborations, Awards, and Raised Revenue Guidance - Research Report on Windstream,
                                                                                                      CommVault, Rambus, Acuity Brands, and (PR Newswire - Bloomberg, 06/17/2013 08:00
                                                                                                      AM)
                                                                                                      Collaborations, Awards, and Raised Revenue Guidance - Research Report on Windstream,
                                                                                                      CommVault, Rambus, Acuity Brands, and Diodes (PR Newswire (U.S.) - Factiva,
                                                                                                      06/17/2013 08:01 AM)
                                                                                                      *IGNORE: COLLABORATIONS, AWARDS FROM WALL STREET REPORTS
                                                                                                      (BLOOMBERG News - Bloomberg, 06/17/2013 08:09 AM)
6/18/2013 Tue   706,961 $78.80    2.46%   0.87% -0.60%   0.66%      1.79%    $1.38    1.01 31.51%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/18/2013)

                                                                                                      CommVault Systems Raised to 'Outperform' at Pacific Crest (BLOOMBERG News -
                                                                                                      Bloomberg, 06/18/2013 08:07 AM)
                                                                                                      *COMMVAULT RAISED TO OUTPERFORM VS SECTOR PERFORM: PACIFIC CREST
                                                                                                      (Bloomberg First Word - Bloomberg, 06/18/2013 08:27 AM)
                                                                                                      U.S. PRE-MARKET MOVERS: CAMT CYTK GNMK HRL NMFC OPK SFL SNE WLT
                                                                                                      (Bloomberg First Word - Bloomberg, 06/18/2013 08:38 AM)
                                                                                                      CommVault rises as analyst upgrades shares, expecting more market share on Simpana 10
                                                                                                      sales (Associated Press Newswires - Factiva, 06/18/2013 03:42 PM)
                                                                                                      CommVault Systems Shares Rise Following Upgrade (Associated Press Newswires -
                                                                                                      Bloomberg, 06/18/2013 03:42 PM)
6/19/2013 Wed   621,656 $77.03   -2.25% -1.12% 0.17%     -1.97%    -0.27%    -$0.22   -0.15 87.85%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/19/2013)

                                                                                                      Piper Jaffray Analyst Report (Analyst Report - Manual Entry, 06/19/2013)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on June 18 for "Systems and
                                                                                                      methods of data storage management, such as (RE1 - Bloomberg, 06/19/2013 10:32 AM)


6/20/2013 Thu   442,225 $76.00   -1.34% -2.28% 0.09%     -4.11%     2.77%    $2.14    1.55 12.30%     COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 06/20/2013)

                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/20/2013)

                                                                                                      DJ Officer MERRILL Surrenders 24 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                      Newswires - Factiva, 06/20/2013 05:43 PM)
6/21/2013 Fri   742,914 $77.12    1.47% -0.22% -0.60%    -1.16%     2.63%    $2.00    1.46 14.63%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/21/2013)

                                                                                                      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      06/21/2013)



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                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat      p-Value                                             Events

                                                                                                        Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                        06/21/2013)
                                                                                                        CommVault Systems Inc Enters Wave 5 of Elliott Wave Cycle (Recognia Alert Wire -
                                                                                                        Bloomberg, 06/21/2013 05:09 PM)
6/22/2013 Sat
6/23/2013 Sun                                                                                           Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 06/23/2013)
6/24/2013 Mon   631,587 $76.57   -0.71% -1.09% -0.07%    -1.98%     1.26%    $0.97      0.7 48.73%      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/24/2013)
6/25/2013 Tue   343,682 $77.01    0.57%   0.82% -0.42%   0.77%     -0.19%    -$0.15   -0.11 91.56%      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/25/2013)
6/26/2013 Wed   595,405 $78.98    2.56%   0.87% 0.18%    1.54%      1.02%    $0.79    0.56 57.32%       CommVault Systems, Inc. Patent Issued for System and Method for Extended Media Retention
                                                                                                        (Journal of Engineering - Factiva, 06/26/2013)
                                                                                                        CommVault Systems, Inc. Patent Issued for System and Method for Improved Media
                                                                                                        Identification in a Storage Device (Journal of Engineering - Factiva, 06/26/2013)
                                                                                                        CommVault Systems, Inc. Patent Issued for Systems and Methods for Performing Replication
                                                                                                        Copy Storage Operations (Journal of Engineering - Factiva, 06/26/2013)
                                                                                                        Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/26/2013)

                                                                                                        COMMVAULT SYSTEMS, INC., Plaintiff, v. PB&J SOFTWARE, LLC, (Bloomberg Legal
                                                                                                        Bloomberg News - Bloomberg, 06/26/2013 05:59 AM)
6/27/2013 Thu   451,169 $79.73    0.95%   0.77% 1.49%    2.80%     -1.85%    -$1.46   -1.02 30.82%      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/27/2013)
6/28/2013 Fri   749,667 $75.89   -4.82%   0.04% -0.30%   -0.33%    -4.49%    -$3.58   -2.48   1.45% *   Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 06/28/2013)

                                                                                                        Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                        06/28/2013)
                                                                                                        U.S. EQUITY MOVERS: ZINC SCTY ONXX TU LOGI ARNA OWW NIHD ALEX
                                                                                                        (Bloomberg First Word - Bloomberg, 06/28/2013 01:20 PM)
                                                                                                        U.S. WRAP: Stocks Fall as Investors Weigh Fed Comments (Bloomberg First Word -
                                                                                                        Bloomberg, 06/28/2013 04:29 PM)
6/29/2013 Sat
6/30/2013 Sun                                                                                           Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 06/30/2013)
 7/1/2013 Mon   451,169 $76.10    0.28%   0.95% 0.13%    1.56%     -1.28%    -$0.97    -0.7 48.39%      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/01/2013)
                                                                                                        CommVault Named A Leader In Enterprise Backup And Recovery Software By Industry
                                                                                                        Analyst Firm (PR Newswire (U.S.) - Factiva, 07/01/2013 08:30 AM)




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   [1]           [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                               [12]
                                              Industry                  Abnormal
                                       Market Excess Predicted Abnormal   Price
  Date         Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                            Events
                                                                                                    CommVault Named A Leader In Enterprise Backup And Recovery Software By Industry
                                                                                                    Analyst Firm (PR Newswire - Bloomberg, 07/01/2013 08:30 AM)
7/2/2013 Tue   344,587 $75.52   -0.76% -0.03% -0.68%   -0.85%     0.09%    $0.07    0.05 96.13%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/02/2013)
                                                                                                    Wright Investors Service Analyst Report (Analyst Report - Manual Entry, 07/02/2013)
7/3/2013 Wed   178,873 $76.97    1.92%   0.30% 0.22%    0.58%     1.34%    $1.02    0.75 45.78%     COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/03/2013)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/03/2013)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/03/2013)

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                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/03/2013)

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                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/03/2013)

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                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/03/2013)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/03/2013)

                                                                                                    COMMVAULT SYSTEMS INC 4/A (SEC - SEC Edgar, 07/03/2013)

                                                                                                    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/03/2013)

                                                                                                    U.S. EQUITY MOVERS: ABT BBY CMG ELX ISCA LINE MJN OSTK SPG UHS
                                                                                                    (Bloomberg First Word - Bloomberg, 07/03/2013 10:52 AM)
                                                                                                    DJ COO BUNTE Surrenders 220 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                    Newswires - Factiva, 07/03/2013 06:15 PM)
                                                                                                    ALAN G BUNTE,C.O.O,SURRENDERS 220 ON 7/2/13 OF CVLT (Washington Service -
                                                                                                    Bloomberg, 07/03/2013 06:15 PM)
                                                                                                    DJ CFO CAROLAN Surrenders 75 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                    Newswires - Factiva, 07/03/2013 06:16 PM)




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    [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                             [12]
                                              Industry                  Abnormal
                                       Market Excess Predicted Abnormal   Price
  Date         Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                           Events
                                                                                                    DJ Chmn HAMMER Surrenders 288 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                    Newswires - Factiva, 07/03/2013 06:16 PM)
                                                                                                    N ROBERT HAMMER,C.O.B.,SURRENDERS 288 ON 7/2/13 OF CVLT (Washington
                                                                                                    Service - Bloomberg, 07/03/2013 06:16 PM)
                                                                                                    DJ Chmn HAMMER Surrenders 1,734 Of COMMVAULT SYSTEMS INC >CVLT-Amended
                                                                                                    (Dow Jones Newswires - Factiva, 07/03/2013 06:19 PM)
                                                                                                    DJ Officer MERRILL Surrenders 31 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                    Newswires - Factiva, 07/03/2013 06:19 PM)
                                                                                                    DJ VP MICELI Surrenders 125 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                    Newswires - Factiva, 07/03/2013 06:19 PM)
                                                                                                    DJ VP MIILLER Surrenders 156 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                    Newswires - Factiva, 07/03/2013 06:19 PM)
                                                                                                    RONALD L MIILLER,Vice Pres.,SURRENDERS 156 ON 7/2/13 OF CVLT (Washington
                                                                                                    Service - Bloomberg, 07/03/2013 06:19 PM)
                                                                                                    LOUIS F MICELI,Vice Pres.,SURRENDERS 125 ON 7/2/13 OF CVLT (Washington Service -
                                                                                                    Bloomberg, 07/03/2013 06:19 PM)
                                                                                                    N ROBERT HAMMER,C.O.B.,SURRENDERS 1,734 FROM 4/2/13-4/16/13 -AMD
                                                                                                    (Washington Service - Bloomberg, 07/03/2013 06:19 PM)
                                                                                                    DAVID R WEST,Vice Pres.,SURRENDERS 103 ON 7/2/13 OF CVLT (Washington Service -
                                                                                                    Bloomberg, 07/03/2013 06:20 PM)
                                                                                                    DJ VP WEST Surrenders 103 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                    Newswires - Factiva, 07/03/2013 06:20 PM)
7/4/2013 Thu                                                                                        Commvault Systems, Inc. Agency Reviews Patent Application Approval Request for "Method
                                                                                                    and System for Leveraging Identified Changes to a Mail Server" (Politics & Government
                                                                                                    Week - Factiva, 07/04/2013)
                                                                                                    S&P Global Compustat Company Analysis Analyst Report (Analyst Report - Manual Entry,
                                                                                                    07/04/2013)
7/5/2013 Fri   257,377 $78.97    2.60%   1.04% 1.07%    2.62%    -0.03%    -$0.02   -0.01 98.84%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/05/2013)

                                                                                                    Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                    07/05/2013)
7/6/2013 Sat




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                                                                                Appendix C
                                                                 CommVault News Chronology with Daily Statistics
    [1]           [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                              [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
   Date         Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                            Events
 7/7/2013 Sun                                                                                        Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 07/07/2013)
 7/8/2013 Mon   254,116 $77.65   -1.67%   0.16% 0.31%    0.50%    -2.17%    -$1.71   -1.21 23.06%    Australia Patent: Commvault Systems Files Application for 'Systems and methods for
                                                                                                     managing single instancing data' (Australian Government News - Factiva, 07/08/2013)


                                                                                                     COMMVAULT SYSTEMS INC DEF 14A (SEC - SEC Edgar, 07/08/2013)

                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/08/2013)

                                                                                                     Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                     07/08/2013)
                                                                                                     *PRESTIGIOUS AWARDS, NEW CONTRACTS,, ACQUISITIONS - RESEARCH
                                                                                                     (BLOOMBERG News - Bloomberg, 07/08/2013 08:01 AM)
                                                                                                     Prestigious Awards, New Contracts, and Acquisitions - Research Report on F5 Networks,
                                                                                                     Adobe, Red Hat, CommVault, and Level 3 (PR Newswire - Bloomberg, 07/08/2013 08:01
                                                                                                     AM)
                                                                                                     Prestigious Awards, New Contracts, and Acquisitions - Research Report on F5 Networks,
                                                                                                     Adobe, Red Hat, CommVault, and Level 3 (PR Newswire (U.S.) - Factiva, 07/08/2013 08:02
                                                                                                     AM)
 7/9/2013 Tue   516,767 $79.76    2.71%   0.56% 0.18%    0.98%     1.74%    $1.35    0.96 33.85%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/09/2013)

                                                                                                     CommVault Announces Earnings Release Date (PR Newswire (U.S.) - Factiva, 07/09/2013
                                                                                                     09:15 AM)
                                                                                                     CommVault Announces Earnings Release Date (PR Newswire - Bloomberg, 07/09/2013
                                                                                                     09:15 AM)
7/10/2013 Wed   588,452 $81.19    1.80%   0.48% 0.25%    0.94%     0.85%    $0.68    0.47 63.96%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/10/2013)
                                                                                                     Fund Swivels Beyond Technology Weightings Adjust Oppenheimer Discovery bobs and weaves
                                                                                                     to market-beating gains (Investor's Business Daily - Factiva, 07/10/2013)
                                                                                                     Stocks Narrowly Mixed Ahead Of Fed Minutes (Investor's Business Daily - Factiva,
                                                                                                     07/10/2013)
                                                                                                     USFedNewsService: US Patent Issued to CommVault Systems on July 9 for "Systems and
                                                                                                     methods of media management, such as (RE1 - Bloomberg, 07/10/2013 08:50 AM)
                                                                                                     USFedNewsService: US Patent Issued to CommVault Systems on July 9 for "De-duplication
                                                                                                     systems and methods for application (RE1 - Bloomberg, 07/10/2013 10:16 AM)




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     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                               [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                            Events
7/11/2013 Thu   336,652 $81.90    0.87%   1.64% -0.07%   2.48%     -1.61%    -$1.31   -0.89 37.77%    Australia Patent: Commvault Systems Files Application for 'Systems and methods for
                                                                                                      managing single instancing data' (Australian Government News - Factiva, 07/11/2013)


                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/11/2013)
                                                                                                      Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                      Beneficial Ownership of Securities (Jun. 20, 2013) (Computer Weekly News - Factiva,
                                                                                                      07/11/2013)
                                                                                                      Sadif Analytics Analyst Report (Analyst Report - Manual Entry, 07/11/2013)
7/12/2013 Fri   294,643 $81.58   -0.39%   0.61% -0.15%   0.72%     -1.11%    -$0.91   -0.61 54.38%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/12/2013)

                                                                                                      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      07/12/2013)
7/13/2013 Sat
7/14/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 07/14/2013)
7/15/2013 Mon   467,047 $80.84   -0.91%   0.21% 0.29%    0.53%     -1.43%    -$1.17   -0.79 43.29%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/15/2013)
7/16/2013 Tue   563,138 $79.15   -2.09% -0.25% -0.04%    -0.58%    -1.51%    -$1.22   -0.83 40.56%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/16/2013)
7/17/2013 Wed   428,342 $79.99    1.06%   0.32% -0.04%   0.30%      0.76%    $0.60    0.42 67.47%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/17/2013)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on July 16 for "Systems and
                                                                                                      methods for performing data replication" (RE1 - Bloomberg, 07/17/2013 09:36 AM)


7/18/2013 Thu   503,186 $79.81   -0.23%   0.04% 0.43%    0.33%     -0.55%    -$0.44   -0.31 75.92%    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/18/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/18/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/18/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/18/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/18/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/18/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 07/18/2013)

                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/18/2013)
                                                                                                      Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                      Beneficial Ownership of Securities (Jul. 3, 2013) (Computer Weekly News - Factiva,
                                                                                                      07/18/2013)




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     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                              [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                           Events
                                                                                                     ALAN G BUNTE,C.O.O,SURRENDERS 1,241 ON 7/16/13 OF CVLT (Washington Service -
                                                                                                     Bloomberg, 07/18/2013 05:09 PM)
                                                                                                     N ROBERT HAMMER,C.O.B.,SURRENDERS 1,524 ON 7/16/13 OF CVLT (Washington
                                                                                                     Service - Bloomberg, 07/18/2013 05:09 PM)
                                                                                                     BRIAN CAROLAN,C.F.O.,SURRENDERS 448 ON 7/16/13 OF CVLT (Washington Service -
                                                                                                     Bloomberg, 07/18/2013 05:09 PM)
                                                                                                     GARY MERRILL,Officer,SURRENDERS 157 ON 7/16/13 OF CVLT (Washington Service -
                                                                                                     Bloomberg, 07/18/2013 05:09 PM)
                                                                                                     DJ CFO CAROLAN Surrenders 448 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                     Newswires - Factiva, 07/18/2013 05:10 PM)
                                                                                                     DJ Chmn HAMMER Surrenders 1,524 Of COMMVAULT SYSTEMS INC >CVLT (Dow
                                                                                                     Jones Newswires - Factiva, 07/18/2013 05:10 PM)
                                                                                                     DJ COO BUNTE Surrenders 1,241 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                     Newswires - Factiva, 07/18/2013 05:10 PM)
                                                                                                     DJ Officer MERRILL Surrenders 157 Of COMMVAULT SYSTEMS INC >CVLT (Dow
                                                                                                     Jones Newswires - Factiva, 07/18/2013 05:10 PM)
                                                                                                     DJ VP MICELI Surrenders 685 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                     Newswires - Factiva, 07/18/2013 05:11 PM)
                                                                                                     DJ VP MIILLER Surrenders 848 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                     Newswires - Factiva, 07/18/2013 05:11 PM)
                                                                                                     DJ VP WEST Surrenders 645 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                     Newswires - Factiva, 07/18/2013 05:11 PM)
                                                                                                     LOUIS F MICELI,Vice Pres.,SURRENDERS 685 ON 7/16/13 OF CVLT (Washington Service
                                                                                                     - Bloomberg, 07/18/2013 05:11 PM)
                                                                                                     RONALD L MIILLER,Vice Pres.,SURRENDERS 848 ON 7/16/13 OF CVLT (Washington
                                                                                                     Service - Bloomberg, 07/18/2013 05:11 PM)
                                                                                                     DAVID R WEST,Vice Pres.,SURRENDERS 645 ON 7/16/13 OF CVLT (Washington Service -
                                                                                                     Bloomberg, 07/18/2013 05:11 PM)
7/19/2013 Fri   407,503 $80.51    0.88% -0.66% 0.85%    -0.19%     1.07%    $0.85     0.6 55.04%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/19/2013)

                                                                                                     Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                     07/19/2013)



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     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                                [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat     p-Value                                             Events

                                                                                                       CommVault to Webcast Annual Meeting (PR Newswire (U.S.) - Factiva, 07/19/2013 09:15
                                                                                                       AM)
                                                                                                       CommVault to Webcast Annual Meeting (PR Newswire - Bloomberg, 07/19/2013 09:15
                                                                                                       AM)
7/20/2013 Sat
7/21/2013 Sun                                                                                          Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 07/21/2013)
                                                                                                       US Patent Issued to CommVault Systems on July 16 for "Systems and methods for performing
                                                                                                       data replication" (New Jersey Inventor) (US Fed News - Factiva, 07/21/2013)


7/22/2013 Mon   367,515 $78.92   -1.97%   0.36% -0.26%   0.13%     -2.10%    -$1.69   -1.18 24.02%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/22/2013)

                                                                                                       Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 07/22/2013)
7/23/2013 Tue   352,970 $78.51   -0.52% -0.59% 0.44%     -0.54%     0.02%    $0.02    0.01 99.06%      CommVault Systems, Inc. Patent Issued for De-Duplication Systems and Methods for
                                                                                                       Application-Specific Data (Information Technology Newsweekly - Factiva, 07/23/2013)


                                                                                                       Craig-Hallum Capital Group Analyst Report (Analyst Report - Manual Entry, 07/23/2013)


                                                                                                       Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                       07/23/2013)
7/24/2013 Wed   289,417 $80.76    2.87%   0.01% -0.09%   -0.22%     3.09%    $2.42    1.74   8.44%     U.S. EQUITY MOVERS: AAPL ARW BRCM CAT DELL EMC LLY SLRC SRPT
                                                                                                       (Bloomberg First Word - Bloomberg, 07/24/2013 10:39 AM)
                                                                                                       USFedNewsService: US Patent Issued to CommVault Systems on July 23 for "Registry key
                                                                                                       federation systems and methods" (New Jersey (RE1 - Bloomberg, 07/24/2013 11:15 AM)


7/25/2013 Thu   338,894 $80.89    0.16%   0.72% -0.58%   0.35%     -0.19%    -$0.15    -0.1 91.76%     CommVault Systems, Inc. Patent Issued for De-Duplication Systems and Methods for
                                                                                                       Application-Specific Data (Computer Weekly News - Factiva, 07/25/2013)
                                                                                                       Prepackaged Software; Commvault Systems Inc. Files SEC Form DEF 14A, Other Definitive
                                                                                                       Proxy Statements (Jul. 8, 2013) (Computer Weekly News - Factiva, 07/25/2013)


7/26/2013 Fri   477,198 $78.56   -2.88%   0.22% -2.50%   -2.73%    -0.15%    -$0.12   -0.08 93.41%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/26/2013)

                                                                                                       Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                       07/26/2013)




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                                                                   CommVault News Chronology with Daily Statistics
     [1]           [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                                 [12]
                                                 Industry                  Abnormal
                                          Market Excess Predicted Abnormal   Price
    Date        Volume    Price    Return Return Return Return     Return   React   t-stat    p-Value                                               Events
                                                                                                        Stocks Slip Quietly Deeper; Halliburton Booms On Settlement (Investor's Business Daily -
                                                                                                        Factiva, 07/26/2013)
7/27/2013 Sat                                                                                           CommVault Systems, Inc. Patent Issued for De-Duplication Systems and Methods for
7/28/2013 Sun                                                                                           Lazard Capital Markets Analyst Report (Analyst Report - Manual Entry, 07/28/2013)

                                                                                                        Summit Research Analyst Report (Analyst Report - Manual Entry, 07/28/2013)

                                                                                                        Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 07/28/2013)
7/29/2013 Mon    911,688 $77.57    -1.26% -0.38% 0.25%    -0.44%    -0.82%    -$0.65   -0.46 64.67%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/29/2013)

                                                                                                        Piper Jaffray Analyst Report (Analyst Report - Manual Entry, 07/29/2013)

                                                                                                        RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 07/29/2013)

                                                                                                        Stocks Off Lows In Afternoon; Sohu Dives On Earnings (Investor's Business Daily - Factiva,
                                                                                                        07/29/2013)
                                                                                                        New CommVault Edge Solutions Deliver Sync, Search And Protection For The Mobile
                                                                                                        Workforce (PR Newswire (U.S.) - Factiva, 07/29/2013 08:30 AM)
                                                                                                        New CommVault Edge Solutions Deliver Sync, Search And Protection For The Mobile
                                                                                                        Workforce (PR Newswire - Bloomberg, 07/29/2013 08:30 AM)
7/30/2013 Tue   2,108,195 $85.04    9.63%   0.49% 0.06%    0.76%     8.87%    $6.88    5.02   0.00% ** Australian Patent Office Grants Patent for 'Data object store and server for a cloud storage
                                                                                                       environment' (Australian Government News - Factiva, 07/30/2013)
                                                                                                        CFRA Equity Research Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                                        CFRA Equity Research Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                                        CommVault Earnings, Revenue Easily Beat; Stock Soars (Investor's Business Daily - Factiva,
                                                                                                        07/30/2013)
                                                                                                        COMMVAULT SYSTEMS INC 8-K (SEC - SEC Edgar, 07/30/2013)

                                                                                                        CommVault Systems Inc Reaffirms FY 2014 Guidance-Conference Call (Reuters Significant
                                                                                                        Developments - Factiva, 07/30/2013)
                                                                                                        Credit Suisse Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                                        Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                                        Event Brief of Q1 2014 CommVault Earnings Conference Call - Final (CQ FD Disclosure -
                                                                                                        Factiva, 07/30/2013)
                                                                                                        Jefferies & Company Analyst Report (Analyst Report - Manual Entry, 07/30/2013)




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                                      Industry                  Abnormal
                               Market Excess Predicted Abnormal   Price
Date   Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                             Events
                                                                                            JMP Securities Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                            Lake Street Capital Markets, LLC Analyst Report (Analyst Report - Manual Entry,
                                                                                            07/30/2013)
                                                                                            Lazard Capital Markets Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                            Lazard Capital Markets Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                            Needham & Company Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                            Piper Jaffray Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                            Piper Jaffray Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                            Q1 2014 CommVault Earnings Conference Call - Final (CQ FD Disclosure - Factiva,
                                                                                            07/30/2013)
                                                                                            Raymond James & Associates Analyst Report (Analyst Report - Manual Entry, 07/30/2013)


                                                                                            RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                            Sterne Agee & Leach Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                            Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                            Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                            Stocks Stay Higher; Nasdaq Hits Multiyear High (Investor's Business Daily - Factiva,
                                                                                            07/30/2013)
                                                                                            Summit Research Analyst Report (Analyst Report - Manual Entry, 07/30/2013)

                                                                                            William Blair & Company Analyst Report (Analyst Report - Manual Entry, 07/30/2013)


                                                                                            Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                            07/30/2013)
                                                                                            U.S. DAYBOOK: Merck, Coach, Amgen, Aetna Earns; CFTC, SEC Heads (Bloomberg First
                                                                                            Word - Bloomberg, 07/30/2013 05:30 AM)
                                                                                            CommVault Announces First Quarter Fiscal 2014 Financial Results (PR Newswire (U.S.) -
                                                                                            Factiva, 07/30/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 1Q NON-GAAP EPS 40C :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 07/30/2013 07:40 AM)




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                                      Industry                  Abnormal
                               Market Excess Predicted Abnormal   Price
Date   Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                           Events
                                                                                            *COMMVAULT SYSTEMS 1Q REV. $134.4M :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 07/30/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 1Q REV. UP 21% :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 07/30/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 1Q SERVICE REV. $69.1M :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 07/30/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 1Q SOFTWARE LICENSES REV. $65.3M :CVLT US
                                                                                            (BLOOMBERG News - Bloomberg, 07/30/2013 07:40 AM)
                                                                                            CommVault Announces First Quarter Fiscal 2014 Financial Results (PR Newswire -
                                                                                            Bloomberg, 07/30/2013 07:40 AM)
                                                                                            *COMMVAULT 1Q ADJ. EPS 40C, EST. 34C :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 07/30/2013 07:40 AM)
                                                                                            *COMMVAULT 1Q REV. $134.4M, EST. $132.4M :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 07/30/2013 07:40 AM)
                                                                                            *COMMVAULT 1Q ADJ. EPS 40C, EST. 34C (Bloomberg First Word - Bloomberg,
                                                                                            07/30/2013 07:41 AM)
                                                                                            U.S. TMT Pre-Market: QCOM Invests in Alcatel; FTNT, JIVE Report (Bloomberg First
                                                                                            Word - Bloomberg, 07/30/2013 07:46 AM)
                                                                                            DJ CommVault Systems Files 8K - Operations And Financial Condition >CVLT (Dow Jones
                                                                                            Newswires - Factiva, 07/30/2013 07:47 AM)
                                                                                            CommVault 1Q Adj. EPS 40c, Est. 34c (Bloomberg First Word - Bloomberg, 07/30/2013
                                                                                            07:47 AM)
                                                                                            U.S. PRE-MARKET MOVERS: AEGR ALU HLF IPI LLEN MOS NATI NES OSK P
                                                                                            (Bloomberg First Word - Bloomberg, 07/30/2013 09:04 AM)
                                                                                            DJ US HOT STOCKS: CVLT (Dow Jones Chinese Financial Wire - Factiva, 07/30/2013
                                                                                            10:50 AM)
                                                                                            DJ US HOT STOCKS: CVLT (Dow Jones Chinese Newswires English Content - Factiva,
                                                                                            07/30/2013 10:50 AM)
                                                                                            U.S. EQUITY MOVERS: COH CYH GLW GT HMA HRS MOS NDAQ PBI WU X XYL
                                                                                            (Bloomberg First Word - Bloomberg, 07/30/2013 11:04 AM)




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                                                                                Appendix C
                                                                 CommVault News Chronology with Daily Statistics
    [1]           [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                                [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
   Date         Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                             Events
                                                                                                     U.S. Stock Options With Biggest Changes in Implied Volatility (BLOOMBERG News -
                                                                                                     Bloomberg, 07/30/2013 11:30 AM)
                                                                                                     MW CommVault, Sprint help pace tech gains (MarketWatch - Factiva, 07/30/2013 11:32
                                                                                                     AM)
                                                                                                     MW UPDATE: CommVault, Sprint help pace tech gains (MarketWatch - Factiva, 07/30/2013
                                                                                                     11:33 AM)
                                                                                                     MW UPDATE: Facebook closes in on IPO price as techs gain (MarketWatch - Factiva,
                                                                                                     07/30/2013 01:05 PM)
                                                                                                     MW UPDATE: Facebook closes in on IPO price as techs gain (MarketWatch - Factiva,
                                                                                                     07/30/2013 01:06 PM)
                                                                                                     Top 10 Nasdaq-traded stocks posting largest percentage increases (Associated Press
                                                                                                     Newswires - Factiva, 07/30/2013 01:49 PM)
                                                                                                     DJ US HOT STOCKS: CVLT (Dow Jones Chinese Financial Wire - Factiva, 07/30/2013
                                                                                                     01:51 PM)
                                                                                                     DJ US HOT STOCKS: CVLT (Dow Jones Chinese Newswires English Content - Factiva,
                                                                                                     07/30/2013 01:51 PM)
                                                                                                     CommVault posts 33 pct. increase in fiscal 1Q net income on demand for software platform
                                                                                                     (Associated Press Newswires - Factiva, 07/30/2013 02:42 PM)
                                                                                                     CommVault 1Q Net Income Up 33 Pct. (Associated Press Newswires - Bloomberg,
                                                                                                     07/30/2013 02:42 PM)
                                                                                                     U.S. Stock Options With Biggest Changes in Implied Volatility (BLOOMBERG News -
                                                                                                     Bloomberg, 07/30/2013 03:00 PM)
                                                                                                     Elevated Options Volume: BAH BIOD CYH DBC DKS DLX DRC FB FIG IBB (Bloomberg
                                                                                                     First Word - Bloomberg, 07/30/2013 03:52 PM)
                                                                                                     U.S. WRAP: Stocks Little Changed Ahead of Fed Statement Tomorrow (Bloomberg First
                                                                                                     Word - Bloomberg, 07/30/2013 04:43 PM)
                                                                                                     DJ US HOT STOCKS: GIMO (Dow Jones Chinese Newswires English Content - Factiva,
                                                                                                     07/30/2013 05:25 PM)
                                                                                                     DJ US HOT STOCKS: GNRC (Dow Jones Chinese Newswires English Content - Factiva,
                                                                                                     07/30/2013 05:34 PM)
7/31/2013 Wed   601,602 $84.40   -0.75%   0.28% 0.95%    1.45%    -2.21%    -$1.88   -1.25 21.37%    CommVault Q1 earnings top (Investor's Business Daily - Factiva, 07/31/2013)




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                                                                                Appendix C
                                                                 CommVault News Chronology with Daily Statistics
    [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                                [12]
                                              Industry                  Abnormal
                                       Market Excess Predicted Abnormal   Price
  Date         Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                             Events
                                                                                                     Craig-Hallum Capital Group Analyst Report (Analyst Report - Manual Entry, 07/31/2013)


                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 07/31/2013)

                                                                                                     FORM 8-K: COMMVAULT SYSTEMS FILES CURRENT REPORT (US Fed News -
                                                                                                     Factiva, 07/31/2013)
                                                                                                     RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 07/31/2013)

                                                                                                     Notable Options Open Interest: APD BCRX CBG CHTR CVLT DRC EXPE H (Bloomberg
                                                                                                     First Word - Bloomberg, 07/31/2013 09:30 AM)
8/1/2013 Thu   802,808 $87.72    3.93%   1.36% 2.50%    4.88%     -0.95%    -$0.80   -0.54 59.33%    Australia: Commvault Systems Receives Patent for 'Systems and methods for managing single
                                                                                                     instancing data' (Australian Government News - Factiva, 08/01/2013)
                                                                                                     Australia: Commvault Systems Receives Patent for 'Using a snapshot as a data source'
                                                                                                     (Australian Government News - Factiva, 08/01/2013)
                                                                                                     COMMVAULT SYSTEMS INC 10-Q (SEC - SEC Edgar, 08/01/2013)

                                                                                                     COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 08/01/2013)

                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/01/2013)

                                                                                                     S&P Global Compustat Company Analysis Analyst Report (Analyst Report - Manual Entry,
                                                                                                     08/01/2013)
                                                                                                     Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                     08/01/2013)
                                                                                                     CommVault unveils new Edge software capabilities for mobile workforce (MarketLine (a
                                                                                                     Datamonitor Company), Company News - Factiva, 08/01/2013 02:36 AM)
                                                                                                     DJ Officer MERRILL Sells 1,219 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                     Newswires - Factiva, 08/01/2013 04:23 PM)
                                                                                                     GARY MERRILL,Officer,SELLS 1,219 ON 7/30/13 OF CVLT (Washington Service -
                                                                                                     Bloomberg, 08/01/2013 04:23 PM)
8/2/2013 Fri   586,779 $87.75    0.03%   0.38% -0.83%   -0.43%     0.47%    $0.41    0.27 79.04%     CFRA Equity Research Analyst Report (Analyst Report - Manual Entry, 08/02/2013)

                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/02/2013)

                                                                                                     Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                     08/02/2013)




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                                                                               Appendix C
                                                                CommVault News Chronology with Daily Statistics
   [1]           [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                                  [12]
                                              Industry                  Abnormal
                                       Market Excess Predicted Abnormal   Price
  Date         Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                               Events
                                                                                                     USFedNewsService: COMMVAULT SYSTEMS REPORTS MULTIPLE TRANSACTIONS
                                                                                                     BY CHIEF ACCOUNTING OFFICER MERRILL (New Jersey) (RE1 - Bloomberg,
                                                                                                     08/02/2013 02:50 AM)
8/3/2013 Sat                                                                                         Australian Patent Office Grants Patent for 'Data object store and server for a cloud storage
                                                                                                     environment' (Australian Government News - Factiva, 08/03/2013)
                                                                                                     COMMVAULT SYSTEMS REPORTS MULTIPLE TRANSACTIONS BY CHIEF
                                                                                                     ACCOUNTING OFFICER MERRILL (New Jersey) (US Fed News - Factiva, 08/03/2013)


8/4/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 08/04/2013)
8/5/2013 Mon   388,786 $87.83    0.09%   0.12% 0.00%    0.07%     0.02%    $0.02    0.01 99.13%      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/05/2013)

                                                                                                     William Blair & Company Analyst Report (Analyst Report - Manual Entry, 08/05/2013)


8/6/2013 Tue   469,864 $88.51    0.77% -0.73% -0.86%   -2.19%     2.97%    $2.61     1.7   9.15%     COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 08/06/2013)

                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/06/2013)

                                                                                                     Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                     08/06/2013)
                                                                                                     CommVault Systems Q1 net income increases (MarketLine (a Datamonitor Company),
                                                                                                     Company News - Factiva, 08/06/2013 08:27 AM)
                                                                                                     DJ VP MIILLER Sells 72,501 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                     Newswires - Factiva, 08/06/2013 04:05 PM)
                                                                                                     RONALD L MIILLER,Vice Pres.,SELLS 72,501 ON 8/2/13 OF CVLT (Washington Service -
                                                                                                     Bloomberg, 08/06/2013 04:05 PM)
8/7/2013 Wed   425,634 $87.55   -1.08% -0.32% -0.42%   -1.03%    -0.06%    -$0.05   -0.03 97.48%     COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 08/07/2013)

                                                                                                     CommVault Systems, Inc. Patent Issued for Registry Key Federation Systems and Methods
                                                                                                     (Journal of Engineering - Factiva, 08/07/2013)
                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/07/2013)
                                                                                                     US Patent Issued to CommVault Systems on Aug. 6 for "Storage of application specific profiles
                                                                                                     correlating to document versions" (New Jersey, New York Inventors) (US Fed News -
                                                                                                     Factiva, 08/07/2013)
                                                                                                     Growing User Base, Acquisitions, and New Technology Platforms Boost Revenues - Research
                                                                                                     Report on Catamaran, AVG Technologies, Ellie Mae, CommVault, and Fortinet (PR
                                                                                                     Newswire (U.S.) - Factiva, 08/07/2013 08:02 AM)



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                                                                               Appendix C
                                                                CommVault News Chronology with Daily Statistics
   [1]           [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                               [12]
                                              Industry                  Abnormal
                                       Market Excess Predicted Abnormal   Price
  Date         Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                            Events

                                                                                                    Growing User Base, Acquisitions, and New Technology Platforms Boost Revenues - Research
                                                                                                    Report on Catamaran, AVG Technologies, (PR Newswire - Bloomberg, 08/07/2013 08:02
                                                                                                    AM)
                                                                                                    USFedNewsService: US Patent Issued to CommVault Systems on Aug. 6 for "Kernel swapping
                                                                                                    systems and methods for recovering a (RE1 - Bloomberg, 08/07/2013 09:02 AM)


                                                                                                    USFedNewsService: US Patent Issued to CommVault Systems on Aug. 6 for "Failover systems
                                                                                                    and methods for performing backup (RE1 - Bloomberg, 08/07/2013 09:04 AM)


                                                                                                    USFedNewsService: US Patent Issued to CommVault Systems on Aug. 6 for "Storage of
                                                                                                    application specific profiles correlating to (RE1 - Bloomberg, 08/07/2013 09:18 AM)
                                                                                                    USFedNewsService: US Patent Issued to CommVault Systems on Aug. 6 for "Email
                                                                                                    attachment management in a computer system" (New (RE1 - Bloomberg, 08/07/2013 10:00
                                                                                                    AM)
                                                                                                    USFedNewsService: US Patent Issued to CommVault Systems on Aug. 6 for "Systems and
                                                                                                    methods for performing multi-path storage (RE1 - Bloomberg, 08/07/2013 12:30 PM)
                                                                                                    USFedNewsService: US Patent Issued to CommVault Systems on Aug. 6 for "Systems and
                                                                                                    methods for selective data replication" (RE1 - Bloomberg, 08/07/2013 01:09 PM)
                                                                                                    USFedNewsService: US Patent Issued to CommVault Systems on Aug. 6 for "Stubbing systems
                                                                                                    and methods in a data replication (RE1 - Bloomberg, 08/07/2013 02:23 PM)
                                                                                                    DJ COO BUNTE Sells 30,000 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                    Newswires - Factiva, 08/07/2013 04:43 PM)
                                                                                                    ALAN G BUNTE,C.O.O,SELLS 30,000 ON 8/5/13 OF CVLT (Washington Service -
                                                                                                    Bloomberg, 08/07/2013 04:43 PM)
                                                                                                    DJ VP MIILLER Registers 72,501 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                    Newswires - Factiva, 08/07/2013 10:42 PM)
                                                                                                    COMMVAULT SYSTEMS INC: MIILLER RONALD L FILES TO SELL 72,501 SHA
                                                                                                    (Washington Service - Bloomberg, 08/07/2013 10:48 PM)
                                                                                                    DJ COO BUNTE Registers 30,000 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                    Newswires - Factiva, 08/07/2013 11:04 PM)
8/8/2013 Thu   367,913 $86.63   -1.05%   0.47% 0.35%    1.00%    -2.05%    -$1.79   -1.17 24.62%    Commvault Systems, Inc. "Pipeline Systems and Method for Transferring Data in a Network
                                                                                                    Environment" in Patent Application Approval Process (Computer Weekly News - Factiva,
                                                                                                    08/08/2013)



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                                                                                Appendix C
                                                                 CommVault News Chronology with Daily Statistics
     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                               [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
   Date         Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                            Events

                                                                                                     Commvault Systems, Inc. "Pipeline Systems and Method for Transferring Data in a Network
                                                                                                     Environment" in Patent Application Approval Process (Politics & Government Week -
                                                                                                     Factiva, 08/08/2013)
                                                                                                     CommVault Systems, Inc. Patent Issued for Registry Key Federation Systems and Methods
                                                                                                     (Computer Weekly News - Factiva, 08/08/2013)
                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/08/2013)
                                                                                                     Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                     Beneficial Ownership of Securities (Jul. 18, 2013) (Computer Weekly News - Factiva,
                                                                                                     08/08/2013)
                                                                                                     US Patent Issued to CommVault Systems on Aug. 6 for "Kernel swapping systems and
                                                                                                     methods for recovering a network device" (New Jersey Inventors) (US Fed News - Factiva,
                                                                                                     08/08/2013)
 8/9/2013 Fri   239,529 $86.34   -0.33% -0.25% 0.33%    -0.13%    -0.21%    -$0.18   -0.12 90.52%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/09/2013)

                                                                                                     Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                     08/09/2013)
                                                                                                     US Patent Issued to CommVault Systems on Aug. 6 for "Failover systems and methods for
                                                                                                     performing backup operations" (New Jersey Inventors) (US Fed News - Factiva,
                                                                                                     08/09/2013)
8/10/2013 Sat
8/11/2013 Sun                                                                                        Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 08/11/2013)
8/12/2013 Mon   179,504 $87.15    0.94%   0.27% 0.53%    0.89%     0.05%    $0.04    0.03 97.70%     COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 08/12/2013)

                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/12/2013)

                                                                                                     DJ VP WEST Gifts 175 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones Newswires -
                                                                                                     Factiva, 08/12/2013 04:05 PM)
8/13/2013 Tue   131,758 $86.64   -0.59%   0.43% 0.15%    0.73%    -1.32%    -$1.15   -0.75 45.23%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/13/2013)
8/14/2013 Wed   175,127 $86.08   -0.65% -0.40% 0.02%    -0.70%     0.05%    $0.04    0.03 97.77%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/14/2013)
                                                                                                     USFedNewsService: US Patent Issued to CommVault Systems on Aug. 13 for "Systems and
                                                                                                     methods for sharing media in a computer (RE1 - Bloomberg, 08/14/2013 06:26 AM)


                                                                                                     USFedNewsService: US Patent Issued to CommVault Systems on Aug. 13 for "System and
                                                                                                     method for encrypting secondary copies of (RE1 - Bloomberg, 08/14/2013 10:13 AM)
8/15/2013 Thu   574,389 $82.72   -3.90% -1.72% -0.42%   -3.19%    -0.72%    -$0.62   -0.41 68.19%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/15/2013)



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                                                                                Appendix C
                                                                 CommVault News Chronology with Daily Statistics
     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                                [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                            Events

                                                                                                     Prepackaged Software; Commvault Systems Inc. Files SEC Form 8-K, Current Report (Jul.
                                                                                                     30, 2013) (Computer Weekly News - Factiva, 08/15/2013)
8/16/2013 Fri   405,656 $82.07   -0.79% -0.09% 0.15%    -0.09%    -0.69%    -$0.57   -0.4 69.16%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/16/2013)

                                                                                                     Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                     08/16/2013)
                                                                                                     Small-Cap Stocks Led Summer; Are They Set For A Fall? (Investor's Business Daily -
                                                                                                     Factiva, 08/16/2013)
8/17/2013 Sat                                                                                        US Patent Issued to CommVault Systems on Aug. 13 for "Systems and methods for sharing
                                                                                                     media in a computer network" (Canadian, American Inventors) (US Fed News - Factiva,
8/18/2013 Sun                                                                                        Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 08/18/2013)
8/19/2013 Mon   349,997 $81.90   -0.21% -0.38% -0.16%   -0.86%     0.65%    $0.54    0.37 70.84%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/19/2013)
8/20/2013 Tue   253,172 $82.75    1.04%   0.69% 0.01%    0.96%     0.08%    $0.06    0.04 96.57%     CommVault Systems, Inc. Patent Issued for Kernel Swapping Systems and Methods for
                                                                                                     Recovering a Network Device (Information Technology Newsweekly - Factiva, 08/20/2013)


                                                                                                     CommVault Systems, Inc. Patent Issued for Stubbing Systems and Methods in a Data
                                                                                                     Replication Environment (Information Technology Newsweekly - Factiva, 08/20/2013)


                                                                                                     CommVault Systems, Inc. Patent Issued for Systems and Methods for Selective Data
                                                                                                     Replication (Information Technology Newsweekly - Factiva, 08/20/2013)
                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/20/2013)

                                                                                                     DJ CommVault Systems Inc, Inst Holders, 2Q 2013 (CVLT) (Dow Jones Institutional News -
                                                                                                     Factiva, 08/20/2013 03:20 AM)
                                                                                                     CommVault Solves Virtual Machine Sprawl with New Simpana VM Archiving (PR Newswire
                                                                                                     (U.S.) - Factiva, 08/20/2013 08:30 AM)
                                                                                                     CommVault Solves Virtual Machine Sprawl with New Simpana VM Archiving (PR Newswire -
                                                                                                     Bloomberg, 08/20/2013 08:30 AM)
8/21/2013 Wed   296,064 $83.02    0.33% -0.38% -0.58%   -1.31%     1.63%    $1.35    0.94 35.14%     CommVault Systems, Inc. Patent Issued for Email Attachment Management in a Computer
                                                                                                     System (Journal of Engineering - Factiva, 08/21/2013)
                                                                                                     CommVault Systems, Inc. Patent Issued for Failover Systems and Methods for Performing
                                                                                                     Backup Operations (Journal of Engineering - Factiva, 08/21/2013)
                                                                                                     CommVault Systems, Inc. Patent Issued for Kernel Swapping Systems and Methods for
                                                                                                     Recovering a Network Device (Journal of Engineering - Factiva, 08/21/2013)




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                                                                                Appendix C
                                                                 CommVault News Chronology with Daily Statistics
    [1]           [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                                 [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
   Date         Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                              Events

                                                                                                     CommVault Systems, Inc. Patent Issued for Storage of Application Specific Profiles
                                                                                                     Correlating to Document Versions (Journal of Engineering - Factiva, 08/21/2013)
                                                                                                     CommVault Systems, Inc. Patent Issued for Stubbing Systems and Methods in a Data
                                                                                                     Replication Environment (Journal of Engineering - Factiva, 08/21/2013)
                                                                                                     CommVault Systems, Inc. Patent Issued for Systems and Methods for Performing Multi-Path
                                                                                                     Storage Operations (Journal of Engineering - Factiva, 08/21/2013)
                                                                                                     CommVault Systems, Inc. Patent Issued for Systems and Methods for Selective Data
                                                                                                     Replication (Telecommunications Weekly - Factiva, 08/21/2013)
                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/21/2013)

                                                                                                     U.S. DAYBOOK: Loweâ€™s, Target, HP Earnings; FOMC Minutes (Bloomberg First Word -
                                                                                                     Bloomberg, 08/21/2013 05:30 AM)
                                                                                                     U.S. TMT Pre-Market: INTU 1Q Forecast Beats; HPQ to Report (Bloomberg First Word -
                                                                                                     Bloomberg, 08/21/2013 07:36 AM)
8/22/2013 Thu   310,571 $86.32    3.97%   1.08% -0.06%   1.50%     2.48%    $2.06    1.41 16.00%     COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 08/22/2013)
                                                                                                     CommVault Systems, Inc. Patent Issued for Email Attachment Management in a Computer
                                                                                                     System (Computer Weekly News - Factiva, 08/22/2013)
                                                                                                     CommVault Systems, Inc. Patent Issued for Kernel Swapping Systems and Methods for
                                                                                                     Recovering a Network Device (Computer Weekly News - Factiva, 08/22/2013)
                                                                                                     CommVault Systems, Inc. Patent Issued for Storage of Application Specific Profiles
                                                                                                     Correlating to Document Versions (Computer Weekly News - Factiva, 08/22/2013)
                                                                                                     CommVault Systems, Inc. Patent Issued for Stubbing Systems and Methods in a Data
                                                                                                     Replication Environment (Computer Weekly News - Factiva, 08/22/2013)
                                                                                                     CommVault Systems, Inc. Patent Issued for Systems and Methods for Performing Multi-Path
                                                                                                     Storage Operations (Computer Weekly News - Factiva, 08/22/2013)
                                                                                                     CommVault Systems, Inc. Patent Issued for Systems and Methods for Selective Data
                                                                                                     Replication (Computer Weekly News - Factiva, 08/22/2013)
                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/22/2013)

                                                                                                     Lazard Capital Markets Analyst Report (Analyst Report - Manual Entry, 08/22/2013)
                                                                                                     Prepackaged Software; Commvault Systems Inc. Files SEC Form 10-Q, Quarterly Report
                                                                                                     [Sections 13 Or 15(D)] (Aug. 1, 2013) (Computer Weekly News - Factiva, 08/22/2013)




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                                                                                Appendix C
                                                                 CommVault News Chronology with Daily Statistics
     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                               [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                             Events
                                                                                                     Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                     Beneficial Ownership of Securities (Aug. 1, 2013) (Computer Weekly News - Factiva,
                                                                                                     08/22/2013)
                                                                                                     Stocks Hold, Strong And Steady; Coal, Iron Ore Up On China PMI (Investor's Business Daily
                                                                                                     - Factiva, 08/22/2013)
                                                                                                     Stocks Step Up In Solid Trade: Game Stop Spikes On Strong Q2 (Investor's Business Daily -
                                                                                                     Factiva, 08/22/2013)
                                                                                                     Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                     08/22/2013)
                                                                                                     *COMMVAULT PT RAISED TO $115 FROM $95 AT LAZARD (Bloomberg First Word -
                                                                                                     Bloomberg, 08/22/2013 06:57 AM)
                                                                                                     U.S. PRE-MARKET MOVERS: ANF CVO CYTK DRYS HAIN HPQ NM NOAH PLCE
                                                                                                     (Bloomberg First Word - Bloomberg, 08/22/2013 08:48 AM)
                                                                                                     U.S. EQUITY MOVERS: ANF BONT GME HAIN HPQ KIRK SHLDS SWI VVTV
                                                                                                     (Bloomberg First Word - Bloomberg, 08/22/2013 10:41 AM)
                                                                                                     Red Hat And Other Software Stocks That May Beat Revenue Estimates (RHT)
                                                                                                     (Benzinga.com - Factiva, 08/22/2013 01:28 PM)
                                                                                                     *TRADING HALTED:(CVLT) Regulatory Halt - Extraordinary Market (BLOOMBERG
                                                                                                     News - Bloomberg, 08/22/2013 02:08 PM)
                                                                                                     *QUOTATION RESUMED:(CVLT) News and Resumption Times (BLOOMBERG News -
                                                                                                     Bloomberg, 08/22/2013 03:11 PM)
                                                                                                     *TRADING RELEASED/RESUMED:(CVLT) Reason Not Available (BLOOMBERG News -
                                                                                                     Bloomberg, 08/22/2013 03:27 PM)
                                                                                                     DJ Dir FANZILLI Sells 4,000 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                     Newswires - Factiva, 08/22/2013 04:05 PM)
                                                                                                     FRANK J FANZILLI,Director,SELLS 4,000 ON 8/20/13 OF CVLT (Washington Service -
                                                                                                     Bloomberg, 08/22/2013 04:05 PM)
                                                                                                     U.S. WRAP: Stocks Climb Amid Nasdaq Halt (Bloomberg First Word - Bloomberg,
                                                                                                     08/22/2013 04:30 PM)
8/23/2013 Fri   304,886 $85.52   -0.93%   0.52% -0.32%   0.40%    -1.33%    -$1.15   -0.76 45.16%    COMMVAULT SYSTEMS INC 8-K (SEC - SEC Edgar, 08/23/2013)

                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/23/2013)




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                                                                                 Appendix C
                                                                  CommVault News Chronology with Daily Statistics
     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                                [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                            Events
                                                                                                     Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                     08/23/2013)
                                                                                                     DJ CHART Commvault Systems Inc ST: target 75.9 (Dow Jones Institutional News -
                                                                                                     Factiva, 08/23/2013 10:14 AM)
                                                                                                     DJ CommVault Systems Files 8K - Changes Exec Mgmt >CVLT (Dow Jones Newswires -
                                                                                                     Factiva, 08/23/2013 04:04 PM)
8/24/2013 Sat                                                                                        FORM 8-K: COMMVAULT SYSTEMS FILES CURRENT REPORT (US Fed News -
8/25/2013 Sun                                                                                        Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 08/25/2013)
8/26/2013 Mon   213,550 $86.31    0.92%   0.00% 0.30%    0.21%      0.71%    $0.61   0.41 68.60%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/26/2013)

                                                                                                     COMMVAULT SYSTEMS INC: FANZILLI FRANK J FILES TO SELL 4,000 SHAR
                                                                                                     (Washington Service - Bloomberg, 08/26/2013 10:24 PM)
                                                                                                     DJ Dir FANZILLI Registers 4,000 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                     Newswires - Factiva, 08/26/2013 10:26 PM)
                                                                                                     Example Restricted Stock Sale History: Dir Files To Sell CVLT-CO (Washington Service -
                                                                                                     Bloomberg, 08/26/2013 10:40 PM)
8/27/2013 Tue   274,626 $83.42   -3.35% -2.16% -0.37%    -3.84%     0.50%    $0.43   0.28 77.88%     Commvault Systems, Inc. "Combined Stream Auxiliary Copy System and Method" in Patent
                                                                                                     Application Approval Process (Information Technology Newsweekly - Factiva, 08/27/2013)


                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/27/2013)

                                                                                                     Globaldata Analyst Report (Analyst Report - Manual Entry, 08/27/2013)

                                                                                                     Sterne Agee & Leach Analyst Report (Analyst Report - Manual Entry, 08/27/2013)
                                                                                                     Partnerships, Reports, Acquisitions Highlight Tech Companies - Research Report on 3D
                                                                                                     Systems, CommVault Systems, Check Point, (PR Newswire - Bloomberg, 08/27/2013 08:00
                                                                                                     AM)
                                                                                                     Partnerships, Reports, Acquisitions Highlight Tech Companies - Research Report on 3D
                                                                                                     Systems, CommVault Systems, Check Point, Concur, and Ellie Mae (PR Newswire (U.S.) -
                                                                                                     Factiva, 08/27/2013 08:01 AM)
8/28/2013 Wed   413,528 $85.35    2.31%   0.42% -0.23%   0.35%      1.96%    $1.63   1.11 26.77%     CommVault Systems, Inc. Patent Issued for Systems and Methods for Sharing Media in a
                                                                                                     Computer Network (Journal of Engineering - Factiva, 08/28/2013)
                                                                                                     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/28/2013)




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                                                                                 Appendix C
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     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                               [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                            Events
8/29/2013 Thu   143,024 $85.65    0.35%   0.75% -0.35%   0.77%     -0.42%    -$0.36   -0.24 81.43%    Commvault Systems, Inc. "Combined Stream Auxiliary Copy System and Method" in Patent
                                                                                                      Application Approval Process (Computer Weekly News - Factiva, 08/29/2013)
                                                                                                      Commvault Systems, Inc. Patent Application Titled "Systems and Methods for Performing
                                                                                                      Storage Operations in a Computer Network" Published Online (Computer Weekly News -
                                                                                                      Factiva, 08/29/2013)
                                                                                                      Commvault Systems, Inc. Patent Application Titled "Systems and Methods for Performing
                                                                                                      Storage Operations in a Computer Network" Published Online (Politics & Government Week
                                                                                                      - Factiva, 08/29/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for Systems and Methods for Sharing Media in a
                                                                                                      Computer Network (Computer Weekly News - Factiva, 08/29/2013)
                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/29/2013)
                                                                                                      Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                      Beneficial Ownership of Securities (Aug. 12, 2013) (Computer Weekly News - Factiva,
                                                                                                      08/29/2013)
8/30/2013 Fri   263,064 $83.83   -2.12% -0.83% -0.45%    -1.80%    -0.33%    -$0.28   -0.19 85.28%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 08/30/2013)

                                                                                                      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      08/30/2013)
                                                                                                      DJ CHART Commvault Systems Inc ST: target 74.2 (Dow Jones Institutional News -
                                                                                                      Factiva, 08/30/2013 10:20 AM)
8/31/2013 Sat
 9/1/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 09/01/2013)
 9/2/2013 Mon
 9/3/2013 Tue   495,756 $83.06   -0.92%   0.63% -0.67%   0.26%     -1.18%    -$0.99   -0.67 50.69%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/03/2013)

                                                                                                      CommVault Delivers Industry-Leading Customer Satisfaction For Third Consecutive Year
                                                                                                      (PR Newswire (U.S.) - Factiva, 09/03/2013 08:30 AM)
                                                                                                      CommVault Delivers Industry-Leading Customer Satisfaction For Third Consecutive Year
                                                                                                      (PR Newswire - Bloomberg, 09/03/2013 08:30 AM)
 9/4/2013 Wed   230,419 $84.38    1.59%   1.02% 0.13%    1.63%     -0.04%    -$0.03   -0.02 98.20%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/04/2013)
 9/5/2013 Thu   200,531 $85.26    1.04%   0.27% 0.45%    0.70%      0.34%    $0.29    0.21 83.22%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/05/2013)

                                                                                                      Greg Dunn Cooks With 3 Flavors Of Growth Stocks (Investor's Business Daily - Factiva,
                                                                                                      09/05/2013)




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                                                                                 Appendix C
                                                                  CommVault News Chronology with Daily Statistics
     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                                [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                              Events
                                                                                                      S&P Global Compustat Company Analysis Analyst Report (Analyst Report - Manual Entry,
                                                                                                      09/05/2013)
 9/6/2013 Fri   175,177 $84.57   -0.81%   0.04% -0.22%   -0.28%    -0.53%    -$0.45   -0.33 74.55%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/06/2013)

                                                                                                      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      09/06/2013)
                                                                                                      Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                      09/06/2013)
 9/7/2013 Sat
 9/8/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 09/08/2013)
 9/9/2013 Mon   104,518 $85.60    1.22%   1.27% 0.45%    2.22%     -1.00%    -$0.85   -0.62 53.82%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/09/2013)

                                                                                                      Technology, Internet Issues Well Represented In IBD 50 (Investor's Business Daily - Factiva,
                                                                                                      09/09/2013)
9/10/2013 Tue   163,730 $86.99    1.62%   0.62% 1.21%    1.93%     -0.30%    -$0.26   -0.19 85.17%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/10/2013)
9/11/2013 Wed   174,628 $86.52   -0.54% -0.10% 0.48%     0.16%     -0.70%    -$0.61   -0.43 66.77%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/11/2013)

                                                                                                      Tech Reasserts Status Among Top Industries (Investor's Business Daily - Factiva,
                                                                                                      09/11/2013)
                                                                                                      Storage Software Revenues Increased 4.1% in the Second Quarter of 2013, According to IDC
                                                                                                      (Business Wire - Bloomberg, 09/11/2013 08:30 AM)
                                                                                                      *STORAGE SOFTWARE REVENUES INCREASED 4.1% 2Q, IDC SAYS (BLOOMBERG
                                                                                                      News - Bloomberg, 09/11/2013 08:34 AM)
                                                                                                      *STORAGE SOFTWARE REVENUE WAS ALMOST $3.5B IN 2Q, IDC SAYS
                                                                                                      (BLOOMBERG News - Bloomberg, 09/11/2013 08:34 AM)
                                                                                                      Storage Software Revenue Increased 4.1% in 2Q, IDC Says (Bloomberg First Word -
                                                                                                      Bloomberg, 09/11/2013 08:42 AM)
9/12/2013 Thu   216,228 $85.03   -1.72% -0.24% 0.23%     -0.31%    -1.41%    -$1.22   -0.87 38.67%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/12/2013)
                                                                                                      Prepackaged Software; Commvault Systems Inc. Files SEC Form 8-K, Current Report (Aug.
                                                                                                      23, 2013) (Computer Weekly News - Factiva, 09/12/2013)
9/13/2013 Fri   149,860 $85.01   -0.02%   0.17% -0.20%   -0.11%     0.08%    $0.07    0.05 95.87%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/13/2013)

                                                                                                      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      09/13/2013)
9/14/2013 Sat                                                                                         USFedNewsService: WIPO PUBLISHES PATENT OF COMMVAULT SYSTEMS FOR



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                                                                                 Appendix C
                                                                  CommVault News Chronology with Daily Statistics
     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                               [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                            Events

9/15/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 09/15/2013)
9/16/2013 Mon   183,458 $85.08    0.08% -0.12% 0.45%     0.07%      0.01%    $0.01    0.01 99.29%     Australia: CommVault Systems Receives Patent for 'Systems and methods for normalizing
                                                                                                      data of heterogeneous data sources' (Australian Government News - Factiva, 09/16/2013)


                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/16/2013)
9/17/2013 Tue   257,609 $86.85    2.08%   0.75% -0.06%   0.89%      1.19%    $1.01    0.73 46.66%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/17/2013)
                                                                                                      WIPO PUBLISHES PATENT OF COMMVAULT SYSTEMS FOR "AUTOMATED,
                                                                                                      TIERED DATA RETENTION" (AMERICAN INVENTORS) (US Fed News - Factiva,
                                                                                                      09/17/2013)
9/18/2013 Wed   224,642 $88.42    1.81%   1.01% -0.31%   1.07%      0.74%    $0.64    0.45 65.22%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/18/2013)

                                                                                                      Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 09/18/2013)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on Sept. 17 for "Systems and
                                                                                                      methods of media management, such as (RE1 - Bloomberg, 09/18/2013 02:24 PM)
9/19/2013 Thu   190,880 $88.28   -0.16%   0.15% -0.19%   -0.10%    -0.06%    -$0.05   -0.03 97.23%    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 09/19/2013)

                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/19/2013)

                                                                                                      Ladenburg Thalmann & Company Analyst Report (Analyst Report - Manual Entry,
                                                                                                      09/19/2013)
                                                                                                      DJ Officer MERRILL Surrenders 24 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                      Newswires - Factiva, 09/19/2013 04:07 PM)
9/20/2013 Fri   677,971 $87.39   -1.01% -0.39% 0.14%     -0.62%    -0.39%    -$0.34   -0.24 81.02%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/20/2013)

                                                                                                      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      09/20/2013)
                                                                                                      DJ CHART Commvault Systems Inc ST: the upside prevails as long as 84.4 is support (Dow
                                                                                                      Jones Institutional News - Factiva, 09/20/2013 10:18 AM)
9/21/2013 Sat
9/22/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 09/22/2013)
9/23/2013 Mon   256,917 $87.38   -0.01% -0.25% -0.31%    -0.85%     0.84%    $0.73    0.52 60.31%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/23/2013)

                                                                                                      Open Text Seen Lifting As European Economy Picks Up (Investor's Business Daily - Factiva,
                                                                                                      09/23/2013)




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     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                                [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                              Events
                                                                                                      Real Estate Roundup: Office leases for Sept. 23 (Portland Business Journal Online - Factiva,
                                                                                                      09/23/2013)
                                                                                                      Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                      09/23/2013)
9/24/2013 Tue   296,140 $85.27   -2.41%   0.08% -0.09%   -0.10%    -2.32%    -$2.03   -1.46 14.69%    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 09/24/2013)

                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/24/2013)

                                                                                                      Piper Jaffray Analyst Report (Analyst Report - Manual Entry, 09/24/2013)

                                                                                                      DJ VP MICELI Sells 7,091 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                      Newswires - Factiva, 09/24/2013 04:06 PM)
                                                                                                      LOUIS F MICELI,Vice Pres.,SELLS 7,091 ON 9/20/13 OF CVLT (Washington Service -
                                                                                                      Bloomberg, 09/24/2013 04:06 PM)
                                                                                                      COMMVAULT SYSTEMS INC: MICELI LOUIS F FILES TO SELL 7,091 SHARES
                                                                                                      (Washington Service - Bloomberg, 09/24/2013 10:28 PM)
                                                                                                      DJ VP MICELI Registers 7,091 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                      Newswires - Factiva, 09/24/2013 10:46 PM)
9/25/2013 Wed   230,440 $86.92    1.94% -0.19% 0.65%     0.18%      1.76%    $1.50     1.1 27.40%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/25/2013)
9/26/2013 Thu   425,594 $88.95    2.34%   0.72% 0.12%    1.06%      1.28%    $1.11    0.81 42.17%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/26/2013)
9/27/2013 Fri   258,071 $87.21   -1.96% -0.15% -0.42%    -0.69%    -1.27%    -$1.13    -0.8 42.52%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/27/2013)

                                                                                                      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      09/27/2013)
                                                                                                      DJ CHART Commvault Systems Inc ST: the upside prevails as long as 84 is support (Dow
                                                                                                      Jones Institutional News - Factiva, 09/27/2013 01:06 PM)
9/28/2013 Sat
9/29/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 09/29/2013)
9/30/2013 Mon   249,218 $87.92    0.81% -0.26% -0.01%    -0.49%     1.30%    $1.13    0.82 41.49%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 09/30/2013)

                                                                                                      Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                      09/30/2013)
                                                                                                      U.S. Stocks Testing Trendline Argues for Caution: Oppenheimer (Bloomberg First Word -
                                                                                                      Bloomberg, 09/30/2013 09:00 AM)
10/1/2013 Tue   531,133 $89.45    1.74%   1.25% 0.02%    1.82%     -0.08%    -$0.07   -0.05 95.95%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/01/2013)




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                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                             Events
                                                                                                      Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                      10/01/2013)
10/2/2013 Wed   383,855 $88.87   -0.65% -0.08% 0.18%     -0.01%    -0.64%    -$0.57   -0.41 68.32%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/02/2013)

                                                                                                      Splunk Delivers Enterprise Software Via Cloud (Investor's Business Daily - Factiva,
                                                                                                      10/02/2013)
                                                                                                      Stocks Open Lower, Trade Mixed; McDonald's, Electronic Arts Slip (Investor's Business
                                                                                                      Daily - Factiva, 10/02/2013)
10/3/2013 Thu   301,310 $87.50   -1.54% -1.07% -0.21%    -1.88%     0.34%    $0.30    0.22 82.60%     COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/03/2013)

                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/03/2013)

                                                                                                      Loomis Sayles Managers' Small Ball Hits Home Runs (Investor's Business Daily - Factiva,
                                                                                                      10/03/2013)
                                                                                                      DJ VP WEST Sells 5,895 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones Newswires
                                                                                                      - Factiva, 10/03/2013 04:46 PM)
                                                                                                      DAVID R WEST,Vice Pres.,SELLS 5,895 ON 10/1/13 OF CVLT (Washington Service -
                                                                                                      Bloomberg, 10/03/2013 04:46 PM)
                                                                                                      COMMVAULT SYSTEMS INC: WEST DAVID R FILES TO SELL 5,895 SHARES
                                                                                                      (Washington Service - Bloomberg, 10/03/2013 10:20 PM)
                                                                                                      DJ VP WEST Registers 5,895 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                      Newswires - Factiva, 10/03/2013 10:21 PM)
10/4/2013 Fri   238,769 $88.86    1.55%   0.89% -0.06%   1.20%      0.36%    $0.31    0.23 81.64%     COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/04/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/04/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/04/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/04/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/04/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/04/2013)

                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/04/2013)

                                                                                                      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      10/04/2013)




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                                                Industry                  Abnormal
                                         Market Excess Predicted Abnormal   Price
     Date        Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                           Events
                                                                                                      CommVault Announces Earnings Release Date (PR Newswire (U.S.) - Factiva, 10/04/2013
                                                                                                      09:15 AM)
                                                                                                      CommVault Announces Earnings Release Date (PR Newswire - Bloomberg, 10/04/2013
                                                                                                      09:15 AM)
                                                                                                      DJ COO BUNTE Surrenders 222 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                      Newswires - Factiva, 10/04/2013 04:15 PM)
                                                                                                      ALAN G BUNTE,C.O.O,SURRENDERS 222 ON 10/2/13 OF CVLT (Washington Service -
                                                                                                      Bloomberg, 10/04/2013 04:15 PM)
                                                                                                      DJ CFO CAROLAN Surrenders 76 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                      Newswires - Factiva, 10/04/2013 04:16 PM)
                                                                                                      DJ Chmn HAMMER Surrenders 291 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                      Newswires - Factiva, 10/04/2013 04:16 PM)
                                                                                                      N ROBERT HAMMER,C.O.B.,SURRENDERS 291 ON 10/2/13 OF CVLT (Washington
                                                                                                      Service - Bloomberg, 10/04/2013 04:16 PM)
                                                                                                      DJ Officer MERRILL Surrenders 32 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                      Newswires - Factiva, 10/04/2013 04:17 PM)
                                                                                                      DJ VP MICELI Surrenders 126 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                      Newswires - Factiva, 10/04/2013 04:18 PM)
                                                                                                      LOUIS F MICELI,Vice Pres.,SURRENDERS 126 ON 10/2/13 OF CVLT (Washington Service
                                                                                                      - Bloomberg, 10/04/2013 04:18 PM)
                                                                                                      DJ VP MIILLER Surrenders 158 Of COMMVAULT SYSTEMS INC >CVLT (Dow Jones
                                                                                                      Newswires - Factiva, 10/04/2013 04:19 PM)
                                                                                                      RONALD L MIILLER,Vice Pres.,SURRENDERS 158 ON 10/2/13 OF CVLT (Washington
                                                                                                      Service - Bloomberg, 10/04/2013 04:19 PM)
 10/5/2013 Sat                                                                                        USFedNewsService: WIPO PUBLISHES PATENT OF COMMVAULT SYSTEMS FOR
                                                                                                      "INFORMATON MANAGEMENT OF MOBILE DEVICE DATA" (AMERICAN (RE1 -
 10/6/2013 Sun                                                                                        Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 10/06/2013)
 10/7/2013 Mon   376,912 $87.87   -1.11% -0.98% -0.51%   -1.96%     0.85%    $0.76    0.55 58.00%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/07/2013)
 10/8/2013 Tue   462,083 $86.05   -2.07% -2.00% 0.31%    -2.82%     0.74%    $0.65    0.49 62.76%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/08/2013)
 10/9/2013 Wed   434,897 $84.60   -1.69% -0.45% 0.18%    -0.57%    -1.12%    -$0.96   -0.73 46.64%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/09/2013)
10/10/2013 Thu   297,452 $85.99    1.64%   2.26% 0.27%    3.48%    -1.84%    -$1.56    -1.2 23.26%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/10/2013)




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                                                                     CommVault News Chronology with Daily Statistics
      [1]           [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]         [11]                                                 [12]
                                                  Industry                  Abnormal
                                           Market Excess Predicted Abnormal   Price
     Date        Volume    Price    Return Return Return Return     Return   React   t-stat      p-Value                                              Events
                                                                                                           Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                           Beneficial Ownership of Securities (Sept. 19, 2013) (Computer Weekly News - Factiva,
                                                                                                           10/10/2013)
10/11/2013 Fri    295,260 $87.20     1.41%   0.83% 0.25%    1.30%      0.11%    $0.09    0.07 94.51%       Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/11/2013)

                                                                                                           Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                           10/11/2013)
10/12/2013 Sat                                                                                             Wright Investors Service Analyst Report (Analyst Report - Manual Entry, 10/11/2013)
                                                                                                           Product Launches, Investors Conferences, Company Preferments, and Common Stocks -
                                                                                                           Research Report on AVG, CommVault, Cornerstone, MICROS, and ACTIVE (PR Newswire
                                                                                                           (U.S.) - Factiva, 10/11/2013 08:00 AM)
                                                                                                           *PRODUCT LAUNCHES, INVESTORS CONFERENCES, CO. PREFERMENTS,,
                                                                                                           (BLOOMBERG News - Bloomberg, 10/11/2013 08:00 AM)
                                                                                                           Product Launches, Investors Conferences, Company Preferments, and Common Stocks -
                                                                                                           Research Report on AVG, CommVault, (PR Newswire - Bloomberg, 10/11/2013 08:00 AM)


10/12/2013 Sat
10/13/2013 Sun                                                                                             Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 10/13/2013)
10/14/2013 Mon    232,121 $87.73     0.61%   0.62% -0.50%   0.33%      0.27%    $0.24    0.18 85.87%       Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/14/2013)

                                                                                                           Recent Ascending Bases Point To Need To Adjust Expectations (Investor's Business Daily -
                                                                                                           Factiva, 10/14/2013)
10/15/2013 Tue   1,579,129 $81.69   -6.88% -0.56% -1.52%    -2.20%    -4.68%    -$4.11   -3.05   0.29% ** Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/15/2013)

                                                                                                           Late-Day Selling Hits Stocks; Yahoo, Intel Results In Focus (Investor's Business Daily -
                                                                                                           Factiva, 10/15/2013)
                                                                                                           Lazard Capital Markets Analyst Report (Analyst Report - Manual Entry, 10/15/2013)

                                                                                                           Selling Picks Up The Pace; Synaptics, Apple Buck The Trend (Investor's Business Daily -
                                                                                                           Factiva, 10/15/2013)
                                                                                                           Software Cos. INFA, CVLT, MSTR Drop After TDC Prelim. Miss (Bloomberg First Word -
                                                                                                           Bloomberg, 10/15/2013 10:24 AM)
                                                                                                           U.S. EQUITY MOVERS: ASTC ATI CBB ECYT ESI GTN IVZ MTSL JCP X WPX
                                                                                                           (Bloomberg First Word - Bloomberg, 10/15/2013 12:35 PM)




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                                                                  CommVault News Chronology with Daily Statistics
     [1]           [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                               [12]
                                                Industry                  Abnormal
                                         Market Excess Predicted Abnormal   Price
    Date         Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                            Events
                                                                                                      U.S. WRAP: Stocks Drop as Washington Continues Without Agreement (Bloomberg First
                                                                                                      Word - Bloomberg, 10/15/2013 04:28 PM)
10/16/2013 Wed   525,512 $83.37    2.06%   1.20% -0.05%   1.53%     0.53%    $0.43    0.33 74.11%     COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/16/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/16/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/16/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/16/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/16/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/16/2013)

                                                                                                      COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/16/2013)

                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/16/2013)

                                                                                                      Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                      10/16/2013)
                                                                                                      Lazard Capital Markets Reiterates Buy on CommVault Systems Following Share Pressures
                                                                                                      (Benzinga.com - Factiva, 10/16/2013 12:48 PM)
                                                                                                      ALAN G BUNTE,C.O.O,SURRENDERS 1,293 ON 10/15/13 OF CVLT (Washington Service -
                                                                                                      Bloomberg, 10/16/2013 04:11 PM)
                                                                                                      BRIAN CAROLAN,C.F.O.,SURRENDERS 1,983 ON 10/15/13 OF CVLT (Washington
                                                                                                      Service - Bloomberg, 10/16/2013 04:11 PM)
                                                                                                      N ROBERT HAMMER,C.O.B.,SURRENDERS 5,693 ON 10/15/13 OF CVLT (Washington
                                                                                                      Service - Bloomberg, 10/16/2013 04:12 PM)
                                                                                                      GARY MERRILL,Officer,SURRENDERS 698 ON 10/15/13 OF CVLT (Washington Service -
                                                                                                      Bloomberg, 10/16/2013 04:13 PM)
                                                                                                      LOUIS F MICELI,Vice Pres.,SURRENDERS 2,113 ON 10/15/13 OF CVLT (Washington
                                                                                                      Service - Bloomberg, 10/16/2013 04:13 PM)
                                                                                                      RONALD L MIILLER,Vice Pres.,SURRENDERS 2,898 ON 10/15/13 OF CVLT (Washington
                                                                                                      Service - Bloomberg, 10/16/2013 04:15 PM)
                                                                                                      DAVID R WEST,Vice Pres.,SURRENDERS 2,067 ON 10/15/13 OF CVLT (Washington
                                                                                                      Service - Bloomberg, 10/16/2013 04:15 PM)
10/17/2013 Thu   480,845 $85.67    2.76%   0.62% -0.27%   0.48%     2.28%    $1.90    1.44 15.22%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/17/2013)




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                                                Industry                  Abnormal
                                         Market Excess Predicted Abnormal   Price
     Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                            Events
                                                                                                       CommVault's 'Hockey Helping Kids' Opens 14th Season Supporting Children's Charities with
                                                                                                       Expanded Roster of NHL Venues, Sponsors (PR Newswire (U.S.) - Factiva, 10/17/2013
                                                                                                       08:30 AM)
                                                                                                       CommVault's 'Hockey Helping Kids' Opens 14th Season Supporting Children's Charities with
                                                                                                       Expanded Roster of NHL Venues, (PR Newswire - Bloomberg, 10/17/2013 08:30 AM)


10/18/2013 Fri   367,684 $87.33    1.94%   1.32% -0.05%   1.76%      0.18%    $0.16    0.11 90.92%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/18/2013)

                                                                                                       Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                       10/18/2013)
                                                                                                       CHART Commvault Systems Inc ST: eye 77.4 (Dow Jones Institutional News - Factiva,
                                                                                                       10/18/2013 01:04 PM)
10/19/2013 Sat                                                                                         Australia Patent: Commvault Systems Files Application for 'Information management of
10/20/2013 Sun                                                                                         Summit Research Analyst Report (Analyst Report - Manual Entry, 10/20/2013)

                                                                                                       Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 10/20/2013)
10/21/2013 Mon   407,519 $87.49    0.18%   0.15% 0.36%    0.52%     -0.34%    -$0.29   -0.21 83.29%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/21/2013)

                                                                                                       Market Edge Analyst Report (Analyst Report - Manual Entry, 10/21/2013)

                                                                                                       Piper Jaffray Analyst Report (Analyst Report - Manual Entry, 10/21/2013)

                                                                                                       Summit Research Analyst Report (Analyst Report - Manual Entry, 10/21/2013)
                                                                                                       CommVault Intelligent Archive Solution Makes Content Retention, Compliance And Cloud
                                                                                                       Storage More Affordable (PR Newswire (U.S.) - Factiva, 10/21/2013 08:30 AM)


                                                                                                       CommVault Intelligent Archive Solution Makes Content Retention, Compliance And Cloud
                                                                                                       Storage More Affordable (PR Newswire - Bloomberg, 10/21/2013 08:30 AM)
10/22/2013 Tue   468,536 $86.96   -0.61%   0.24% 0.18%    0.46%     -1.07%    -$0.93   -0.67 50.39%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/22/2013)
                                                                                                       CommVault Intelligent Archive Solution Makes Content Retention, Compliance And Cloud
                                                                                                       Storage More Affordable (PR Newswire (U.S.) - Factiva, 10/22/2013 03:58 PM)


10/23/2013 Wed   399,219 $85.74   -1.40% -0.57% -0.47%    -1.50%     0.10%    $0.08    0.07 94.80%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/23/2013)
                                                                                                       USFedNewsService: US Patent Issued to CommVault Systems on Oct. 22 for "Hierarchical
                                                                                                       systems and methods for performing data (RE1 - Bloomberg, 10/23/2013 07:46 AM)




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                                                                   CommVault News Chronology with Daily Statistics
      [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                              [12]
                                                Industry                  Abnormal
                                         Market Excess Predicted Abnormal   Price
     Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                           Events
10/24/2013 Thu   390,852 $85.07   -0.78%   0.56% -1.42%   -1.20%     0.42%    $0.36    0.28 77.91%     Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/24/2013)
                                                                                                       Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                       Beneficial Ownership of Securities (Oct. 3, 2013) (Computer Weekly News - Factiva,
                                                                                                       10/24/2013)
10/25/2013 Fri   416,048 $83.95   -1.32%   0.37% -0.33%   -0.06%    -1.26%    -$1.07   -0.85 39.88%    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/25/2013)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/25/2013)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/25/2013)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/25/2013)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/25/2013)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/25/2013)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 10/25/2013)

                                                                                                       Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/25/2013)

                                                                                                       Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                       10/25/2013)
10/26/2013 Sat
10/27/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 10/27/2013)
10/28/2013 Mon 1,072,021 $82.50   -1.73% -0.08% 0.30%     0.14%     -1.86%    -$1.56   -1.26 21.19%    COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR FANZILLI (New
                                                                                                       Jersey) (US Fed News - Factiva, 10/28/2013)
                                                                                                       COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR GEDAY (New
                                                                                                       Jersey) (US Fed News - Factiva, 10/28/2013)
                                                                                                       COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR GEESLIN (New
                                                                                                       Jersey) (US Fed News - Factiva, 10/28/2013)
                                                                                                       COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR KURIMSKY (New
                                                                                                       Jersey) (US Fed News - Factiva, 10/28/2013)
                                                                                                       COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR PULVER (New
                                                                                                       Jersey) (US Fed News - Factiva, 10/28/2013)
                                                                                                       COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR SMITH (New Jersey)
                                                                                                       (US Fed News - Factiva, 10/28/2013)
                                                                                                       COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR WALKER (New
                                                                                                       Jersey) (US Fed News - Factiva, 10/28/2013)
                                                                                                       Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/28/2013)




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                                                                    CommVault News Chronology with Daily Statistics
     [1]            [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                                [12]
                                                  Industry                  Abnormal
                                           Market Excess Predicted Abnormal   Price
    Date         Volume    Price    Return Return Return Return     Return   React   t-stat     p-Value                                             Events

                                                                                                          Elevated Options Volume: ADM AEO AMTD BIIB BMY CAG CAR CF CHS (Bloomberg
                                                                                                          First Word - Bloomberg, 10/28/2013 03:30 PM)
10/29/2013 Tue   3,055,227 $80.51   -2.41%   0.32% -0.04%   0.21%    -2.62%    -$2.16   -1.76   8.15%     CFRA Equity Research Analyst Report (Analyst Report - Manual Entry, 10/29/2013)

                                                                                                          CFRA Equity Research Analyst Report (Analyst Report - Manual Entry, 10/29/2013)

                                                                                                          COMMVAULT SYSTEMS INC 8-K (SEC - SEC Edgar, 10/29/2013)

                                                                                                          CommVault Systems Inc Reaffirms FY 2014 Guidance-Conference Call (Reuters Significant
                                                                                                          Developments - Factiva, 10/29/2013)
                                                                                                          Credit Suisse Analyst Report (Analyst Report - Manual Entry, 10/29/2013)

                                                                                                          Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/29/2013)

                                                                                                          Event Brief of Q2 2014 CommVault Earnings Conference Call - Final (CQ FD Disclosure -
                                                                                                          Factiva, 10/29/2013)
                                                                                                          Jefferies & Company Analyst Report (Analyst Report - Manual Entry, 10/29/2013)

                                                                                                          Lake Street Capital Markets, LLC Analyst Report (Analyst Report - Manual Entry,
                                                                                                          10/29/2013)
                                                                                                          Lazard Capital Markets Analyst Report (Analyst Report - Manual Entry, 10/29/2013)

                                                                                                          Piper Jaffray Analyst Report (Analyst Report - Manual Entry, 10/29/2013)

                                                                                                          Q2 2014 CommVault Earnings Conference Call - Final (CQ FD Disclosure - Factiva,
                                                                                                          10/29/2013)
                                                                                                          Raymond James & Associates Analyst Report (Analyst Report - Manual Entry, 10/29/2013)


                                                                                                          RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 10/29/2013)

                                                                                                          RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 10/29/2013)

                                                                                                          Sterne Agee & Leach Analyst Report (Analyst Report - Manual Entry, 10/29/2013)

                                                                                                          Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 10/29/2013)

                                                                                                          Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 10/29/2013)

                                                                                                          Stocks Mixed In Firm Trade; Cummins, CommVault Systems Dive (Investor's Business Daily
                                                                                                          - Factiva, 10/29/2013)
                                                                                                          Summit Research Analyst Report (Analyst Report - Manual Entry, 10/29/2013)




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[1]      [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                               [12]
                                      Industry                  Abnormal
                               Market Excess Predicted Abnormal   Price
Date   Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                            Events
                                                                                            US Patent Issued to CommVault Systems on Oct. 29 for "Systems and methods for performing
                                                                                            data replication" (New Jersey Inventor) (US Fed News - Factiva, 10/29/2013)


                                                                                            William Blair & Company Analyst Report (Analyst Report - Manual Entry, 10/29/2013)


                                                                                            Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                            10/29/2013)
                                                                                            USFedNewsService: COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR
                                                                                            WALKER (New Jersey) (RE1 - Bloomberg, 10/29/2013 03:50 AM)
                                                                                            USFedNewsService: COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR
                                                                                            FANZILLI (New Jersey) (RE1 - Bloomberg, 10/29/2013 03:57 AM)
                                                                                            USFedNewsService: COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR
                                                                                            GEESLIN (New Jersey) (RE1 - Bloomberg, 10/29/2013 04:31 AM)
                                                                                            USFedNewsService: COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR
                                                                                            SMITH (New Jersey) (RE1 - Bloomberg, 10/29/2013 04:31 AM)
                                                                                            USFedNewsService: COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR
                                                                                            PULVER (New Jersey) (RE1 - Bloomberg, 10/29/2013 04:31 AM)
                                                                                            USFedNewsService: COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR
                                                                                            GEDAY (New Jersey) (RE1 - Bloomberg, 10/29/2013 04:32 AM)
                                                                                            USFedNewsService: COMMVAULT SYSTEMS REPORTS ACQUISITION BY DIRECTOR
                                                                                            KURIMSKY (New Jersey) (RE1 - Bloomberg, 10/29/2013 04:33 AM)
                                                                                            CommVault Announces Second Quarter Fiscal 2014 Financial Results (PR Newswire (U.S.) -
                                                                                            Factiva, 10/29/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 2Q EPS 35C :CVLT US (BLOOMBERG News - Bloomberg,
                                                                                            10/29/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 2Q NON-GAAP EPS 48C :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 10/29/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 2Q REV. $141.9M :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 10/29/2013 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 2Q REV. UP 20% :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 10/29/2013 07:40 AM)




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                                                Industry                  Abnormal
                                         Market Excess Predicted Abnormal   Price
    Date        Volume   Price    Return Return Return Return     Return   React   t-stat   p-Value                                             Events
                                                                                                      *COMMVAULT SYSTEMS 2Q SERVICE REV. $71.0M :CVLT US (BLOOMBERG News -
                                                                                                      Bloomberg, 10/29/2013 07:40 AM)
                                                                                                      *COMMVAULT SYSTEMS 2Q SOFTWARE LICENSES REV. $70.8M :CVLT US
                                                                                                      (BLOOMBERG News - Bloomberg, 10/29/2013 07:40 AM)
                                                                                                      CommVault Announces Second Quarter Fiscal 2014 Financial Results (PR Newswire -
                                                                                                      Bloomberg, 10/29/2013 07:40 AM)
                                                                                                      *COMMVAULT REPORTS 2Q ADJ. EPS 48C, EST. 40C (Bloomberg First Word -
                                                                                                      Bloomberg, 10/29/2013 07:40 AM)
                                                                                                      *COMMVAULT REPORTS 2Q REVENUE OF $141.9M, EST. $140.1M (BLOOMBERG
                                                                                                      News - Bloomberg, 10/29/2013 07:40 AM)
                                                                                                      *COMMVAULT AUTHORIZED $47.2M BOOST TO BUYBACK PROGRAM OCT. 24
                                                                                                      (BLOOMBERG News - Bloomberg, 10/29/2013 07:42 AM)
                                                                                                      Commvault Systems 2Q Adj. EPS, Revenue Tops Ests. (Bloomberg First Word - Bloomberg,
                                                                                                      10/29/2013 07:47 AM)
                                                                                                      U.S. TMT Pre-Mkt: AAPL GM View Misses; LNKD, YELP to Report (Bloomberg First
                                                                                                      Word - Bloomberg, 10/29/2013 07:54 AM)
                                                                                                      U.S. PRE-MARKET MOVERS: AAMRQ CIE CLNY DATA GT LYB NTRI SLG USAT
                                                                                                      (Bloomberg First Word - Bloomberg, 10/29/2013 08:49 AM)
                                                                                                      U.S. EQUITY MOVERS: CGNX CMI DAN DCO DIN ECOL ECOM GEOS JLL LMOS
                                                                                                      (Bloomberg First Word - Bloomberg, 10/29/2013 10:00 AM)
                                                                                                      U.S. Stock Options With Biggest Changes in Implied Volatility (BLOOMBERG News -
                                                                                                      Bloomberg, 10/29/2013 11:30 AM)
                                                                                                      Elevated Options Volume: AFL AMKR AMLP AON ASH BIDU BYI CAR CBOE
                                                                                                      (Bloomberg First Word - Bloomberg, 10/29/2013 04:31 PM)
10/30/2013 Wed 1,256,498 $78.10   -2.99% -0.54% -0.14%   -1.05%    -1.94%    -$1.56   -1.31 19.31%    CFRA Equity Research Analyst Report (Analyst Report - Manual Entry, 10/30/2013)

                                                                                                      CommVault racks up sales gain (Investor's Business Daily - Factiva, 10/30/2013)

                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/30/2013)

                                                                                                      FORM 8-K: COMMVAULT SYSTEMS FILES CURRENT REPORT (US Fed News -
                                                                                                      Factiva, 10/30/2013)
                                                                                                      JMP Securities Analyst Report (Analyst Report - Manual Entry, 10/30/2013)




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                                                                                  Appendix C
                                                                   CommVault News Chronology with Daily Statistics
      [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                               [12]
                                                Industry                  Abnormal
                                         Market Excess Predicted Abnormal   Price
     Date        Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                             Events
                                                                                                      Needham & Company Analyst Report (Analyst Report - Manual Entry, 10/30/2013)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on Oct. 29 for "Systems and
                                                                                                      methods for performing data replication" (RE1 - Bloomberg, 10/30/2013 06:32 AM)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on Oct. 29 for "Systems and
                                                                                                      methods for retaining and using data block (RE1 - Bloomberg, 10/30/2013 10:53 AM)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on Oct. 29 for "Systems and
                                                                                                      methods for granular resource management in (RE1 - Bloomberg, 10/30/2013 12:02 PM)


                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on Oct. 29 for "Firewall proxy
                                                                                                      systems and methods in a backup (RE1 - Bloomberg, 10/30/2013 12:16 PM)
                                                                                                      Target Price Reached for CommVault Systems Inc (Recognia Alert Wire - Bloomberg,
                                                                                                      10/30/2013 04:04 PM)
10/31/2013 Thu   838,072 $78.08   -0.03% -0.27% -0.13%    -0.70%     0.67%    $0.52    0.45 65.50%    COMMVAULT SYSTEMS INC 10-Q (SEC - SEC Edgar, 10/31/2013)

                                                                                                      COMMVAULT SYSTEMS INC S-8 (SEC - SEC Edgar, 10/31/2013)

                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 10/31/2013)
                                                                                                      Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                      Beneficial Ownership of Securities (Oct. 16, 2013) (Computer Weekly News - Factiva,
                                                                                                      10/31/2013)
                                                                                                      Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 10/31/2013)

                                                                                                      Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                      10/31/2013)
 11/1/2013 Fri   932,936 $77.96   -0.15%   0.06% -0.49%   -0.66%     0.50%    $0.39    0.34 73.62%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 11/01/2013)

                                                                                                      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      11/01/2013)
 11/2/2013 Sat
 11/3/2013 Sun                                                                                        Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 11/03/2013)
                                                                                                      US Patent Issued to CommVault Systems on Oct. 29 for "Firewall proxy systems and methods
                                                                                                      in a backup environment" (New Jersey Inventor) (US Fed News - Factiva, 11/03/2013)


 11/4/2013 Mon   643,628 $77.74   -0.28%   0.37% 0.33%    0.76%     -1.05%    -$0.82   -0.7 48.38%    Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 11/04/2013)

                                                                                                      Sadif Analytics Analyst Report (Analyst Report - Manual Entry, 11/04/2013)




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                                                                  CommVault News Chronology with Daily Statistics
    [1]           [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                              [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
   Date         Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                            Events
                                                                                                      Summit Research Analyst Report (Analyst Report - Manual Entry, 11/04/2013)
                                                                                                      Quarterly Financial Results, Product Availability and Enhancements and Upcoming Earnings
                                                                                                      Schedules - Research Report on (PR Newswire - Bloomberg, 11/04/2013 08:01 AM)


                                                                                                      Quarterly Financial Results, Product Availability and Enhancements and Upcoming Earnings
                                                                                                      Schedules - Research Report on CommVault, AVG, Splunk, SolarWinds, and LifeLock (PR
                                                                                                      Newswire (U.S.) - Factiva, 11/04/2013 08:02 AM)
11/5/2013 Tue   627,908 $76.58   -1.49%   0.11% -0.72%   -0.85%    -0.64%    -$0.50   -0.43 66.79%    CommVault Systems, Inc. Patent Issued for Hierarchical Systems and Methods for Performing
                                                                                                      Data Storage Operations (Information Technology Newsweekly - Factiva, 11/05/2013)


                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 11/05/2013)

                                                                                                      COMMVAULT SYSTEMS INC: BUNTE ALAN G FILES TO SELL 30,000 SHARES
                                                                                                      (Washington Service - Bloomberg, 11/05/2013 10:37 PM)
11/6/2013 Wed   646,576 $76.90    0.42% -0.15% 0.96%     0.80%     -0.38%    -$0.29   -0.26 79.83%    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 11/06/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for Hierarchical Systems and Methods for Performing
                                                                                                      Data Storage Operations (Journal of Engineering - Factiva, 11/06/2013)
                                                                                                      Eva Dimensions Analyst Report (Analyst Report - Manual Entry, 11/06/2013)

                                                                                                      CommVault Systems Q2 net income increases (MarketLine (a Datamonitor Company),
                                                                                                      Company News - Factiva, 11/06/2013 01:59 AM)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on Nov. 5 for "Systems and
                                                                                                      methods for retaining and using data block (RE1 - Bloomberg, 11/06/2013 08:21 AM)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on Nov. 5 for "Content aligned
                                                                                                      block-based deduplication" (New Jersey (RE1 - Bloomberg, 11/06/2013 09:41 AM)


                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on Nov. 5 for "Block-level single
                                                                                                      instancing" (New Jersey Inventors) (RE1 - Bloomberg, 11/06/2013 09:55 AM)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on Nov. 5 for "Systems and
                                                                                                      methods for performing storage operations (RE1 - Bloomberg, 11/06/2013 11:39 AM)
                                                                                                      ARMANDO GEDAY,Director,SELLS 833 ON 11/4/13 OF CVLT (Washington Service -
                                                                                                      Bloomberg, 11/06/2013 04:08 PM)
                                                                                                      COMMVAULT SYSTEMS INC: GEDAY ARMANDO FILES TO SELL 833 SHARES
                                                                                                      (Washington Service - Bloomberg, 11/06/2013 10:27 PM)




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                                                                                  Appendix C
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                                                Industry                  Abnormal
                                         Market Excess Predicted Abnormal   Price
     Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                             Events
                                                                                                       Example 2 Year Insider History: Dir Sells CVLT-COMMVAULT SYSTEMS (Washington
                                                                                                       Service - Bloomberg, 11/06/2013 10:31 PM)
 11/7/2013 Thu   745,630 $75.53   -1.78% -1.89% 0.80%     -1.81%     0.03%    $0.02    0.02 98.59%     CommVault Systems, Inc. Patent Issued for Hierarchical Systems and Methods for Performing
 11/8/2013 Fri   476,744 $75.76    0.30%   1.61% -0.73%   1.19%     -0.89%    -$0.67    -0.6 55.25%    Globaldata Analyst Report (Analyst Report - Manual Entry, 11/08/2013)

                                                                                                       Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                       11/08/2013)
 11/9/2013 Sat
11/10/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 11/10/2013)
11/11/2013 Mon   410,508 $75.01 -0.99%     0.01% 0.32%     0.27%    -1.26%    -$0.95   -0.85 39.85%
11/12/2013 Tue   342,656 $75.09 0.11%      0.02% 0.01%    -0.06%     0.17%     $0.13    0.12 90.34%    CommVault Systems, Inc. Patent Issued for Systems and Methods for Retaining and Using
                                                                                                       Data Block Signatures in Data Protection Operations (Information Technology Newsweekly -
                                                                                                       Factiva, 11/12/2013)
                                                                                                       Fort Monmouth redevelopment plans changing with the economy (Asbury Park Press -
                                                                                                       Factiva, 11/12/2013)
11/13/2013 Wed   382,899 $76.51    1.89%   1.17% -0.21%   1.20%      0.69%    $0.52    0.52 60.60%     CommVault Systems, Inc. Patent Issued for Firewall Proxy Systems and Methods in a Backup
                                                                                                       Environment (Journal of Engineering - Factiva, 11/13/2013)
                                                                                                       CommVault Systems, Inc. Patent Issued for Systems and Methods for Granular Resource
                                                                                                       Management in a Storage Network (Journal of Engineering - Factiva, 11/13/2013)
                                                                                                       CommVault Systems, Inc. Patent Issued for Systems and Methods for Retaining and Using
                                                                                                       Data Block Signatures in Data Protection Operations (Journal of Engineering - Factiva,
                                                                                                       11/13/2013)
                                                                                                       FORT MONMOUTH REDEVELOPMENT; Plans modified by market shift (Asbury Park
                                                                                                       Press - Factiva, 11/13/2013)
                                                                                                       Fort Monmouth's redevelopment plan changing with the economy (Courier News - Factiva,
                                                                                                       11/13/2013)
                                                                                                       Fort Monmouth's redevelopment plans changing with the economy (Home News Tribune -
                                                                                                       Factiva, 11/13/2013)
                                                                                                       Gartner Names CommVault a Leader in its Magic Quadrant for Enterprise Information
                                                                                                       Archiving (PR Newswire (U.S.) - Factiva, 11/13/2013 08:30 AM)
                                                                                                       Gartner Names CommVault a Leader in its Magic Quadrant for Enterprise Information
                                                                                                       Archiving (PR Newswire - Bloomberg, 11/13/2013 08:30 AM)
                                                                                                       USFedNewsService: US Patent Issued to CommVault Systems on Nov. 12 for "System and
                                                                                                       method for performing integrated storage (RE1 - Bloomberg, 11/13/2013 10:54 AM)



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                                                                                  Appendix C
                                                                   CommVault News Chronology with Daily Statistics
      [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                              [12]
                                                Industry                  Abnormal
                                         Market Excess Predicted Abnormal   Price
     Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                            Events

                                                                                                       CORRECTING and REPLACING STORServer Expands Market Reach, Builds Backup
                                                                                                       Appliances Powered by CommVault Simpana Software (Business Wire - Bloomberg,
                                                                                                       11/13/2013 04:17 PM)
                                                                                                       CORRECTING and REPLACING: STORServer Expands Market Reach, Builds Backup
                                                                                                       Appliances Powered by CommVault Simpana Software (Business Wire - Factiva, 11/13/2013
                                                                                                       04:17 PM)
11/14/2013 Thu   514,301 $76.75    0.31%   0.20% -0.16%   0.00%      0.32%    $0.24    0.24 81.07%     CommVault Systems, Inc. Patent Issued for Systems and Methods for Granular Resource
                                                                                                       Management in a Storage Network (Computer Weekly News - Factiva, 11/14/2013)
                                                                                                       CommVault Systems, Inc. Patent Issued for Systems and Methods for Retaining and Using
                                                                                                       Data Block Signatures in Data Protection Operations (Computer Weekly News - Factiva,
                                                                                                       11/14/2013)
                                                                                                       Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                       Beneficial Ownership of Securities (Oct. 25, 2013) (Computer Weekly News - Factiva,
                                                                                                       11/14/2013)
                                                                                                       Prepackaged Software; Commvault Systems Inc. Files SEC Form 8-K, Current Report (Oct.
                                                                                                       29, 2013) (Computer Weekly News - Factiva, 11/14/2013)
11/15/2013 Fri   527,827 $77.69    1.22%   0.33% -0.06%   0.26%      0.97%    $0.74    0.73 46.57%     Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                       11/15/2013)
                                                                                                       Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                       11/15/2013)
11/16/2013 Sat
11/17/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 11/17/2013)
                                                                                                       Wright Investors Service Analyst Report (Analyst Report - Manual Entry, 11/17/2013)
11/18/2013 Mon   582,338 $77.00   -0.89% -0.93% 0.74%     -0.64%    -0.25%    -$0.20   -0.19 84.92%    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 11/18/2013)

                                                                                                       Oppenheimerâ€™s Carter Worth Lists Buys, Sells (Bloomberg First Word - Bloomberg,
                                                                                                       11/18/2013 09:46 AM)
                                                                                                       ARMANDO GEDAY,Director,SELLS 4,833 ON 11/14/13 OF CVLT (Washington Service -
                                                                                                       Bloomberg, 11/18/2013 04:34 PM)
11/19/2013 Tue   455,718 $75.02   -2.57% -0.40% -0.57%    -1.12%    -1.45%    -$1.11    -1.1 27.42%    CommVault Systems, Inc. Patent Issued for Systems and Methods for Retaining and Using
                                                                                                       Data Block Signatures in Data Protection Operations (Information Technology Newsweekly -
                                                                                                       Factiva, 11/19/2013)




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                                                                                 Appendix C
                                                                  CommVault News Chronology with Daily Statistics
     [1]           [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                                [12]
                                                Industry                  Abnormal
                                         Market Excess Predicted Abnormal   Price
    Date         Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                             Events
                                                                                                      COMMVAULT SYSTEMS INC: GEDAY ARMANDO FILES TO SELL 4,833 SHARES
                                                                                                      (Washington Service - Bloomberg, 11/19/2013 10:34 PM)
11/20/2013 Wed   382,282 $75.19    0.23% -0.25% 0.47%    -0.02%     0.25%    $0.18    0.19 85.27%     CommVault Systems, Inc. Patent Issued for Content Aligned Block-Based Deduplication
                                                                                                      (Journal of Engineering - Factiva, 11/20/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for Systems and Methods for Performing Storage
                                                                                                      Operations Using Network Attached Storage (Journal of Engineering - Factiva, 11/20/2013)


                                                                                                      CommVault Systems, Inc. Patent Issued for Systems and Methods for Retaining and Using
                                                                                                      Data Block Signatures in Data Protection Operations (Journal of Engineering - Factiva,
                                                                                                      11/20/2013)
                                                                                                      DJ CommVault Systems Inc, Inst Holders, 3Q 2013 (CVLT) (Dow Jones Institutional News -
                                                                                                      Factiva, 11/20/2013 03:20 AM)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on Nov. 19 for "Systems and
                                                                                                      methods for performing data replication" (RE1 - Bloomberg, 11/20/2013 02:15 PM)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on Nov. 19 for "Information
                                                                                                      management systems and methods for (RE1 - Bloomberg, 11/20/2013 02:42 PM)
11/21/2013 Thu   229,577 $76.58    1.85%   1.22% 0.27%    1.69%     0.15%    $0.12    0.12 90.74%     CommVault Systems, Inc. Patent Issued for Content Aligned Block-Based Deduplication
                                                                                                      (Computer Weekly News - Factiva, 11/21/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for Systems and Methods for Performing Storage
                                                                                                      Operations Using Network Attached Storage (Computer Weekly News - Factiva,
                                                                                                      11/21/2013)
                                                                                                      CommVault Systems, Inc. Patent Issued for Systems and Methods for Retaining and Using
                                                                                                      Data Block Signatures in Data Protection Operations (Computer Weekly News - Factiva,
                                                                                                      11/21/2013)
                                                                                                      Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                      Beneficial Ownership of Securities (Nov. 6, 2013) (Computer Weekly News - Factiva,
                                                                                                      11/21/2013)
                                                                                                      Info-Tech Research Group Names CommVault a 'Champion' in its Content and Email
                                                                                                      Archiving Vendor Landscape Report (PR Newswire (U.S.) - Factiva, 11/21/2013 08:30 AM)


                                                                                                      Info-Tech Research Group Names CommVault a 'Champion' in its Content and Email
                                                                                                      Archiving Vendor Landscape Report (PR Newswire - Bloomberg, 11/21/2013 08:30 AM)




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      [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                                [12]
                                                Industry                  Abnormal
                                         Market Excess Predicted Abnormal   Price
     Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                             Events
                                                                                                       CommVault Chief Operating Officer To Address Investors At Credit Suisse's 2013 Annual
                                                                                                       Technology Conference (PR Newswire (U.S.) - Factiva, 11/21/2013 09:15 AM)


                                                                                                       CommVault Chief Operating Officer To Address Investors At Credit Suisse's 2013 Annual
                                                                                                       Technology Conference (PR Newswire - Bloomberg, 11/21/2013 09:15 AM)
11/22/2013 Fri   290,244 $77.00    0.55%   0.57% 0.21%    0.80%     -0.25%    -$0.19   -0.19 85.01%    Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                       11/22/2013)
                                                                                                       Stock Price Update, Conference Presentations, Appointments, and Prestigious Accolades -
                                                                                                       Research Report on Catamaran, Cadence, (PR Newswire - Bloomberg, 11/22/2013 08:00
                                                                                                       AM)
                                                                                                       Stock Price Update, Conference Presentations, Appointments, and Prestigious Accolades -
                                                                                                       Research Report on Catamaran, Cadence, CommVault, Ellie Mae, and MICROS (PR
                                                                                                       Newswire (U.S.) - Factiva, 11/22/2013 08:01 AM)
11/23/2013 Sat
11/24/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 11/24/2013)
11/25/2013 Mon   611,725 $76.46   -0.70%   0.08% -0.33%   -0.35%    -0.35%    -$0.27   -0.27 78.70%    *COMMVAULT SYSTEMS RATED NEW BUY AT MONNESS CRESPI HARDT, PT $90
                                                                                                       (Bloomberg First Word - Bloomberg, 11/25/2013 09:18 AM)
                                                                                                       UPDATE: Monness Crespi Hardt Initiates Coverage on CommVault Systems on Solid
                                                                                                       Simpana Upgrade Cycle and New Growth Markets (Benzinga.com - Factiva, 11/25/2013
                                                                                                       10:22 AM)
11/26/2013 Tue   392,980 $75.65   -1.06%   0.58% -0.21%   0.43%     -1.49%    -$1.14   -1.14 25.68%    CommVault Systems, Inc. Patent Issued for System and Method for Performing Integrated
11/27/2013 Wed   505,190 $74.90   -0.99%   0.69% -0.26%   0.48%     -1.47%    -$1.11   -1.13 26.29%    CommVault Systems, Inc. Patent Issued for System and Method for Performing Integrated
                                                                                                       Storage Operations (Journal of Engineering - Factiva, 11/27/2013)
                                                                                                       Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 11/27/2013)
                                                                                                       USFedNewsService: US Patent Issued to CommVault Systems on Nov. 26 for "Systems and
                                                                                                       methods for performing data management (RE1 - Bloomberg, 11/27/2013 08:32 AM)
11/28/2013 Thu                                                                                         CommVault Systems, Inc. Patent Issued for System and Method for Performing Integrated
11/29/2013 Fri   196,528 $74.85   -0.07%   0.37% -0.60%   -0.32%     0.25%    $0.19    0.19 84.85%     Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
11/30/2013 Sat
 12/1/2013 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 12/01/2013)
 12/2/2013 Mon   367,643 $73.67   -1.58% -0.36% -0.19%    -0.84%    -0.73%    -$0.55   -0.57 57.29%    Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,




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                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
   Date         Volume   Price   Return Return Return Return     Return   React   t-stat     p-Value                                            Events
12/3/2013 Tue   480,314 $72.58   -1.48% -0.20% 0.21%    -0.26%    -1.22%    -$0.90   -0.95 34.57%      CommVault Systems, Inc. Patent Issued for Information Management Systems and Methods
                                                                                                       for Heterogeneous Data Sources (Information Technology Newsweekly - Factiva,
                                                                                                       12/03/2013)
                                                                                                       Oppenheimer & Co. Inc. Analyst Report (Analyst Report - Manual Entry, 12/03/2013)
12/4/2013 Wed   737,740 $70.69   -2.60%   0.03% 0.66%    0.48%    -3.08%    -$2.24   -2.39   1.86% *   BMO Capital Markets Analyst Report (Analyst Report - Manual Entry, 12/04/2013)

                                                                                                       CommVault at Credit Suisse Technology Conference - Final (CQ FD Disclosure - Factiva,
                                                                                                       12/04/2013)
                                                                                                       CommVault Systems, Inc. Patent Issued for Information Management Systems and Methods
                                                                                                       for Heterogeneous Data Sources (Journal of Engineering - Factiva, 12/04/2013)


                                                                                                       *COMMVAULT SYSTEMS RATED NEW PERFORM AT OPPENHEIMER (Bloomberg
                                                                                                       First Word - Bloomberg, 12/04/2013 04:59 AM)
                                                                                                       U.S. DAYBOOK: Fedâ€™s Beige Book; Brown-Forman, Avago Earnings (Bloomberg First
                                                                                                       Word - Bloomberg, 12/04/2013 05:30 AM)
                                                                                                       UPDATE: Oppenheimer Initiates Coverage on CommVault Systems on Near-Term Potential
                                                                                                       Headwinds (Benzinga.com - Factiva, 12/04/2013 07:55 AM)
                                                                                                       U.S. TMT Pre-Mkt: OVTI View Misses; Morgan Stanley Cuts ACN, TDC (Bloomberg First
                                                                                                       Word - Bloomberg, 12/04/2013 08:22 AM)
                                                                                                       Free Trial of CommVault Edge Solution Offers Comprehensive, Secure Data Management and
                                                                                                       Access for the Mobile Enterprise Workforce (PR Newswire (U.S.) - Factiva, 12/04/2013
                                                                                                       08:30 AM)
                                                                                                       Free Trial of CommVault Edge Solution Offers Comprehensive, Secure Data Management and
                                                                                                       Access for the Mobile Enterprise (PR Newswire - Bloomberg, 12/04/2013 08:30 AM)


                                                                                                       BMO Starts Coverage of Software Cos.; CVLT, RHT, ORCL Rated Buy (Bloomberg First
                                                                                                       Word - Bloomberg, 12/04/2013 04:41 PM)
12/5/2013 Thu   884,154 $73.64    4.17% -0.12% 0.14%    -0.31%     4.48%    $3.17    3.45    0.08% ** S&P Global Compustat Company Analysis Analyst Report (Analyst Report - Manual Entry,
                                                                                                       12/05/2013)
                                                                                                       UPDATE: BMO Capital Markets Initiates Coverage On CommValut On Simpana 10.0
                                                                                                       Product Cycle (Benzinga.com - Factiva, 12/05/2013 07:46 AM)
                                                                                                       U.S. TMT Pre-Mkt: AVGO 4Q Beats; SNPS View Misses; FNSR Reports (Bloomberg First
                                                                                                       Word - Bloomberg, 12/05/2013 07:49 AM)




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      [1]           [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]         [11]                                                [12]
                                                  Industry                  Abnormal
                                           Market Excess Predicted Abnormal   Price
     Date        Volume    Price    Return Return Return Return     Return   React   t-stat      p-Value                                             Events
                                                                                                           U.S. PRE-MARKET MOVERS: AGNC ARO CALI CLDX CONN EQIX FRAN GGP
                                                                                                           (Bloomberg First Word - Bloomberg, 12/05/2013 08:52 AM)
                                                                                                           U.S. WRAP: Stocks Drop a Fifth Day on Bets Fed Will Taper (Bloomberg First Word -
                                                                                                           Bloomberg, 12/05/2013 04:25 PM)
 12/6/2013 Fri    491,957 $73.29    -0.48%   0.73% 0.25%    0.95%     -1.42%    -$1.05   -1.04 29.87%      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
 12/7/2013 Sat
 12/8/2013 Sun                                                                                             Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 12/08/2013)
 12/9/2013 Mon    567,070 $72.74    -0.75%   0.15% -0.12%   -0.19%    -0.56%    -$0.41   -0.41 68.16%      Oil Explorers Pioneer, Newfield â€™Reactionâ€™ Buys: Oppenheimer (Bloomberg First
12/10/2013 Tue    650,676 $71.33    -1.94% -0.20% 0.01%     -0.51%    -1.43%    -$1.04   -1.06 29.31%      CommVault Systems, Inc. "System and Method for Providing Encryption in Storage
                                                                                                           Operations in a Storage Network, Such as for Use by Application Service Providers That
                                                                                                           Provide Data Storage Services" in Patent Application Appro (Information Technology
12/11/2013 Wed    522,945 $69.58    -2.45% -1.39% -0.30%    -2.45%    -0.01%    -$0.01   -0.01 99.53%      Globaldata Analyst Report (Analyst Report - Manual Entry, 12/11/2013)
12/12/2013 Thu    977,748 $67.23    -3.38% -0.13% -0.04%    -0.55%    -2.83%    -$1.97   -2.13   3.52% *   CommVault Systems, Inc. "System and Method for Providing Encryption in Storage
                                                                                                           Operations in a Storage Network, Such as for Use by Application Service Providers That
                                                                                                           Provide Data Storage Services" in Patent Application Appro (Computer Weekly News -
                                                                                                           Factiva, 12/12/2013)
                                                                                                           Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                           12/12/2013)
12/13/2013 Fri    660,476 $67.17    -0.09%   0.07% 1.17%    0.89%     -0.98%    -$0.66   -0.73 46.74%      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
12/14/2013 Sat
12/15/2013 Sun                                                                                             Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 12/15/2013)

                                                                                                           CommVault Sell-Off Overdone, Checks Remain Positive: Stifel (Bloomberg First Word -
                                                                                                           Bloomberg, 12/15/2013 04:48 PM)
12/16/2013 Mon    795,869 $68.23     1.58%   0.71% 0.48%    1.08%      0.50%    $0.34    0.37 71.08%       U.S. TMT Pre-Mkt: S Reported to Mull TMUS Bid; TWTR Downgrades (Bloomberg First
                                                                                                           Word - Bloomberg, 12/16/2013 07:43 AM)
                                                                                                           U.S. PRE-MARKET MOVERS: ACRX AER AGEN AIG AMD ASX CBST CRUS EVGN
                                                                                                           (Bloomberg First Word - Bloomberg, 12/16/2013 08:38 AM)
12/17/2013 Tue   2,020,755 $73.74    8.08% -0.14% -0.11%    -0.69%     8.77%    $5.98    6.53    0.00% ** BMO Capital Markets Analyst Report (Analyst Report - Manual Entry, 12/17/2013)

                                                                                                           Piper Jaffray Analyst Report (Analyst Report - Manual Entry, 12/17/2013)

                                                                                                           Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                           12/17/2013)




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                                                                     CommVault News Chronology with Daily Statistics
      [1]           [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                                  [12]
                                                  Industry                  Abnormal
                                           Market Excess Predicted Abnormal   Price
     Date        Volume    Price    Return Return Return Return     Return   React   t-stat     p-Value                                              Events
                                                                                                          CommVault Gains; Piper Says On Track to Meet FY14 Outlook (Bloomberg First Word -
                                                                                                          Bloomberg, 12/17/2013 10:21 AM)
                                                                                                          Top 10 Nasdaq-traded stocks posting largest percentage increases (Associated Press
                                                                                                          Newswires - Factiva, 12/17/2013 01:30 PM)
                                                                                                          U.S. WRAP: Stocks Decline Ahead of Fed Decision (Bloomberg First Word - Bloomberg,
                                                                                                          12/17/2013 04:24 PM)
                                                                                                          Shares of CommVault Spike Following Piper Jaffray's Comments (Benzinga.com - Factiva,
                                                                                                          12/17/2013 04:37 PM)
12/18/2013 Wed    958,963 $73.84     0.14%   1.15% 0.13%    1.38%     -1.25%    -$0.92    -0.8 42.71%     RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 12/18/2013)
                                                                                                          USFedNewsService: US Patent Issued to CommVault Systems on Dec. 17 for "Systems and
                                                                                                          methods for classifying and transferring (RE1 - Bloomberg, 12/18/2013 07:29 AM)


                                                                                                          USFedNewsService: US Patent Issued to CommVault Systems on Dec. 17 for "Performing data
                                                                                                          storage operations in a cloud storage (RE1 - Bloomberg, 12/18/2013 07:59 AM)
                                                                                                          USFedNewsService: US Patent Issued to CommVault Systems on Dec. 17 for "System and
                                                                                                          method for archiving objects in an (RE1 - Bloomberg, 12/18/2013 08:09 AM)
12/19/2013 Thu    469,212 $72.94    -1.22% -0.29% -0.20%    -0.84%    -0.37%    -$0.28   -0.25 80.54%     Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 12/19/2013)
                                                                                                          CommVault and Hitachi Data Systems Bring Industry's Most Advanced Data Protection,
                                                                                                          Availability and Recovery to Global Enterprises and Systems Integrators (PR Newswire
                                                                                                          (U.S.) - Factiva, 12/19/2013 04:30 PM)
                                                                                                          CommVault and Hitachi Data Systems Bring Industry's Most Advanced Data Protection,
                                                                                                          Availability and Recovery to Global (PR Newswire - Bloomberg, 12/19/2013 04:30 PM)


                                                                                                          *COMMVAULT AND HITACHI DATA EXPAND OEM PACT :CVLT US (BLOOMBERG
                                                                                                          News - Bloomberg, 12/19/2013 04:33 PM)
12/20/2013 Fri   1,477,751 $75.96    4.13%   1.15% -0.10%   1.16%      2.97%    $2.17    1.96   5.26%     Colorado Springs data protection firm hopes new deal will double its business (The Gazette -
                                                                                                          Factiva, 12/20/2013)
                                                                                                          Colorado Springs data protection firm hopes new deal will double its business (The Gazette
                                                                                                          (MCT) - Factiva, 12/20/2013)
                                                                                                          COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 12/20/2013)

                                                                                                          Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                          12/20/2013)



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                                                                   CommVault News Chronology with Daily Statistics
      [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]        [11]                                                 [12]
                                                Industry                  Abnormal
                                         Market Excess Predicted Abnormal   Price
     Date        Volume   Price   Return Return Return Return     Return   React   t-stat      p-Value                                             Events

                                                                                                         Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                         12/20/2013)
12/21/2013 Sat                                                                                           US Patent Issued to CommVault Systems on Dec. 17 for "Systems and methods for classifying
                                                                                                         and transferring information in a storage network" (American, Indian Inventors) (US Fed
                                                                                                         News - Factiva, 12/21/2013)
                                                                                                         USFedNewsService: WIPO PUBLISHES PATENT OF COMMVAULT SYSTEMS FOR
                                                                                                         "CLIENT-SIDE SIGNATURE REPOSITORY IN A NETWORKED STORAGE SYSTEM
                                                                                                         (RE1 - Bloomberg, 12/21/2013 03:42 AM)
12/22/2013 Sun                                                                                           Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 12/22/2013)
12/23/2013 Mon   570,021 $74.60   -1.78%   1.08% -0.36%   0.89%     -2.67%    -$2.03   -1.73   8.55%     COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 12/23/2013)
12/24/2013 Tue   244,691 $74.74    0.19%   0.16% 0.21%    0.14%      0.05%    $0.03    0.03 97.69%       CommVault Systems, Inc. "Hierarchical Systems and Methods for Performing Data Storage
                                                                                                         Operations" in Patent Application Approval Process (Information Technology Newsweekly -
12/25/2013 Wed                                                                                           USFedNewsService: US Patent Issued to CommVault Systems on Dec. 24 for "Data mining
                                                                                                         systems and methods for heterogeneous data (RE1 - Bloomberg, 12/25/2013 07:52 AM)


                                                                                                         USFedNewsService: US Patent Issued to CommVault Systems on Dec. 24 for "Method and
                                                                                                         system for searching stored data" (American, (RE1 - Bloomberg, 12/25/2013 08:18 AM)


12/26/2013 Thu   295,174 $74.41   -0.44%   0.28% -0.44%   -0.33%    -0.11%    -$0.08   -0.07 94.23%      COMMVAULT SYSTEMS REPORTS DISPOSITION BY EXECUTIVE VP BUNTE (New
                                                                                                         Jersey) (US Fed News - Factiva, 12/26/2013)
                                                                                                         CommVault Systems, Inc. "Hierarchical Systems and Methods for Performing Data Storage
                                                                                                         Operations" in Patent Application Approval Process (Computer Weekly News - Factiva,
                                                                                                         12/26/2013)
12/27/2013 Fri   327,195 $74.67    0.35% -0.24% 0.52%     -0.07%     0.42%    $0.31    0.27 78.47%       Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
12/28/2013 Sat
12/29/2013 Sun                                                                                           Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 12/29/2013)
12/30/2013 Mon   364,834 $74.48   -0.25% -0.05% 0.46%     0.11%     -0.36%    -$0.27   -0.24 81.35%      Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
12/31/2013 Tue   378,248 $74.86    0.51%   0.54% 0.08%    0.49%      0.02%    $0.01    0.01 98.98%       Brean Capital, LLC Analyst Report (Analyst Report - Manual Entry, 12/31/2013)
                                                                                                         Commvault Systems, Inc. Researchers Submit Patent Application, "Intelligent Scheduling for
                                                                                                         Remote Computers", for Approval (Information Technology Newsweekly - Factiva,
                                                                                                         12/31/2013)
  1/1/2014 Wed                                                                                           CommVault Systems, Inc. Patent Issued for System and Method for Archiving Objects in an




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                                                                CommVault News Chronology with Daily Statistics
    [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                                [12]
                                              Industry                  Abnormal
                                       Market Excess Predicted Abnormal   Price
  Date         Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                             Events
1/2/2014 Thu   732,541 $74.10   -1.02% -0.79% -0.16%   -1.49%     0.47%    $0.35    0.31 75.80%     CommVault Systems, Inc. Patent Issued for System and Method for Archiving Objects in an
                                                                                                    Information Store (Computer Weekly News - Factiva, 01/02/2014)
                                                                                                    Commvault Systems, Inc. Researchers Submit Patent Application, "Intelligent Scheduling for
                                                                                                    Remote Computers", for Approval (Computer Weekly News - Factiva, 01/02/2014)
                                                                                                    S&P Global Compustat Company Analysis Analyst Report (Analyst Report - Manual Entry,
                                                                                                    01/02/2014)
1/3/2014 Fri   358,335 $74.67    0.77% -0.27% 0.72%     0.06%     0.71%    $0.52    0.46 64.33%     COMMVAULT SYSTEMS INC UPLOAD (SEC - SEC Edgar, 01/03/2014)

                                                                                                    Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                    01/03/2014)
1/4/2014 Sat
1/5/2014 Sun                                                                                        Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 01/05/2014)

                                                                                                    Wright Investors Service Analyst Report (Analyst Report - Manual Entry, 01/05/2014)
1/6/2014 Mon   585,028 $73.74   -1.25% -0.44% 0.02%    -0.82%    -0.42%    -$0.31   -0.28 78.26%    CommVault Announces Earnings Release Date (PR Newswire (U.S.) - Factiva, 01/06/2014
                                                                                                    09:25 AM)
                                                                                                    CommVault Announces Earnings Release Date (PR Newswire - Bloomberg, 01/06/2014
                                                                                                    09:25 AM)
1/7/2014 Tue   585,544 $74.29    0.75%   0.96% 0.18%    1.20%    -0.45%    -$0.34    -0.3 76.47%    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/07/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/07/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/07/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/07/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/07/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/07/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/07/2014)
                                                                                                    CommVault Systems, Inc. Patent Issued for Data Mining Systems and Methods for
                                                                                                    Heterogeneous Data Sources (Information Technology Newsweekly - Factiva, 01/07/2014)


                                                                                                    Logicom signs VAD deal with CommVault (ITP.net - Factiva, 01/07/2014)

                                                                                                    ALAN G BUNTE,C.O.O,SURRENDERS 3,386 ON 1/3/14 OF CVLT (Washington Service -
                                                                                                    Bloomberg, 01/07/2014 04:16 PM)




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     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                               [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                            Events
                                                                                                      N ROBERT HAMMER,C.O.B.,SURRENDERS 294 ON 1/3/14 OF CVLT (Washington
                                                                                                      Service - Bloomberg, 01/07/2014 04:17 PM)
                                                                                                      LOUIS F MICELI,Vice Pres.,SURRENDERS 129 ON 1/3/14 OF CVLT (Washington Service -
                                                                                                      Bloomberg, 01/07/2014 04:18 PM)
                                                                                                      RONALD L MIILLER,Vice Pres.,SURRENDERS 160 ON 1/3/14 OF CVLT (Washington
                                                                                                      Service - Bloomberg, 01/07/2014 04:18 PM)
                                                                                                      DAVID R WEST,Vice Pres.,SURRENDERS 107 ON 1/3/14 OF CVLT (Washington Service -
                                                                                                      Bloomberg, 01/07/2014 04:18 PM)
 1/8/2014 Wed   589,727 $73.91   -0.51%   0.30% 0.15%    0.28%     -0.80%    -$0.59   -0.53 60.05%    CommVault Systems, Inc. Patent Issued for Data Mining Systems and Methods for
 1/9/2014 Thu   690,539 $71.70   -2.99% -0.22% -0.19%    -0.74%    -2.25%    -$1.66   -1.49 14.00%    Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                      Beneficial Ownership of Securities (Dec. 20, 2013) (Computer Weekly News - Factiva,
                                                                                                      01/09/2014)
                                                                                                      Sadif Analytics Analyst Report (Analyst Report - Manual Entry, 01/09/2014)
1/10/2014 Fri   594,995 $71.95    0.35%   0.44% 0.00%    0.30%      0.05%    $0.03    0.03 97.59%     Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
1/11/2014 Sat
1/12/2014 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 01/12/2014)
1/13/2014 Mon 1,104,005 $68.96   -4.16% -1.47% 0.23%     -2.04%    -2.11%    -$1.52    -1.4 16.55%    CommVault anchoring Fort Monmouth project (NJBIZ - Factiva, 01/13/2014)

                                                                                                      CommVault anchoring Fort Monmouth project (NJBIZ - Factiva, 01/13/2014)

                                                                                                      Fort Monmouth: Creating a big space for big data (NJBIZ - Factiva, 01/13/2014)

                                                                                                      Macquarie Research Analyst Report (Analyst Report - Manual Entry, 01/13/2014)

                                                                                                      Oppenheimerâ€™s Carter Worth Lists Buys, Sells for Start of 2014 (Bloomberg First Word -
                                                                                                      Bloomberg, 01/13/2014 10:13 AM)
                                                                                                      NJBIZ: CommVault anchoring Fort Monmouth project (RE1 - Bloomberg, 01/13/2014
                                                                                                      04:03 PM)
                                                                                                      *COMMVALUT SYSTEMS RATED NEW OUTPERFORM AT MACQUARIE, PT $90
                                                                                                      (Bloomberg First Word - Bloomberg, 01/13/2014 08:31 PM)
1/14/2014 Tue   766,981 $68.74   -0.32%   1.69% -0.55%   1.56%     -1.88%    -$1.30   -1.23 22.08%    COMMVAULT SYSTEMS INC CORRESP (SEC - SEC Edgar, 01/14/2014)

                                                                                                      Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                      01/14/2014)




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                                                                                   Appendix C
                                                                    CommVault News Chronology with Daily Statistics
    [1]            [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                                [12]
                                                 Industry                  Abnormal
                                          Market Excess Predicted Abnormal   Price
   Date         Volume    Price    Return Return Return Return     Return   React   t-stat   p-Value                                             Events
                                                                                                       U.S. PRE-MARKET MOVERS: AGEN ALNY CBMX FULL GALE GME HTCH ISRG
                                                                                                       (Bloomberg First Word - Bloomberg, 01/14/2014 09:00 AM)
1/15/2014 Wed 1,100,199 $71.00      3.29%   0.76% 0.30%    0.99%      2.30%    $1.58   1.52 13.02%     William Blair & Company Analyst Report (Analyst Report - Manual Entry, 01/15/2014)
1/16/2014 Thu   1,592,755 $75.17    5.87%   0.09% -0.01%   -0.21%     6.08%    $4.32     4   0.01% ** COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/16/2014)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/16/2014)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/16/2014)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/16/2014)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/16/2014)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/16/2014)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 01/16/2014)

                                                                                                       Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 01/16/2014)

                                                                                                       *COMMVAULT UP 6.2% IN ACTIVE TRADING, RISES ABOVE 50-DMA (Bloomberg
                                                                                                       First Word - Bloomberg, 01/16/2014 10:29 AM)
                                                                                                       U.S. EQUITY MOVERS: AFOP AGIO APPY BPTH CLIR CNTO CTRL DECK DSNY
                                                                                                       (Bloomberg First Word - Bloomberg, 01/16/2014 12:01 PM)
                                                                                                       CommVault Gains; William Blair Expects FY3Q to Beat Ests. (Bloomberg First Word -
                                                                                                       Bloomberg, 01/16/2014 12:09 PM)
                                                                                                       Elevated Options Volume: ALGN ALLT ANR CBS CEC COP CVLT CYBX DF (Bloomberg
                                                                                                       First Word - Bloomberg, 01/16/2014 02:08 PM)
                                                                                                       LOUIS F MICELI,Vice Pres.,SURRENDERS 937 FROM 1/14/14-1/15/14 OF (Washington
                                                                                                       Service - Bloomberg, 01/16/2014 05:12 PM)
                                                                                                       BRIAN CAROLAN,C.F.O.,SURRENDERS 903 FROM 1/14/14-1/15/14 OF CVLT
                                                                                                       (Washington Service - Bloomberg, 01/16/2014 05:14 PM)
                                                                                                       N ROBERT HAMMER,C.O.B.,SURRENDERS 1,819 FROM 1/14/14-1/15/14 OF (Washington
                                                                                                       Service - Bloomberg, 01/16/2014 05:15 PM)
                                                                                                       RONALD L MIILLER,Vice Pres.,SURRENDERS 1,185 FROM 1/14/14-1/15/1 (Washington
                                                                                                       Service - Bloomberg, 01/16/2014 05:17 PM)
                                                                                                       DAVID R WEST,Vice Pres.,SURRENDERS 739 FROM 1/14/14-1/15/14 OF C (Washington
                                                                                                       Service - Bloomberg, 01/16/2014 05:18 PM)




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     [1]           [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]        [11]                                                 [12]
                                                 Industry                  Abnormal
                                          Market Excess Predicted Abnormal   Price
    Date        Volume    Price    Return Return Return Return     Return   React   t-stat     p-Value                                              Events
                                                                                                         GARY MERRILL,Officer,SURRENDERS 332 FROM 1/14/14-1/15/14 OF CVLT
                                                                                                         (Washington Service - Bloomberg, 01/16/2014 05:19 PM)
                                                                                                         ALAN G BUNTE,C.O.O,SURRENDERS 1,435 FROM 1/14/14-1/15/14 OF CVLT
                                                                                                         (Washington Service - Bloomberg, 01/16/2014 05:22 PM)
1/17/2014 Fri    584,608 $74.97    -0.27% -0.50% -0.04%   -1.00%     0.73%    $0.55    0.45 65.18%       Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
1/18/2014 Sat
1/19/2014 Sun                                                                                            Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 01/19/2014)
1/20/2014 Mon                                                                                            Summit Research Analyst Report (Analyst Report - Manual Entry, 01/20/2014)
1/21/2014 Tue    659,573 $75.73     1.01% 0.67% -0.48%     0.20%     0.82%     $0.61    0.5 61.59%
1/22/2014 Wed    384,576 $75.00    -0.96% 0.41% -0.33%     0.00%    -0.96%    -$0.73   -0.6 55.29%
1/23/2014 Thu    678,380 $75.97     1.29% -0.57% 0.18%    -0.84%     2.13%     $1.60   1.33 18.78%       Commvault Systems, Inc. Patent Application Titled "Storage of Application Specific Profiles
                                                                                                         Correlating to Document Versions" Published Online (Computer Weekly News - Factiva,
                                                                                                         01/23/2014)
                                                                                                         Commvault Systems, Inc. Patent Application Titled "Storage of Application Specific Profiles
                                                                                                         Correlating to Document Versions" Published Online (Politics & Government Week -
                                                                                                         Factiva, 01/23/2014)
                                                                                                         Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                         Beneficial Ownership of Securities (Jan. 7, 2014) (Computer Weekly News - Factiva,
                                                                                                         01/23/2014)
1/24/2014 Fri    929,600 $73.93    -2.69% -2.15% -0.23%   -3.38%     0.69%    $0.52    0.43 67.09%       Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
1/25/2014 Sat
1/26/2014 Sun                                                                                            Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 01/26/2014)
1/27/2014 Mon    715,600 $72.43    -2.03% -1.08% -0.39%   -2.07%     0.04%    $0.03    0.02 98.23%       COMMVAULT SYSTEMS INC SC 13G (SEC - SEC Edgar, 01/27/2014)

                                                                                                         COMMVAULT SYSTEMS INC UPLOAD (SEC - SEC Edgar, 01/27/2014)
1/28/2014 Tue   1,382,039 $76.10    5.07%   0.35% 0.43%    0.71%     4.35%    $3.15    2.68    0.83% ** COMMVAULT SYSTEMS INC SC 13G/A (SEC - SEC Edgar, 01/28/2014)

                                                                                                         RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 01/28/2014)

                                                                                                         U.S. WRAP: Stocks Climb After Consumer Confidence, Earnings (Bloomberg First Word -
                                                                                                         Bloomberg, 01/28/2014 04:29 PM)
1/29/2014 Wed 5,441,791 $69.44     -8.75% -1.13% -0.13%   -1.93%    -6.82%    -$5.19   -4.14   0.01% ** BMO Capital Markets Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                                         CFRA Equity Research Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                                         CFRA Equity Research Analyst Report (Analyst Report - Manual Entry, 01/29/2014)




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                                                       CommVault News Chronology with Daily Statistics
[1]      [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                                [12]
                                      Industry                  Abnormal
                               Market Excess Predicted Abnormal   Price
Date   Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                             Events
                                                                                            COMMVAULT SYSTEMS INC 8-K (SEC - SEC Edgar, 01/29/2014)

                                                                                            CommVault Systems Inc reaffirms FY 2014 guidance-conference call (Reuters Significant
                                                                                            Developments - Factiva, 01/29/2014)
                                                                                            Event Brief of Q3 2014 CommVault Earnings Conference Call - Final (CQ FD Disclosure -
                                                                                            Factiva, 01/29/2014)
                                                                                            Jefferies & Company Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                            JMP Securities Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                            Lake Street Capital Markets, LLC Analyst Report (Analyst Report - Manual Entry,
                                                                                            01/29/2014)
                                                                                            Macquarie Research Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                            Needham & Company Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                            Oppenheimer & Co. Inc. Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                            Piper Jaffray Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                            Raymond James & Associates Analyst Report (Analyst Report - Manual Entry, 01/29/2014)


                                                                                            RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                            RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                            Sterne Agee & Leach Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                            Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                            Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                            Stocks Extend Losses After Fed Trims Bond Purchases (Investor's Business Daily - Factiva,
                                                                                            01/29/2014)
                                                                                            Summit Research Analyst Report (Analyst Report - Manual Entry, 01/29/2014)

                                                                                            William Blair & Company Analyst Report (Analyst Report - Manual Entry, 01/29/2014)


                                                                                            Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                            01/29/2014)
                                                                                            U.S. TMT PRE-MKT: EMC Forecasts Miss; FB, QCOM to Report (Bloomberg First Word -
                                                                                            Bloomberg, 01/29/2014 07:38 AM)



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[1]      [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                              [12]
                                      Industry                  Abnormal
                               Market Excess Predicted Abnormal   Price
Date   Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                           Events

                                                                                            CommVault Announces Third Quarter Fiscal 2014 Financial Results (PR Newswire (U.S.) -
                                                                                            Factiva, 01/29/2014 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 3Q EPS 35C :CVLT US (BLOOMBERG News - Bloomberg,
                                                                                            01/29/2014 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 3Q NON-GAAP EPS 54C :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 01/29/2014 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 3Q REV. $153.3M :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 01/29/2014 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 3Q REV. UP 20% :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 01/29/2014 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 3Q SERVICE REV. $74.0M :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 01/29/2014 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 3Q SOFTWARE LICENSES REV. $79.2M :CVLT US
                                                                                            (BLOOMBERG News - Bloomberg, 01/29/2014 07:40 AM)
                                                                                            CommVault Announces Third Quarter Fiscal 2014 Financial Results (PR Newswire -
                                                                                            Bloomberg, 01/29/2014 07:40 AM)
                                                                                            *COMMVAULT 3Q REV. $ 153.3M, EST. $149.0M (BLOOMBERG News - Bloomberg,
                                                                                            01/29/2014 07:40 AM)
                                                                                            *COMMVAULT 3Q ADJ. EPS 54C, EST. 44C (Bloomberg First Word - Bloomberg,
                                                                                            01/29/2014 07:40 AM)
                                                                                            CommVault Systems 3Q Adj. EPS, Rev. Beat Ests. (Bloomberg First Word - Bloomberg,
                                                                                            01/29/2014 07:45 AM)
                                                                                            *COMMVAULT SYSTEMS 3Q EARNINGS CONFERENCE CALL BEGINS
                                                                                            (BLOOMBERG News - Bloomberg, 01/29/2014 08:31 AM)
                                                                                            *COMMVAULT SEES GLOBAL MARKET CONDITIONS IMPROVING (BLOOMBERG
                                                                                            News - Bloomberg, 01/29/2014 08:36 AM)
                                                                                            *COMMVAULT: CONTINUES TO HAVE QUARTERLY REV., EARNINGS RISK
                                                                                            (BLOOMBERG News - Bloomberg, 01/29/2014 08:37 AM)
                                                                                            *COMMVAULT SEES SOLID DOUBLE-DIGIT REV., EBIT GROWTH IN '15
                                                                                            (BLOOMBERG News - Bloomberg, 01/29/2014 08:39 AM)




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                                                                   CommVault News Chronology with Daily Statistics
    [1]            [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                              [12]
                                                 Industry                  Abnormal
                                          Market Excess Predicted Abnormal   Price
   Date         Volume    Price    Return Return Return Return     Return   React   t-stat   p-Value                                            Events
                                                                                                       *COMMVAULT: WILL INCREASE SPENDING TO MAINTAIN MARKET EDGE
                                                                                                       (BLOOMBERG News - Bloomberg, 01/29/2014 08:39 AM)
                                                                                                       *COMMVAULT SAYS WILL CONTINUE TO DISENGAGE FROM DELL (BLOOMBERG
                                                                                                       News - Bloomberg, 01/29/2014 08:45 AM)
                                                                                                       U.S. PRE-MARKET MOVERS: ASTC AUDC BA BID BJRI CRUS CVLT DOW EMC
                                                                                                       (Bloomberg First Word - Bloomberg, 01/29/2014 08:46 AM)
                                                                                                       *COMMVAULT SAYS WILL INCREASE HIRING IN 4Q (BLOOMBERG News -
                                                                                                       Bloomberg, 01/29/2014 08:46 AM)
                                                                                                       *COMMVAULT: INCREASED HIRING MAY IMPACT S-T MARGINS (BLOOMBERG
                                                                                                       News - Bloomberg, 01/29/2014 08:47 AM)
                                                                                                       *COMMVAULT SEES FY15 OP MARGIN IMPROVEMENT MUTED ON EXPENSES
                                                                                                       (BLOOMBERG News - Bloomberg, 01/29/2014 08:49 AM)
                                                                                                       CommVault Shrs Drop; Sees Qtrly Rev., Earnings Risk (Bloomberg First Word - Bloomberg,
                                                                                                       01/29/2014 08:49 AM)
                                                                                                       CommVault: Increased Hiring May Impact S-T Margins (Bloomberg First Word -
                                                                                                       Bloomberg, 01/29/2014 08:51 AM)
                                                                                                       *COMMVAULT SAYS INCREASING MARKET SHARE IN CLOUD (BLOOMBERG
                                                                                                       News - Bloomberg, 01/29/2014 08:55 AM)
                                                                                                       U.S. EQUITY MOVERS: ASTC AUDC BA BBOX BSFT CRUS CTRL CVGI CVLT
                                                                                                       (Bloomberg First Word - Bloomberg, 01/29/2014 10:05 AM)
                                                                                                       Stocks Hitting 52-Week Lows (Benzinga.com - Factiva, 01/29/2014 10:16 AM)

                                                                                                       CommVault Falls as Much as 17%, Most Since 2011; RSI Hits 35 (Bloomberg First Word -
                                                                                                       Bloomberg, 01/29/2014 10:27 AM)
                                                                                                       U.S. Stock Options With Biggest Changes in Implied Volatility (BLOOMBERG News -
                                                                                                       Bloomberg, 01/29/2014 11:30 AM)
                                                                                                       Elevated Options Volume: ACE ALTR BA BEAM BID CFN CL CPN CVLT (Bloomberg
                                                                                                       First Word - Bloomberg, 01/29/2014 02:37 PM)
                                                                                                       CORRECT: U.S. WRAP: Stocks Fall, Stay Down After FOMC Statement (Bloomberg First
                                                                                                       Word - Bloomberg, 01/29/2014 06:31 PM)
1/30/2014 Thu   1,743,970 $71.24    2.59%   1.77% 0.89%    3.37%    -0.77%    -$0.54   -0.47 64.03%    CommVault drops on outlook (Investor's Business Daily - Factiva, 01/30/2014)




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     [1]           [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                               [12]
                                                 Industry                  Abnormal
                                          Market Excess Predicted Abnormal   Price
    Date        Volume    Price    Return Return Return Return     Return   React   t-stat    p-Value                                             Events
                                                                                                        COMMVAULT SYSTEMS INC SC 13G (SEC - SEC Edgar, 01/30/2014)
                                                                                                        CommVault Systems, Inc. Patent Application Titled "Systems and Methods for Granular
                                                                                                        Resource Management in a Storage Network" Published Online (Computer Weekly News -
                                                                                                        Factiva, 01/30/2014)
                                                                                                        CommVault Systems, Inc. Patent Application Titled "Systems and Methods for Granular
                                                                                                        Resource Management in a Storage Network" Published Online (Politics & Government
                                                                                                        Week - Factiva, 01/30/2014)
                                                                                                        Credit Suisse Analyst Report (Analyst Report - Manual Entry, 01/30/2014)

                                                                                                        FORM 8-K: COMMVAULT SYSTEMS FILES CURRENT REPORT (US Fed News -
                                                                                                        Factiva, 01/30/2014)
                                                                                                        Globaldata Analyst Report (Analyst Report - Manual Entry, 01/30/2014)

                                                                                                        Sterne Agee & Leach Analyst Report (Analyst Report - Manual Entry, 01/30/2014)

                                                                                                        CommVault Announces Participation In Upcoming Investor Conferences (PR Newswire
                                                                                                        (U.S.) - Factiva, 01/30/2014 09:00 AM)
                                                                                                        CommVault Announces Participation In Upcoming Investor Conferences (PR Newswire -
                                                                                                        Bloomberg, 01/30/2014 09:00 AM)
1/31/2014 Fri    826,648 $69.07    -3.05% -0.46% -0.77%    -1.81%    -1.23%    -$0.88   -0.75 45.53%    Alan G. Bunte brings three bagger value to CommVault Systems (News Bites - People in
                                                                                                        Business - Factiva, 01/31/2014)
                                                                                                        COMMVAULT SYSTEMS INC 10-Q (SEC - SEC Edgar, 01/31/2014)

                                                                                                        Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                        01/31/2014)
 2/1/2014 Sat
 2/2/2014 Sun                                                                                           Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 02/02/2014)
 2/3/2014 Mon 1,763,042 $64.76     -6.24% -2.61% -1.04%    -5.17%    -1.07%    -$0.74   -0.65 51.88%    COMMVAULT SYSTEMS INC 8-K (SEC - SEC Edgar, 02/03/2014)

                                                                                                        Sadif Analytics Analyst Report (Analyst Report - Manual Entry, 02/03/2014)

                                                                                                        Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 02/03/2014)

                                                                                                        Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 02/03/2014)

                                                                                                        CommVault Systems Files 8K - Changes Exec Mgmt >CVLT (Dow Jones Institutional News -
                                                                                                        Factiva, 02/03/2014 05:01 PM)
 2/4/2014 Tue   1,767,293 $64.16   -0.93%   0.87% -0.06%   0.93%     -1.85%    -$1.20   -1.12 26.44%    FORM 8-K: COMMVAULT SYSTEMS FILES CURRENT REPORT (US Fed News -




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                                                                  CommVault News Chronology with Daily Statistics
     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                                [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
   Date         Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                             Events
 2/5/2014 Wed 1,247,894 $64.24    0.12% -0.47% 0.50%     -0.20%     0.32%    $0.21     0.2 84.52%     USFedNewsService: US Patent Issued to CommVault Systems on Feb. 4 for "System and
 2/6/2014 Thu   748,976 $65.39    1.79%   1.19% -0.74%   0.42%      1.37%    $0.88    0.83 41.05%     CEO N. Robert Hammer welcomes 8.0% CommVault Systems quarterly revenue rise (News
                                                                                                      Bites - People in Business - Factiva, 02/06/2014)
                                                                                                      Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                      Beneficial Ownership of Securities (Jan. 16, 2014) (Computer Weekly News - Factiva,
                                                                                                      02/06/2014)
                                                                                                      S&P Global Compustat Company Analysis Analyst Report (Analyst Report - Manual Entry,
                                                                                                      02/06/2014)
 2/7/2014 Fri   992,509 $66.52    1.73%   1.69% -0.11%   2.02%     -0.30%    -$0.19   -0.18 85.88%    Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
 2/8/2014 Sat
 2/9/2014 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 02/09/2014)
2/10/2014 Mon 1,195,413 $67.85    2.00%   0.54% -0.38%   0.04%      1.96%    $1.30    1.18 24.13%     COMMVAULT SYSTEMS INC SC 13G/A (SEC - SEC Edgar, 02/10/2014)

                                                                                                      JMP Securities Analyst Report (Analyst Report - Manual Entry, 02/10/2014)

                                                                                                      Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 02/10/2014)

                                                                                                      CommVault Systems Raised at JMP Securities (BLOOMBERG News - Bloomberg,
                                                                                                      02/10/2014 01:31 AM)
                                                                                                      *COMMVAULT SYSTEMS RAISED TO MARKET OUTPERFORM AT JMP SECURITIES
                                                                                                      (Bloomberg First Word - Bloomberg, 02/10/2014 05:03 AM)
                                                                                                      U.S. TMT PRE-MKT: Apple, IBM, Sprint/T-Mobile, Yahoo (Bloomberg First Word -
                                                                                                      Bloomberg, 02/10/2014 07:12 AM)
                                                                                                      U.S. PRE-MARKET MOVERS: AFSI APRI BWP FWM KNDI MDCO MPAA PLUG
                                                                                                      (Bloomberg First Word - Bloomberg, 02/10/2014 08:41 AM)
                                                                                                      CommVault Announces Recent Share Repurchases (PR Newswire (U.S.) - Factiva,
                                                                                                      02/10/2014 09:15 AM)
                                                                                                      *COMMVAULT REPORTS RECENT SHR REPURCHASES (BLOOMBERG News -
                                                                                                      Bloomberg, 02/10/2014 09:15 AM)
                                                                                                      CommVault Announces Recent Share Repurchases (PR Newswire - Bloomberg, 02/10/2014
                                                                                                      09:15 AM)
                                                                                                      UPDATE: JMP Securities Upgrades CommVault Systems on Multiple Factors (Benzinga.com
                                                                                                      - Factiva, 02/10/2014 10:42 AM)




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                                                                  CommVault News Chronology with Daily Statistics
     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                               [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                             Events
2/11/2014 Tue   805,829 $67.84   -0.01%   1.04% 0.49%    1.92%     -1.93%    -$1.31   -1.16 24.94%    CommVault at Stifel, Nicolaus Technology, Internet & Media Conference - Final (CQ FD
                                                                                                      Disclosure - Factiva, 02/11/2014)
                                                                                                      CommVault Systems, Inc. Patent Application Titled "Data Mining Systems and Methods for
                                                                                                      Heterogeneous Data Sources" Published Online (Information Technology Newsweekly -
                                                                                                      Factiva, 02/11/2014)
                                                                                                      Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 02/11/2014)
2/12/2014 Wed   796,018 $68.40    0.83%   0.25% 0.03%    0.18%      0.65%    $0.44    0.39 70.03%     COMMVAULT SYSTEMS INC SC 13G/A (SEC - SEC Edgar, 02/12/2014)
                                                                                                      USFedNewsService: US Patent Issued to CommVault Systems on Feb. 11 for "Systems and
                                                                                                      methods for remote monitoring in a computer (RE1 - Bloomberg, 02/12/2014 10:00 AM)


2/13/2014 Thu   911,217 $69.38    1.43%   0.94% 0.58%    1.85%     -0.41%    -$0.28   -0.25 80.45%    CommVault Systems, Inc. Patent Application Titled "Data Mining Systems and Methods for
                                                                                                      Heterogeneous Data Sources" Published Online (Politics & Government Week - Factiva,
                                                                                                      02/13/2014)
                                                                                                      CommVault Systems, Inc. Patent Application Titled "Systems and Methods for Performing
                                                                                                      Storage Operations Using Network Attached Storage" Published Online (Computer Weekly
                                                                                                      News - Factiva, 02/13/2014)
                                                                                                      CommVault Systems, Inc. Patent Application Titled "Systems and Methods for Performing
                                                                                                      Storage Operations Using Network Attached Storage" Published Online (Politics &
                                                                                                      Government Week - Factiva, 02/13/2014)
                                                                                                      Prepackaged Software; Commvault Systems Inc. Files SEC Form SC 13G, Statement of
                                                                                                      Acquisition of Beneficial Ownership By Individuals [Amend] (Jan. 28, 2014) (Computer
                                                                                                      Weekly News - Factiva, 02/13/2014)
                                                                                                      Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                      02/13/2014)
2/14/2014 Fri   717,109 $69.04   -0.49%   0.08% -0.28%   -0.49%     0.00%    $0.00       0 99.92%     COMMVAULT SYSTEMS INC SC 13G/A (SEC - SEC Edgar, 02/14/2014)

                                                                                                      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      02/14/2014)
2/15/2014 Sat
2/16/2014 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 02/16/2014)
                                                                                                      Wright Investors Service Analyst Report (Analyst Report - Manual Entry, 02/16/2014)
2/17/2014 Mon
2/18/2014 Tue   792,714 $69.02   -0.03%   0.72% 0.37%    1.23%     -1.26%    -$0.87   -0.76 44.75%    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 02/18/2014)




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                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
   Date         Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                             Events
                                                                                                     CommVault Systems, Inc. Researchers Submit Patent Application, "Systems and Methods for
                                                                                                     Retaining and Using Data Block Signatures in Data Protection Operations", for Approval
                                                                                                     (Information Technology Newsweekly - Factiva, 02/18/2014)
                                                                                                     N ROBERT HAMMER,C.O.B.,SELLS 113,481 FROM 2/14/14-2/18/14 OF CVL (Washington
                                                                                                     Service - Bloomberg, 02/18/2014 05:00 PM)
2/19/2014 Wed   711,786 $68.88   -0.20% -0.81% 0.46%    -0.78%     0.58%    $0.40    0.35 72.74%     CommVault Systems, Inc. Patent Issued for System and Method for Performing an Image
                                                                                                     Level Snapshot and for Restoring Partial Volume Data (Journal of Engineering - Factiva,
                                                                                                     02/19/2014)
                                                                                                     USFedNewsService: US Patent Issued to CommVault Systems on Feb. 18 for "Systems and
                                                                                                     methods for resynchronizing information" (RE1 - Bloomberg, 02/19/2014 09:40 AM)
                                                                                                     USFedNewsService: US Patent Issued to CommVault Systems on Feb. 18 for "System and
                                                                                                     method for storage operation access security" (RE1 - Bloomberg, 02/19/2014 09:52 AM)


                                                                                                     USFedNewsService: US Patent Issued to CommVault Systems on Feb. 18 for "Memory
                                                                                                     configuration for data replication system (RE1 - Bloomberg, 02/19/2014 11:21 AM)
2/20/2014 Thu   692,831 $68.97    0.13%   0.70% 0.03%    0.74%    -0.61%    -$0.42   -0.37 71.18%    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 02/20/2014)
                                                                                                     CommVault Systems, Inc. Researchers Submit Patent Application, "Systems and Methods for
                                                                                                     Retaining and Using Data Block Signatures in Data Protection Operations", for Approval
                                                                                                     (Computer Weekly News - Factiva, 02/20/2014)
                                                                                                     Prepackaged Software; Commvault Systems Inc. Files SEC Form 10-Q, Quarterly Report
                                                                                                     [Sections 13 Or 15(D)] (Jan. 31, 2014) (Computer Weekly News - Factiva, 02/20/2014)


                                                                                                     Prepackaged Software; Commvault Systems Inc. Files SEC Form 8-K, Current Report (Feb. 3,
                                                                                                     2014) (Computer Weekly News - Factiva, 02/20/2014)
                                                                                                     Prepackaged Software; Commvault Systems Inc. Files SEC Form SC 13G, Statement of
                                                                                                     Acquisition of Beneficial Ownership By Individuals (Jan. 30, 2014) (Computer Weekly News -
                                                                                                     Factiva, 02/20/2014)
                                                                                                     DJ CommVault Systems Inc, Inst Holders, 4Q 2013 (CVLT) (Dow Jones Institutional News -
                                                                                                     Factiva, 02/20/2014 03:18 AM)
                                                                                                     GARY MERRILL,Officer,SELLS 836 ON 2/18/14 OF CVLT (Washington Service -
                                                                                                     Bloomberg, 02/20/2014 04:21 PM)
                                                                                                     COMMVAULT SYSTEMS INC: HAMMER N ROBERT FILES TO SELL 200,000 SHA
                                                                                                     (Washington Service - Bloomberg, 02/20/2014 10:39 PM)




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     [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                              [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                            Events
2/21/2014 Fri   851,439 $68.92   -0.07% -0.10% -0.04%   -0.45%     0.38%    $0.26    0.23 81.81%     COMMVAULT SYSTEMS REPORTS DISPOSITION BY CHIEF ACCOUNTING OFFICER
                                                                                                     MERRILL (New Jersey) (US Fed News - Factiva, 02/21/2014)
                                                                                                     Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                     02/21/2014)
2/22/2014 Sat
2/23/2014 Sun                                                                                        Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 02/23/2014)
2/24/2014 Mon   852,884 $68.72 -0.29% 0.70% -0.23%       0.37%    -0.66%    -$0.46   -0.4 68.65%
2/25/2014 Tue   520,665 $68.81 0.13% -0.12% 0.05%       -0.38%     0.51%     $0.35   0.31 75.68%     CommVault Systems, Inc. Patent Issued for Systems and Methods for Remote Monitoring in a
                                                                                                     Computer Network (Information Technology Newsweekly - Factiva, 02/25/2014)
                                                                                                     CommVault Announces Participation In Upcoming Investor Conferences (PR Newswire
                                                                                                     (U.S.) - Factiva, 02/25/2014 09:15 AM)
                                                                                                     CommVault Announces Participation In Upcoming Investor Conferences (PR Newswire -
                                                                                                     Bloomberg, 02/25/2014 09:15 AM)
2/26/2014 Wed   468,636 $68.96    0.22%   0.11% 0.56%    0.61%    -0.39%    -$0.27   -0.24 81.08%    CommVault Systems, Inc. - Company News (NewsTrak Daily - Factiva, 02/26/2014)
                                                                                                     CommVault Systems, Inc. Patent Issued for Systems and Methods for Remote Monitoring in a
                                                                                                     Computer Network (Journal of Engineering - Factiva, 02/26/2014)
                                                                                                     USFedNewsService: US Patent Issued to CommVault Systems on Feb. 25 for "Systems and
                                                                                                     methods for migrating components in a (RE1 - Bloomberg, 02/26/2014 06:41 AM)
2/27/2014 Thu   505,725 $69.52    0.81%   0.63% 0.13%    0.75%     0.07%    $0.05    0.04 96.79%     CommVault Systems, Inc. Patent Issued for Systems and Methods for Remote Monitoring in a
                                                                                                     Computer Network (Computer Weekly News - Factiva, 02/27/2014)
                                                                                                     CommVault Systems, Inc. Researchers Submit Patent Application, "Failover Systems and
                                                                                                     Methods for Performing Backup Operations", for Approval (Politics & Government Week -
                                                                                                     Factiva, 02/27/2014)
                                                                                                     DJ CommVault Systems Inc, Inst Holders, 4Q 2013 (CVLT) (Dow Jones Institutional News -
                                                                                                     Factiva, 02/27/2014 06:27 PM)
2/28/2014 Fri   501,458 $68.88   -0.92% -0.25% -0.09%   -0.72%    -0.20%    -$0.14   -0.12 90.45%    Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                     02/28/2014)
                                                                                                     US Patent Issued to CommVault Systems on Feb. 25 for "Systems and methods for migrating
                                                                                                     components in a hierarchical storage network" (New Jersey Inventors) (US Fed News -
                                                                                                     Factiva, 02/28/2014)
                                                                                                     Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                     02/28/2014)
 3/1/2014 Sat



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                                              Industry                  Abnormal
                                       Market Excess Predicted Abnormal   Price
  Date         Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                            Events
3/2/2014 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 03/02/2014)
3/3/2014 Mon   600,332 $68.36   -0.75% -0.70% -0.48%    -1.82%     1.07%    $0.74    0.65 51.51%     CommVault Software Helps Protect Real-Time Analytics Environments with New Integration
                                                                                                     with SAP HANA(R) Platform (PR Newswire (U.S.) - Factiva, 03/03/2014 08:30 AM)


                                                                                                     CommVault Software Helps Protect Real-Time Analytics Environments with New Integration
                                                                                                     with SAP HANAÂ® Platform (PR Newswire - Bloomberg, 03/03/2014 08:30 AM)


3/4/2014 Tue   580,103 $71.37    4.40%   1.75% 0.40%    2.59%      1.81%    $1.24     1.1 27.22%     CommVault Systems, Inc. Patent Issued for Systems and Methods for Resynchronizing
                                                                                                     Information (Information Technology Newsweekly - Factiva, 03/04/2014)
                                                                                                     U.S. TMT PRE-MKT: GWRE, VIPS Views Beat; AMAT, QCOM Annual Mtgs (Bloomberg
                                                                                                     First Word - Bloomberg, 03/04/2014 07:51 AM)
                                                                                                     U.S. Stock Options With Biggest Changes in Implied Volatility (BLOOMBERG News -
                                                                                                     Bloomberg, 03/04/2014 03:00 PM)
3/5/2014 Wed   772,822 $69.98   -1.95%   0.15% -0.52%   -0.72%    -1.23%    -$0.88   -0.74 45.82%    CommVault Systems, Inc. Patent Issued for System and Method for Generating and Managing
                                                                                                     Quick Recovery Volumes (Journal of Engineering - Factiva, 03/05/2014)
                                                                                                     CommVault Systems, Inc. Patent Issued for Systems and Methods for Resynchronizing
                                                                                                     Information (Journal of Engineering - Factiva, 03/05/2014)
                                                                                                     USFedNewsService: US Patent Issued to CommVault Systems on March 4 for "Systems and
                                                                                                     methods for managing snapshots of replicated (RE1 - Bloomberg, 03/05/2014 09:10 AM)


3/6/2014 Thu   543,088 $69.23   -1.07% -0.13% 0.18%     -0.18%    -0.89%    -$0.63   -0.54 58.88%    CommVault Systems, Inc. Patent Issued for System and Method for Generating and Managing
                                                                                                     Quick Recovery Volumes (Computer Weekly News - Factiva, 03/06/2014)
                                                                                                     CommVault Systems, Inc. Patent Issued for Systems and Methods for Resynchronizing
                                                                                                     Information (Computer Weekly News - Factiva, 03/06/2014)
                                                                                                     Globaldata Analyst Report (Analyst Report - Manual Entry, 03/06/2014)
                                                                                                     Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                     Beneficial Ownership of Securities (Feb. 18, 2014) (Computer Weekly News - Factiva,
                                                                                                     03/06/2014)
                                                                                                     S&P Global Compustat Company Analysis Analyst Report (Analyst Report - Manual Entry,
                                                                                                     03/06/2014)
3/7/2014 Fri   783,766 $67.49   -2.51% -0.37% -0.25%    -1.08%    -1.43%    -$0.99   -0.87 38.58%    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 03/07/2014)




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    [1]            [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                              [12]
                                                 Industry                  Abnormal
                                          Market Excess Predicted Abnormal   Price
   Date         Volume    Price    Return Return Return Return     Return   React   t-stat    p-Value                                           Events
                                                                                                        Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                        03/07/2014)
                                                                                                        VMwareâ€™s VSAN Said to Price $2,000-$2,500 Per Socket: CRN (Yday) (Bloomberg First
                                                                                                        Word - Bloomberg, 03/07/2014 05:15 AM)
                                                                                                        N Robert Hammer, Chairman,, Sells 148,339 CVLT US 03/05/14 (BDA - Bloomberg,
                                                                                                        03/07/2014 04:38 PM)
                                                                                                        N ROBERT HAMMER,C.O.B.,SELLS 148,339 ON 3/5/14 OF CVLT (Washington Service -
                                                                                                        Bloomberg, 03/07/2014 04:38 PM)
 3/8/2014 Sat
 3/9/2014 Sun                                                                                           Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 03/09/2014)
3/10/2014 Mon 1,137,329 $65.31     -3.23% -0.04% -0.78%    -1.39%    -1.84%    -$1.24   -1.12 26.70%    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 03/10/2014)

                                                                                                        COMMVAULT SYSTEMS INC SC 13G/A (SEC - SEC Edgar, 03/10/2014)

                                                                                                        David R West, SVP, Mkt &, Sells 2 CVLT US 03/06/14 (BDA - Bloomberg, 03/10/2014 04:30
                                                                                                        PM)
                                                                                                        COMMVAULT SYSTEMS INC: HAMMER N ROBERT FILES TO SELL 148,339 SHA
                                                                                                        (Washington Service - Bloomberg, 03/10/2014 10:29 PM)
                                                                                                        COMMVAULT SYSTEMS INC: WEST DAVID R FILES TO SELL 2 SHARES (Washington
                                                                                                        Service - Bloomberg, 03/10/2014 10:31 PM)
3/11/2014 Tue   1,543,930 $63.99   -2.02% -0.63% -0.30%    -1.56%    -0.46%    -$0.30   -0.28 78.28%    CommVault at Piper Jaffray Technology, Media and Telecommunications Conference - Final
3/12/2014 Wed    728,547 $63.43    -0.88%   0.39% -0.14%   0.04%     -0.92%    -$0.59   -0.55 58.04%    CommVault Systems, Inc. Patent Issued for Systems and Methods for Migrating Components
                                                                                                        in a Hierarchical Storage Network (Journal of Engineering - Factiva, 03/12/2014)


                                                                                                        WIPO PUBLISHES PATENT OF COMMVAULT SYSTEMS, RAJIV
                                                                                                        KOTTOMTHARAYIL, DEEPAK RAGHUNATH ATTARDE AND MANOJ KUMAR
                                                                                                        VIJAYAN FOR "BLOCK-LEVEL SINGLE INSTANCING" (AMERICAN INVENTORS)
                                                                                                        (US Fed News - Factiva, 03/12/2014)
                                                                                                        CommVault's Scott Skidmore Named a CRN Channel Chief for Second Consecutive Year (PR
                                                                                                        Newswire (U.S.) - Factiva, 03/12/2014 08:30 AM)
                                                                                                        CommVault's Scott Skidmore Named a CRN Channel Chief for Second Consecutive Year (PR
                                                                                                        Newswire - Bloomberg, 03/12/2014 08:30 AM)




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     [1]           [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                                 [12]
                                                 Industry                  Abnormal
                                          Market Excess Predicted Abnormal   Price
    Date        Volume    Price    Return Return Return Return     Return   React   t-stat   p-Value                                             Events
3/13/2014 Thu   1,174,850 $61.92   -2.38% -1.45% -0.71%    -3.32%     0.94%    $0.60   0.57 57.02%     CommVault Systems, Inc. Patent Issued for Systems and Methods for Migrating Components
                                                                                                       in a Hierarchical Storage Network (Computer Weekly News - Factiva, 03/13/2014)


                                                                                                       Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                       Beneficial Ownership of Securities (Feb. 20, 2014) (Computer Weekly News - Factiva,
                                                                                                       03/13/2014)
                                                                                                       Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 03/13/2014)
                                                                                                       Certified Integrations, Enhanced Softwares, Expanded Availability, and Leadership Changes -
                                                                                                       Analyst Notes on CommVault, Cadence, Red Hat, Nuance Communications, and Mattersight
                                                                                                       (PR Newswire (U.S.) - Factiva, 03/13/2014 08:00 AM)
                                                                                                       *CERTIFIED INTEGRATIONS, ENHANCED SOFTWARES, EXPANDED (BLOOMBERG
                                                                                                       News - Bloomberg, 03/13/2014 08:00 AM)
                                                                                                       Certified Integrations, Enhanced Softwares, Expanded Availability, and Leadership Changes -
                                                                                                       Analyst Notes on CommVault, Cadence, (PR Newswire - Bloomberg, 03/13/2014 08:00 AM)


                                                                                                       CommVault Enables Network of 200+ Service Providers Globally to Deliver Cloud Data
                                                                                                       Protection (PR Newswire (U.S.) - Factiva, 03/13/2014 08:30 AM)
                                                                                                       CommVault Enables Network of 200+ Service Providers Globally to Deliver Cloud Data
                                                                                                       Protection (PR Newswire - Bloomberg, 03/13/2014 08:30 AM)
                                                                                                       Stocks Hitting 52-Week Lows (Benzinga.com - Factiva, 03/13/2014 10:29 AM)
3/14/2014 Fri    592,028 $62.85     1.50% -0.35% 0.06%     -0.68%     2.18%    $1.35   1.32 19.08%     Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
3/15/2014 Sat
3/16/2014 Sun                                                                                          Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 03/16/2014)

                                                                                                       *COMMVAULT RAISED TO BUY VS NEUTRAL AT MIZUHO, PT $80 (Bloomberg First
                                                                                                       Word - Bloomberg, 03/16/2014 08:15 PM)
3/17/2014 Mon    787,483 $63.28     0.68%   0.82% -0.27%   0.43%      0.26%    $0.16   0.15 87.76%     Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                       03/17/2014)
                                                                                                       U.S. TMT PRE-MKT: Alibaba Starts U.S. IPO Process; Weibo IPO (Bloomberg First Word -
                                                                                                       Bloomberg, 03/17/2014 07:31 AM)
                                                                                                       U.S. PRE-MARKET MOVERS: FPRX HNR HTZ ICPT PTEN SINA SUNE UQM
                                                                                                       (Bloomberg First Word - Bloomberg, 03/17/2014 08:40 AM)




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                                                                    CommVault News Chronology with Daily Statistics
    [1]            [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]       [11]                                               [12]
                                                 Industry                  Abnormal
                                          Market Excess Predicted Abnormal   Price
   Date         Volume    Price    Return Return Return Return     Return   React   t-stat    p-Value                                             Events
3/18/2014 Tue    963,449 $66.20     4.61%   1.25% 0.85%    2.65%      1.97%    $1.24   1.18 24.00%      CommVault Systems, Inc. Patent Issued for Combined Stream Auxiliary Copy System and
                                                                                                        Method (Information Technology Newsweekly - Factiva, 03/18/2014)
                                                                                                        CommVault Systems, Inc. Patent Issued for Systems and Methods for Managing Snapshots of
                                                                                                        Replicated Databases (Information Technology Newsweekly - Factiva, 03/18/2014)


                                                                                                        Sadif Analytics Analyst Report (Analyst Report - Manual Entry, 03/18/2014)

                                                                                                        Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 03/18/2014)

                                                                                                        U.S. WRAP: Stocks Climb Amid Housing Data, Putinâ€™s Comments (Bloomberg First
                                                                                                        Word - Bloomberg, 03/18/2014 04:24 PM)
3/19/2014 Wed 1,450,252 $69.01      4.24% -0.59% -0.58%    -1.94%     6.18%    $4.09   3.72   0.03% ** CommVault move could add 1,500 new jobs (Asbury Park Press - Factiva, 03/19/2014)

                                                                                                        COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 03/19/2014)

                                                                                                        CommVault Systems Inc. - Company News (NewsTrak Daily - Factiva, 03/19/2014)
                                                                                                        CommVault Systems, Inc. Patent Issued for Combined Stream Auxiliary Copy System and
                                                                                                        Method (Journal of Engineering - Factiva, 03/19/2014)
                                                                                                        CommVault Systems, Inc. Patent Issued for Systems and Methods for Managing Snapshots of
                                                                                                        Replicated Databases (Journal of Engineering - Factiva, 03/19/2014)
                                                                                                        USFedNewsService: US Patent Issued to CommVault Systems on March 18 for "Writing data
                                                                                                        and storage system specific metadata to (RE1 - Bloomberg, 03/19/2014 08:55 AM)
                                                                                                        Defense IT Networks, Q1 2014: BGOV Market Analysis (BGV - Bloomberg, 03/19/2014
                                                                                                        04:33 PM)
                                                                                                        Gary Merrill, Chief Acco, Relinquishes 28 CVLT US 03/17/14 (BDA - Bloomberg,
                                                                                                        03/19/2014 04:37 PM)
3/20/2014 Thu   1,007,073 $69.36    0.51%   0.27% -0.27%   -0.21%     0.72%    $0.50   0.41 68.17%      Chasing A Stock Can Open Door To One Bad Move After Another (Investor's Business Daily
                                                                                                        - Factiva, 03/20/2014)
                                                                                                        CommVault Systems, Inc. Patent Issued for Combined Stream Auxiliary Copy System and
                                                                                                        Method (Computer Weekly News - Factiva, 03/20/2014)
                                                                                                        CommVault Systems, Inc. Patent Issued for Systems and Methods for Managing Snapshots of
                                                                                                        Replicated Databases (Computer Weekly News - Factiva, 03/20/2014)
                                                                                                        HOSTING Leverages CommVault Simpana Software to Offer Cloud-Based Enterprise Backup
                                                                                                        Solution for Data Protection and Rapid Recovery (PR Newswire (U.S.) - Factiva, 03/20/2014
                                                                                                        08:30 AM)




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                                                 Industry                  Abnormal
                                          Market Excess Predicted Abnormal   Price
    Date        Volume    Price    Return Return Return Return     Return   React   t-stat    p-Value                                            Events
                                                                                                        HOSTING Leverages CommVault Simpana Software to Offer Cloud-Based Enterprise Backup
                                                                                                        Solution for Data Protection and Rapid (PR Newswire - Bloomberg, 03/20/2014 08:30 AM)


3/21/2014 Fri   1,368,332 $69.84    0.69% -0.98% -0.04%    -1.55%     2.24%    $1.55    1.28 20.27%     Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                        03/21/2014)
                                                                                                        Elevated Options Volume: ADI CVLT EIX ETR GIS MEG NE NUE SONS (Bloomberg First
                                                                                                        Word - Bloomberg, 03/21/2014 02:10 PM)
3/22/2014 Sat
3/23/2014 Sun                                                                                           Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 03/23/2014)
3/24/2014 Mon 1,246,309 $69.42     -0.60% -1.18% 0.21%     -1.40%     0.80%    $0.56    0.45 65.07%     COMMVAULT SYSTEMS INC SC 13G/A (SEC - SEC Edgar, 03/24/2014)
                                                                                                        Application Software Industry Announce Survey Results and New Applications - Analyst
                                                                                                        Notes on FireEye , Splunk, Red Hat, CommVault Systems, and Intuit , Splunk, Red Hat,
                                                                                                        CommVault Systems, and (PR Newswire (U.S.) - Factiva, 03/24/2014 08:00 AM)
3/25/2014 Tue    860,199 $68.63    -1.14%   0.19% -0.48%   -0.59%    -0.55%    -$0.38   -0.31 75.66%    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 03/25/2014)

                                                                                                        COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 03/25/2014)

                                                                                                        COMMVAULT SYSTEMS INC 4/A (SEC - SEC Edgar, 03/25/2014)

                                                                                                        COMMVAULT SYSTEMS INC 4/A (SEC - SEC Edgar, 03/25/2014)

                                                                                                        COMMVAULT SYSTEMS INC 4/A (SEC - SEC Edgar, 03/25/2014)
                                                                                                        Commvault Systems, Inc. Researchers Submit Patent Application, "Stubbing Systems and
                                                                                                        Methods in a Data Replication Environment", for Approval (Information Technology
                                                                                                        Newsweekly - Factiva, 03/25/2014)
                                                                                                        N Robert Hammer, Chairman, Sells 6,686 CVLT US 03/21/14 (BDA - Bloomberg,
                                                                                                        03/25/2014 05:00 PM)
                                                                                                        N ROBERT HAMMER,C.O.B.,SELLS 6,686 ON 3/21/14 OF CVLT (Washington Service -
                                                                                                        Bloomberg, 03/25/2014 05:00 PM)
                                                                                                        N Robert Hammer, Chairman, Relinquishes 1,056 CVLT US 01/15/14 (BDA - Bloomberg,
                                                                                                        03/25/2014 05:02 PM)
                                                                                                        N Robert Hammer, Chairman, Relinquishes 237 CVLT US 01/03/14 (BDA - Bloomberg,
                                                                                                        03/25/2014 05:03 PM)
                                                                                                        David R West, SVP, Mkt &, Sells 18,878 CVLT US 03/21/14 (BDA - Bloomberg, 03/25/2014
                                                                                                        05:03 PM)




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                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                            Events
                                                                                                      David R West, SVP, Mkt &, Relinquishes 84 CVLT US 01/03/14 (BDA - Bloomberg,
                                                                                                      03/25/2014 05:04 PM)
                                                                                                      DAVID R WEST,Vice Pres.,SELLS 18,878 ON 3/21/14 OF CVLT (Washington Service -
                                                                                                      Bloomberg, 03/25/2014 05:05 PM)
                                                                                                      N ROBERT HAMMER,C.O.B.,SURRENDERS 1,056 ON 1/15/14 OF CVLT-AMD
                                                                                                      (Washington Service - Bloomberg, 03/25/2014 05:05 PM)
                                                                                                      N ROBERT HAMMER,C.O.B.,SURRENDERS 237 ON 1/3/14 OF CVLT-AMD (Washington
                                                                                                      Service - Bloomberg, 03/25/2014 05:06 PM)
                                                                                                      COMMVAULT SYSTEMS INC: WEST DAVID R FILES TO SELL 16,978 SHARES
                                                                                                      (Washington Service - Bloomberg, 03/25/2014 10:34 PM)
                                                                                                      COMMVAULT SYSTEMS INC: HAMMER N ROBERT FILES TO SELL 6,686 SHARE
                                                                                                      (Washington Service - Bloomberg, 03/25/2014 10:34 PM)
3/26/2014 Wed   991,618 $65.46   -4.63% -1.43% -0.53%    -2.72%    -1.91%    -$1.31   -1.09 27.86%    U.S. WRAP: Stocks Fall After President Obama Remarks on Crimea (Bloomberg First Word -
3/27/2014 Thu   811,631 $65.22   -0.36% -0.52% 0.39%     -0.32%    -0.04%    -$0.02   -0.02 98.34%    Commvault Systems, Inc. Researchers Submit Patent Application, "Stubbing Systems and
                                                                                                      Methods in a Data Replication Environment", for Approval (Computer Weekly News -
                                                                                                      Factiva, 03/27/2014)
                                                                                                      Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                      Beneficial Ownership of Securities (Mar. 7, 2014) (Computer Weekly News - Factiva,
                                                                                                      03/27/2014)
                                                                                                      CommVault Simpana Software Helps Scottish Fire & Rescue Service Improve Business
                                                                                                      Continuity and Information Compliance (PR Newswire (U.S.) - Factiva, 03/27/2014 08:30
                                                                                                      AM)
                                                                                                      CommVault Simpana Software Helps Scottish Fire & Rescue Service Improve Business
                                                                                                      Continuity and Information Compliance (PR Newswire - Bloomberg, 03/27/2014 08:30
                                                                                                      AM)
3/28/2014 Fri   769,180 $64.48   -1.13%   0.11% -0.15%   -0.27%    -0.87%    -$0.57   -0.49 62.39%    CommVault Systems Inc. - Company News (NewsTrak Daily - Factiva, 03/28/2014)

                                                                                                      Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      03/28/2014)
3/29/2014 Sat
3/30/2014 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 03/30/2014)
3/31/2014 Mon   545,709 $64.95    0.73%   1.05% 0.39%    1.70%     -0.97%    -$0.63   -0.55 58.34%




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                                                Industry                  Abnormal
                                         Market Excess Predicted Abnormal   Price
  Date         Volume    Price    Return Return Return Return     Return   React   t-stat    p-Value                                             Events
4/1/2014 Tue   1,172,686 $68.66    5.71%   1.66% 0.04%    1.98%     3.73%    $2.43    2.12   3.62% *   CommVault Systems, Inc. "Systems and Methods for Selective Data Replication" in Patent
                                                                                                       Application Approval Process (Information Technology Newsweekly - Factiva, 04/01/2014)


                                                                                                       CommVault Systems, Inc. Patent Issued for Writing Data and Storage System Specific
                                                                                                       Metadata to Network Attached Storage Device (Information Technology Newsweekly -
                                                                                                       Factiva, 04/01/2014)
                                                                                                       Oppenheimer & Co. Inc. Analyst Report (Analyst Report - Manual Entry, 04/01/2014)

                                                                                                       Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                       04/01/2014)
                                                                                                       Information Technology Equities Coverage -- Research on Tableau Software, Rally Software
                                                                                                       Development, CommVault Systems, and ServiceNow (PR Newswire (U.S.) - Factiva,
                                                                                                       04/01/2014 08:36 AM)
                                                                                                       WDC, STX, SNDK, FIO, CVLT May Gain From Cloud Capex: Pac. Crest (Bloomberg First
                                                                                                       Word - Bloomberg, 04/01/2014 12:07 PM)
                                                                                                       U.S. WRAP: Stocks Climb, S&P 500 Closes at Record (Bloomberg First Word - Bloomberg,
                                                                                                       04/01/2014 04:34 PM)
4/2/2014 Wed    453,585 $68.07    -0.86%   0.20% 0.02%    0.08%    -0.94%    -$0.65   -0.53 60.00%     CommVault Systems, Inc. "Systems and Methods for Selective Data Replication" in Patent
                                                                                                       Application Approval Process (Telecommunications Weekly - Factiva, 04/02/2014)
                                                                                                       CommVault Systems, Inc. Patent Issued for Writing Data and Storage System Specific
                                                                                                       Metadata to Network Attached Storage Device (Journal of Engineering - Factiva,
                                                                                                       04/02/2014)
4/3/2014 Thu    437,132 $66.83    -1.82% -0.90% -0.65%   -2.36%     0.53%    $0.36     0.3 76.65%      CommVault Systems, Inc. "System and Method for Sharing Media in a Computer Network" in
                                                                                                       Patent Application Approval Process (Computer Weekly News - Factiva, 04/03/2014)


                                                                                                       CommVault Systems, Inc. "System and Method for Sharing Media in a Computer Network" in
                                                                                                       Patent Application Approval Process (Politics & Government Week - Factiva, 04/03/2014)


                                                                                                       CommVault Systems, Inc. "Systems and Methods for Selective Data Replication" in Patent
                                                                                                       Application Approval Process (Computer Weekly News - Factiva, 04/03/2014)
                                                                                                       CommVault Systems, Inc. Patent Issued for Writing Data and Storage System Specific
                                                                                                       Metadata to Network Attached Storage Device (Computer Weekly News - Factiva,
                                                                                                       04/03/2014)




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    [1]          [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                               [12]
                                              Industry                  Abnormal
                                       Market Excess Predicted Abnormal   Price
  Date         Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                            Events
                                                                                                    Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                    Beneficial Ownership of Securities (Mar. 19, 2014) (Computer Weekly News - Factiva,
                                                                                                    04/03/2014)
                                                                                                    S&P Global Compustat Company Analysis Analyst Report (Analyst Report - Manual Entry,
                                                                                                    04/03/2014)
                                                                                                    Technology Companies Announce Partnerships, Expansions, and New Products - Analyst
                                                                                                    Notes on CommVault, Synopsys, Tyler, PTC, and Teradyne (PR Newswire (U.S.) - Factiva,
                                                                                                    04/03/2014 08:01 AM)
4/4/2014 Fri   494,896 $65.75   -1.62% -2.59% 0.45%    -3.20%     1.58%    $1.06    0.89 37.76%     COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 04/04/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 04/04/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 04/04/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 04/04/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 04/04/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 04/04/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4/A (SEC - SEC Edgar, 04/04/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4/A (SEC - SEC Edgar, 04/04/2014)

                                                                                                    COMMVAULT SYSTEMS INC 4/A (SEC - SEC Edgar, 04/04/2014)

                                                                                                    Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                    04/04/2014)
                                                                                                    Storage Recovery Positive for EMC, FIO, CVLT: Pacific Crest (Bloomberg First Word -
                                                                                                    Bloomberg, 04/04/2014 08:40 AM)
                                                                                                    Alan G Bunte, Executive, Relinquishes 155 CVLT US 04/02/14 (BDA - Bloomberg,
                                                                                                    04/04/2014 05:07 PM)
                                                                                                    ALAN G BUNTE,C.O.O,SURRENDERS 155 ON 4/2/14 OF CVLT (Washington Service -
                                                                                                    Bloomberg, 04/04/2014 05:07 PM)
                                                                                                    Brian Carolan, VP Finance, Relinquishes 76 CVLT US 04/02/14 (BDA - Bloomberg,
                                                                                                    04/04/2014 05:08 PM)
                                                                                                    N Robert Hammer, Chairman, Relinquishes 289 CVLT US 04/02/14 (BDA - Bloomberg,
                                                                                                    04/04/2014 05:09 PM)




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   [1]           [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]      [11]                                               [12]
                                              Industry                  Abnormal
                                       Market Excess Predicted Abnormal   Price
  Date         Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                            Events
                                                                                                     N ROBERT HAMMER,C.O.B.,SURRENDERS 289 ON 4/2/14 OF CVLT (Washington
                                                                                                     Service - Bloomberg, 04/04/2014 05:09 PM)
                                                                                                     Gary Merrill, Chief Acco, Relinquishes 31 CVLT US 04/02/14 (BDA - Bloomberg,
                                                                                                     04/04/2014 05:09 PM)
                                                                                                     LOUIS F MICELI,Vice Pres.,SURRENDERS 106 ON 4/2/14 OF CVLT (Washington Service -
                                                                                                     Bloomberg, 04/04/2014 05:10 PM)
                                                                                                     Louis F Miceli, Senior VP, Relinquishes 106 CVLT US 04/02/14 (BDA - Bloomberg,
                                                                                                     04/04/2014 05:10 PM)
                                                                                                     RONALD L MIILLER,Vice Pres.,SURRENDERS 131 ON 4/2/14 OF CVLT (Washington
                                                                                                     Service - Bloomberg, 04/04/2014 05:11 PM)
                                                                                                     Ronald L Miiller, SVP, World, Relinquishes 131 CVLT US 04/02/14 (BDA - Bloomberg,
                                                                                                     04/04/2014 05:11 PM)
                                                                                                     Alan G Bunte, Executive, Relinquishes 2,437 CVLT US 01/03/14 (BDA - Bloomberg,
                                                                                                     04/04/2014 05:38 PM)
                                                                                                     Louis F Miceli, Senior VP, Relinquishes 121 CVLT US 01/03/14 (BDA - Bloomberg,
                                                                                                     04/04/2014 05:38 PM)
                                                                                                     Ronald L Miiller, SVP, World, Relinquishes 149 CVLT US 01/03/14 (BDA - Bloomberg,
                                                                                                     04/04/2014 05:39 PM)
                                                                                                     ALAN G BUNTE,C.O.O,SURRENDERS 2,437 ON 1/3/14 OF CVLT-AMD (Washington
                                                                                                     Service - Bloomberg, 04/04/2014 05:41 PM)
                                                                                                     LOUIS F MICELI,Vice Pres.,SURRENDERS 121 ON 1/3/14 OF CVLT-AMD (Washington
                                                                                                     Service - Bloomberg, 04/04/2014 05:43 PM)
                                                                                                     RONALD L MIILLER,Vice Pres.,SURRENDERS 149 ON 1/3/14 OF CVLT-AMD
                                                                                                     (Washington Service - Bloomberg, 04/04/2014 05:44 PM)
4/5/2014 Sat
4/6/2014 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 04/06/2014)
                                                                                                     Wright Investors Service Analyst Report (Analyst Report - Manual Entry, 04/06/2014)
4/7/2014 Mon   706,712 $66.81    1.61% -1.16% 0.17%    -1.50%     3.11%    $2.05    1.74   8.52%     COMMVAULT SYSTEMS REPORTS DISPOSITION BY EXECUTIVE VP BUNTE (New
                                                                                                     Jersey) (US Fed News - Factiva, 04/07/2014)
                                                                                                     COMMVAULT SYSTEMS REPORTS DISPOSITION BY SENIOR VP WORLDWIDE
                                                                                                     SALES MIILLER (New Jersey) (US Fed News - Factiva, 04/07/2014)




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                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat    p-Value                                            Events
                                                                                                      Consolidated Minerals Taps CommVault to Mine Valuable Data through Simpana 10 Search
                                                                                                      and Archive Capabilities (PR Newswire (U.S.) - Factiva, 04/07/2014 08:30 AM)


                                                                                                      Consolidated Minerals Taps CommVault to Mine Valuable Data through Simpana 10 Search
                                                                                                      and Archive Capabilities (PR Newswire - Bloomberg, 04/07/2014 08:30 AM)
 4/8/2014 Tue   653,651 $67.48    1.00%   0.82% -0.62%   -0.02%     1.02%    $0.68    0.56 57.44%     USFedNewsService: COMMVAULT SYSTEMS REPORTS DISPOSITION BY EXECUTIVE
 4/9/2014 Wed   902,116 $70.80    4.92%   1.73% 0.28%    2.46%      2.46%    $1.66    1.38 16.97%     New Survey Suggests APAC Companies are Failing to Realise Efficient Business Value from
                                                                                                      Exponential Data Growth (PR Newswire (U.S.) - Factiva, 04/09/2014 08:30 AM)


                                                                                                      New Survey Suggests APAC Companies are Failing to Realise Efficient Business Value from
                                                                                                      Exponential Data Growth (PR Newswire - Bloomberg, 04/09/2014 08:30 AM)
                                                                                                      CommVault Announces Earnings Release Date (PR Newswire (U.S.) - Factiva, 04/09/2014
                                                                                                      09:15 AM)
                                                                                                      CommVault Announces Earnings Release Date (PR Newswire - Bloomberg, 04/09/2014
                                                                                                      09:15 AM)
4/10/2014 Thu   925,730 $66.21   -6.48% -3.10% 0.33%     -3.79%    -2.69%    -$1.90    -1.5 13.63%    Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                      Beneficial Ownership of Securities (Mar. 25, 2014) (Computer Weekly News - Factiva,
                                                                                                      04/10/2014)
                                                                                                      Prepackaged Software; Commvault Systems Inc. Files SEC Form SC 13G, Statement of
                                                                                                      Acquisition of Beneficial Ownership By Individuals [Amend] (Mar. 24, 2014) (Computer
                                                                                                      Weekly News - Factiva, 04/10/2014)
                                                                                                      U.S. WRAP: Stocks Fall, Tech Selloff Resumes (Bloomberg First Word - Bloomberg,
                                                                                                      04/10/2014 04:33 PM)
                                                                                                      CommVault Systems Inc Enters Wave C of Elliott Wave Cycle (Recognia Alert Wire -
                                                                                                      Bloomberg, 04/10/2014 06:27 PM)
4/11/2014 Fri   953,145 $62.70   -5.30% -1.34% -0.81%    -3.02%    -2.28%    -$1.51   -1.27 20.63%    Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                      04/11/2014)
                                                                                                      Validea Analyst Report (Analyst Report - Manual Entry, 04/11/2014)

                                                                                                      U.S. WRAP: Stocks Fall as JP Morgan Misses (Bloomberg First Word - Bloomberg,
                                                                                                      04/11/2014 04:34 PM)
4/12/2014 Sat
4/13/2014 Sun                                                                                         Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 04/13/2014)




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    [1]           [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]        [11]                                               [12]
                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
   Date         Volume   Price   Return Return Return Return     Return   React   t-stat     p-Value                                             Events
4/14/2014 Mon   480,997 $64.47    2.82%   0.58% -0.13%   0.48%     2.35%    $1.47     1.3 19.66%
4/15/2014 Tue   624,825 $65.33    1.33%   0.29% 0.44%    0.83%     0.50%    $0.32    0.28 78.32%       Cloud Investing Beyond Amazon, Google and Microsoft (The Wall Street Journal Online -
4/16/2014 Wed   851,792 $64.04   -1.97%   1.29% 0.14%    1.91%    -3.88%    -$2.54   -2.14   3.47% *   CommVault Systems, Inc. Patent Issued for Systems and Methods for Performing Storage
                                                                                                       Operations in a Computer Network (Journal of Engineering - Factiva, 04/16/2014)
                                                                                                       Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 04/16/2014)

                                                                                                       Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                                       04/16/2014)
                                                                                                       Cloud Investing Beyond Amazon, Google and Microsoft (Dow Jones Top North American
                                                                                                       Equities Stories - Factiva, 04/16/2014 02:30 PM)
                                                                                                       Cloud Investing Beyond Amazon, Google and Microsoft (Dow Jones Top Global Market
                                                                                                       Stories - Factiva, 04/16/2014 06:40 PM)
4/17/2014 Thu   645,212 $65.08    1.62%   0.23% 0.77%    1.15%     0.48%    $0.31    0.26 79.63%       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 04/17/2014)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 04/17/2014)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 04/17/2014)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 04/17/2014)

                                                                                                       COMMVAULT SYSTEMS INC 4 (SEC - SEC Edgar, 04/17/2014)
                                                                                                       CommVault Systems, Inc. Patent Issued for Systems and Methods for Performing Storage
                                                                                                       Operations in a Computer Network (Computer Weekly News - Factiva, 04/17/2014)
                                                                                                       ALAN G BUNTE,C.O.O,SURRENDERS 1,591 ON 4/15/14 OF CVLT (Washington Service -
                                                                                                       Bloomberg, 04/17/2014 04:06 PM)
                                                                                                       Alan G Bunte, Executive, Relinquishes 1,591 CVLT US 04/15/14 (BDA - Bloomberg,
                                                                                                       04/17/2014 04:07 PM)
                                                                                                       BRIAN CAROLAN,C.F.O.,SURRENDERS 797 ON 4/15/14 OF CVLT (Washington Service -
                                                                                                       Bloomberg, 04/17/2014 04:07 PM)
                                                                                                       Brian Carolan, VP Finance, Relinquishes 797 CVLT US 04/15/14 (BDA - Bloomberg,
                                                                                                       04/17/2014 04:07 PM)
                                                                                                       N Robert Hammer, Chairman, Relinquishes 2,460 CVLT US 04/15/14 (BDA - Bloomberg,
                                                                                                       04/17/2014 04:07 PM)
                                                                                                       N ROBERT HAMMER,C.O.B.,SURRENDERS 2,460 ON 4/15/14 OF CVLT (Washington
                                                                                                       Service - Bloomberg, 04/17/2014 04:07 PM)




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                                                                 CommVault News Chronology with Daily Statistics
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                                               Industry                  Abnormal
                                        Market Excess Predicted Abnormal   Price
    Date        Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                             Events
                                                                                                     Gary Merrill, Chief Acco, Relinquishes 273 CVLT US 04/15/14 (BDA - Bloomberg,
                                                                                                     04/17/2014 04:08 PM)
                                                                                                     GARY MERRILL,Officer,SURRENDERS 273 ON 4/15/14 OF CVLT (Washington Service -
                                                                                                     Bloomberg, 04/17/2014 04:08 PM)
                                                                                                     Ronald L Miiller, SVP, World, Relinquishes 1,095 CVLT US 04/15/14 (BDA - Bloomberg,
                                                                                                     04/17/2014 04:08 PM)
                                                                                                     RONALD L MIILLER,Vice Pres.,SURRENDERS 1,095 ON 4/15/14 OF CVLT (Washington
                                                                                                     Service - Bloomberg, 04/17/2014 04:09 PM)
4/18/2014 Fri                                                                                        COMMVAULT SYSTEMS REPORTS DISPOSITION BY CHIEF ACCOUNTING OFFICER
                                                                                                     MERRILL (New Jersey) (US Fed News - Factiva, 04/18/2014)
                                                                                                     COMMVAULT SYSTEMS REPORTS DISPOSITION BY SENIOR VP WORLDWIDE
                                                                                                     SALES MIILLER (New Jersey) (US Fed News - Factiva, 04/18/2014)
                                                                                                     Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                                     04/18/2014)
4/19/2014 Sat                                                                                        USFedNewsService: COMMVAULT SYSTEMS REPORTS DISPOSITION BY CHIEF
                                                                                                     ACCOUNTING OFFICER MERRILL (New Jersey) (RE1 - Bloomberg, 04/19/2014 07:17
                                                                                                     AM)
                                                                                                     USFedNewsService: COMMVAULT SYSTEMS REPORTS DISPOSITION BY SENIOR VP
                                                                                                     WORLDWIDE SALES MIILLER (New Jersey) (RE1 - Bloomberg, 04/19/2014 07:47 AM)


4/20/2014 Sun                                                                                        Summit Research Analyst Report (Analyst Report - Manual Entry, 04/20/2014)

                                                                                                     Thestreet.Com Ratings Analyst Report (Analyst Report - Manual Entry, 04/20/2014)
4/21/2014 Mon   554,947 $66.55    2.26%   0.64% -0.49%   0.05%     2.20%    $1.43    1.19 23.63%     Monness Crespi Hardt Analyst Report (Analyst Report - Manual Entry, 04/21/2014)

                                                                                                     Summit Research Analyst Report (Analyst Report - Manual Entry, 04/21/2014)
                                                                                                     Deployments, Successful Partnerships, Leadership Appointments, and Upcoming Conference
                                                                                                     Calls - Analyst Notes on Allscripts, Cornerstone OnDemand, CommVault, SolarWinds, and
                                                                                                     Synchronoss (PR Newswire (U.S.) - Factiva, 04/21/2014 08:01 AM)


4/22/2014 Tue   618,913 $67.41    1.29%   0.97% 0.03%    1.26%     0.04%    $0.02    0.02 98.48%     Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 04/22/2014)

                                                                                                     CommVault Expands Services to Rackspace to Power Managed Backup Services (PR
                                                                                                     Newswire (U.S.) - Factiva, 04/22/2014 08:30 AM)




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     [1]           [2]     [3]      [4]     [5]     [6]    [7]       [8]      [9]    [10]         [11]                                              [12]
                                                 Industry                  Abnormal
                                          Market Excess Predicted Abnormal   Price
    Date        Volume    Price    Return Return Return Return     Return   React   t-stat      p-Value                                            Events
                                                                                                          CommVault Expands Services to Rackspace to Power Managed Backup Services (PR
                                                                                                          Newswire - Bloomberg, 04/22/2014 08:30 AM)
4/23/2014 Wed    754,283 $67.27    -0.21% -0.83% 0.40%     -0.77%     0.56%    $0.38      0.3 76.13%      RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 04/23/2014)
                                                                                                          CommVault Helps Partners Accelerate Revenue with New Enhancements to its
                                                                                                          PartnerAdvantage Program (PR Newswire (U.S.) - Factiva, 04/23/2014 08:30 AM)
                                                                                                          CommVault Helps Partners Accelerate Revenue with New Enhancements to its
                                                                                                          PartnerAdvantage Program (PR Newswire - Bloomberg, 04/23/2014 08:30 AM)
                                                                                                          USFedNewsService: US Patent Issued to CommVault Systems on April 22 for "Systems and
                                                                                                          methods for storage modeling and costing" (RE1 - Bloomberg, 04/23/2014 08:47 AM)


                                                                                                          USFedNewsService: US Patent Issued to CommVault Systems on April 22 for "Parallel access
                                                                                                          virtual tape library and drives" (New (RE1 - Bloomberg, 04/23/2014 11:16 AM)
                                                                                                          USFedNewsService: US Patent Issued to CommVault Systems on April 22 for "Power
                                                                                                          management of data processing resources, such as (RE1 - Bloomberg, 04/23/2014 12:28 PM)


                                                                                                          USFedNewsService: US Patent Issued to CommVault Systems on April 22 for "Realtime
                                                                                                          streaming of multimedia content from secondary (RE1 - Bloomberg, 04/23/2014 02:09 PM)


4/24/2014 Thu   1,466,927 $68.58    1.95%   0.52% -0.17%   0.39%      1.56%    $1.05    0.84 39.99%       Prepackaged Software; Commvault Systems Inc. Files SEC Form 4, Statement of Changes in
                                                                                                          Beneficial Ownership of Securities (Apr. 4, 2014) (Computer Weekly News - Factiva,
                                                                                                          04/24/2014)
                                                                                                          Earnings to be Released -- Research on Whirlpool, WABCO Holdings, Honda Motor, and
                                                                                                          CommVault Systems (PR Newswire (U.S.) - Factiva, 04/24/2014 08:05 AM)
                                                                                                          Elevated Options Volume: ADI APC APH BCO BRCM CBM CCE CERN CRK C
                                                                                                          (Bloomberg First Word - Bloomberg, 04/24/2014 04:24 PM)
                                                                                                          U.S. AFTER-HOURS WRAP: U.S. Said to Seek >$13b From BofA (Bloomberg First Word -
                                                                                                          Bloomberg, 04/24/2014 05:54 PM)
4/25/2014 Fri   8,454,518 $47.56 -30.65% -1.75% 0.29%      -2.17%   -28.48%   -$19.53   -15.5   0.00% ** BMO Capital Markets Analyst Report (Analyst Report - Manual Entry, 04/25/2014)

                                                                                                          BMO Capital Markets Analyst Report (Analyst Report - Manual Entry, 04/25/2014)

                                                                                                          COMMVAULT SYSTEMS INC 8-K (SEC - SEC Edgar, 04/25/2014)

                                                                                                          COMMVAULT SYSTEMS INC 8-K (SEC - SEC Edgar, 04/25/2014)




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                                      Industry                  Abnormal
                               Market Excess Predicted Abnormal   Price
Date   Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                             Events
                                                                                            CommVault Systems Inc gives FY 2015 revenue guidance in line with analysts' estimates -
                                                                                            Conference call (Reuters Significant Developments - Factiva, 04/25/2014)
                                                                                            Credit Suisse Analyst Report (Analyst Report - Manual Entry, 04/25/2014)

                                                                                            Event Brief of Q4 2014 CommVault Earnings Conference Call - Final (CQ FD Disclosure -
                                                                                            Factiva, 04/25/2014)
                                                                                            Jefferies & Company Analyst Report (Analyst Report - Manual Entry, 04/25/2014)

                                                                                            Jefferson Research & Management Analyst Report (Analyst Report - Manual Entry,
                                                                                            04/25/2014)
                                                                                            Lake Street Capital Markets, LLC Analyst Report (Analyst Report - Manual Entry,
                                                                                            04/25/2014)
                                                                                            Major Averages Sell Off Further As Tech Stocks Weigh (Investor's Business Daily - Factiva,
                                                                                            04/25/2014)
                                                                                            Oppenheimer & Co. Inc. Analyst Report (Analyst Report - Manual Entry, 04/25/2014)

                                                                                            Piper Jaffray Analyst Report (Analyst Report - Manual Entry, 04/25/2014)

                                                                                            Piper Jaffray Analyst Report (Analyst Report - Manual Entry, 04/25/2014)

                                                                                            Q4 2014 CommVault Earnings Conference Call - Final (CQ FD Disclosure - Factiva,
                                                                                            04/25/2014)
                                                                                            RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 04/25/2014)

                                                                                            RBC Capital Markets Analyst Report (Analyst Report - Manual Entry, 04/25/2014)

                                                                                            Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 04/25/2014)

                                                                                            Stifel Nicolaus Analyst Report (Analyst Report - Manual Entry, 04/25/2014)

                                                                                            William Blair & Company Analyst Report (Analyst Report - Manual Entry, 04/25/2014)


                                                                                            Zacks Investment Research Inc. Analyst Report (Analyst Report - Manual Entry,
                                                                                            04/25/2014)
                                                                                            CommVault Shares Tumble as Revenue Misses Expectations (The Wall Street Journal Online -
                                                                                            Factiva, 04/25/2014 06:01 AM)
                                                                                            U.S. TMT PRE-MKT: MSFT Beats; AMZN Downgraded; TWC Upgraded (Bloomberg First
                                                                                            Word - Bloomberg, 04/25/2014 07:31 AM)




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[1]      [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                               [12]
                                      Industry                  Abnormal
                               Market Excess Predicted Abnormal   Price
Date   Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                            Events
                                                                                            CommVault Announces Fourth Quarter and Fiscal 2014 Financial Results (PR Newswire
                                                                                            (U.S.) - Factiva, 04/25/2014 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 4Q EPS 32C :CVLT US (BLOOMBERG News - Bloomberg,
                                                                                            04/25/2014 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 4Q NON-GAAP EPS 52C :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 04/25/2014 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 4Q REV. $156.8M :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 04/25/2014 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 4Q REV. UP 13% :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 04/25/2014 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 4Q SERVICE REV. $77.8M :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 04/25/2014 07:40 AM)
                                                                                            *COMMVAULT SYSTEMS 4Q SOFTWARE LICENSES REV. $79.0M :CVLT US
                                                                                            (BLOOMBERG News - Bloomberg, 04/25/2014 07:40 AM)
                                                                                            CommVault Announces Fourth Quarter and Fiscal 2014 Financial Results (PR Newswire -
                                                                                            Bloomberg, 04/25/2014 07:40 AM)
                                                                                            *COMMVAULT 4Q ADJ. EPS 52C, EST. 48C :CVLT US (Bloomberg First Word -
                                                                                            Bloomberg, 04/25/2014 07:40 AM)
                                                                                            *COMMVAULT 4Q REV. $156.8M, EST. $160.2M :CVLT US (BLOOMBERG News -
                                                                                            Bloomberg, 04/25/2014 07:40 AM)
                                                                                            *COMMVAULT TO ACCELERATE INVESTMENTS ACROSS CO. IN FISCAL 2015
                                                                                            (BLOOMBERG News - Bloomberg, 04/25/2014 07:40 AM)
                                                                                            *COMMVAULT TARGETS DOUBLE DIGIT REV. GROWTH FOR FISCAL 2015
                                                                                            (BLOOMBERG News - Bloomberg, 04/25/2014 07:41 AM)
                                                                                            Commvault Systems 4Q Adj. EPS 52c, Est. 48c (Bloomberg First Word - Bloomberg,
                                                                                            04/25/2014 07:43 AM)
                                                                                            *COMMVAULT SYSTEMS 4Q EARNINGS CONFERENCE CALL BEGINS
                                                                                            (BLOOMBERG News - Bloomberg, 04/25/2014 08:30 AM)
                                                                                            *COMMVAULT: ACCELERATING INVESTMENTS ACROSS CO. IN FY15
                                                                                            (BLOOMBERG News - Bloomberg, 04/25/2014 08:34 AM)




                                                                                                                                                                        p. 80 of 82
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                                                                      Appendix C
                                                       CommVault News Chronology with Daily Statistics
[1]      [2]     [3]     [4]     [5]     [6]    [7]       [8]      [9]    [10]     [11]                                              [12]
                                      Industry                  Abnormal
                               Market Excess Predicted Abnormal   Price
Date   Volume   Price   Return Return Return Return     Return   React   t-stat   p-Value                                           Events
                                                                                            *COMMVAULT SEES LARGE INCREASE IN ENTERPRISE TEAMS BY END 1H15
                                                                                            (BLOOMBERG News - Bloomberg, 04/25/2014 08:39 AM)
                                                                                            U.S. PRE-MARKET MOVERS: CAMP CUDA CVLT CYTK GIMO MKTO P RGDO
                                                                                            (Bloomberg First Word - Bloomberg, 04/25/2014 08:40 AM)
                                                                                            *COMMVAULT SYSTEMS SEES DOUBLE-DIGIT REV. GROWTH IN FY15 (Bloomberg
                                                                                            First Word - Bloomberg, 04/25/2014 08:41 AM)
                                                                                            *COMMVAULT TO AGGRESSIVELY INCREASE HIRING RATE IN 1H15
                                                                                            (BLOOMBERG News - Bloomberg, 04/25/2014 08:49 AM)
                                                                                            *COMMVAULT: HIRING TO HAVE NEGATIVE IMPACT ON S-T MARGINS
                                                                                            (BLOOMBERG News - Bloomberg, 04/25/2014 08:50 AM)
                                                                                            *COMMVAULT: FY15 OP MARGINS LIKELY FLAT TO SLIGHTLY DOWN
                                                                                            (BLOOMBERG News - Bloomberg, 04/25/2014 08:50 AM)
                                                                                            *COMMVAULT SEES CASH TAX RATE REMAINING LOWER THAN GAAP TAX RATE
                                                                                            (BLOOMBERG News - Bloomberg, 04/25/2014 08:51 AM)
                                                                                            CommVault Says Itâ€™s Accelerating Investments Across Co. in FY15 (Bloomberg First
                                                                                            Word - Bloomberg, 04/25/2014 08:55 AM)
                                                                                            Highest Readership Growth in Last Hour: CYTK CVLT LPNT BKW AEP (Bloomberg First
                                                                                            Word - Bloomberg, 04/25/2014 09:02 AM)
                                                                                            *SEC Short Sale Rule 201 is in Effect : CVLT (NASDAQ) (BSS - Bloomberg, 04/25/2014
                                                                                            09:30 AM)
                                                                                            U.S. EQUITY MOVERS: CVLT DLA GIMO HBI ITRI RTIX SAIA STS VDSI (Bloomberg
                                                                                            First Word - Bloomberg, 04/25/2014 09:59 AM)
                                                                                            CommVault Shares Tumble as Revenue Misses Expectations (Dow Jones Institutional News -
                                                                                            Factiva, 04/25/2014 10:01 AM)
                                                                                            Stocks Hitting 52-Week Lows (Benzinga.com - Factiva, 04/25/2014 10:14 AM)

                                                                                            U.S. Stock Options With Biggest Changes in Implied Volatility (BLOOMBERG News -
                                                                                            Bloomberg, 04/25/2014 11:30 AM)
                                                                                            CommVault Ends Day Down 31%, Most Since 2006; Rev. Misses Est. (Bloomberg First Word -
                                                                                            Bloomberg, 04/25/2014 04:29 PM)
                                                                                            U.S. WRAP: Stocks Drop Amid Increased Tensions Over Ukraine (Bloomberg First Word -
                                                                                            Bloomberg, 04/25/2014 04:29 PM)




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                                                                                               Appendix C
                                                                                CommVault News Chronology with Daily Statistics
        [1]            [2]       [3]      [4]       [5]  [6]    [7]       [8]      [9]    [10]                       [11]                                                     [12]
                                                      Industry                  Abnormal
                                               Market Excess Predicted Abnormal   Price
       Date          Volume     Price   Return Return Return Return     Return   React   t-stat                    p-Value                                                  Events
                                                                                                                              CommVault Systems Files 8K - Changes To Articles >CVLT (Dow Jones Institutional News -
                                                                                                                              Factiva, 04/25/2014 04:30 PM)

Notes:
[1] to [8], [10] and [11] See Appendix G.
[9] = [8] * [3] on prior trading day.
[12] News include SEC filings, analyst reports, and news articles. SEC filings include CommVault’s SEC filings from May 7, 2013 to April 25, 2014 from the SEC website. The list of analyst reports is based on reports
available from the electronic databases (Thomson One, Thomson Reuters Knowledge, Capital IQ) and Counsel. This is not necessarily a comprehensive list of all analyst reports potentially issued on CommVault. For news
articles, I searched Bloomberg and Factiva. For Bloomberg, I used the ticker symbol “CVLT US” and searched for all sources with “medium” relevance excluding Internet-linked headlines, Bloomberg Social Velocity Alerts,
Company Filings, Edgar SEC - Online, Bloomberg Transcripts, Twitter, Needham, and Bloomberg Intelligence. For Factiva, I searched all sources for the company code for “CommVault Systems Inc” from 5/1/2013 to
4/30/2014. To eliminate duplicate stories for each of the news providers (Bloomberg and Factiva), a news story was considered a duplicate and eliminated if it had exactly the same date, timestamp, headline, news source, and
lead paragraph as another news story from the same provider.




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                                   Appendix D
          Weekly Trading Volume and Turnover of CommVault Common Stock
               [1]            [2]         [3]            [4]          [5]
                             Daily      Weekly         Shares        Weekly
               Date         Volume      Volume       Outstanding    Turnover
           5/6/2013   Mon     670,283          ---            ---        ---
           5/7/2013   Tue   2,426,280          ---            ---        ---
           5/8/2013   Wed     647,246          ---            ---        ---
           5/9/2013   Thu     613,102          ---            ---        ---
          5/10/2013   Fri     394,006   4,750,917     46,480,599     10.2%
          5/13/2013   Mon     488,163          ---            ---        ---
          5/14/2013   Tue     382,611          ---            ---        ---
          5/15/2013   Wed     485,158          ---            ---        ---
          5/16/2013   Thu     510,044          ---            ---        ---
          5/17/2013   Fri     526,441   2,392,417     46,480,599      5.1%
          5/20/2013   Mon     341,221          ---            ---        ---
          5/21/2013   Tue     344,679          ---            ---        ---
          5/22/2013   Wed   1,267,364          ---            ---        ---
          5/23/2013   Thu   1,046,891          ---            ---        ---
          5/24/2013   Fri     536,671   3,536,826     46,480,599      7.6%
          5/28/2013   Tue     466,537          ---            ---        ---
          5/29/2013   Wed     231,600          ---            ---        ---
          5/30/2013   Thu     300,783          ---            ---        ---
          5/31/2013   Fri     281,820   1,280,740     46,480,599      2.8%
           6/3/2013   Mon     409,886          ---            ---        ---
           6/4/2013   Tue     515,449          ---            ---        ---
           6/5/2013   Wed     305,230          ---            ---        ---
           6/6/2013   Thu     347,630          ---            ---        ---
           6/7/2013   Fri     207,763   1,785,958     46,480,599      3.8%
          6/10/2013   Mon     227,524          ---            ---        ---
          6/11/2013   Tue     316,385          ---            ---        ---
          6/12/2013   Wed     309,990          ---            ---        ---
          6/13/2013   Thu     396,981          ---            ---        ---
          6/14/2013   Fri     707,352   1,958,232     46,480,599      4.2%
          6/17/2013   Mon     525,754          ---            ---        ---
          6/18/2013   Tue     706,961          ---            ---        ---
          6/19/2013   Wed     621,656          ---            ---        ---
          6/20/2013   Thu     442,225          ---            ---        ---
          6/21/2013   Fri     742,914   3,039,510     46,480,599      6.5%
          6/24/2013   Mon     631,587          ---            ---        ---
          6/25/2013   Tue     343,682          ---            ---        ---
          6/26/2013   Wed     595,405          ---            ---        ---
          6/27/2013   Thu     451,169          ---            ---        ---
          6/28/2013   Fri     749,667   2,771,510     46,480,599      6.0%
           7/1/2013   Mon     451,169          ---            ---        ---
           7/2/2013   Tue     344,587          ---            ---        ---
           7/3/2013   Wed     178,873          ---            ---        ---
           7/5/2013   Fri     257,377   1,232,006     46,650,052      2.6%
           7/8/2013   Mon     254,116          ---            ---        ---
           7/9/2013   Tue     516,767          ---            ---        ---
          7/10/2013   Wed     588,452          ---            ---        ---


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                                   Appendix D
          Weekly Trading Volume and Turnover of CommVault Common Stock
               [1]            [2]         [3]            [4]          [5]
                             Daily      Weekly         Shares        Weekly
               Date         Volume      Volume       Outstanding    Turnover
          7/11/2013   Thu     336,652          ---            ---        ---
          7/12/2013   Fri     294,643   1,990,630     46,650,052      4.3%
          7/15/2013   Mon     467,047          ---            ---        ---
          7/16/2013   Tue     563,138          ---            ---        ---
          7/17/2013   Wed     428,342          ---            ---        ---
          7/18/2013   Thu     503,186          ---            ---        ---
          7/19/2013   Fri     407,503   2,369,216     46,650,052      5.1%
          7/22/2013   Mon     367,515          ---            ---        ---
          7/23/2013   Tue     352,970          ---            ---        ---
          7/24/2013   Wed     289,417          ---            ---        ---
          7/25/2013   Thu     338,894          ---            ---        ---
          7/26/2013   Fri     477,198   1,825,994     46,732,057      3.9%
          7/29/2013   Mon     911,688          ---            ---        ---
          7/30/2013   Tue   2,108,195          ---            ---        ---
          7/31/2013   Wed     601,602          ---            ---        ---
           8/1/2013   Thu     802,808          ---            ---        ---
           8/2/2013   Fri     586,779   5,011,072     46,732,057     10.7%
           8/5/2013   Mon     388,786          ---            ---        ---
           8/6/2013   Tue     469,864          ---            ---        ---
           8/7/2013   Wed     425,634          ---            ---        ---
           8/8/2013   Thu     367,913          ---            ---        ---
           8/9/2013   Fri     239,529   1,891,726     46,732,057      4.0%
          8/12/2013   Mon     179,504          ---            ---        ---
          8/13/2013   Tue     131,758          ---            ---        ---
          8/14/2013   Wed     175,127          ---            ---        ---
          8/15/2013   Thu     574,389          ---            ---        ---
          8/16/2013   Fri     405,656   1,466,434     46,732,057      3.1%
          8/19/2013   Mon     349,997          ---            ---        ---
          8/20/2013   Tue     253,172          ---            ---        ---
          8/21/2013   Wed     296,064          ---            ---        ---
          8/22/2013   Thu     310,571          ---            ---        ---
          8/23/2013   Fri     304,886   1,514,690     46,732,057      3.2%
          8/26/2013   Mon     213,550          ---            ---        ---
          8/27/2013   Tue     274,626          ---            ---        ---
          8/28/2013   Wed     413,528          ---            ---        ---
          8/29/2013   Thu     143,024          ---            ---        ---
          8/30/2013   Fri     263,064   1,307,792     46,732,057      2.8%
           9/3/2013   Tue     495,756          ---            ---        ---
           9/4/2013   Wed     230,419          ---            ---        ---
           9/5/2013   Thu     200,531          ---            ---        ---
           9/6/2013   Fri     175,177   1,101,883     46,732,057      2.4%
           9/9/2013   Mon     104,518          ---            ---        ---
          9/10/2013   Tue     163,730          ---            ---        ---
          9/11/2013   Wed     174,628          ---            ---        ---
          9/12/2013   Thu     216,228          ---            ---        ---
          9/13/2013   Fri     149,860     808,964     46,732,057      1.7%


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                                   Appendix D
          Weekly Trading Volume and Turnover of CommVault Common Stock
               [1]            [2]         [3]            [4]          [5]
                             Daily      Weekly         Shares        Weekly
               Date         Volume      Volume       Outstanding    Turnover
          9/16/2013   Mon     183,458          ---            ---        ---
          9/17/2013   Tue     257,609          ---            ---        ---
          9/18/2013   Wed     224,642          ---            ---        ---
          9/19/2013   Thu     190,880          ---            ---        ---
          9/20/2013   Fri     677,971   1,534,560     46,732,057      3.3%
          9/23/2013   Mon     256,917          ---            ---        ---
          9/24/2013   Tue     296,140          ---            ---        ---
          9/25/2013   Wed     230,440          ---            ---        ---
          9/26/2013   Thu     425,594          ---            ---        ---
          9/27/2013   Fri     258,071   1,467,162     46,732,057      3.1%
          9/30/2013   Mon     249,218          ---            ---        ---
          10/1/2013   Tue     531,133          ---            ---        ---
          10/2/2013   Wed     383,855          ---            ---        ---
          10/3/2013   Thu     301,310          ---            ---        ---
          10/4/2013   Fri     238,769   1,704,285     47,075,000      3.6%
          10/7/2013   Mon     376,912          ---            ---        ---
          10/8/2013   Tue     462,083          ---            ---        ---
          10/9/2013   Wed     434,897          ---            ---        ---
         10/10/2013   Thu     297,452          ---            ---        ---
         10/11/2013   Fri     295,260   1,866,604     47,075,000      4.0%
         10/14/2013   Mon     232,121          ---            ---        ---
         10/15/2013   Tue   1,579,129          ---            ---        ---
         10/16/2013   Wed     525,512          ---            ---        ---
         10/17/2013   Thu     480,845          ---            ---        ---
         10/18/2013   Fri     367,684   3,185,291     47,075,000      6.8%
         10/21/2013   Mon     407,519          ---            ---        ---
         10/22/2013   Tue     468,536          ---            ---        ---
         10/23/2013   Wed     399,219          ---            ---        ---
         10/24/2013   Thu     390,852          ---            ---        ---
         10/25/2013   Fri     416,048   2,082,174     47,282,467      4.4%
         10/28/2013   Mon   1,072,021          ---            ---        ---
         10/29/2013   Tue   3,055,227          ---            ---        ---
         10/30/2013   Wed   1,256,498          ---            ---        ---
         10/31/2013   Thu     838,072          ---            ---        ---
          11/1/2013   Fri     932,936   7,154,754     47,282,467     15.1%
          11/4/2013   Mon     643,628          ---            ---        ---
          11/5/2013   Tue     627,908          ---            ---        ---
          11/6/2013   Wed     646,576          ---            ---        ---
          11/7/2013   Thu     745,630          ---            ---        ---
          11/8/2013   Fri     476,744   3,140,486     47,282,467      6.6%
         11/11/2013   Mon     410,508          ---            ---        ---
         11/12/2013   Tue     342,656          ---            ---        ---
         11/13/2013   Wed     382,899          ---            ---        ---
         11/14/2013   Thu     514,301          ---            ---        ---
         11/15/2013   Fri     527,827   2,178,191     47,282,467      4.6%
         11/18/2013   Mon     582,338          ---            ---        ---


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                                   Appendix D
          Weekly Trading Volume and Turnover of CommVault Common Stock
               [1]            [2]         [3]            [4]          [5]
                             Daily      Weekly         Shares        Weekly
               Date         Volume      Volume       Outstanding    Turnover
         11/19/2013   Tue     455,718          ---            ---        ---
         11/20/2013   Wed     382,282          ---            ---        ---
         11/21/2013   Thu     229,577          ---            ---        ---
         11/22/2013   Fri     290,244   1,940,159     47,282,467      4.1%
         11/25/2013   Mon     611,725          ---            ---        ---
         11/26/2013   Tue     392,980          ---            ---        ---
         11/27/2013   Wed     505,190          ---            ---        ---
         11/29/2013   Fri     196,528   1,706,423     47,282,467      3.6%
          12/2/2013   Mon     367,643          ---            ---        ---
          12/3/2013   Tue     480,314          ---            ---        ---
          12/4/2013   Wed     737,740          ---            ---        ---
          12/5/2013   Thu     884,154          ---            ---        ---
          12/6/2013   Fri     491,957   2,961,808     47,282,467      6.3%
          12/9/2013   Mon     567,070          ---            ---        ---
         12/10/2013   Tue     650,676          ---            ---        ---
         12/11/2013   Wed     522,945          ---            ---        ---
         12/12/2013   Thu     977,748          ---            ---        ---
         12/13/2013   Fri     660,476   3,378,915     47,282,467      7.1%
         12/16/2013   Mon     795,869          ---            ---        ---
         12/17/2013   Tue   2,020,755          ---            ---        ---
         12/18/2013   Wed     958,963          ---            ---        ---
         12/19/2013   Thu     469,212          ---            ---        ---
         12/20/2013   Fri   1,477,751   5,722,550     47,282,467     12.1%
         12/23/2013   Mon     570,021          ---            ---        ---
         12/24/2013   Tue     244,691          ---            ---        ---
         12/26/2013   Thu     295,174          ---            ---        ---
         12/27/2013   Fri     327,195   1,437,081     47,282,467      3.0%
         12/30/2013   Mon     364,834          ---            ---        ---
         12/31/2013   Tue     378,248          ---            ---        ---
           1/2/2014   Thu     732,541          ---            ---        ---
           1/3/2014   Fri     358,335   1,833,958     47,390,000      3.9%
           1/6/2014   Mon     585,028          ---            ---        ---
           1/7/2014   Tue     585,544          ---            ---        ---
           1/8/2014   Wed     589,727          ---            ---        ---
           1/9/2014   Thu     690,539          ---            ---        ---
          1/10/2014   Fri     594,995   3,045,833     47,390,000      6.4%
          1/13/2014   Mon   1,104,005          ---            ---        ---
          1/14/2014   Tue     766,981          ---            ---        ---
          1/15/2014   Wed   1,100,199          ---            ---        ---
          1/16/2014   Thu   1,592,755          ---            ---        ---
          1/17/2014   Fri     584,608   5,148,548     47,390,000     10.9%
          1/21/2014   Tue     659,573          ---            ---        ---
          1/22/2014   Wed     384,576          ---            ---        ---
          1/23/2014   Thu     678,380          ---            ---        ---
          1/24/2014   Fri     929,600   2,652,129     47,495,325      5.6%
          1/27/2014   Mon     715,600          ---            ---        ---


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                                   Appendix D
          Weekly Trading Volume and Turnover of CommVault Common Stock
               [1]            [2]          [3]            [4]          [5]
                             Daily       Weekly         Shares        Weekly
               Date         Volume       Volume       Outstanding    Turnover
          1/28/2014   Tue   1,382,039           ---            ---        ---
          1/29/2014   Wed   5,441,791           ---            ---        ---
          1/30/2014   Thu   1,743,970           ---            ---        ---
          1/31/2014   Fri     826,648   10,110,048     47,495,325     21.3%
           2/3/2014   Mon   1,763,042           ---            ---        ---
           2/4/2014   Tue   1,767,293           ---            ---        ---
           2/5/2014   Wed   1,247,894           ---            ---        ---
           2/6/2014   Thu     748,976           ---            ---        ---
           2/7/2014   Fri     992,509    6,519,714     47,495,325     13.7%
          2/10/2014   Mon   1,195,413           ---            ---        ---
          2/11/2014   Tue     805,829           ---            ---        ---
          2/12/2014   Wed     796,018           ---            ---        ---
          2/13/2014   Thu     911,217           ---            ---        ---
          2/14/2014   Fri     717,109    4,425,586     47,495,325      9.3%
          2/18/2014   Tue     792,714           ---            ---        ---
          2/19/2014   Wed     711,786           ---            ---        ---
          2/20/2014   Thu     692,831           ---            ---        ---
          2/21/2014   Fri     851,439    3,048,770     47,495,325      6.4%
          2/24/2014   Mon     852,884           ---            ---        ---
          2/25/2014   Tue     520,665           ---            ---        ---
          2/26/2014   Wed     468,636           ---            ---        ---
          2/27/2014   Thu     505,725           ---            ---        ---
          2/28/2014   Fri     501,458    2,849,368     47,495,325      6.0%
           3/3/2014   Mon     600,332           ---            ---        ---
           3/4/2014   Tue     580,103           ---            ---        ---
           3/5/2014   Wed     772,822           ---            ---        ---
           3/6/2014   Thu     543,088           ---            ---        ---
           3/7/2014   Fri     783,766    3,280,111     47,495,325      6.9%
          3/10/2014   Mon   1,137,329           ---            ---        ---
          3/11/2014   Tue   1,543,930           ---            ---        ---
          3/12/2014   Wed     728,547           ---            ---        ---
          3/13/2014   Thu   1,174,850           ---            ---        ---
          3/14/2014   Fri     592,028    5,176,684     47,495,325     10.9%
          3/17/2014   Mon     787,483           ---            ---        ---
          3/18/2014   Tue     963,449           ---            ---        ---
          3/19/2014   Wed   1,450,252           ---            ---        ---
          3/20/2014   Thu   1,007,073           ---            ---        ---
          3/21/2014   Fri   1,368,332    5,576,589     47,495,325     11.7%
          3/24/2014   Mon   1,246,309           ---            ---        ---
          3/25/2014   Tue     860,199           ---            ---        ---
          3/26/2014   Wed     991,618           ---            ---        ---
          3/27/2014   Thu     811,631           ---            ---        ---
          3/28/2014   Fri     769,180    4,678,937     47,495,325      9.9%
          3/31/2014   Mon     545,709           ---            ---        ---
           4/1/2014   Tue   1,172,686           ---            ---        ---
           4/2/2014   Wed     453,585           ---            ---        ---


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                                     Appendix D
            Weekly Trading Volume and Turnover of CommVault Common Stock
                 [1]                [2]                 [3]                 [4]                  [5]
                                   Daily             Weekly             Shares                  Weekly
                Date              Volume             Volume           Outstanding              Turnover
            4/3/2014   Thu          437,132                 ---                ---                  ---
            4/4/2014   Fri          494,896          3,104,008         47,094,000                6.6%
            4/7/2014   Mon          706,712                 ---                ---                  ---
            4/8/2014   Tue          653,651                 ---                ---                  ---
            4/9/2014   Wed          902,116                 ---                ---                  ---
           4/10/2014   Thu          925,730                 ---                ---                  ---
           4/11/2014   Fri          953,145          4,141,354         47,094,000                8.8%
           4/14/2014   Mon          480,997                 ---                ---                  ---
           4/15/2014   Tue          624,825                 ---                ---                  ---
           4/16/2014   Wed          851,792                 ---                ---                  ---
           4/17/2014   Thu          645,212          2,602,826         47,094,000                5.5%
           4/21/2014   Mon          554,947                 ---                ---                  ---
           4/22/2014   Tue          618,913                 ---                ---                  ---
           4/23/2014   Wed          754,283                 ---                ---                  ---
           4/24/2014   Thu        1,466,927                 ---                ---                  ---
           4/25/2014   Fri        8,454,518         11,849,588         47,186,646               25.1%

      Notes:
      [1] Trading date.
      [2] Reported composite U.S. volume. Source: Bloomberg.
      [3] Volume over entire week of trading.
      [4] Last available shares outstanding as of the end of each week. Source: SEC filings.
      [5] Weekly turnover = [3] / [4].




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                                       Appendix E
                          Weekly Analyst Coverage of CommVault

                   [1]                    [2]                          [3]
                                Bloomberg Total Analyst   Number of Analysts in Thomson
                   Date            Recommendations          Reuters I/B/E/S Consensus
              5/10/2013   Fri             16                              16
              5/17/2013   Fri             16                              16
              5/24/2013   Fri             16                              16
              5/31/2013   Fri             16                              15
               6/7/2013   Fri             16                              16
              6/14/2013   Fri             16                              17
              6/21/2013   Fri             16                              17
              6/28/2013   Fri             16                              17
               7/5/2013   Fri             16                              17
              7/12/2013   Fri             16                              18
              7/19/2013   Fri             16                              18
              7/26/2013   Fri             16                              18
               8/2/2013   Fri             16                              17
               8/9/2013   Fri             16                              17
              8/16/2013   Fri             16                              17
              8/23/2013   Fri             16                              17
              8/30/2013   Fri             16                              17
               9/6/2013   Fri             16                              17
              9/13/2013   Fri             16                              17
              9/20/2013   Fri             16                              17
              9/27/2013   Fri             16                              17
              10/4/2013   Fri             16                              17
             10/11/2013   Fri             16                              17
             10/18/2013   Fri             16                              17
             10/25/2013   Fri             16                              17
              11/1/2013   Fri             16                              18
              11/8/2013   Fri             16                              17
             11/15/2013   Fri             15                              17
             11/22/2013   Fri             15                              16
             11/29/2013   Fri             16                              17
              12/6/2013   Fri             18                              19
             12/13/2013   Fri             18                              19
             12/20/2013   Fri             18                              19
             12/27/2013   Fri             18                              19
               1/3/2014   Fri             17                              19
              1/10/2014   Fri             17                              19
              1/17/2014   Fri             18                              20
              1/24/2014   Fri             18                              20
              1/31/2014   Fri             18                              20
               2/7/2014   Fri             18                              20
              2/14/2014   Fri             18                              20
              2/21/2014   Fri             18                              19
              2/28/2014   Fri             18                              18
               3/7/2014   Fri             18                              18
              3/14/2014   Fri             18                              18


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                                          Appendix E
                             Weekly Analyst Coverage of CommVault

                     [1]                       [2]                                [3]
                                   Bloomberg Total Analyst       Number of Analysts in Thomson
                    Date              Recommendations              Reuters I/B/E/S Consensus
               3/21/2014 Fri                 18                                  18
               3/28/2014 Fri                 18                                  18
                4/4/2014 Fri                 18                                  18
               4/11/2014 Fri                 18                                  18
               4/17/2014 Thu                 18                                  18
               4/25/2014 Fri                 19                                  19

          Notes:
          [1] Last trading day of a week during the Class Period (including the corrective disclosure
              date of April 25, 2014).
          [2] Most recent available Bloomberg total analyst recommendations. Bloomberg defines
              "total analyst recommendations" as the total number of analysts making
              recommendations for the security. Source: Bloomberg.
          [3] Number of analysts in Thomson Reuters I/B/E/S consensus EPS estimates for current
              fiscal year. Source: S&P Capital IQ.




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                                     Appendix F
                  Daily Bid-Ask Spread in CommVault Common Stock
                  [1]                 [1]                      [2]
                             Time-Weighted Average   Time-Weighted Average
                  Date         Bid-Ask Spread ($)      Bid-Ask Spread (%)
                  5/7/2013            $0.13                   0.16%
                  5/8/2013            $0.07                   0.09%
                  5/9/2013            $0.06                   0.08%
                 5/10/2013            $0.07                   0.10%
                 5/13/2013            $0.07                   0.10%
                 5/14/2013            $0.08                   0.11%
                 5/15/2013            $0.06                   0.09%
                 5/16/2013            $0.07                   0.09%
                 5/17/2013            $0.08                   0.11%
                 5/20/2013            $0.07                   0.10%
                 5/21/2013            $0.08                   0.10%
                 5/22/2013            $0.08                   0.11%
                 5/23/2013            $0.08                   0.11%
                 5/24/2013            $0.08                   0.12%
                 5/28/2013            $0.07                   0.10%
                 5/29/2013            $0.09                   0.13%
                 5/30/2013            $0.10                   0.15%
                 5/31/2013            $0.12                   0.17%
                  6/3/2013            $0.11                   0.16%
                  6/4/2013            $0.09                   0.13%
                  6/5/2013            $0.13                   0.18%
                  6/6/2013            $0.14                   0.20%
                  6/7/2013            $0.10                   0.14%
                 6/10/2013            $0.08                   0.12%
                 6/11/2013            $0.10                   0.14%
                 6/12/2013            $0.11                   0.16%
                 6/13/2013            $0.10                   0.14%
                 6/14/2013            $0.09                   0.12%
                 6/17/2013            $0.09                   0.12%
                 6/18/2013            $0.08                   0.11%
                 6/19/2013            $0.08                   0.11%
                 6/20/2013            $0.10                   0.14%
                 6/21/2013            $0.12                   0.15%
                 6/24/2013            $0.10                   0.14%
                 6/25/2013            $0.14                   0.18%
                 6/26/2013            $0.10                   0.12%
                 6/27/2013            $0.10                   0.13%
                 6/28/2013            $0.10                   0.13%
                  7/1/2013            $0.09                   0.12%
                  7/2/2013            $0.10                   0.13%
                  7/3/2013            $1.39                   1.79%
                  7/5/2013            $0.13                   0.16%
                  7/8/2013            $0.09                   0.11%
                  7/9/2013            $0.09                   0.12%
                 7/10/2013            $0.09                   0.11%
                 7/11/2013            $0.10                   0.12%


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                  Daily Bid-Ask Spread in CommVault Common Stock
                  [1]                 [1]                      [2]
                             Time-Weighted Average   Time-Weighted Average
                  Date         Bid-Ask Spread ($)      Bid-Ask Spread (%)
                 7/12/2013            $0.11                   0.14%
                 7/15/2013            $0.09                   0.12%
                 7/16/2013            $0.09                   0.11%
                 7/17/2013            $0.09                   0.11%
                 7/18/2013            $0.09                   0.12%
                 7/19/2013            $0.09                   0.11%
                 7/22/2013            $0.08                   0.11%
                 7/23/2013            $0.08                   0.10%
                 7/24/2013            $0.08                   0.10%
                 7/25/2013            $0.10                   0.13%
                 7/26/2013            $0.10                   0.12%
                 7/29/2013            $0.10                   0.14%
                 7/30/2013            $0.11                   0.13%
                 7/31/2013            $0.08                   0.10%
                  8/1/2013            $0.09                   0.10%
                  8/2/2013            $0.09                   0.10%
                  8/5/2013            $0.09                   0.11%
                  8/6/2013            $0.09                   0.10%
                  8/7/2013            $0.10                   0.11%
                  8/8/2013            $0.11                   0.13%
                  8/9/2013            $0.12                   0.13%
                 8/12/2013            $0.11                   0.13%
                 8/13/2013            $0.13                   0.15%
                 8/14/2013            $0.13                   0.15%
                 8/15/2013            $0.12                   0.14%
                 8/16/2013            $0.13                   0.15%
                 8/19/2013            $0.11                   0.14%
                 8/20/2013            $0.16                   0.19%
                 8/21/2013            $0.14                   0.17%
                 8/22/2013            $0.15                   0.18%
                 8/23/2013            $0.12                   0.14%
                 8/26/2013            $0.14                   0.16%
                 8/27/2013            $0.14                   0.16%
                 8/28/2013            $0.10                   0.12%
                 8/29/2013            $0.16                   0.18%
                 8/30/2013            $0.17                   0.20%
                  9/3/2013            $0.16                   0.19%
                  9/4/2013            $0.14                   0.17%
                  9/5/2013            $0.14                   0.17%
                  9/6/2013            $0.15                   0.18%
                  9/9/2013            $0.17                   0.20%
                 9/10/2013            $0.17                   0.19%
                 9/11/2013            $0.15                   0.17%
                 9/12/2013            $0.13                   0.16%
                 9/13/2013            $0.14                   0.16%
                 9/16/2013            $0.20                   0.23%


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                  Daily Bid-Ask Spread in CommVault Common Stock
                   [1]                [1]                      [2]
                             Time-Weighted Average   Time-Weighted Average
                  Date         Bid-Ask Spread ($)      Bid-Ask Spread (%)
                 9/17/2013            $0.13                   0.15%
                 9/18/2013            $0.13                   0.15%
                 9/19/2013            $0.15                   0.17%
                 9/20/2013            $0.13                   0.15%
                 9/23/2013            $0.16                   0.18%
                 9/24/2013            $0.15                   0.17%
                 9/25/2013            $0.17                   0.20%
                 9/26/2013            $0.13                   0.15%
                 9/27/2013            $0.17                   0.20%
                 9/30/2013            $0.17                   0.20%
                 10/1/2013            $0.15                   0.16%
                 10/2/2013            $0.13                   0.15%
                 10/3/2013            $0.20                   0.23%
                 10/4/2013            $0.15                   0.17%
                 10/7/2013            $0.17                   0.20%
                 10/8/2013            $0.17                   0.20%
                 10/9/2013            $0.17                   0.19%
                10/10/2013            $0.14                   0.17%
                10/11/2013            $0.15                   0.18%
                10/14/2013            $0.18                   0.21%
                10/15/2013            $0.15                   0.18%
                10/16/2013            $0.11                   0.14%
                10/17/2013            $0.13                   0.15%
                10/18/2013            $0.12                   0.14%
                10/21/2013            $0.12                   0.14%
                10/22/2013            $0.14                   0.16%
                10/23/2013            $0.15                   0.18%
                10/24/2013            $0.12                   0.14%
                10/25/2013            $0.12                   0.14%
                10/28/2013            $0.09                   0.10%
                10/29/2013            $0.12                   0.15%
                10/30/2013            $0.06                   0.07%
                10/31/2013            $0.11                   0.14%
                 11/1/2013            $0.10                   0.13%
                 11/4/2013            $0.09                   0.12%
                 11/5/2013            $0.09                   0.12%
                 11/6/2013            $0.11                   0.14%
                 11/7/2013            $0.12                   0.15%
                 11/8/2013            $0.13                   0.17%
                11/11/2013            $0.13                   0.17%
                11/12/2013            $0.10                   0.14%
                11/13/2013            $0.12                   0.16%
                11/14/2013            $0.13                   0.18%
                11/15/2013            $0.10                   0.13%
                11/18/2013            $0.10                   0.13%
                11/19/2013            $0.11                   0.15%


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                  Daily Bid-Ask Spread in CommVault Common Stock
                   [1]                [1]                      [2]
                             Time-Weighted Average   Time-Weighted Average
                  Date         Bid-Ask Spread ($)      Bid-Ask Spread (%)
                11/20/2013            $0.12                   0.17%
                11/21/2013            $0.12                   0.15%
                11/22/2013            $0.12                   0.15%
                11/25/2013            $0.09                   0.12%
                11/26/2013            $0.10                   0.12%
                11/27/2013            $0.09                   0.11%
                11/29/2013            $1.14                   1.36%
                 12/2/2013            $0.12                   0.16%
                 12/3/2013            $0.10                   0.13%
                 12/4/2013            $0.11                   0.15%
                 12/5/2013            $0.08                   0.11%
                 12/6/2013            $0.11                   0.15%
                 12/9/2013            $0.08                   0.11%
                12/10/2013            $0.08                   0.11%
                12/11/2013            $0.10                   0.14%
                12/12/2013            $0.07                   0.11%
                12/13/2013            $0.09                   0.13%
                12/16/2013            $0.06                   0.09%
                12/17/2013            $0.07                   0.09%
                12/18/2013            $0.07                   0.10%
                12/19/2013            $0.09                   0.12%
                12/20/2013            $0.07                   0.10%
                12/23/2013            $0.09                   0.12%
                12/24/2013            $0.51                   0.74%
                12/26/2013            $0.13                   0.17%
                12/27/2013            $0.10                   0.13%
                12/30/2013            $0.09                   0.12%
                12/31/2013            $0.09                   0.12%
                  1/2/2014            $0.07                   0.09%
                  1/3/2014            $0.09                   0.12%
                  1/6/2014            $0.09                   0.13%
                  1/7/2014            $0.12                   0.16%
                  1/8/2014            $0.11                   0.14%
                  1/9/2014            $0.10                   0.13%
                 1/10/2014            $0.08                   0.11%
                 1/13/2014            $0.08                   0.11%
                 1/14/2014            $0.06                   0.08%
                 1/15/2014            $0.05                   0.07%
                 1/16/2014            $0.07                   0.10%
                 1/17/2014            $0.09                   0.12%
                 1/21/2014            $0.08                   0.11%
                 1/22/2014            $0.08                   0.11%
                 1/23/2014            $0.06                   0.08%
                 1/24/2014            $0.07                   0.10%
                 1/27/2014            $0.08                   0.11%
                 1/28/2014            $0.10                   0.13%


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                  Daily Bid-Ask Spread in CommVault Common Stock
                  [1]                 [1]                      [2]
                             Time-Weighted Average   Time-Weighted Average
                  Date         Bid-Ask Spread ($)      Bid-Ask Spread (%)
                 1/29/2014            $0.08                   0.11%
                 1/30/2014            $0.06                   0.09%
                 1/31/2014            $0.09                   0.13%
                  2/3/2014            $0.08                   0.12%
                  2/4/2014            $0.06                   0.09%
                  2/5/2014            $0.07                   0.11%
                  2/6/2014            $0.09                   0.14%
                  2/7/2014            $0.09                   0.14%
                 2/10/2014            $0.07                   0.10%
                 2/11/2014            $0.06                   0.09%
                 2/12/2014            $0.07                   0.11%
                 2/13/2014            $0.08                   0.12%
                 2/14/2014            $0.08                   0.12%
                 2/18/2014            $0.07                   0.10%
                 2/19/2014            $0.09                   0.12%
                 2/20/2014            $0.08                   0.12%
                 2/21/2014            $0.07                   0.11%
                 2/24/2014            $0.06                   0.09%
                 2/25/2014            $0.07                   0.10%
                 2/26/2014            $0.09                   0.13%
                 2/27/2014            $0.09                   0.13%
                 2/28/2014            $0.08                   0.11%
                  3/3/2014            $0.06                   0.09%
                  3/4/2014            $0.07                   0.10%
                  3/5/2014            $0.06                   0.08%
                  3/6/2014            $0.08                   0.11%
                  3/7/2014            $0.07                   0.11%
                 3/10/2014            $0.07                   0.11%
                 3/11/2014            $0.06                   0.09%
                 3/12/2014            $0.06                   0.09%
                 3/13/2014            $0.06                   0.10%
                 3/14/2014            $0.07                   0.12%
                 3/17/2014            $0.07                   0.11%
                 3/18/2014            $0.05                   0.07%
                 3/19/2014            $0.05                   0.08%
                 3/20/2014            $0.05                   0.07%
                 3/21/2014            $0.06                   0.09%
                 3/24/2014            $0.06                   0.09%
                 3/25/2014            $0.08                   0.11%
                 3/26/2014            $0.08                   0.11%
                 3/27/2014            $0.09                   0.13%
                 3/28/2014            $0.07                   0.11%
                 3/31/2014            $0.08                   0.12%
                  4/1/2014            $0.06                   0.09%
                  4/2/2014            $0.08                   0.12%
                  4/3/2014            $0.10                   0.14%


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                    Daily Bid-Ask Spread in CommVault Common Stock
                     [1]                  [1]                            [2]
                                 Time-Weighted Average         Time-Weighted Average
                    Date           Bid-Ask Spread ($)            Bid-Ask Spread (%)
                    4/4/2014              $0.10                         0.15%
                    4/7/2014              $0.11                         0.16%
                    4/8/2014              $0.10                         0.15%
                    4/9/2014              $0.08                         0.12%
                   4/10/2014              $0.09                         0.13%
                   4/11/2014              $0.08                         0.13%
                   4/14/2014              $0.09                         0.14%
                   4/15/2014              $0.09                         0.15%
                   4/16/2014              $0.09                         0.14%
                   4/17/2014              $0.07                         0.12%
                   4/21/2014              $0.07                         0.11%
                   4/22/2014              $0.05                         0.08%
                   4/23/2014              $0.08                         0.11%
                   4/24/2014              $0.10                         0.15%

            Notes:
            See Section V.C.3 in the report for methodology.
            Source:
            Tick Data.




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                                                       Appendix G
                                                CommVault Common Stock Data
 [1]        [2]       [3]     [4]      [5]        [6]     [7]       [8]      [9]      [10]     [11]     [12]       [13]         [14]
                                                Excess          Coefficient
                                      Market   Industry                     Excess Predicted Abnormal   Root
Date      Volume      Price Return    Return    Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
 5/6/13     670,283   $77.82 0.43%     0.43%    -0.30%     0.00    1.69      0.79    0.39%     0.04%     0.02        0.02     98.17%
 5/7/13   2,426,280   $76.33 -1.91%    0.11%     0.39%     0.00    1.69      0.80    0.40%    -2.32%     0.02       -1.36     17.76%
 5/8/13     647,246   $77.49 1.52%     0.49%    -0.05%     0.00    1.70      0.81    0.68%     0.84%     0.02        0.49     62.21%
 5/9/13     613,102   $75.02 -3.19%   -0.06%    -0.67%     0.00    1.70      0.81   -0.75%    -2.43%     0.02       -1.42     15.75%
5/10/13     394,006   $75.41 0.52%     0.80%    -0.04%     0.00    1.70      0.85    1.21%    -0.69%     0.02       -0.40     68.93%
5/13/13     488,163   $73.82 -2.11%    0.07%    -0.61%     0.00    1.70      0.85   -0.53%    -1.58%     0.02       -0.91     36.30%
5/14/13     382,611   $74.27 0.61%     0.74%     0.36%     0.00    1.69      0.92    1.41%    -0.80%     0.02       -0.47     64.13%
5/15/13     485,158   $73.38 -1.20%    0.27%    -0.22%     0.00    1.69      0.91    0.07%    -1.27%     0.02       -0.74     45.84%
5/16/13     510,044   $74.36 1.34%    -0.18%     0.90%     0.00    1.68      0.88    0.31%     1.02%     0.02        0.60     55.10%
5/17/13     526,441   $74.80 0.59%     0.97%    -0.29%     0.00    1.68      0.91    1.22%    -0.62%     0.02       -0.36     71.60%
5/20/13     341,221   $74.44 -0.48%   -0.07%     0.16%     0.00    1.70      0.91   -0.13%    -0.35%     0.02       -0.21     83.78%
5/21/13     344,679   $73.19 -1.68%    0.17%     0.08%     0.00    1.69      0.90    0.16%    -1.84%     0.02       -1.13     26.06%
5/22/13   1,267,364   $67.09 -8.33%   -1.11%    -1.41%     0.00    1.69      0.89   -3.33%    -5.00%     0.02       -3.05      0.28% **
5/23/13   1,046,891   $70.60 5.23%    -0.10%     0.80%     0.00    1.77      1.07    0.39%     4.84%     0.02        2.86      0.51% **
5/24/13     536,671   $69.15 -2.05%   -0.01%    -0.15%     0.00    1.78      1.15   -0.41%    -1.64%     0.02       -0.95     34.64%
5/28/13     466,537   $71.11 2.83%     0.86%     0.33%     0.00    1.79      1.16    1.69%     1.15%     0.02        0.66     51.25%
5/29/13     231,600   $69.84 -1.79%   -0.60%    -0.04%     0.00    1.81      1.17   -1.39%    -0.40%     0.02       -0.23     81.82%
5/30/13     300,783   $71.40 2.23%     0.69%     0.76%     0.00    1.82      1.17    1.89%     0.35%     0.02        0.20     84.23%
5/31/13     281,820   $70.06 -1.88%   -1.01%     0.38%     0.00    1.84      1.23   -1.67%    -0.21%     0.02       -0.12     90.18%
 6/3/13     409,886   $70.40 0.49%     0.29%    -0.46%     0.00    1.85      1.23   -0.29%     0.78%     0.02        0.45     65.20%
 6/4/13     515,449   $70.98 0.82%    -0.58%    -0.08%     0.00    1.86      1.22   -1.43%     2.25%     0.02        1.31     19.40%
 6/5/13     305,230   $69.83 -1.62%   -1.26%     0.47%     0.00    1.83      1.19   -2.00%     0.38%     0.02        0.22     82.78%
 6/6/13     347,630   $69.80 -0.04%    0.67%     0.67%     0.00    1.83      1.20    1.78%    -1.83%     0.02       -1.06     29.35%
 6/7/13     207,763   $71.37 2.25%     1.32%    -0.21%     0.00    1.81      1.17    1.90%     0.35%     0.02        0.20     84.13%
6/10/13     227,524   $72.46 1.53%     0.13%    -0.70%     0.00    1.83      1.17   -0.84%     2.37%     0.02        1.36     17.59%
6/11/13     316,385   $71.88 -0.80%   -1.06%    -0.44%     0.00    1.83      1.12   -2.66%     1.86%     0.02        1.06     28.94%
6/12/13     309,990   $71.98 0.14%    -1.03%     0.25%     0.00    1.80      1.10   -1.80%     1.94%     0.02        1.11     27.10%
6/13/13     396,981   $74.04 2.86%     1.32%     0.14%     0.00    1.77      1.11    2.29%     0.57%     0.02        0.32     74.69%
6/14/13     707,352   $75.27 1.66%    -0.63%     0.32%     0.00    1.78      1.11   -0.98%     2.64%     0.02        1.50     13.70%
6/17/13     525,754   $76.91 2.18%     0.84%     0.49%     0.00    1.76      1.12    1.83%     0.34%     0.02        0.19     84.68%
6/18/13     706,961   $78.80 2.46%     0.87%    -0.60%     0.00    1.76      1.13    0.66%     1.79%     0.02        1.01     31.51%
6/19/13     621,656   $77.03 -2.25%   -1.12%     0.17%     0.00    1.77      1.10   -1.97%    -0.27%     0.02       -0.15     87.85%
6/20/13     442,225   $76.00 -1.34%   -2.28%     0.09%     0.00    1.77      1.10   -4.11%     2.77%     0.02        1.55     12.30%
6/21/13     742,914   $77.12 1.47%    -0.22%    -0.60%     0.00    1.69      1.09   -1.16%     2.63%     0.02        1.46     14.63%
6/24/13     631,587   $76.57 -0.71%   -1.09%    -0.07%     0.00    1.66      1.06   -1.98%     1.26%     0.02        0.70     48.73%
6/25/13     343,682   $77.01 0.57%     0.82%    -0.42%     0.00    1.61      1.09    0.77%    -0.19%     0.02       -0.11     91.56%
6/26/13     595,405   $78.98 2.56%     0.87%     0.18%     0.00    1.64      1.08    1.54%     1.02%     0.02        0.56     57.32%
6/27/13     451,169   $79.73 0.95%     0.77%     1.49%     0.00    1.65      1.07    2.80%    -1.85%     0.02       -1.02     30.82%
6/28/13     749,667   $75.89 -4.82%    0.04%    -0.30%     0.00    1.63      1.00   -0.33%    -4.49%     0.02       -2.48      1.45% *
 7/1/13     451,169   $76.10 0.28%     0.95%     0.13%     0.00    1.62      1.01    1.56%    -1.28%     0.02       -0.70     48.39%
 7/2/13     344,587   $75.52 -0.76%   -0.03%    -0.68%     0.00    1.60      1.04   -0.85%     0.09%     0.02        0.05     96.13%
 7/3/13     178,873   $76.97 1.92%     0.30%     0.22%     0.00    1.59      1.00    0.58%     1.34%     0.02        0.75     45.78%
 7/5/13     257,377   $78.97 2.60%     1.04%     1.07%     0.00    1.59      1.00    2.62%    -0.03%     0.02       -0.01     98.84%
 7/8/13     254,116   $77.65 -1.67%    0.16%     0.31%     0.00    1.60      1.05    0.50%    -2.17%     0.02       -1.21     23.06%
 7/9/13     516,767   $79.76 2.71%     0.56%     0.18%     0.00    1.59      1.04    0.98%     1.74%     0.02        0.96     33.85%
7/10/13     588,452   $81.19 1.80%     0.48%     0.25%     0.00    1.61      1.04    0.94%     0.85%     0.02        0.47     63.96%
7/11/13     336,652   $81.90 0.87%     1.64%    -0.07%     0.00    1.61      1.05    2.48%    -1.61%     0.02       -0.89     37.77%
7/12/13     294,643   $81.58 -0.39%    0.61%    -0.15%     0.00    1.58      1.05    0.72%    -1.11%     0.02       -0.61     54.38%
7/15/13     467,047   $80.84 -0.91%    0.21%     0.29%     0.00    1.58      1.06    0.53%    -1.43%     0.02       -0.79     43.29%
7/16/13     563,138   $79.15 -2.09%   -0.25%    -0.04%     0.00    1.57      1.09   -0.58%    -1.51%     0.02       -0.83     40.56%
7/17/13     428,342   $79.99 1.06%     0.32%    -0.04%     0.00    1.58      1.09    0.30%     0.76%     0.02        0.42     67.47%
7/18/13     503,186   $79.81 -0.23%    0.04%     0.43%     0.00    1.59      1.04    0.33%    -0.55%     0.02       -0.31     75.92%
7/19/13     407,503   $80.51 0.88%    -0.66%     0.85%     0.00    1.61      1.20   -0.19%     1.07%     0.02        0.60     55.04%
7/22/13     367,515   $78.92 -1.97%    0.36%    -0.26%     0.00    1.61      1.22    0.13%    -2.10%     0.02       -1.18     24.02%
7/23/13     352,970   $78.51 -0.52%   -0.59%     0.44%     0.00    1.60      1.19   -0.54%     0.02%     0.02        0.01     99.06%
7/24/13     289,417   $80.76 2.87%     0.01%    -0.09%     0.00    1.59      1.19   -0.22%     3.09%     0.02        1.74      8.44%
7/25/13     338,894   $80.89 0.16%     0.72%    -0.58%     0.00    1.59      1.19    0.35%    -0.19%     0.02       -0.10     91.76%



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                                                        Appendix G
                                                 CommVault Common Stock Data
  [1]        [2]       [3]     [4]      [5]        [6]     [7]       [8]      [9]      [10]     [11]     [12]       [13]         [14]
                                                 Excess          Coefficient
                                       Market   Industry                     Excess Predicted Abnormal   Root
 Date      Volume      Price Return    Return    Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
 7/26/13     477,198   $78.56 -2.88%    0.22%    -2.50%     0.00    1.57      1.19   -2.73%    -0.15%     0.02       -0.08     93.41%
 7/29/13     911,688   $77.57 -1.26%   -0.38%     0.25%     0.00    1.60      1.19   -0.44%    -0.82%     0.02       -0.46     64.67%
 7/30/13   2,108,195   $85.04 9.63%     0.49%     0.06%     0.00    1.65      1.13    0.76%     8.87%     0.02        5.02      0.00% **
 7/31/13     601,602   $84.40 -0.75%    0.28%     0.95%     0.00    1.65      1.15    1.45%    -2.21%     0.02       -1.25     21.37%
  8/1/13     802,808   $87.72 3.93%     1.36%     2.50%     0.00    1.64      1.10    4.88%    -0.95%     0.02       -0.54     59.33%
  8/2/13     586,779   $87.75 0.03%     0.38%    -0.83%     0.00    1.59      1.08   -0.43%     0.47%     0.02        0.27     79.04%
  8/5/13     388,786   $87.83 0.09%     0.12%     0.00%     0.00    1.59      1.06    0.07%     0.02%     0.02        0.01     99.13%
  8/6/13     469,864   $88.51 0.77%    -0.73%    -0.86%     0.00    1.59      1.07   -2.19%     2.97%     0.02        1.70      9.15%
  8/7/13     425,634   $87.55 -1.08%   -0.32%    -0.42%     0.00    1.55      1.04   -1.03%    -0.06%     0.02       -0.03     97.48%
  8/8/13     367,913   $86.63 -1.05%    0.47%     0.35%     0.00    1.55      1.04    1.00%    -2.05%     0.02       -1.17     24.62%
  8/9/13     239,529   $86.34 -0.33%   -0.25%     0.33%     0.00    1.53      1.07   -0.13%    -0.21%     0.02       -0.12     90.52%
 8/12/13     179,504   $87.15 0.94%     0.27%     0.53%     0.00    1.54      1.07    0.89%     0.05%     0.02        0.03     97.70%
 8/13/13     131,758   $86.64 -0.59%    0.43%     0.15%     0.00    1.57      1.06    0.73%    -1.32%     0.02       -0.75     45.23%
 8/14/13     175,127   $86.08 -0.65%   -0.40%     0.02%     0.00    1.54      1.07   -0.70%     0.05%     0.02        0.03     97.77%
 8/15/13     574,389   $82.72 -3.90%   -1.72%    -0.42%     0.00    1.53      1.07   -3.19%    -0.72%     0.02       -0.41     68.19%
 8/16/13     405,656   $82.07 -0.79%   -0.09%     0.15%     0.00    1.53      1.08   -0.09%    -0.69%     0.02       -0.40     69.16%
 8/19/13     349,997   $81.90 -0.21%   -0.38%    -0.16%     0.00    1.54      1.06   -0.86%     0.65%     0.02        0.37     70.84%
 8/20/13     253,172   $82.75 1.04%     0.69%     0.01%     0.00    1.53      1.06    0.96%     0.08%     0.02        0.04     96.57%
 8/21/13     296,064   $83.02 0.33%    -0.38%    -0.58%     0.00    1.53      1.06   -1.31%     1.63%     0.02        0.94     35.14%
 8/22/13     310,571   $86.32 3.97%     1.08%    -0.06%     0.00    1.52      1.03    1.50%     2.48%     0.02        1.41     16.00%
 8/23/13     304,886   $85.52 -0.93%    0.52%    -0.32%     0.00    1.55      1.01    0.40%    -1.33%     0.02       -0.76     45.16%
 8/26/13     213,550   $86.31 0.92%     0.00%     0.30%     0.00    1.56      1.02    0.21%     0.71%     0.02        0.41     68.60%
 8/27/13     274,626   $83.42 -3.35%   -2.16%    -0.37%     0.00    1.57      1.00   -3.84%     0.50%     0.02        0.28     77.88%
 8/28/13     413,528   $85.35 2.31%     0.42%    -0.23%     0.00    1.55      1.00    0.35%     1.96%     0.02        1.11     26.77%
 8/29/13     143,024   $85.65 0.35%     0.75%    -0.35%     0.00    1.56      0.99    0.77%    -0.42%     0.02       -0.24     81.43%
 8/30/13     263,064   $83.83 -2.12%   -0.83%    -0.45%     0.00    1.56      0.99   -1.80%    -0.33%     0.02       -0.19     85.28%
  9/3/13     495,756   $83.06 -0.92%    0.63%    -0.67%     0.00    1.56      1.01    0.26%    -1.18%     0.02       -0.67     50.69%
  9/4/13     230,419   $84.38 1.59%     1.02%     0.13%     0.00    1.55      1.02    1.63%    -0.04%     0.02       -0.02     98.20%
  9/5/13     200,531   $85.26 1.04%     0.27%     0.45%     0.00    1.52      0.95    0.70%     0.34%     0.02        0.21     83.22%
  9/6/13     175,177   $84.57 -0.81%    0.04%    -0.22%     0.00    1.52      0.96   -0.28%    -0.53%     0.02       -0.33     74.55%
  9/9/13     104,518   $85.60 1.22%     1.27%     0.45%     0.00    1.52      0.95    2.22%    -1.00%     0.02       -0.62     53.82%
 9/10/13     163,730   $86.99 1.62%     0.62%     1.21%     0.00    1.51      0.94    1.93%    -0.30%     0.02       -0.19     85.17%
 9/11/13     174,628   $86.52 -0.54%   -0.10%     0.48%     0.00    1.50      0.94    0.16%    -0.70%     0.02       -0.43     66.77%
 9/12/13     216,228   $85.03 -1.72%   -0.24%     0.23%     0.00    1.51      0.93   -0.31%    -1.41%     0.02       -0.87     38.67%
 9/13/13     149,860   $85.01 -0.02%    0.17%    -0.20%     0.00    1.51      0.94   -0.11%     0.08%     0.02        0.05     95.87%
 9/16/13     183,458   $85.08 0.08%    -0.12%     0.45%     0.00    1.51      0.94    0.07%     0.01%     0.02        0.01     99.29%
 9/17/13     257,609   $86.85 2.08%     0.75%    -0.06%     0.00    1.51      0.94    0.89%     1.19%     0.02        0.73     46.66%
 9/18/13     224,642   $88.42 1.81%     1.01%    -0.31%     0.00    1.52      0.92    1.07%     0.74%     0.02        0.45     65.22%
 9/19/13     190,880   $88.28 -0.16%    0.15%    -0.19%     0.00    1.53      0.95   -0.10%    -0.06%     0.02       -0.03     97.23%
 9/20/13     677,971   $87.39 -1.01%   -0.39%     0.14%     0.00    1.54      0.96   -0.62%    -0.39%     0.02       -0.24     81.02%
 9/23/13     256,917   $87.38 -0.01%   -0.25%    -0.31%     0.00    1.54      0.96   -0.85%     0.84%     0.02        0.52     60.31%
 9/24/13     296,140   $85.27 -2.41%    0.08%    -0.09%     0.00    1.49      0.93   -0.10%    -2.32%     0.02       -1.46     14.69%
 9/25/13     230,440   $86.92 1.94%    -0.19%     0.65%     0.00    1.49      0.92    0.18%     1.76%     0.02        1.10     27.40%
 9/26/13     425,594   $88.95 2.34%     0.72%     0.12%     0.00    1.46      0.89    1.06%     1.28%     0.02        0.81     42.17%
 9/27/13     258,071   $87.21 -1.96%   -0.15%    -0.42%     0.00    1.46      0.90   -0.69%    -1.27%     0.02       -0.80     42.52%
 9/30/13     249,218   $87.92 0.81%    -0.26%    -0.01%     0.00    1.47      0.91   -0.49%     1.30%     0.02        0.82     41.49%
 10/1/13     531,133   $89.45 1.74%     1.25%     0.02%     0.00    1.50      0.93    1.82%    -0.08%     0.02       -0.05     95.95%
 10/2/13     383,855   $88.87 -0.65%   -0.08%     0.18%     0.00    1.50      0.87   -0.01%    -0.64%     0.02       -0.41     68.32%
 10/3/13     301,310   $87.50 -1.54%   -1.07%    -0.21%     0.00    1.52      0.87   -1.88%     0.34%     0.02        0.22     82.60%
 10/4/13     238,769   $88.86 1.55%     0.89%    -0.06%     0.00    1.49      0.88    1.20%     0.36%     0.02        0.23     81.64%
 10/7/13     376,912   $87.87 -1.11%   -0.98%    -0.51%     0.00    1.48      0.88   -1.96%     0.85%     0.02        0.55     58.00%
 10/8/13     462,083   $86.05 -2.07%   -2.00%     0.31%     0.00    1.50      0.86   -2.82%     0.74%     0.02        0.49     62.76%
 10/9/13     434,897   $84.60 -1.69%   -0.45%     0.18%     0.00    1.47      0.87   -0.57%    -1.12%     0.02       -0.73     46.64%
10/10/13     297,452   $85.99 1.64%     2.26%     0.27%     0.00    1.47      0.88    3.48%    -1.84%     0.02       -1.20     23.26%
10/11/13     295,260   $87.20 1.41%     0.83%     0.25%     0.00    1.40      0.89    1.30%     0.11%     0.02        0.07     94.51%
10/14/13     232,121   $87.73 0.61%     0.62%    -0.50%     0.00    1.40      0.89    0.33%     0.27%     0.02        0.18     85.87%
10/15/13   1,579,129   $81.69 -6.88%   -0.56%    -1.52%     0.00    1.40      0.87   -2.20%    -4.68%     0.02       -3.05      0.29% **



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                                                        Appendix G
                                                 CommVault Common Stock Data
  [1]        [2]       [3]     [4]      [5]        [6]     [7]       [8]      [9]      [10]     [11]     [12]       [13]         [14]
                                                 Excess          Coefficient
                                       Market   Industry                     Excess Predicted Abnormal   Root
 Date      Volume      Price Return    Return    Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
10/16/13     525,512   $83.37 2.06%     1.20%    -0.05%     0.00    1.43      1.07    1.53%     0.53%     0.02        0.33     74.11%
10/17/13     480,845   $85.67 2.76%     0.62%    -0.27%     0.00    1.43      1.08    0.48%     2.28%     0.02        1.44     15.22%
10/18/13     367,684   $87.33 1.94%     1.32%    -0.05%     0.00    1.44      1.06    1.76%     0.18%     0.02        0.11     90.92%
10/21/13     407,519   $87.49 0.18%     0.15%     0.36%     0.00    1.46      1.08    0.52%    -0.34%     0.02       -0.21     83.29%
10/22/13     468,536   $86.96 -0.61%    0.24%     0.18%     0.00    1.46      1.07    0.46%    -1.07%     0.02       -0.67     50.39%
10/23/13     399,219   $85.74 -1.40%   -0.57%    -0.47%     0.00    1.34      1.28   -1.50%     0.10%     0.01        0.07     94.80%
10/24/13     390,852   $85.07 -0.78%    0.56%    -1.42%     0.00    1.34      1.28   -1.20%     0.42%     0.01        0.28     77.91%
10/25/13     416,048   $83.95 -1.32%    0.37%    -0.33%     0.00    1.34      1.27   -0.06%    -1.26%     0.01       -0.85     39.88%
10/28/13   1,072,021   $82.50 -1.73%   -0.08%     0.30%     0.00    1.34      1.28    0.14%    -1.86%     0.01       -1.26     21.19%
10/29/13   3,055,227   $80.51 -2.41%    0.32%    -0.04%     0.00    1.34      1.27    0.21%    -2.62%     0.01       -1.76      8.15%
10/30/13   1,256,498   $78.10 -2.99%   -0.54%    -0.14%     0.00    1.34      1.23   -1.05%    -1.94%     0.01       -1.31     19.31%
10/31/13     838,072   $78.08 -0.03%   -0.27%    -0.13%     0.00    1.36      1.23   -0.70%     0.67%     0.01        0.45     65.50%
 11/1/13     932,936   $77.96 -0.15%    0.06%    -0.49%     0.00    1.36      1.21   -0.66%     0.50%     0.01        0.34     73.62%
 11/4/13     643,628   $77.74 -0.28%    0.37%     0.33%     0.00    1.36      1.21    0.76%    -1.05%     0.01       -0.70     48.38%
 11/5/13     627,908   $76.58 -1.49%    0.11%    -0.72%     0.00    1.36      1.20   -0.85%    -0.64%     0.01       -0.43     66.79%
 11/6/13     646,576   $76.90 0.42%    -0.15%     0.96%     0.00    1.37      1.19    0.80%    -0.38%     0.01       -0.26     79.83%
 11/7/13     745,630   $75.53 -1.78%   -1.89%     0.80%     0.00    1.37      1.18   -1.81%     0.03%     0.01        0.02     98.59%
 11/8/13     476,744   $75.76 0.30%     1.61%    -0.73%     0.00    1.37      1.18    1.19%    -0.89%     0.01       -0.60     55.25%
11/11/13     410,508   $75.01 -0.99%    0.01%     0.32%     0.00    1.35      1.20    0.27%    -1.26%     0.01       -0.85     39.85%
11/12/13     342,656   $75.09 0.11%     0.02%     0.01%     0.00    1.28      1.02   -0.06%     0.17%     0.01        0.12     90.34%
11/13/13     382,899   $76.51 1.89%     1.17%    -0.21%     0.00    1.30      0.93    1.20%     0.69%     0.01        0.52     60.60%
11/14/13     514,301   $76.75 0.31%     0.20%    -0.16%     0.00    1.31      0.92    0.00%     0.32%     0.01        0.24     81.07%
11/15/13     527,827   $77.69 1.22%     0.33%    -0.06%     0.00    1.30      0.90    0.26%     0.97%     0.01        0.73     46.57%
11/18/13     582,338   $77.00 -0.89%   -0.93%     0.74%     0.00    1.29      0.90   -0.64%    -0.25%     0.01       -0.19     84.92%
11/19/13     455,718   $75.02 -2.57%   -0.40%    -0.57%     0.00    1.29      0.88   -1.12%    -1.45%     0.01       -1.10     27.42%
11/20/13     382,282   $75.19 0.23%    -0.25%     0.47%     0.00    1.29      0.91   -0.02%     0.25%     0.01        0.19     85.27%
11/21/13     229,577   $76.58 1.85%     1.22%     0.27%     0.00    1.28      0.92    1.69%     0.15%     0.01        0.12     90.74%
11/22/13     290,244   $77.00 0.55%     0.57%     0.21%     0.00    1.30      0.93    0.80%    -0.25%     0.01       -0.19     85.01%
11/25/13     611,725   $76.46 -0.70%    0.08%    -0.33%     0.00    1.29      0.93   -0.35%    -0.35%     0.01       -0.27     78.70%
11/26/13     392,980   $75.65 -1.06%    0.58%    -0.21%     0.00    1.30      0.95    0.43%    -1.49%     0.01       -1.14     25.68%
11/27/13     505,190   $74.90 -0.99%    0.69%    -0.26%     0.00    1.28      0.97    0.48%    -1.47%     0.01       -1.13     26.29%
11/29/13     196,528   $74.85 -0.07%    0.37%    -0.60%     0.00    1.26      1.02   -0.32%     0.25%     0.01        0.19     84.85%
 12/2/13     367,643   $73.67 -1.58%   -0.36%    -0.19%     0.00    1.28      1.03   -0.84%    -0.73%     0.01       -0.57     57.29%
 12/3/13     480,314   $72.58 -1.48%   -0.20%     0.21%     0.00    1.31      1.02   -0.26%    -1.22%     0.01       -0.95     34.57%
 12/4/13     737,740   $70.69 -2.60%    0.03%     0.66%     0.00    1.30      1.01    0.48%    -3.08%     0.01       -2.39      1.86% *
 12/5/13     884,154   $73.64 4.17%    -0.12%     0.14%     0.00    1.34      0.93   -0.31%     4.48%     0.01        3.45      0.08% **
 12/6/13     491,957   $73.29 -0.48%    0.73%     0.25%     0.00    1.31      0.94    0.95%    -1.42%     0.01       -1.04     29.87%
 12/9/13     567,070   $72.74 -0.75%    0.15%    -0.12%     0.00    1.27      0.97   -0.19%    -0.56%     0.01       -0.41     68.16%
12/10/13     650,676   $71.33 -1.94%   -0.20%     0.01%     0.00    1.26      0.97   -0.51%    -1.43%     0.01       -1.06     29.31%
12/11/13     522,945   $69.58 -2.45%   -1.39%    -0.30%     0.00    1.34      0.96   -2.45%    -0.01%     0.01       -0.01     99.53%
12/12/13     977,748   $67.23 -3.38%   -0.13%    -0.04%     0.00    1.35      1.00   -0.55%    -2.83%     0.01       -2.13      3.52% *
12/13/13     660,476   $67.17 -0.09%    0.07%     1.17%     0.00    1.39      1.00    0.89%    -0.98%     0.01       -0.73     46.74%
12/16/13     795,869   $68.23 1.58%     0.71%     0.48%     0.00    1.39      0.97    1.08%     0.50%     0.01        0.37     71.08%
12/17/13   2,020,755   $73.74 8.08%    -0.14%    -0.11%     0.00    1.37      0.98   -0.69%     8.77%     0.01        6.53      0.00% **
12/18/13     958,963   $73.84 0.14%     1.15%     0.13%     0.00    1.34      1.00    1.38%    -1.25%     0.02       -0.80     42.71%
12/19/13     469,212   $72.94 -1.22%   -0.29%    -0.20%     0.00    1.32      0.96   -0.84%    -0.37%     0.02       -0.25     80.54%
12/20/13   1,477,751   $75.96 4.13%     1.15%    -0.10%     0.00    1.33      0.97    1.16%     2.97%     0.02        1.96      5.26%
12/23/13     570,021   $74.60 -1.78%    1.08%    -0.36%     0.00    1.38      0.96    0.89%    -2.67%     0.02       -1.73      8.55%
12/24/13     244,691   $74.74 0.19%     0.16%     0.21%     0.00    1.34      0.98    0.14%     0.05%     0.02        0.03     97.69%
12/26/13     295,174   $74.41 -0.44%    0.28%    -0.44%     0.00    1.33      0.96   -0.33%    -0.11%     0.02       -0.07     94.23%
12/27/13     327,195   $74.67 0.35%    -0.24%     0.52%     0.00    1.33      0.98   -0.07%     0.42%     0.02        0.27     78.47%
12/30/13     364,834   $74.48 -0.25%   -0.05%     0.46%     0.00    1.31      0.98    0.11%    -0.36%     0.02       -0.24     81.35%
12/31/13     378,248   $74.86 0.51%     0.54%     0.08%     0.00    1.31      0.97    0.49%     0.02%     0.02        0.01     98.98%
  1/2/14     732,541   $74.10 -1.02%   -0.79%    -0.16%     0.00    1.33      0.96   -1.49%     0.47%     0.02        0.31     75.80%
  1/3/14     358,335   $74.67 0.77%    -0.27%     0.72%     0.00    1.33      0.96    0.06%     0.71%     0.02        0.46     64.33%
  1/6/14     585,028   $73.74 -1.25%   -0.44%     0.02%     0.00    1.33      0.98   -0.82%    -0.42%     0.02       -0.28     78.26%
  1/7/14     585,544   $74.29 0.75%     0.96%     0.18%     0.00    1.32      0.98    1.20%    -0.45%     0.02       -0.30     76.47%



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                                                       Appendix G
                                                CommVault Common Stock Data
 [1]        [2]       [3]     [4]      [5]        [6]     [7]       [8]      [9]      [10]     [11]     [12]       [13]         [14]
                                                Excess          Coefficient
                                      Market   Industry                     Excess Predicted Abnormal   Root
Date      Volume      Price Return    Return    Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
 1/8/14     589,727   $73.91 -0.51%    0.30%     0.15%     0.00    1.31      0.98    0.28%    -0.80%     0.02       -0.53     60.05%
 1/9/14     690,539   $71.70 -2.99%   -0.22%    -0.19%     0.00    1.31      0.98   -0.74%    -2.25%     0.02       -1.49     14.00%
1/10/14     594,995   $71.95 0.35%     0.44%     0.00%     0.00    1.34      0.96    0.30%     0.05%     0.02        0.03     97.59%
1/13/14   1,104,005   $68.96 -4.16%   -1.47%     0.23%     0.00    1.35      0.95   -2.04%    -2.11%     0.02       -1.40     16.55%
1/14/14     766,981   $68.74 -0.32%    1.69%    -0.55%     0.00    1.40      0.93    1.56%    -1.88%     0.02       -1.23     22.08%
1/15/14   1,100,199   $71.00 3.29%     0.76%     0.30%     0.00    1.36      0.97    0.99%     2.30%     0.02        1.52     13.02%
1/16/14   1,592,755   $75.17 5.87%     0.09%    -0.01%     0.00    1.38      0.99   -0.21%     6.08%     0.02        4.00      0.01% **
1/17/14     584,608   $74.97 -0.27%   -0.50%    -0.04%     0.00    1.38      0.95   -1.00%     0.73%     0.02        0.45     65.18%
1/21/14     659,573   $75.73 1.01%     0.67%    -0.48%     0.00    1.37      0.95    0.20%     0.82%     0.02        0.50     61.59%
1/22/14     384,576   $75.00 -0.96%    0.41%    -0.33%     0.00    1.37      0.94    0.00%    -0.96%     0.02       -0.60     55.29%
1/23/14     678,380   $75.97 1.29%    -0.57%     0.18%     0.00    1.37      1.01   -0.84%     2.13%     0.02        1.33     18.78%
1/24/14     929,600   $73.93 -2.69%   -2.15%    -0.23%     0.00    1.35      1.05   -3.38%     0.69%     0.02        0.43     67.09%
1/27/14     715,600   $72.43 -2.03%   -1.08%    -0.39%     0.00    1.33      1.07   -2.07%     0.04%     0.02        0.02     98.23%
1/28/14   1,382,039   $76.10 5.07%     0.35%     0.43%     0.00    1.33      1.07    0.71%     4.35%     0.02        2.68      0.83% **
1/29/14   5,441,791   $69.44 -8.75%   -1.13%    -0.13%     0.00    1.38      1.27   -1.93%    -6.82%     0.02       -4.14      0.01% **
1/30/14   1,743,970   $71.24 2.59%     1.77%     0.89%     0.00    1.38      1.27    3.37%    -0.77%     0.02       -0.47     64.03%
1/31/14     826,648   $69.07 -3.05%   -0.46%    -0.77%     0.00    1.37      1.27   -1.81%    -1.23%     0.02       -0.75     45.53%
 2/3/14   1,763,042   $64.76 -6.24%   -2.61%    -1.04%     0.00    1.38      1.32   -5.17%    -1.07%     0.02       -0.65     51.88%
 2/4/14   1,767,293   $64.16 -0.93%    0.87%    -0.06%     0.00    1.41      1.36    0.93%    -1.85%     0.02       -1.12     26.44%
 2/5/14   1,247,894   $64.24 0.12%    -0.47%     0.50%     0.00    1.40      1.37   -0.20%     0.32%     0.02        0.20     84.52%
 2/6/14     748,976   $65.39 1.79%     1.19%    -0.74%     0.00    1.40      1.38    0.42%     1.37%     0.02        0.83     41.05%
 2/7/14     992,509   $66.52 1.73%     1.69%    -0.11%     0.00    1.40      1.32    2.02%    -0.30%     0.02       -0.18     85.88%
2/10/14   1,195,413   $67.85 2.00%     0.54%    -0.38%     0.00    1.39      1.33    0.04%     1.96%     0.02        1.18     24.13%
2/11/14     805,829   $67.84 -0.01%    1.04%     0.49%     0.00    1.41      1.31    1.92%    -1.93%     0.02       -1.16     24.94%
2/12/14     796,018   $68.40 0.83%     0.25%     0.03%     0.00    1.39      1.27    0.18%     0.65%     0.02        0.39     70.03%
2/13/14     911,217   $69.38 1.43%     0.94%     0.58%     0.00    1.40      1.31    1.85%    -0.41%     0.02       -0.25     80.45%
2/14/14     717,109   $69.04 -0.49%    0.08%    -0.28%     0.00    1.36      1.31   -0.49%     0.00%     0.02        0.00     99.92%
2/18/14     792,714   $69.02 -0.03%    0.72%     0.37%     0.00    1.37      1.29    1.23%    -1.26%     0.02       -0.76     44.75%
2/19/14     711,786   $68.88 -0.20%   -0.81%     0.46%     0.00    1.36      1.27   -0.78%     0.58%     0.02        0.35     72.74%
2/20/14     692,831   $68.97 0.13%     0.70%     0.03%     0.00    1.36      1.28    0.74%    -0.61%     0.02       -0.37     71.18%
2/21/14     851,439   $68.92 -0.07%   -0.10%    -0.04%     0.00    1.35      1.30   -0.45%     0.38%     0.02        0.23     81.81%
2/24/14     852,884   $68.72 -0.29%    0.70%    -0.23%     0.00    1.35      1.30    0.37%    -0.66%     0.02       -0.40     68.65%
2/25/14     520,665   $68.81 0.13%    -0.12%     0.05%     0.00    1.34      1.31   -0.38%     0.51%     0.02        0.31     75.68%
2/26/14     468,636   $68.96 0.22%     0.11%     0.56%     0.00    1.34      1.29    0.61%    -0.39%     0.02       -0.24     81.08%
2/27/14     505,725   $69.52 0.81%     0.63%     0.13%     0.00    1.34      1.28    0.75%     0.07%     0.02        0.04     96.79%
2/28/14     501,458   $68.88 -0.92%   -0.25%    -0.09%     0.00    1.34      1.27   -0.72%    -0.20%     0.02       -0.12     90.45%
 3/3/14     600,332   $68.36 -0.75%   -0.70%    -0.48%     0.00    1.34      1.27   -1.82%     1.07%     0.02        0.65     51.51%
 3/4/14     580,103   $71.37 4.40%     1.75%     0.40%     0.00    1.34      1.26    2.59%     1.81%     0.02        1.10     27.22%
 3/5/14     772,822   $69.98 -1.95%    0.15%    -0.52%     0.00    1.38      1.32   -0.72%    -1.23%     0.02       -0.74     45.82%
 3/6/14     543,088   $69.23 -1.07%   -0.13%     0.18%     0.00    1.38      1.36   -0.18%    -0.89%     0.02       -0.54     58.88%
 3/7/14     783,766   $67.49 -2.51%   -0.37%    -0.25%     0.00    1.37      1.37   -1.08%    -1.43%     0.02       -0.87     38.58%
3/10/14   1,137,329   $65.31 -3.23%   -0.04%    -0.78%     0.00    1.38      1.39   -1.39%    -1.84%     0.02       -1.12     26.70%
3/11/14   1,543,930   $63.99 -2.02%   -0.63%    -0.30%     0.00    1.38      1.45   -1.56%    -0.46%     0.02       -0.28     78.28%
3/12/14     728,547   $63.43 -0.88%    0.39%    -0.14%     0.00    1.38      1.46    0.04%    -0.92%     0.02       -0.55     58.04%
3/13/14   1,174,850   $61.92 -2.38%   -1.45%    -0.71%     0.00    1.36      1.48   -3.32%     0.94%     0.02        0.57     57.02%
3/14/14     592,028   $62.85 1.50%    -0.35%     0.06%     0.00    1.34      1.46   -0.68%     2.18%     0.02        1.32     19.08%
3/17/14     787,483   $63.28 0.68%     0.82%    -0.27%     0.00    1.33      1.47    0.43%     0.26%     0.02        0.15     87.76%
3/18/14     963,449   $66.20 4.61%     1.25%     0.85%     0.00    1.33      1.48    2.65%     1.97%     0.02        1.18     24.00%
3/19/14   1,450,252   $69.01 4.24%    -0.59%    -0.58%     0.00    1.35      1.54   -1.94%     6.18%     0.02        3.72      0.03% **
3/20/14   1,007,073   $69.36 0.51%     0.27%    -0.27%     0.00    1.32      1.37   -0.21%     0.72%     0.02        0.41     68.17%
3/21/14   1,368,332   $69.84 0.69%    -0.98%    -0.04%     0.00    1.31      1.35   -1.55%     2.24%     0.02        1.28     20.27%
3/24/14   1,246,309   $69.42 -0.60%   -1.18%     0.21%     0.00    1.28      1.34   -1.40%     0.80%     0.02        0.45     65.07%
3/25/14     860,199   $68.63 -1.14%    0.19%    -0.48%     0.00    1.27      1.35   -0.59%    -0.55%     0.02       -0.31     75.66%
3/26/14     991,618   $65.46 -4.63%   -1.43%    -0.53%     0.00    1.26      1.36   -2.72%    -1.91%     0.02       -1.09     27.86%
3/27/14     811,631   $65.22 -0.36%   -0.52%     0.39%     0.00    1.29      1.40   -0.32%    -0.04%     0.02       -0.02     98.34%
3/28/14     769,180   $64.48 -1.13%    0.11%    -0.15%     0.00    1.30      1.40   -0.27%    -0.87%     0.02       -0.49     62.39%
3/31/14     545,709   $64.95 0.73%     1.05%     0.39%     0.00    1.29      1.41    1.70%    -0.97%     0.02       -0.55     58.34%



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                                                               Appendix G
                                                        CommVault Common Stock Data
   [1]          [2]        [3]       [4]      [5]        [6]     [7]       [8]      [9]      [10]      [11]                 [12]       [13]         [14]
                                                       Excess          Coefficient
                                            Market    Industry                     Excess Predicted Abnormal               Root
  Date       Volume      Price Return       Return     Return Intercept Market Industry Return        Return               MSE      t-statistic    p-Value
   4/1/14    1,172,686   $68.66 5.71%        1.66%      0.04%     0.00    1.30      1.41    1.98%      3.73%                0.02         2.12      3.62% *
   4/2/14      453,585   $68.07 -0.86%       0.20%      0.02%     0.00    1.37      1.40    0.08%     -0.94%                0.02        -0.53     60.00%
   4/3/14      437,132   $66.83 -1.82%      -0.90%     -0.65%     0.00    1.36      1.41   -2.36%      0.53%                0.02         0.30     76.65%
   4/4/14      494,896   $65.75 -1.62%      -2.59%      0.45%     0.00    1.40      1.41   -3.20%      1.58%                0.02         0.89     37.76%
   4/7/14      706,712   $66.81 1.61%       -1.16%      0.17%     0.00    1.35      1.45   -1.50%      3.11%                0.02         1.74      8.52%
   4/8/14      653,651   $67.48 1.00%        0.82%     -0.62%     0.00    1.30      1.49   -0.02%      1.02%                0.02         0.56     57.44%
   4/9/14      902,116   $70.80 4.92%        1.73%      0.28%     0.00    1.29      1.22    2.46%      2.46%                0.02         1.38     16.97%
  4/10/14      925,730   $66.21 -6.48%      -3.10%      0.33%     0.00    1.32      1.25   -3.79%     -2.69%                0.02        -1.50     13.63%
  4/11/14      953,145   $62.70 -5.30%      -1.34%     -0.81%     0.00    1.40      1.23   -3.02%     -2.28%                0.02        -1.27     20.63%
  4/14/14      480,997   $64.47 2.82%        0.58%     -0.13%     0.00    1.42      1.30    0.48%      2.35%                0.02         1.30     19.66%
  4/15/14      624,825   $65.33 1.33%        0.29%      0.44%     0.00    1.44      1.29    0.83%      0.50%                0.02         0.28     78.32%
  4/16/14      851,792   $64.04 -1.97%       1.29%      0.14%     0.00    1.44      1.31    1.91%     -3.88%                0.02        -2.14      3.47% *
  4/17/14      645,212   $65.08 1.62%        0.23%      0.77%     0.00    1.39      1.30    1.15%      0.48%                0.02         0.26     79.63%
  4/21/14      554,947   $66.55 2.26%        0.64%     -0.49%     0.00    1.39      1.34    0.05%      2.20%                0.02         1.19     23.63%
  4/22/14      618,913   $67.41 1.29%        0.97%      0.03%     0.00    1.41      1.27    1.26%      0.04%                0.02         0.02     98.48%
  4/23/14      754,283   $67.27 -0.21%      -0.83%      0.40%     0.00    1.41      1.30   -0.77%      0.56%                0.02         0.30     76.13%
  4/24/14    1,466,927   $68.58 1.95%        0.52%     -0.17%     0.00    1.40      1.31    0.39%      1.56%                0.02         0.84     39.99%
  4/25/14    8,454,518   $47.56 -30.65%     -1.75%      0.29%     0.00    1.40      1.29   -2.17%    -28.48%                0.02      -15.48       0.00% **

Notes:
[1] Trading day.
[2] Reported composite U.S. volume. Source: Bloomberg.
[3] Reported composite U.S. price. Source: Bloomberg.
[4] = {[3] / [3] on previous trading day} - 1.
[5] Daily return for the NASDAQ Composite Total Return Index. Source: Bloomberg.
[6] Daily industry return is the daily return for the S&P 400 Software Industry Index (after removing CommVault’s daily return based on its daily index
    weight from the industry return). The excess industry returns are used to account for industry-wide effects in the market model, after removing the
    effect of market returns. The formula for removing the effect of market returns from the industry return is {industry return – (intercept + beta * market
    return)}. The intercept (-0.0004) and beta (0.9755) are estimated by regressing daily industry returns on market returns over the period 11/9/2012 to
    4/25/2014. 11/9/2012, 120 days prior to 5/6/2013, is the earliest excess industry return used in the CommVault market model.
[7] Intercept from a market model regression (see Exhibit XIII) estimated over the prior 120 trading days.
[8] Coefficient for the market return from a market model regression (see Exhibit XIII) estimated over the prior 120 trading days.
[9] Coefficient for the excess industry return from a market model regression (see Exhibit XIII) estimated over the prior 120 trading days.
[10] = [7] + {[8] x [5]} + {[9] x [6]}.
[11] = [4] - [10].
[12] Root MSE of a market model (see Exhibit XIII) estimated over the prior 120 trading days.
[13] = [11] / [12].
[14] Two-tailed p-value associated with the t-statistic in [13]. ** denotes p-value is less than or equal to 1% and * denotes p-value is less than
    or equal to 5%.




                                                                                                                                                     p. 5 of 5
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                                       Exhibit I
            Weekly Trading Volume and Turnover of CommVault Common Stock
       "Turnover measured by average weekly trading of 2% or more of the outstanding shares would
       justify a strong presumption that the market for the security is an efficient one; 1% would justify a
       substantial presumption." [Cammer v. Bloom, 711 F. Supp. 1264 (D.N.J. 1989) at 1293.]

                                     Daily               Weekly             Shares               Weekly
                                    Volume               Volume           Outstanding           Turnover

       Summary Statistics of Trading Volume and Turnover during the Class Period*

           Total                   154,416,210          163,541,011
           Average                     632,853            3,206,686          47,034,453                 6.8%

           Minimum                      104,518             808,964                                    1.7%
           Median                       514,875           2,652,129                                    5.6%
           Maximum                    5,441,791          11,849,588                                   25.1%

       Summary Statistics of Trading Volume and Turnover during the Class Period**

           Total                   154,416,210          146,940,506
           Average                     632,853            2,998,786          47,042,650                 6.4%

           Minimum                      104,518             808,964                                    1.7%
           Median                       514,875           2,602,826                                    5.5%
           Maximum                    5,441,791          10,110,048                                   21.3%

       Note:
       See Appendix D for daily / weekly statistics.
       * Weekly statistics include all days in the first and last weeks of the Class Period.
       ** Weekly statistics exclude all days in the first and last weeks of the Class Period.
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                                           Exhibit II
                             Weekly Analyst Coverage of CommVault

                                  Bloomberg Total Analyst         Number of Analysts in Thomson
                                     Recommendations                Reuters I/B/E/S Consensus

             Average                           17                                     18

             Minimum                           15                                     15
             Median                            16                                     17
             Maximum                           19                                     20

          Notes:
          See Appendix E for weekly statistics over the Class Period and the corrective disclosure
          date of April 25, 2014.
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                                       Exhibit III-A
         Numbers of Analyst Reports Issued for CommVault during the Class Period
                        Class Period: May 7, 2013 - April 24, 2014

      Analysts                                                                      Count
      BMO Capital Markets                                                              4
      Brean Capital, LLC                                                               2
      CFRA Equity Research                                                             7
      Craig-Hallum Capital Group                                                       3
      Credit Suisse                                                                    6
      Eva Dimensions                                                                 125
      Globaldata                                                                       6
      Jefferies & Company                                                              5
      Jefferson Research & Management                                                 51
      JMP Securities                                                                   5
      Ladenburg Thalmann & Company                                                     1
      Lake Street Capital Markets, LLC                                                 6
      Lazard Capital Markets                                                           6
      Macquarie Research                                                               2
      Market Edge                                                                      1
      Monness Crespi Hardt                                                             1
      Needham & Company                                                                4
      Oppenheimer & Co. Inc.                                                           4
      Piper Jaffray                                                                   11
      Raymond James & Associates                                                       4
      RBC Capital Markets                                                             10
      S&P Global Compustat Company Analysis                                            9
      Sadif Analytics                                                                  5
      Sterne Agee & Leach                                                              7
      Stifel Nicolaus                                                                 18
      Summit Research                                                                 11
      Thestreet.Com Ratings                                                           51
      Validea                                                                          1
      William Blair & Company                                                          8
      Wright Investors Service                                                         6
      Zacks Investment Research Inc.                                                  31
      Total                                                                          411

      Notes:
      [1] Multiple reports issued from the same analyst on the same day are counted as a single report.
      [2] Reports from the same analyst from different databases that have the same titles but
         different dates are treated as being released on the first date listed in the databases.
      [3] I include analyst reports issued on the corrective disclosure date of April 25, 2014 in this analysis.
      Sources:
      Thomson Reuters Knowledge, Thomson ONE databases, Capital IQ and Counsel.
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                                          Exhibit III-B
                     Analyst Participation in CommVault Conference Calls
                          Class Period: May 7, 2013 - April 24, 2014

                                                         [1]       [2]         [3] [4] [5] [6]
                                                                              Conference Calls




                                                                                           10/29/2013
                                                                               7/30/2013



                                                                                                        1/29/2014

                                                                                                                    4/25/2014
                                                    Count of




                                                                   5/7/2013
                                                   Conference
                  Analyst/Investor                   Calls
                  BMO Capital Markets*                 2                                                   x           x
                  Craig-Hallum Capital Group           2             x            x
                  Credit Suisse                        3             x                        x                        x
                  Goldman Sachs                        4                          x           x            x           x
                  Jefferies & Company                  5             x            x           x            x           x
                  JMP Securities                       1                                                               x
                  Lake Street Capital Markets, LLC     5             x            x           x            x           x
                  Lazard Capital Markets               3             x            x           x
                  Macquarie Research**                 2                                                   x           x
                  Mizuho Securities                    3                          x           x            x
                  Needham & Company                    4             x                        x            x           x
                  Pacific Crest Securities             3             x                                     x           x
                  Piper Jaffray                        5             x            x           x            x           x
                  Raymond James & Associates           5             x            x           x            x           x
                  RBC Capital Markets                  3             x            x           x
                  Sterne, Agee & Leach                 1                                      x
                  Stifel Nicolaus                      5             x            x           x            x           x
                  Summit Research                      4             x            x           x            x
                  William Blair & Company              4                          x           x            x           x

Notes:
I include in my analysis the conference call held on April 25, 2014, the first day after the end of the Class Period.
 [1] Equals count of "x"s in [2] through [6].
 [2] Q4 2013 CommValut Earnings Conference Call, Thomson Reuters Streetevents Edited Transcript, May 7, 2013.
 [3] Q1 2014 CommValut Earnings Conference Call, Thomson Reuters Streetevents Edited Transcript, July 30, 2013.
 [4] Q2 2014 CommValut Earnings Conference Call, Thomson Reuters Streetevents Edited Transcript, October 29, 2013.
 [5] Q3 2014 CommValut Earnings Conference Call, Thomson Reuters Streetevents Edited Transcript, January 29, 2014.
 [6] Q4 2014 CommValut Earnings Conference Call, Thomson Reuters Streetevents Edited Transcript, April 25, 2014.
*BMO Capital Markets' analyst (Joel Fishbein) represented Lazard Capital Markets on prior calls.
**Macquarie Research's analyst (Rajesh Ghal) represented Craig-Hallum Capital Group on some of the prior calls.
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                                         Exhibit III-C
                           Investor Conferences Hosted by Analysts
                           Class Period: May 7, 2013 - April 24, 2014

                                      Date        Analyst Firms
                          [1]       6/12/2013     William Blair & Company
                          [2]       12/4/2013     Credit Suisse
                          [3]       2/11/2014     Stifel Nicolaus
                          [4]       2/12/2014     Goldman Sachs
                          [5]        3/4/2014     Raymond James & Associates
                          [6]       3/11/2014     Piper Jaffray


        Notes:
        Conferences from http://ir.commvault.com/phoenix.zhtml?c=197582&p=irol-calendarPast_pf
             (accessed April 7, 2014).
         [1] CommVault at William Blair Growth Stock Conference.
         [2] CommVault at Credit Suisse Technology Conference.
         [3] CommVault at Stifel, Nicolaus Technology, Internet & Media Conference.
         [4] CommVault at Goldman Sachs Technology and Internet Conference.
         [5] CommVault at Raymond James Financial Inc Institutional Investors Conference.
         [6] CommVault at Piper Jaffray Technology, Media and Telecommunications Conference.
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                                                             Exhibit IV-A
                                              Broker Trades in CommVault Common Stock

Total reported volume:                                                       116,184,608
Total broker volume:                                                         57,870,245
Total broker volume / Total reported volume:                                   49.81%
Number of brokers with volume > 1% of Reported Volum                             10

                                                               Broker Volume and Broker Volume as a Percent of Total Reported Volume
      Broker Name                                                                     June 2013 - March 2014
  [1] Credit Suisse First Boston LLC                                          8,991,928                               7.74%
  [2] Morgan Stanley & Co.                                                        8,061,376                                     6.94%
  [3] Wedbush                                                                     5,865,292                                     5.05%
  [4] Barclays Capital Inc.                                                       5,769,083                                     4.97%
  [5] Instinet                                                                    3,982,779                                     3.43%
  [6] Goldman Sachs                                                               3,666,276                                     3.16%
  [7] Electronic Transaction Clearing, Inc.                                       3,603,531                                     3.10%
  [8] UBS Securities LLC.                                                         2,923,443                                     2.52%
  [9] Deutsche Bank Securities Inc.                                               2,858,170                                     2.46%
[10] J.P. Morgan Securities Inc.                                                  2,801,187                                     2.41%
[11] Knight Capital Americas, L.P.                                                1,121,998                                     0.97%
[12] Knight Equity Markets, L.P.                                                  1,086,106                                     0.93%
[13] Citigroup Global Markets Inc.                                                1,065,449                                     0.92%
[14] Tradebot Systems, Inc.                                                         747,526                                     0.64%
[15] FIMAT USA, Inc.                                                                547,141                                     0.47%
[16] Interactive Brokers LLC                                                        543,848                                     0.47%
[17] Lime Brokerage LLC                                                             527,219                                     0.45%
[18] LEK Securities Corporation                                                     401,680                                     0.35%
[19] Fox River Execution Tehnology, LLC                                             373,307                                     0.32%
[20] Sanford C. Bernstein And Co. I                                                 370,535                                     0.32%
[21] Wolverine Execution Services                                                   345,091                                     0.30%
[22] White Bay PT LLC                                                               292,637                                     0.25%
[23] Jefferies & Company, Inc.                                                      203,720                                     0.18%
[24] Cutler Group, Lp                                                               202,847                                     0.17%

Notes:
[1] Data for June 2013 - March 2014 (except for December 2013) are considered. Broker volume for December 2013 is not available from
Bloomberg. The partial months of May 2013 and April 2014 as well as December 2013 are excluded from the analysis. The total reported
volume of June 2013 to March 2014 also excludes the partial months of May 2013 and April 2014, as well as December 2013 (which are
included in Exhibit I).
[2] Goldman Sachs and Goldman Sachs Execution & Clearing, L.P. have been combined as Goldman Sachs; Instinet Corporation and Instinet,
LLC have been combined as Instinet; Morgan Stanley & Co. LLC and Morgan Stanley & Co. Incorpor have been combined as Morgan Stanley
& Co.; Wedbush Morgan Securities Inc. and Wedbush Securities Inc. have been combined as Wedbush; and Wolverine Execution Services,
and Wolverine Execution Services, LLC have been combined as Wolverine Execution Services.
[3] Only brokers trading in excess of 0.1% of reported volume are listed. 70 additional brokers trading below the 0.1% threshold are listed in
Exhibit IV-B for a total of 94 brokers.
Source:
Bloomberg.
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                                                                    Exhibit IV-B
                                   Additional Brokers that Reported Trading Activity in CommVault Common Stock

       Broker Name                                             Broker Name                                            Broker Name
 [1]   Aegis Capital Corp.                              [25]   Friedman, Billings, Ramsey & C                  [49]   Robert W. Baird & Co. Incorpor
 [2]   Ameritrade, Inc.                                 [26]   Global-American Investments, I                  [50]   Scottrade, Inc.
 [3]   Apex Clearing Corporation                        [27]   Imperial Capital LLC                            [51]   Scout Trading LLC
 [4]   Automated Trading Desk Financial Services, LLC   [28]   Investors Exchange                              [52]   SJ Levinson LLC
 [5]   Baypoint Trading LLC                             [29]   ITG Inc.                                        [53]   Southwest Securities, Inc.
 [6]   BMO Capital Markets                              [30]   JNK Securities Corp.                            [54]   Spartan Securities Group Ltd
 [7]   BNP Paribas Securities Corp.                     [31]   Jones And Associates Inc.                       [55]   Speedroute LLC
 [8]   BNY Mellon Capital Markets, LLC                  [32]   Jump Trading                                    [56]   Stephens Inc.
 [9]   BRUT, LLC                                        [33]   Lazard Capital Markets                          [57]   Sterne Agee And Leach Inc.
[10]   BTIG, LLC                                        [34]   Leerink Swann & Co., Inc.                       [58]   Stifel Nicolaus
[11]   C. L. King & Associates, Inc.                    [35]   Lightspeed Trading, LLC                         [59]   Stock Usa Investments
[12]   Canaccord Genuity Inc                            [36]   MB Trading                                      [60]   Suntrust Capital Markets, Inc.
[13]   Cantor Fitzgerald & Co.                          [37]   MISMI, Inc.                                     [61]   TD Securities (Usa) Inc.
[14]   Capital Institutional Services                   [38]   National Financial Services LL                  [62]   The Benchmark Company, LLC
[15]   Charles Schwab And Co. Inc.                      [39]   Needham and Co.                                 [63]   The Gaussian Group, LLC
[16]   CLSA Americas, LLC                               [40]   O'Connor & Company LLC                          [64]   Timber Hill LLC
[17]   Cowen                                            [41]   Oppenheimer & Co. Inc.                          [65]   Tradestation Securities, Inc.
[18]   Craig-Hallum Capital Group LLC                   [42]   Pacific Crest Securities Inc.                   [66]   Triad Securities Corp
[19]   Credit Agricole Indosuez Cheuv                   [43]   PDQ ATS. Inc.                                   [67]   Viewtrade Securities, Inc.
[20]   Daiwa Securities America Inc.                    [44]   Pershing Trading Company L.P.                   [68]   Wells Fargo Securities, LLC
[21]   Dart Executions, LLC                             [45]   Piper Jaffray & Co.                             [69]   WS Clearing Inc.
[22]   E*Trade Clearing LLC                             [46]   Potamus Trading, LLC                            [70]   Xambala Capital, LLC
[23]   Electronic Brokerage Systems                     [47]   Princeton Securities Group, LLC
[24]   First Clearing, LLC                              [48]   Raffensperger, Hughes & Co., Inc.

Notes:
[1] Data for June 2013 - March 2014 (except for December 2013) are considered. Broker volume for December 2013 is not available from Bloomberg. The partial
months of May 2013 and April 2014 as well as December 2013 are excluded from the analysis.
[2] Brokers trading below a 0.1% reported volume threshold are listed; those trading in excess are listed in Exhibit IV-A.
[3] Cowen & Co., LLC and Cowen Capital LLC have been combined as Cowen; Electronic Brokerage Systems I and Electronic Brokerage Systems, LLC have been
combined as Electronic Brokerage Systems; Jump Trading and Jump Trading, LLC have been combined as Jump Trading; Lightspeed Trading LLC and Lightspeed
Trading, LLC have been combined as Lightspeed Trading, LLC; and Wells Fargo Securities, LLC and WELLS FARGO SECURITIES, LLC. have been combined as
Wells Fargo Securities, LLC. There are other records of brokers that are not in the exhibit because the broker name is missing or the broker name is classified as
<unnamed>.

Source:
Bloomberg.
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                                                                          Exhibit V
                                              Market Capitalization and Public Float of CommVault Common Stock
                 $5                                               May 7, 2013 - April 25, 2014


                 $4


                 $4


                 $3


                 $3
(in $Billions)




                 $2


                 $2


                 $1


                 $1


                 $0




                                                                 Public Float   Market Capitalization
                 Sources:
                 Bloomberg and SEC filings.
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                                            Exhibit VI
                           Bid-Ask Spread in CommVault Common Stock

              CommVault Common Stock Daily Bid-Ask                    NASDAQ Common Stocks
                           % Spread                                      2009 CRSP % Spread
                      5/7/2013 - 4/24/2014                        Monthly Data         Yearly Data

 Average                        0.15%                                 2.55%                  2.91%

 Median                         0.13%                                 0.69%                  0.92%


 Notes:
 See Appendix F for CommVault daily statistics.
 Statistics for 2009 CRSP spread for NASDAQ common stocks are obtained from Kee H. Chung and Hao Zhang, A
 Simple Approximation of Intraday Spreads Using Daily Data , 17 J. Fin. Markets, 94, Table 2 (2014).
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                                                                         Exhibit VII
                                     Institutions that Held CommVault Common Stock at Some Point During the Class Period
No                                           Institution                        No                                           Institution
 1   1832 Asset Management L.P.                                                 42   British Columbia Investment Management Corporation
 2   361° Capital LLC                                                           43   Brown Advisory Incorporated
 3   AB Trust & Investment Services Group                                       44   Cabot Wealth Management, Inc.
 4   Aberdeen Asset Managers Limited                                            45   Calamos Advisors LLC
 5   Absolute Return Capital, LLC                                               46   Calamos Asset Management Inc. (NasdaqGS:CLMS)
 6   Advantus Capital Management, Inc.                                          47   California Public Employees' Retirement System
 7   Advisors Asset Management, Inc.                                            48   Calvert Investment Management, Inc.
 8   AGF Management Limited (TSX:AGF.B)                                         49   Campbell & Company, LP
 9   Airain Ltd.                                                                50   Canada Pension Plan Investment Board
10   AllianceBernstein L.P.                                                     51   Capital Fund Management S.A.
11   Allianz Asset Management AG                                                52   Capital One Asset Management, LLC
12   Alpha Windward LLC                                                         53   Capstone Asset Management Company
13   ALPS Advisers, Inc.                                                        54   Caxton Associates LP
14   ALTA Skladi, druzba za upravljanje, d.d.                                   55   CBRE Clarion Securities
15   American Century Investment Management Inc.                                56   CCM Partners, L.P.
16   Ameritas Investment Partners Inc.                                          57   CenturyLink Investment Management Company
17   AMG Funds LLC                                                              58   Certium Asset Management LLC
18   AMP Capital Investors Limited                                              59   Charles Schwab Investment Management, Inc.
19   Amundi Asset Management                                                    60   Chicago Equity Partners LLC
20   AP Fonden 3                                                                61   Churchill Management Corp.
21   AQR Capital Management, LLC                                                62   CIM Investment Management, Inc.
22   Arizona State Retirement System                                            63   Citadel LLC
23   Arrowstreet Capital, Limited Partnership                                   64   Citigroup Inc.,Banking and Securities Investments
24   Artisan Partners Limited Partnership                                       65   CKW Financial Group, LLC, Asset Management Arm
25   Asset Management Group of Bank of Hawaii                                   66   ClearArc Capital, Inc.
26   Aurora Investment Counsel                                                  67   ClearBridge Investments, LLC
27   Axiom International Investors LLC                                          68   ClearBridge, LLC
28   Banca Del Sempione, Asset Management Arm                                   69   Clinton Group, Inc
29   Bank of America Corporation, Asset Management Arm                          70   Cloud Capital LLC
30   Barclays Bank PLC, Securities Investments                                  71   Clough Capital Partners, L.P.
31   Barclays PLC Private Banking & Investment Banking Investment               72   Coe Capital Management, LLC
32   Bennett Lawrence Management, LLC                                           73   Columbia Management Investment Advisers, LLC
33   Berkshire Capital Holdings Inc.                                            74   Columbia Wanger Asset Management, LLC
34   Bessemer Investment Management LLC                                         75   Columbus Circle Investors
35   BlackRock, Inc. (NYSE:BLK)                                                 76   Comerica Bank, Banking Investments
36   BMO Global Asset Management                                                77   Copper Rock Capital Partners, LLC
37   BNP Paribas Arbitrage Sa, Asset Management Arm                             78   Cortina Asset Management, LLC
38   BNY Mellon Asset Management                                                79   Credit Suisse Asset Management (Switzerland)
39   Boston Trust & Investment Management Company                               80   Credit Suisse, Investment Banking and Securities Investments
40   Bridgeway Capital Management , Inc.                                        81   Credo Capital Management, LLC
41   Bright Rock Capital Management LLC                                         82   Cupps Capital Management, LLC


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                                                                          Exhibit VII
                                      Institutions that Held CommVault Common Stock at Some Point During the Class Period
 No                                         Institution                           No                                             Institution
 83   D. E. Shaw & Co., L.P.                                                     124   Gagnon Securities LLC
 84   D.F. Dent and Company, Inc.                                                125   GCIC Ltd
 85   Dahl & Partner Vermögensverwaltung AG                                      126   Gemmer Asset Management LLC
 86   Davidson Investment Advisors, Inc.                                         127   Genesis Capital LLC
 87   DBX Strategic Advisors LLC                                                 128   Geneva Capital Management, LLC
 88   Delaware Management Business Trust                                         129   Geode Capital Management, LLC
 89   Delta Lloyd Asset Management NV                                            130   George Weiss Associates Inc.
 90   Deutsche Asset & Wealth Management                                         131   Gilder Gagnon Howe & Co. LLC
 91   Deutsche Bank, Private Banking and Investment Banking Investments          132   Globeflex Capital, L.P.
 92   DIAM Co., Ltd.                                                             133   Golden Capital Management, LLC
 93   Dimensional Fund Advisors LP                                               134   Goldman Sachs Asset Management, L.P.
 94   Dorsey & Whitney Trust Company Llc,Asset Management Arm                    135   Goldman Sachs Group, Investment Banking and Securities Investments
 95   Driehaus Capital Management LLC                                            136   Gotham Asset Management, LLC
 96   DuPont Capital Management Corp.                                            137   Great-West Capital Management, LLC
 97   Eagle Asset Management, Inc.                                               138   GSA Capital Partners LLP
 98   EAM Investors, LLC                                                         139   Guggenheim Partners, LLC
 99   Eaton Vance Management                                                     140   GuideStone Capital Management
100   Ellington Management Group, L.L.C.                                         141   GWL Investment Management Ltd.
101   Emerald Advisers, Inc.                                                     142   Harvest Capital Strategies LLC
102   Employees Retirement System of Texas                                       143   Hatteras Alternative Mutual Funds, LLC
103   Envestnet Asset Management, Inc.                                           144   Hatteras Investment Partners, LLC
104   Equinox Institutional Asset Management, LP                                 145   HBK Investments L.P.
105   Essex Investment Management Company, LLC                                   146   Henderson Global Investors Limited
106   EULAV Asset Management, LLC                                                147   Highbridge Capital Management, LLC
107   Federated Investors, Inc. (NYSE:FII)                                       148   Highland Capital Management, L.P.
108   FIAM LLC                                                                   149   Highmark Capital Management, Inc.
109   Fidelity Investments                                                       150   Hillsdale Investment Management Inc.
110   Fiduciary Trust Company International                                      151   Howe and Rusling, Inc.
111   FIL Limited                                                                152   Hutchin Hill Capital, LP
112   Finemark Holdings Inc., Asset Management Arm                               153   ID-Sparinvest, Filial af Sparinvest S.A., Luxembourg
113   First Mercantile Trust Company, Asset Management Arm                       154   Insight Capital Research & Management, Inc.
114   First Trust Advisors L.P.                                                  155   Invesco Advisers, Inc.
115   Florida State Board of Administration                                      156   Invesco Ltd. (NYSE:IVZ)
116   Fort Washington Investment Advisors, Inc.                                  157   Invesco PowerShares Capital Management LLC
117   Fortaleza Asset Management, Inc.                                           158   Invictus RG Pte. Ltd.
118   Frank Russell Company                                                      159   Irish Life Investment Managers Limited
119   Franklin Resources, Inc. (NYSE:BEN)                                        160   J.P. Morgan Asset Management, Inc.
120   Franklin Street Investment Advisors                                        161   J.P. Morgan Whitefriars Inc.
121   Fred Alger Management, Inc.                                                162   Jacobs Levy Equity Management Inc.
122   Fuller & Thaler Asset Management Inc.                                      163   Jane Street Capital, LLC
123   Gagnon Advisors, LLC                                                       164   Jane Street Group, LLC, Asset Management Arm


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                                                                          Exhibit VII
                                      Institutions that Held CommVault Common Stock at Some Point During the Class Period
 No                                          Institution                          No                                          Institution
165   Jefferies Group LLC, Asset Management Arm                                  206   Montibus Capital Management LLC
166   Jennison Associates LLC                                                    207   Morgan Stanley Investment Management Inc.
167   Jensen Investment Management Inc.                                          208   Morgan Stanley, Investment Banking and Brokerage Investments
168   Jetstream Capital LLC                                                      209   Municipal Employees' Retirement System of Michigan
169   John Deere Pension Trust                                                   210   Mutual of America Capital Management LLC
170   JPMorgan Chase & Co, Brokerage and Securities Investments                  211   Nationwide Fund Advisors
171   JPMorgan Chase & Co, Private Banking and Investment Banking Investments    212   Nelson Capital Management, LLC
172   KCG Holdings Inc, Asset Management Arm                                     213   Neuberger Berman LLC
173   Knight Capital Group Inc., Asset Management Arm                            214   New Jersey Division of Investment
174   Lebenthal Lisanti Capital Growth, LLC                                      215   New York Life Investment Management LLC
175   Ledyard Financial Advisors                                                 216   New York State Common Retirement Fund
176   Liberty Mutual Insurance Company, Asset Management Arm                     217   New York State Teachers' Retirement System
177   Lincoln Investment Advisors Corporation                                    218   Nexpoint Advisors, L.P.
178   LMCG Investments, LLC                                                      219   NGAM Advisors, L.P.
179   Loomis, Sayles & Company L.P.                                              220   Nicholas Investment Partners, L.P.
180   Lord, Abbett & Co. LLC                                                     221   NISA Investment Advisors, L.L.C.
181   Los Angeles Capital                                                        222   Nomura Holdings Inc, Securities & Investment Arm
182   Louisiana State Employees' Retirement System                               223   Norges Bank Investment Management
183   LPL Financial Corporation, Asset Management Arm                            224   Northern Trust Global Investments
184   M&T Bank Corp, Asset Management Arm                                        225   Nuveen Investments, Inc.
185   Mackenzie Financial Corporation                                            226   OakBrook Investments LLC
186   Managed Account Advisors LLC                                               227   Oberweis Asset Management, Inc.
187   Manchester Capital Management, LLC                                         228   Ohio National Investments, Inc.
188   Manulife Asset Management                                                  229   Ohio Public Employees Retirement System
189   Maple Securities USA Inc., Asset Management Arm                            230   Old Mutual Global Index Trackers (Pty) Limited
190   Marshall Wace North America LP                                             231   Old Mutual Global Investors
191   Martingale Asset Management, L.P.                                          232   OppenheimerFunds, Inc.
192   Mason Street Advisors, LLC                                                 233   Oregon Public Employees Retirement System
193   Massachusetts Financial Services Company                                   234   O'Shaughnessy Asset Management, LLC
194   Massachusetts Mutual Life Insurance Co., Insurance Investments             235   OTP Fund Management Ltd
195   Mazama Capital Management, Inc.                                            236   Pacific Life Fund Advisors LLC
196   Menta Capital LLC                                                          237   Palisade Capital Management LLC
197   Merrill Lynch & Co. Inc., Banking Investments                              238   PanAgora Asset Management, Inc.
198   Metlife Advisers, LLC                                                      239   Parallax Fund, L.P.
199   Metlife Investment Management, LLC                                         240   Parametric Portfolio Associates LLC
200   Michigan Department of Treasury, Bureau of Investments                     241   PDT Partners, LLC
201   Millennium Management LLC                                                  242   PEAK6 Investments, L.P.
202   Missouri Valley Partners                                                   243   Penn Mutual Asset Management, Inc.
203   Mitsubishi UFJ Kokusai Asset Management Co., Ltd.                          244   Pennsylvania Public School Employees Retirement System
204   Mizuho Asset Management Co., Ltd.                                          245   Perimeter Capital Partners LLC
205   Monarch Partners Asset Management, LLC                                     246   PGIM, Inc.


                                                                                                                                                      p. 3 of 5
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                                                                         Exhibit VII
                                     Institutions that Held CommVault Common Stock at Some Point During the Class Period
 No                                            Institution                          No                                           Institution
247   Pictet Asset Management Limited                                              288   Seven Eight Capital, LLC
248   Pioneer Global Asset Management S.p.A.                                       289   Silvant Capital Management LLC
249   Placemark Investments, Inc.                                                  290   Silvercrest Asset Management Group LLC
250   Plante & Moran Financial Advisors                                            291   Sit Investment Associates, Inc.
251   PNC Capital Advisors, LLC                                                    292   Societe Generale, Securities Investments
252   PNC Financial Services Group Inc., Banking Investments                       293   Soroban Capital Partners LLC
253   Point72 Asset Management, L.P.                                               294   Spiderrock Trading Llc
254   Principal Global Investors, LLC                                              295   Spot Trading L.L.C., Asset Management Arm
255   Private Trust Co NA, Asset Management Arm                                    296   Stanley-Laman Group, Ltd.
256   ProFund Advisors LLC                                                         297   State of New Jersey Common Pension Fund
257   ProShare Advisors LLC                                                        298   State Street Global Advisors, Inc.
258   Prudential Trust Company, Trust Investments                                  299   State Teachers Retirement System of Ohio
259   Public Employees Retirement Association of Colorado                          300   Sterling Capital Management LLC
260   Putnam LLC                                                                   301   Stevens Capital Management LP
261   QS Batterymarch Financial Management, Inc                                    302   Stifel Asset Management Corp.
262   QS Investors LLC                                                             303   Stone Ridge Asset Management LLC
263   Quantbot Technologies, LP                                                    304   Strategic Advisers, Inc
264   Quantitative Investment Management, LLC                                      305   SunAmerica Asset Management, LLC
265   Rainier Investment Management, LLC                                           306   SunTrust Banks Inc, Asset Management Arm
266   Raymond James Financial Inc., Asset Management Arm                           307   Susquehanna International Group, LLP, Asset Management Arm
267   RBC Dominion Securities Inc., Asset Management Arm                           308   Swiss National Bank, Asset Management Arm
268   RBC Global Asset Management Inc.                                             309   Symphony Asset Management LLC
269   Redwood Investments, LLC                                                     310   T. Rowe Price Group, Inc. (NasdaqGS:TROW)
270   Renaissance Technologies Corp.                                               311   TAMRO Capital Partners, LLC
271   Retirement Systems Of Alabama                                                312   TD Asset Management, Inc.
272   Rhumbline Advisers Ltd Partnership                                           313   Teacher Retirement System of Texas
273   Riverbridge Partners, LLC                                                    314   Teachers Insurance and Annuity Association of America - College Retirement Equities Fund
274   Robeco Institutional Asset Management B.V.                                   315   Teachers' Retirement System of the State of Kentucky
275   Rothschild Asset Management Inc.                                             316   Tennessee Department of Treasury, Investment Division
276   Royal Alliance Associates, Inc., Securities Investments                      317   Texas Education Agency, Endowment Arm
277   Royal Bank of Canada Trust Company (Bahamas) Limited, Asset Management Arm   318   The Blackstone Group L.P. (NYSE:BX)
278   Royal Bank of Canada, Banking & Securities Investments                       319   The Boston Company Asset Management, LLC
279   RS Investment Management Co. LLC                                             320   The California State Teachers Employees' Retirement System
280   S Squared Technology, LLC                                                    321   The Dai-Ichi Life Insurance Company, Limited, Asset Management Arm
281   SagePoint Financial Advisors, Inc., Securities Investments                   322   The Glenmede Trust Company, N.A.
282   Sandy Spring Bank, Asset Management Arm                                      323   The Huntington Trust Company, National Association
283   Santa Fe Partners LLC                                                        324   The Oxford Asset Management Company Limited
284   Santander Private Banking Gestion, S.A., S.G.I.I.C.                          325   The Royal Bank Of Scotland plc, Asset Management Arm
285   Securities America Advisors, Inc.                                            326   The Vanguard Group, Inc.
286   Security Investors, LLC                                                      327   Thomson Horstmann & Bryant, Inc.
287   SEI Investments Co. (NasdaqGS:SEIC)                                          328   Thornburg Investment Management, Inc.


                                                                                                                                                                          p. 4 of 5
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                                                                               Exhibit VII
                                           Institutions that Held CommVault Common Stock at Some Point During the Class Period
  No                                         Institution                                               No                                          Institution
 329    Thrivent Investment Management, Inc.                                                          350   Wall Street Associates LLC
 330    TimesSquare Capital Management, LLC                                                           351   Walleye Trading LLC, Asset Management Arm
 331    Timpani Capital Management LLC                                                                352   WealthTrust-Arizona, LLC
 332    Tirschwell & Loewy, Inc.                                                                      353   Weaver C. Barksdale & Associates, Inc.
 333    Tocqueville Asset Management LP                                                               354   Wellington Management Group LLP
 334    Tower Research Capital LLC                                                                    355   Wellington Shields Capital Management, LLC
 335    Tradeworx, Asset Management Arm                                                               356   Wells Capital Management Incorporated
 336    Transamerica Asset Management, Inc.                                                           357   Wells Fargo & Company, Private Banking and Investment Banking Arm
 337    Tudor Investment Corporation                                                                  358   Wells Fargo & Company, Securities and Brokerage Investments
 338    Turner Investments, LP                                                                        359   Westfield Capital Management Company, L.P.
 339    TWIN Capital Management, Inc.                                                                 360   Wexford Capital LLC
 340    Two Sigma Advisers, LP                                                                        361   Whale Rock Capital Management, LLC
 341    Two Sigma Investments, LP                                                                     362   Whittier Trust Company
 342    U.S. Bancorp Asset Management, Inc.                                                           363   William Blair Investment Management, LLC
 343    UBS Asset Management                                                                          364   Wilmington Funds Management Corporation
 344    Van Eck Associates Corporation                                                                365   Wilshire Associates Incorporated
 345    Vantagepoint Investment Advisers, LLC                                                         366   Winslow, Evans & Crocker, Inc., Asset Management Arm
 346    Verition Fund Management LLC                                                                  367   Winton Capital Management Limited
 347    Virginia Retirement System                                                                    368   Wolverine Asset Management, LLC
 348    Voya Investment Management LLC                                                                369   World Asset Management
 349    VTL Associates, LLC                                                                           370   Zacks Investment Management, Inc.

Note:
Institutions with positive holdings of Commvault common stock at some point during the Class Period (5/7/2013 - 4/24/2014) include institutions with positive quarterly holdings reported in the Class
Period (i.e., 6/30/2013 - 3/31/2014).
Source:
S&P Capital IQ.




                                                                                                                                                                                                 p. 5 of 5
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                                                                 Exhibit VIII
                            Institutions with Large Positions as of 6/30/2013, 9/30/2013, 12/31/2013, or 3/31/2014

No.   Institution                                                                                              6/30/2013      9/30/2013      12/31/2013       3/31/2014
  1   1832 Asset Management L.P.                                                                                 649,700        649,700               0               0
  2   American Century Investment Management Inc.                                                              1,611,467      1,864,258       1,114,554          96,837
  3   Artisan Partners Limited Partnership                                                                     2,011,674      2,193,720       4,101,195       4,119,861
  4   BlackRock, Inc. (NYSE:BLK)                                                                               3,601,199      3,823,270       3,858,283       4,098,490
  5   BNY Mellon Asset Management                                                                                660,319        715,385         914,363         930,897
  6   Columbia Management Investment Advisers, LLC                                                               663,546        684,400         809,225       1,058,703
  7   Columbia Wanger Asset Management, LLC                                                                            0              0               0         684,500
  8   Columbus Circle Investors                                                                                1,214,901      1,579,074         690,276               0
  9   Cortina Asset Management, LLC                                                                              681,560        615,087         431,291         470,662
 10   Federated Investors, Inc. (NYSE:FII)                                                                       579,155        618,540         587,942         625,429
 11   Fidelity Investments                                                                                     3,240,502      3,084,963       3,117,663       5,836,943
 12   GCIC Ltd                                                                                                   802,600        688,659               0               0
 13   Invesco Ltd. (NYSE:IVZ)                                                                                    772,585        778,279         840,666         684,147
 14   J.P. Morgan Asset Management, Inc.                                                                         285,534        349,132         608,010       2,106,977
 15   Massachusetts Financial Services Company                                                                 1,118,728      1,026,066       1,237,973       1,129,032
 16   Northern Trust Global Investments                                                                          857,140        867,759         959,964         924,306
 17   OppenheimerFunds, Inc.                                                                                     859,870        858,280         787,880         508,000
 18   Renaissance Technologies Corp.                                                                             851,900        906,400         846,400         254,000
 19   Soroban Capital Partners LLC                                                                                     0              0               0       1,028,545
 20   State Street Global Advisors, Inc.                                                                       1,587,432      1,596,934       1,564,520       1,578,620
 21   T. Rowe Price Group, Inc. (NasdaqGS:TROW)                                                                1,801,100      1,585,050       1,841,110       2,220,875
 22   TAMRO Capital Partners, LLC                                                                                656,408        564,003         610,656         428,843
 23   Teachers Insurance and Annuity Association of America - College Retirement Equities Fund                   682,678        688,354         690,770         825,540
 24   The Vanguard Group, Inc.                                                                                 2,795,629      2,920,638       3,047,332       2,967,021
 25   TimesSquare Capital Management, LLC                                                                        932,320        832,320       1,186,010       2,383,200
 26   Voya Investment Management LLC                                                                             256,663        357,138         707,951         796,160
 27   Wells Capital Management Incorporated                                                                    1,959,720      1,985,545       2,225,980       1,042,161
 28   William Blair Investment Management, LLC                                                                    40,817         54,501           8,837       1,055,601
      Positions of the 28 Institutions on Each Date                                                           31,175,147     31,887,455      32,788,851      37,855,350
      Shares Outstanding                                                                                      46,635,000     47,075,000      47,390,000      47,094,000
          28 Institutional Positions as a % of Shares Outstanding                                                   67%            68%             69%             80%
      Public Float                                                                                            43,508,629     44,103,030      44,418,030      44,122,030
          28 Institutional Positions as a % of Public Float                                                         72%            72%             74%             86%

      Number of Institutions with Positive Positions on Each Date                                                    282             283             272            263

Notes:
To be included in this list, the institution positions ranked in the top 20 of all institutional positions as of one of the four dates: 6/30/2013, 9/30/2013, 12/31/2013
or 3/31/2014. Institutions with positive holdings of Commvault common stock at some point during the Class Period (5/7/2013 - 4/24/2014) include institutions
with positive quarterly holdings reported in the Class Period (i.e., 6/30/2013 - 3/31/2014).

Source:
S&P Capital IQ.
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                                                                                                   Exhibit IX
                                                                          Short Interest Levels of CommVault Common Stock and
                                                                      Short Interest as a Percent of Shares Outstanding and Public Float
                               8                                                                                                                                                18.0%



                                                                                                                                                                                16.0%
                               7


                                                                                                                                                                                14.0%
                               6
Short Interest (in Millions)




                                                                                                                                                                                12.0%
                               5

                                                                                                                                                                                10.0%




                                                                                                                                                                                        Percent
                               4

                                                                                                                                                                                8.0%

                               3
                                                                                                                                                                                6.0%


                               2
                                                                                                                                                                                4.0%


                               1
                                                                                                                                                                                2.0%



                               0                                                                                                                                              0.0%
                               04/30/2013                06/28/2013           08/30/2013             10/31/2013              12/31/2013        02/28/2014            04/30/2014

                                   Short Interest (in Millions)       Short Interest as a Percent of Shares Outstanding (Including Insiders)   Short Interest as a Percent of Public Float
                               Sources:
                               Bloomberg and SEC filings.
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                                                 Exhibit X
                                        Summary of Put-Call Parity Test

        Number of Valid Observations of Option Pairs                                                 19,369

        Number of Violations of Put-Call Parity                                                            1

        Violation as a % of Total Observations                                                        0.01%

        Constraints:
           Sask > Cbid - Pask + Xe-rt
           Sbid < Cask - Pbid + X


        Notes:
        [1] The ask price for the call option, the bid price for the put option and the bid price for the
        stock was used for the lower bound; and the bid price for the call option, the ask price for the put
        option and the ask price for the stock was used for the upper bound in the inequality above.
        [2] CommVault did not declare any dividends on its common stock during the Class Period. As
        such, this analysis uses the inequality for American options that do not pay dividends.


        Definition of Variables:
        S Stock price of CommVault common stock.
        X Exercise price of the option.
        C Call option price.
        P Put option price.
        r   Risk-free interest rate. The following cut-offs were used in assigning interest rates to time to
            maturity: 1-60 days, 1-month rate; 61-136 days, 3-month rate; 137-273 days, 6-month rate;
            274-547 days, one-year rate. Interest rates were converted to continuous compounding,
            using the formula 2 x ln(1+r/2), where r is interest rate based on semiannual compounding.
        t   Time to expiration of the options.

        Sources:
        Ivolatility for daily options data; Bloomberg for daily stock data; Federal Reserve Board for risk-
        free interest rate.
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                                                      Exhibit XI
                                  Members of the S&P 400 Software Industry Index
                         as of the Start and End of the Class Period and December 31, 2013

                                                                             Bloomberg             Index Members as of
 No.                             Company Name                                  Ticker       5/7/2013   12/31/2013   4/24/2014
  1    Aci Worldwide Inc                                                        ACIW            x           x           x
  2    Advent Software Inc                                                      ADVS            x           x           x
  3    Ansys Inc                                                                 ANSS           x           x           x
  4    Cadence Design Sys Inc                                                   CDNS            x           x           x
  5    Commvault Systems Inc                                                    CVLT            x           x           x
  6    Compuware Corp                                                           CPWR            x           x           x
  7    Concur Technologies Inc                                                  CNQR            x           x           x
  8    Factset Research Systems Inc                                               FDS           x           x           x
  9    Fair Isaac Corp                                                           FICO           x           x           x
 10    Fortinet Inc                                                              FTNT                                   x
 11    Informatica Llc                                                           INFA           x           x           x
 12    Mentor Graphics Corp                                                     MENT            x           x           x
 13    Micros Systems Inc                                                       MCRS            x           x           x
 14    Ptc Inc                                                                    PTC           x           x           x
 15    Rovi Corp                                                                 ROVI           x           x           x
 16    Solarwinds Inc                                                             SWI           x           x           x
 17    Solera Holdings Inc                                                        SLH           x           x           x
 18    Synopsys Inc                                                              SNPS           x           x           x
 19    Tibco Software Inc                                                        TIBX           x           x           x

Weight of CommVault in the S&P 400 Software Industry Index                                    5.6%          4.9%          4.6%

Source:
Bloomberg.
Note:
CommVault’s daily return is removed from the S&P 400 Software Industry Index based on its daily index weight, where the daily
industry return on date t is equal to: Return of the S4SOFT on date t minus the product of CommVault’s weight on date t-1 times
CommVault’s daily return on date t, all divided by one minus CommVault’s weight on date t-1. For this procedure, I use CommVault’s
daily return calculated based on NASDAQ Global Select closing prices (Bloomberg identifier: CVLT UW).
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                                                 Exhibit XII
                                                 News Days

                [1]                                               [2]
              Impact
               Date                                       Headline
              1/30/2013    CommVault Announces Third Quarter Fiscal 2013 Financial Results
               5/7/2013    CommVault Announces Fourth Quarter and Fiscal 2013 Financial Results
              7/30/2013    CommVault Announces First Quarter Fiscal 2014 Financial Results
             10/29/2013    CommVault Announces Second Quarter Fiscal 2014 Financial Results
              1/29/2014    CommVault Announces Third Quarter Fiscal 2014 Financial Results
              4/25/2014    CommVault Announces Fourth Quarter and Fiscal 2014 Financial Results

      Notes:
      [1] Impact date for information released after 4 pm based on time-stamps is considered to be the next
          trading day. Time stamps are based on PR Newswire (U.S.) stories from Bloomberg or Factiva
          and SEC filings.
      [2] Headline of CommVault press release (www.CommVaultintl.com/newsroom#press_releases) or
          SEC 8-K filings (www.sec.gov).
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                                                                                             Exhibit XIII
                                           Average of Market Model Regression Results for CommVault Common Stock

                                                                       Dependent variable: Rt (CommVault Daily Return)

                                                                                                  Rmt
                                                 Intercept                     (NASDAQ Composite Total Return Index)                    Excess INDUSTRYt
                                      Coefficient Estimate      t-Statistic      Coefficient Estimate   t-Statistic                Coefficient Estimate t-Statistic         Root MSE       Adj. R-Squared
Class Period Average                         -0.002                -1.17                 1.470             7.77                            1.104           4.00              0.0164             0.474


Notes:
[1] INDUSTRYt is the daily return on the S&P 400 Software Industry Index (after removing CommVault’s daily return based on its daily index weight from the industry return). The Excess
    INDUSTRYt returns are used to account for industry-wide effects in the market model, after removing the effect of market returns. The formula for removing the effect of market returns from the
    industry return is {industry return – (intercept + beta * market return)}. The intercept (-0.0004) and beta (0.9755) are estimated by regressing daily industry returns on market returns over the period
    11/9/2012 to 4/25/2014. 11/9/2012, 120 days prior to 5/6/2013, is the earliest excess industry return used in the CommVault market model. See Appendix G for daily Excess INDUSTRY.
[2] The Class Period Average includes days from May 7, 2013 to April 25, 2014 (245 trading days, including one day after the end of the Class Period).
[3] A 120-day rolling regression was run for each of the 245 trading days. For each trading day, a market model regression is estimated over 120 trading days preceding the current day.
    The model regresses CommVault daily returns on the daily returns of the NASDAQ Composite Total Return Index and the Excess INDUSTRY. The following dummy dates are used: 1/30/2013,
    5/7/2013, 7/30/2013, 10/29/2013, 1/29/2014, 4/25/2014. See Section VI.A.2 for a discussion of the selection of the dummy dates. See Appendix G for intercept, coefficient for market return,
    coefficient for Excess INDUSTRYt return and root MSE from a market model regression estimated for each trading day.

Sources:
Bloomberg and Appendix C. Time stamps are based on PR Newswire (U.S.) stories from Bloomberg or Factiva and SEC filings.
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                                                              Exhibit XIV
                                                         Important News Dates
                                                       May 7, 2013 - April 25, 2014

              [1]           [2]            [3]          [4]
                                                      [5]      [6]       [7]        [8]          [9]                                   [10]
                                                    Excess
                        CommVault CommVault Market Industry Predicted Abnormal Abnormal
             Date         Price     Return  Return Return    Return    Return Price Reaction t-Statistic                          p-value

             5/6/2013     $77.82
             5/7/2013     $76.33          -1.91%      0.11%      0.39%       0.40%       -2.32%        -$1.80          -1.36     17.76%

            7/29/2013     $77.57
            7/30/2013     $85.04           9.63%      0.49%      0.06%       0.76%        8.87%         $6.88          5.02       0.00% **

          10/28/2013      $82.50
          10/29/2013      $80.51          -2.41%      0.32%     -0.04%       0.21%       -2.62%        -$2.16          -1.76      8.15%

            1/28/2014     $76.10
            1/29/2014     $69.44          -8.75%     -1.13%     -0.13%      -1.93%       -6.82%        -$5.19          -4.14      0.01% **

            4/24/2014     $68.58
            4/25/2014     $47.56         -30.65%     -1.75%      0.29%      -2.17%      -28.48%      -$19.53         -15.48       0.00% **


        Notes:
        [1] Important news dates in the Class Period. See Exhibit XII.
        [2] to [7] and [9] to [10] See Appendix G. * indicates that abnormal return is statistically significant at the 5% level. **
        indicates that abnormal return is statistically significant at the 1% level.
        [8] = [7] x CommVault price on previous trading day.
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                                                                                Exhibit XV
                                                    Analysis of the Relationship between News and Abnormal Returns

                                                                                                               EXPECTED                  RATIO OF ACTUAL
                                                                                     ACTUAL
                                                                                                             NUMBER OF DAYS                TO EXPECTED
                            Observation on a Date                                 NUMBER OF DAYS                                                                       Total
                                                                                                                  [A]                    NUMBER OF DAYS
                                                                                No News [B]   News [B]    No News [B]     News [B]     No News [B]     News [B]
[1]   Number of Days                                                                240          5            240             5             1              1            245
[2]   No Statistically Significant Abnormal Return                                  227          2          224.33          4.67          1.01           0.43           229
[3]   Statistically Significant Abnormal Return                                     13           3           15.67          0.33          0.83           9.20           16
[4]   Percent of Statistically Significant Abnormal Return Days of Total Days      5.4%        60.0%          7%             7%                                         7%

Notes:
[A] The analysis is performed for days from May 7, 2013 to April 25, 2014 (245 trading days, including one day after the end of the Class Period). Based on bootstrap results of
    100,000 runs using Urn 1 with 5 "News" days and 240 "No News" days; Urn 2 with 16 significant abnormal return days and 229 insignificant abnormal return days.
[B] News released after 4 pm based on the PR Newswire (U.S.) and SEC Form 8-K time stamps is matched with the next trading day’s stock return. See Exhibit XII for effective dates
    for "News" dates.

[1]   Number of trading days.
[2]   Number of trading days without significant abnormal returns. Source: Appendix G.
[3]   Number of trading days with significant abnormal returns. Source: Appendix G.
[4]   = [3] / [1].
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                                        Exhibit XVI
             Test for Autocorrelation in CommVault Daily Abnormal Returns

                      Date Range            Coefficient      t-stat      Observations      R-Squared

          Class Period
               05/07/2013 - 04/24/2014         -0.02         -0.31            244             0.04%


          Notes:
          Based on regression of daily abnormal returns on prior day's abnormal returns. See
          Appendix G for daily abnormal returns.
          For the purposes of the statistical test of autocorrelation, an extra rolling regression was
          run for 5/6/2013.
